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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

Aramark Management Services, LP              )
                                             )
       Plaintiff,                            )
                                             )
v.                                           )       Case No. _____
                                             )
Board of Education of the City               )       JURY DEMAND
of Chicago,                                  )
                                             )
       Defendant.                            )

                                         COMPLAINT

       NOW COMES Plaintiff, Aramark Management Services, LP (“Aramark”), by and through

its undersigned counsel, and for its Complaint against the Board of Education of the City Chicago

(“CPS”), alleges as follows:

                                 NATURE OF THIS ACTION

       1.      This is a breach of contract action arising out of the Board of Education of the City

of Chicago’s (“CPS”) refusal to pay Aramark more than $5.5 million for services that Aramark

indisputably provided to CPS. Under the parties’ 2021 Custodial Services Agreement (“the

Agreement”), Aramark provided thousands of custodians to perform facilities services at over 650

CPS schools. Aramark fronted the wages that were paid out to the thousands of workers. Pursuant

to the Agreement, CPS is obligated to reimburse the cost of those wages to Aramark. In breach of

the Agreement, CPS has failed to reimburse Aramark $5,597,449.47 owed to Aramark for services

provided under the Agreement.

       2.      In addition to these contractual damages, Aramark seeks a declaration that it is

entitled to interest penalties under the Illinois Local Government Prompt Payment Act (50 ILCS

505/1, et seq.) for CPS’s failure to approve or disapprove, in writing, the $5,597,449.47 owed to
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Aramark under the Agreement. The total amount of statutory penalties owed to Aramark under the

Illinois Local Government Prompt Payment Act exceed $700,000 and grow at over $55,000 per

month.

                                          THE PARTIES
         3.      The plaintiff, Aramark, is a limited partnership with a principal place of business

located at 2400 Market Street, Philadelphia, Pennsylvania 19103.

         4.      The defendant, CPS, has a principal office located at 125 S. Clark Street, Chicago,

Illinois 60603, and is a municipal corporation of the State of Illinois.

                                   JURISDICTION & VENUE
         5.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332 because

Aramark and CPS are completely diverse citizens and because the amount in controversy exceeds

the sum or value of $75,000 exclusive of interests and costs.

         6.      Plaintiff Aramark is a Pennsylvania limited partnership with a principal place of

business in Pennsylvania. Aramark has two members: Aramark Services, Inc., and Aramark

SMMS, LLC. One of these members, Aramark SMMS, LLC, is the general partner of Aramark.

The other member, Aramark SMMS, LLC, is the sole limited partner of Aramark.

         7.      Aramark Services, Inc., is a Delaware corporation with a principal place of business

in Pennsylvania.

         8.      Aramark SMMS, LLC is a Delaware limited liability company with a principal

place of business in Pennsylvania. The sole member of Aramark SMMS, LLC is Aramark

Services, Inc.

         9.      Aramark, Aramark Services, Inc., and Aramark SMMS, LLC are citizens of

Pennsylvania and Delaware.



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        10.     Defendant CPS is a municipal corporation of Chicago, Illinois. It is a citizen of

Illinois.

        11.     This Court has personal jurisdiction over CPS because it resides and does business

in this judicial district. Personal jurisdiction over CPS is also proper because this action arises out

of events occurring in Cook County in this judicial district.

        12.     Venue is proper in this district pursuant to 28 U.S.C. § 1391 because CPS resides

in this district and because a substantial part of the events or omissions giving rise to this action

occurred in this district.

                                  GENERAL ALLEGATIONS
        13.     The parties executed the Agreement on August 1, 2021. See Exh. 1. It had an initial

term of three years. The Agreement required Aramark to provide the management, materials,

supplies, additional personnel and equipment needed to perform custodial services at CPS’s 683

schools.

        14.     In consideration for these services, the Agreement provides that “[Aramark] shall

be reimbursed for all its Reimbursable Costs.” See Exh. 1, Agmt., Exh. B.

        15.     The Agreement defines “Reimbursable Costs” as “the Direct Costs and Charges to

be charged to the Board under this SOW.” Id. The Agreement defines “Direct Costs” as “all costs

incurred by [Aramark] directly attributable to [Aramark’s] provision of the Services and billed to

the Board as further described on Exhibit B-1 hereto.” Id. The enumerated “Direct Costs” in

Exhibit B-1 include, among other costs incurred by Aramark, “hourly wages” and “overtime

wages” for its personnel and subcontractors. Id. at B-1.

        16.     In sum, the Agreement provides that Aramark “shall be reimbursed” for its Direct

Costs, which include “overtime wages” paid to its personnel and subcontractors.



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       17.     From the inception of the Agreement until February of 2023, Aramark submitted

bills that sought reimbursement for overtime wages paid by Aramark to its personnel and

subcontractors. CPS regularly reimbursed Aramark for the overtime paid to its personnel upon

submission of bills.

       18.     In February of 2023, CPS unilaterally and without notice began paying less than

the full amount of Aramark’s bills. Nothing had changed on Aramark’s end: it continued to pay its

subcontractors, perform custodial services and submit bills as usual. However, CPS began

underpaying Aramark by hundreds of thousands of dollars each month.

       19.     When it ceased paying Aramark’s full bills, CPS did not provide Aramark with any

explanation of the amounts it was withholding or why it was withholding them, nor did it provide

the contractually and statutorily required written notice to Aramark that it was withholding or

disapproving portions of its bills.

       20.     By the summer of 2023, Aramark had outstanding unpaid bills exceeding $26

million. Despite this, it still had to front the money to pay its workers’ wages. This was not money

Aramark would have simply pocketed — it was reimbursement for money already paid to the

workforce.

       21.     On June 23, 2023, CPS sent Aramark a letter advising it that it would be

transitioning custodial services “in-house” and withholding payment from Aramark.

       22.     For the remainder of the Agreement, which expired on July 30, 2024, CPS

continued its pattern of refusing to reimburse Aramark for the full services it provided. CPS’s

position placed Aramark in an impossible financial position, as it had to pay its workers millions

of dollars that were not being reimbursed by CPS. Notwithstanding CPS’s failure to pay its bills,




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Aramark continued to fully perform its obligations under the Agreement to ensure that CPS’s

students had clean schools.

       23.      Despite Aramark’s continuous requests for repayment or even just to discuss the

matter, CPS did not communicate why it was refusing to reimburse Aramark millions of dollars

and did not provide Aramark with the contractually required opportunity to cure any alleged

shortcomings.

       24.      The Agreement expired on July 30, 2024.

       25.      CPS is statutorily and contractually required to comply with the Illinois Local

Government Prompt Payment Act when paying Aramark’s bills. See 50 ILCS 505/et seq.; Exh. 1,

Agmt. p. 7. (“[t]he Board shall process payments in accordance with the Illinois Local Government

Prompt Payment Act 50 ILCS 505/1 et seq. in its normal course of business”).

       26.      The Illinois Local Government Prompt Payment Act requires CPS to approve or

disapprove Aramark’s bills within 30 days of receipt. 50 ILCS 505/3. The immediate notice of a

bill’s disapproval must be in writing. Id. If CPS fails to approve or disapprove the bill within these

time parameters, a penalty for late payment is assessed. 50 ILCS 505/5. In particular, the Illinois

Local Government Prompt Payment Act requires CPS to pay Aramark in addition to the billed

amount, the sum of one percent (1%) per month for every month the bill remains unpaid. See 50

ILCS 505/2; 50 ILCS 505/4; 50 ILCS 505/5.

       27.      In violation of the Illinois Local Government Prompt Payment Act, CPS stopped

paying Aramark’s overtime bills back in February 2023 without affirmatively and immediately

disapproving Aramark’s various bills in writing. 50 ILCS 505/3.

       28.      CPS adopted a practice of paying only portions of Aramark’s bills without

explanation. A summary of the unpaid bills is set forth below:



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           Month            Unpaid Bill Amount            Months The Bill           Interest Owed 2
                                                          Remains Unpaid 1
    February 2023           $262,976.74                 21                       $55,225.12
    March 2023              $232,772.71                 20                       $46,554.54
    April 2023              $514,316.45                 19                       $97,720.13
    May 2023                $664,666.56                 18                       $119,639.98
    June 2023               $200,418.16                 17                       $34,071.09
    July 2023               $173,308.77                 16                       $27,729.40
    August 2023             $.06                        15                       $0.01
    September 2023          $694,392.54                 14                       $97,214.96
    October 2023            $468,942.03                 13                       $60,962.46
    November 2023           $409,271.72                 12                       $49,112.60
    December 2023           $102,275.55                 11                       $11,250.31
    January 2024            $101,131.48                 10                       $10,113.15
    February 2024           $347,926.44                 9                        $31,313.38
    March 2024              $382,993.39                 8                        $30,639.47
    April 2024              $246,726.85                 7                        $17,270.88
    May 2024                $243,912.16                 6                        $14,634.73
    June 2024               $385,364.57                 5                        $19,268.23
    July 2024               $166,053.29                 4                        $6,642.13
    TOTAL                   $5,597,449.47                                        $729,362.57

          29.   CPS currently owes Aramark more than $700,000 in interest on the unpaid bills,

which will continue to grow by more than $55,000 per month for each month that those bills remain

unpaid.

                                              COUNT I
                                          Breach of Contract

          30.   Aramark incorporates the above paragraphs by reference as if fully set forth herein.

          31.   The Agreement between CPS and Aramark is a valid and enforceable agreement.

          32.   Aramark fully performed all of its obligations under the Agreement.

          33.   CPS materially breached the Agreement by failing to reimburse Aramark for its

overtime costs, as is required by the Agreement.


1
   Consistent with the Illinois Local Government Prompt Payment Act, bills must be approved or
disapproved in writing within 30 days after receipt and approved bills must be paid 30 days thereafter.
2
  These figures are calculated by multiplying 1% of the unpaid bill by the number of months it has remained
unpaid.

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       34.     CPS has wrongfully, and without any legal justification, refused to approve and

refused to pay and continues to refuse to approve and to pay the full bills submitted to it by

Aramark.

       35.     CPS’s material breach of the Agreement has damaged Aramark in the amount of at

least $5,597,449.47.

       WHEREFORE, Aramark prays as follows:

       A. That this Court enter judgment in favor of Aramark and against the CPS for CPS’s
          breach of the Agreement in an amount proven, which is reasonably is expected to be at
          least $5,597,449.47; and;

       B. That this Court enter an order granting Aramark any further and additional relief which
          it deems just and proper.

                                         COUNT II
   Violation of the Illinois Local Government Prompt Payment Act (50 ILCS 505/1, et seq.)

       36.     Aramark incorporates the above paragraphs by reference as if fully set forth herein.

       37.     CPS is a municipal corporation and is therefore subject to the Illinois Local

Government Prompt Payment Act. 50 ILCS 505/1 et. seq.

       38.     Pursuant to the Illinois Local Government Prompt Payment Act, CPS was required

to approve or disapprove, in writing, a bill from a vendor or contractor for goods or services

furnished to the local governmental agency within 30 days after the receipt of such bill or within

30 days after the date on which the goods or services were received. 50 ILCS 505/3.

       39.     Further, CPS was required to pay Aramark within 30 days after the date of approval

of the bill for goods or services furnished. 50 ILCS 505/4.

       40.     Pursuant to the Illinois Local Government Prompt Payment Act, Aramark is

entitled to an interest penalty of 1% of the unpaid billed amount per month for each month that




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CPS failed and/or refused to approve or disapprove the unpaid bills in writing from February 2023

through June 2024.

       41.     Aramark submitted final bills for payment each month between February 2023 and

July 2024.

       42.     CPS did not approve or disapprove the unpaid portions of these bills, in writing,

within the 30-day period set by the Illinois Local Governmental Prompt Payment Act. Nor did

CPS pay Aramark the full amount of these bills within the time period set by the Illinois Local

Governmental Prompt Payment Act.

       43.     Aramark is a vendor within the meaning of the Illinois Local Government Prompt

Payment Act with a legal and contractual interest in receiving payment for its services to CPS.

       44.     To date, Aramark has not received notice in writing that any portion of their bills

from February 2023 through July 2024 have been disapproved by CPS pursuant to 50 ILCS 505/3.

       45.     A justiciable controversy exists between the parties pursuant to Section 2-701 of

the Illinois Code of Civil Procedure, 735 ILCS 5/2-701, as to the payment of the bills between

February 2023 and June 2024, which CPS refused to pay in full.

       46.     Aramark seeks a declaration concerning the respective statutory rights and

obligations of Aramark and CPS under the Illinois Local Government Prompt Payment Act relative

to interest penalties applicable for CPS’s refusal to approve or disapprove and/or late payment of

Aramark’s bills in writing.

       47.     Aramark has made repeated demands for amounts due and owing under the

Agreement, but CPS has not paid the remaining $5,597,449.47 that is due and owing to Aramark.

       48.     Aramark has been damaged by CPS’s failure to pay its bills.

   WHEREFORE, Aramark prays as follows:



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   A. That this Court enter judgment in favor of the Aramark and against the CPS declaring and
      adjudging that Aramark is entitled to interest penalties under the
      Illinois Local Government Prompt Payment Act for CPS’s failure to approve or
      disapprove, in writing, and/or pay the unpaid portions of the bills from February 2023
      through June 2024; and;

   B. That this Court enter an order granting any such further and additional relief to Aramark
      which the Court deems just and proper.


Dated: January 17, 2025                                   Respectfully submitted,

                                                          By: /s/ Michael T. Layden
                                                          Counsel for Aramark

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                           Exhibit
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                                            CUSTODIAL SERVICES AGREEMENT
                                              Aramark Management Services

                   THIS CUSTODIAL SERVICES AGREEMENT (“Agreement”) dated as of August 1, 2021 (the
           “Effective Date”) is entered into by and between the Board of Education of the City of Chicago, a
           body politic and corporate, commonly known as the Chicago Public Schools (the “Board” or “CPS”)
           and Aramark Management Services, LP, with principal place of business located at 2400 Market
           Street, Philadelphia, Pennsylvania 19103 (“Vendor”); and together with the Board, referred to
           individually, as a “Party” and collectively, the “Parties”.

                                                             RECITALS

                A. On September 14, 2020, the Board issued Request for Proposal Specification No. 20-
                   350030 (“RFP”) soliciting firms interested in providing the Board with custodial services across
                   the district as described herein.

                B. Vendor responded to the aforementioned RFP by submitting a proposal and, on the basis of
                   Vendor’s representation that its has the requisite knowledge, skill, experience and other
                   resources necessary to perform such services, Vendor was subsequently selected as a
                   provider of custodial and related professional management services under this RFP at the
                   facilities listed herein, each individually referred to herein as a “Board Facility” and
                   collectively the “Board Facilities”, as detailed herein.

                C. The Board and Vendor desire to execute this Agreement to define the nature of their
                   relationship, establish pricing, and describe the manner in which custodial and related
                   professional management services will be furnished by Vendor as the exclusive third party
                   supplier of custodial services at the Board Facilities on the terms set forth in this Agreement.

           NOW, THEREFORE, in consideration of the foregoing and the mutual covenants contained herein,
           the Parties hereby agree as follows:
           1.      Incorporation of Recitals. The matters recited above are hereby incorporated into and made
           a part of this Agreement.

           2.     Term of Agreement. The term of this Agreement will be for a period commencing on August
           1, 2021 and continuing through June 30, 2024 (“Term”), unless terminated sooner as provided herein.
           The Board shall have two (2) options to renew this Agreement for periods of two (2) years each. Any
           such renewals shall be mutually agreed upon by the Parties in writing.

           3.      Scope of Services. Vendor agrees to provide the Services described herein and further set
           forth on Exhibit A at each Board Facility listed on Schedule 4. “Services” means, collectively, the
           services, deliverables, duties and responsibilities described in Exhibit A of this Agreement and any
           and all work, supplies and equipment necessary to complete or carry out the Services fully and to the
           standard of performance required in this Agreement. The Services shall be provided by Vendor in
           accordance with all terms and conditions of this Agreement, including, but not limited to compliance
           with the following, which are collectively referred to herein as the “Service Level Requirements”: (i)
           Association of Physical Plant Administrators (“APPA”) Leadership in Educational Facilities Level 2
           Cleaning Standards (“APPA Standard”) set forth in Schedule 1, or such other higher cleaning
           standard as may be mutually agreed by the Parties in writing; (ii) Service Level Agreements (“SLA”)



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           set forth in Exhibit D; (iii) Custodial Services and Frequencies set forth in Schedule 2; and (iv) each
           Key Performance Indicator, which are metrics utilized by the Board to monitor and assess Vendor’s
           performance under this Agreement (“KPI”) as reviewed by the Board through its procurement supplier
           management process each as set forth in Exhibit D. The Board may, from time to time, request
           changes in the scope of Services. Any such changes, including any increase in Vendor’s fees, shall
           be documented by a written amendment to this Agreement signed by Vendor and the Board with
           approval of legal form by the Board’s General Counsel. The term “Board Facilities'' or “Board
           Facility” refers to and includes the actual facility and all surrounding grounds, campus, facilities,
           annexes and other real property owned or controlled by the Board as listed on Schedule 4.

           4.      Service Disputes. If a dispute arises between the Board and Vendor as to whether a
           material service or function related to the Services falls within the scope of the Services, if such
           service or function is consistent with, and reasonably inferable to be within, the scope of the Services
           as set forth in the Agreement and it more reasonably would be associated with the scope of Services
           than not, then such service or function will be documented in a duly executed amendment to this
           Agreement, including as the Parties may mutually agree, any corresponding adjustments to the
           Maximum Compensation Amount, as defined below. The parties may mutually agree that a disputed
           service is not a material service or function and does not require amendment under this section.

           5.        Standards of Performance. Vendor must perform and ensure that all Vendor Personnel as
           defined below in section 6.A. perform all Services required of it under this Agreement to the
           satisfaction of the Board and with that degree of skill, care, diligence, professionalism and attention
           to detail normally shown by a Vendor performing services of a scope, purpose and magnitude
           comparable with the nature of the Services to be provided under this Agreement. Vendor must ensure
           that all Services that require the exercise of professional skills or judgment are accomplished by
           professionals qualified and competent in the applicable discipline and appropriately licensed as
           required by Applicable Law. Vendor acknowledges that, if in the course of providing Services
           hereunder, it is entrusted with or has access to valuable and confidential information and records of
           the Board, that with respect to that information, Vendor agrees to be held to the standard of care of
           a fiduciary for the Board. Vendor shall use efficient business administration methods and perform the
           Services in an efficient and economical manner consistent with the best interests of the Board, so
           as to ensure, among other things, that the Services are performed at a reasonable cost to the Board
           and that the Services are efficiently and cost-effectively delivered. When and where applicable, all
           members of Vendor’s Personnel must hold and maintain throughout the Term, valid certificates and/or
           licenses from the State of Illinois or such other relevant jurisdiction that authorize those individuals to
           perform the Services. Vendor agrees to promptly furnish a copy of the license(s) of any and all Vendor
           Personnel to the Board on request. Vendor must maintain and use sufficient Vendor Personnel or
           Board Custodians to assure the effective and efficient operation of its Services. Vendor will at all
           times cooperate fully with the Board with respect to the Services provided under this Agreement and
           related services provided by the Board’s Third Party Vendors, and will at all times, in its performance
           of the Services, act in the best interests of the Board. If this Agreement is terminated for any reason,
           or if it is to expire on its own terms, Vendor will make every effort to ensure an orderly transition of
           the Services, and will comply with all reasonable requests and requirements of the Board in
           connection with the termination or expiration of the Agreement. Any review, approval, acceptance of
           Services or deliverables or payment for any of the Services by the Board does not relieve Vendor of
           its responsibility for the professional skill, care, and technical accuracy of its Services and
           deliverables. This provision in no way limits the Board’s rights against the Vendor under this
           Agreement, at law or in equity. Vendor shall remain responsible for the professional and technical
           accuracy of all Services, including any deliverables furnished, whether by Vendor or its
           subcontractors or others on its behalf.



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           6.      Vendor Staffing.

                A. General Staffing, Qualified Vendor Personnel. Vendor shall hire, train, assign and retain
                   during the Term and any renewal thereof, an adequate staff of qualified, competent
                   employees, Subcontractors as defined below and other personnel that are fully equipped,
                   licensed as required, available as needed to perform the Services and fulfill its obligations
                   under this Agreement, including without limitation, supervisory, managerial, operational,
                   substitute and administrative staff and any other agents or representatives of Vendor
                   providing Services hereunder (collectively “Vendor Personnel”). Vendor shall be required to
                   maintain adequate staffing of Vendor Personnel at all times during the Term and ensure
                   continuity of Services at all times, including periods when Vendor Personnel assigned to
                   provide Services are unable to provide the Services for any reason, including, but not limited
                   to sickness, holiday or any other such absence as further set forth in Exhibit E. All Vendor
                   Personnel shall be competent, qualified, trained, trustworthy, reliable non-threatening, non-
                   violent, shall not pose a risk of harm to others and shall have successfully completed the
                   Background Check required hereunder prior to accessing any Board Facility and performing
                   any Services hereunder. Further requirements regarding General Staffing are set forth in
                   Exhibit A.

                B. Right to Replace Vendor Personnel. If the Board determines, in its sole discretion, that any
                   Vendor Personnel providing Custodial Services hereunder on behalf of Vendor are not
                   performing in accordance with the Service Level Requirements or such other requirements,
                   expectations or prohibitions of the Board, including, but not limited to, endangering the health,
                   safety or welfare of any CPS student, the Board shall have the right, in its sole discretion, to
                   direct the Vendor in writing to remove such Vendor Personnel from performing any Custodial
                   Services under this Agreement, or under any other agreement with the Board. Upon such
                   notice from the Board or Board Designee , Vendor shall promptly remove such Vendor
                   Personnel from providing any Custodial Services and shall promptly replace with Vendor
                   Personnel meeting the standards required hereunder. Vendor shall be solely liable for any
                   personnel actions taken as a result, and all such personnel actions must be performed in
                   accordance with Vendor's personnel policies, all Applicable Laws, and shall be subject to the
                   terms and conditions of any applicable collective bargaining agreement.

                C. Key Personnel.    Certain management employees of Vendor have particular expertise on
                   which the Board is relying (“Key Personnel''). Vendor may not reassign or replace Key
                   Personnel without the written consent of the Board, which consent shall not be unreasonably
                   withheld or delayed. Such requirements shall not prevent Vendor from removing Key
                   Personnel for performance reasons. Furthermore, the Board understands that Vendor cannot
                   prevent its Key Personnel from posting for a position at another account or otherwise leaving
                   the services at Chicago Public Schools. If one or more Key Personnel terminate their
                   employment with Vendor or otherwise become unavailable for reasons beyond Vendor’s
                   reasonable control, Vendor shall promptly replace such person with another person with
                   comparable training and experience, subject to the approval of the Board, which approval
                   shall not be unreasonably withheld or delayed. Those individuals deemed Key Personnel are
                   identified on Exhibit A attached hereto. As stated in Section B above, the Board shall have
                   the right to direct Vendor to remove an individual from performing Services under the
                   Agreement.




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               D. No Contractual Relationship with Board; Not Board Employees. Vendor Personnel shall not
                  be deemed employees of the Board and Vendor shall have the sole responsibility to
                  compensate Vendor Personnel and to comply with all Federal, State and local employment
                  laws and obligations, including requirements, regulations and laws regarding compensation,
                  taxes, benefits, insurance, workers' compensation, any laws relating to discrimination and any
                  other Applicable Laws. The relationship between Vendor Personnel who are employees of
                  Vendor and Vendor is governed by applicable employment laws, and Vendor is subject to all
                  such employment laws, liability and claims arising out of its employment or contractual
                  relationship with each of the Vendor Personnel. The Board shall have no obligation to any
                  Vendor Personnel under any employment or other laws or union agreements, and Vendor
                  shall indemnify the Board for any claims made by any Vendor Personnel as set forth herein.
                  Vendor acknowledges and agrees that the Board shall have no responsibility or liability for
                  treating Vendor Personnel as employees of the Board for any purpose (including any former
                  Board employee subsequently hired by Vendor). Neither Vendor nor any Vendor Personnel
                  shall be eligible for coverage or to receive any benefit under any Board provided benefit plans.

               E. No Co-Employment, Joint Employer or Common Law Employees. The Parties acknowledge
                   that as a necessity to perform the Custodial Services, Vendor Personnel are assigned and
                   deployed to work within the Board Facilities; however such assignment to Board Facilities
                   does not serve to create any employment relationship with the Board. Vendor further
                   acknowledges that some Vendor Personnel may be former Board employees. Vendor
                   acknowledges that with respect to all Vendor Personnel, but specifically with respect to any
                   Vendor Personnel who are former Board employees, there is a risk that such Vendor
                   Personnel may attempt to assert claims alleging that (i) the Board and Vendor are their joint
                   employers; (ii) the Board and Vendor are their co-employers; and/or (iii) they are the common
                   law employees of the Board. Vendor shall indemnify the Board against any such claims made
                   by Vendor Personnel arising out of allegations of a joint, co-employer, or common law
                   employee relationship as required pursuant to the indemnification provisions hereunder, and
                   in an effort to prevent such claims, Vendor shall provide the Vendor Personnel adequate
                   supervision, evaluations, feedback, and monitor, evaluate and keep records relating to each
                   Vendor Personnel while assigned to work at a Board Facility.

               F. Non-Solicitation: The Vendor shall not, without the Board's prior written consent, knowingly
                   directly or indirectly (through consulting contracts, contracts with third parties or otherwise)
                   any Board employee who was directly involved in and had decision-making authority serving
                   on the Board's procurement/award evaluation committee that made the determination to
                   award this Agreement, to work on matters relating to this Agreement for a period ending the
                   earlier of: (i) one (1) year after such employee terminates employment with the Board; or (ii)
                   one (1) year after termination of this Agreement ("Board Employee Restriction"). The Board
                   shall not, without the Vendor's prior written consent, knowingly hire, engage as a consultant
                   or make any employment agreement with any employee of Vendor who performed
                   management or professional services at the Board Facilities, directly or indirectly, at any time
                   during the then previous twelve (12) months (unless such persons were Vendor employees
                   who were employed formerly by the Board) ("Vendor Employee Restriction"). Each Party
                   acknowledges that the other has invested considerable resources in training its Supervisory
                   Employees and providing them with valuable information that is confidential and proprietary
                   to its operations. If either Party violates the Vendor Employee Restriction or the Board
                   Employee Restriction, it will pay to the other Party liquidated damages in an amount equal to
                   two (2) times the annual compensation of the applicable employee so hired and be permitted




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                   to pursue any other rights and remedies at law or in equity. This provision shall survive the
                   termination or expiration of this Agreement.

           7.      Subcontractors.

                A. General. Any subcontracting by Vendor for services, supplies or equipment in connection
                   with this Agreement shall be pursuant to an appropriate written agreement ("Subcontract")
                   between Vendor and such subcontractor (each a "Subcontractor") and shall include
                   provisions that meet or exceed the requirements of this Agreement, including, without
                   limitation, standards of performance, Background Checks as defined below, indemnification
                   of the Board, insurance and compliance with Applicable Laws. Vendor shall also include in
                   each Subcontract, the certifications required under the Contractor’s Disclosure Form
                   previously submitted to the Board. The terms of each Subcontract shall be maintained in the
                   Board’s Computer Maintenance Management Systems by Vendor as required hereunder and
                   Vendor shall ensure that each Subcontractor complies with each term, condition and
                   requirement of this Agreement. The Board shall have the right, but not the obligation, to
                   review any proposed Subcontractor and may reject any Subcontractor in its sole discretion
                   upon written notice to Vendor. Such action by the Board shall not: (i) create any liability for
                   the Board to any Subcontractor or create a contractual relationship between the Board and
                   any such Subcontractor; or (ii) relieve Vendor of its obligations hereunder or constitute a
                   representation or endorsement by the Board that such Subcontractor is qualified or capable
                   to perform. Each of Vendor’s Subcontracts shall expressly identify the Board as a third party
                   beneficiary that may enforce any indemnification, confidentiality, warranty and similar rights
                   under such Subcontract and shall require the Subcontractor, at no cost to the Board, to correct
                   any performance of Services not meeting the Service Level Requirements or Services
                   delivered, which are otherwise not satisfactory to the Board’s Chief Procurement Officer.
                   Vendor shall be liable for all actions of its Subcontractors and shall fully indemnify the Board
                   with respect to any Subcontractor in accordance with the terms of this Agreement. The Board
                   shall have no obligation or liability with respect to the Subcontract or the Subcontractors and
                   Vendor shall indemnify and hold harmless the Board with respect thereto as set forth herein.

                B. Vendor Supply and Equipment Contracts. With respect to any Subcontract for Custodial
                   Supplies and Consumables as defined in Exhibit A or Custodial Equipment as defined in
                   Exhibit A, Vendor shall: (i) evaluate all Custodial Supplies and Consumables and Custodial
                   Equipment to be utilized in performance of the Services; (ii) evaluate the qualifications of each
                   supplier of Custodial Supplies and Consumables and Custodial Equipment; (iii) negotiate
                   commercially reasonable pricing and terms beneficial to the Board; (iv) order, receive,
                   configure, install, test, maintain and distribute all new Custodial Supplies and Consumables
                   and Custodial Equipment; (v) perform tracking and asset management for all such Custodial
                   Supplies and Consumables and Custodial Equipment; and (vi) maintain updated records
                   regarding each Subcontractor and Subcontract in the CMMS as defined below.

                C. No Contractual Relationship with Board. The Board shall not be deemed to have any
                   contractual relationship with, or obligation to any Subcontractor, with the exception of the
                   Board’s third party beneficiary rights under each Subcontract, nor shall the Board’s
                   relationship with Vendor hereunder create any responsibility to any Subcontractor, including
                   with respect to any Applicable Laws or payments owed by Vendor. Vendor shall properly
                   direct and control each Subcontractor and inspect performance, Supplies, and Equipment for
                   defects and deficiencies on a regular and ongoing basis throughout the Term. No agreement
                   between Vendor and any Subcontractor shall relieve Vendor from any of its obligations or



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                   liabilities hereunder and nothing in this Agreement or any Subcontract shall create any
                   contractual relationship, with the exception of the Board’s third party beneficiary right under
                   each Subcontract as described herein, between the Board and any Subcontractor, including
                   without limitation and obligation on the Board’s part to pay, or be responsible for the non-
                   payment of any sums due to any Subcontractor.

                D. Vendor Affiliates. Vendor shall provide the Board written notice regarding any Subcontractor
                   that is an Affiliate of Vendor, as defined below, prior to entering into any agreement with such
                   Affiliate in connection with the Services. Any such agreement shall be subject to the Board's
                   CPO’s prior written consent in the Board’s sole discretion. Any Subcontract with an Affiliate
                   shall not exceed fair market prices and shall not result in the payment of any profit to Vendor
                   or its Affiliate Subcontractor. The Board may elect, in its sole discretion, to cause any
                   proposed Affiliate Subcontract to be competitively bid in accordance with Board rules. For
                   purposes of this Agreement, "Affiliate" means any entity controlling, controlled by or under
                   common control with Vendor, where "control" means: (i) the ownership of at least fifty percent
                   (50%) of the equity or beneficial interest of such entity; (ii) the right to vote for or appoint a
                   majority of the board of directors or other governing body of such entity; or (iii) the power to
                   directly or indirectly direct or cause the direction of the management and policies of such
                   entity.

                E. Payments to Subcontractors. Vendor shall promptly and timely pay each Subcontractor the
                   amount to which such Subcontractor is entitled no later than the due date for payment under
                   the applicable Subcontract.

                F. Subcontractor Disputes. Vendor shall provide the Board with prompt written notice of all
                   actual, threatened or potential disputes with any Subcontractor, including, without limitation,
                   due to breach, default, insolvency, defect in Subcontractor services, Supplies or Equipment
                   and work stoppage. Such notice shall include the reasons and circumstances giving rise to
                   such disputes in detail so as to enable the Board, in its sole discretion, to exercise any of its
                   rights or remedies hereunder. Notwithstanding the foregoing, neither the provisions of this
                   Section nor the exercise by the Board of any of its rights or remedies shall relieve Vendor of
                   any of its obligations or liabilities under this Agreement.

           8.      Compensation, Purchase Orders and Payment.

                A. Compensation. Compensation for Services during the Term shall be payable in accordance
                   with the schedule and costs and fees as set forth in Exhibit B (the “Financial Terms”) which
                   is attached hereto and incorporated herein. The total maximum compensation for the Services
                   to be provided by Vendor during the Term, inclusive of any reimbursable expenses, shall not
                   exceed the amount stated in the Board Report, cited in the signature page of this Agreement
                   (the “Maximum Compensation Amount”) without the prior written approval of the members
                   of the Board and a written amendment to this Agreement. Except as specifically set forth in
                   Exhibit B hereto and as otherwise expressly set forth in this Agreement, Vendor shall not be
                   reimbursed for any expenses or costs incurred in its performance of the Services. The
                   Maximum Compensation Amount is inclusive of any and all amounts payable by the Board
                   hereunder as specified in Exhibit B. Vendor acknowledges and agrees that the Maximum
                   Compensation Amount referenced hereinabove is a ‘not-to-exceed amount’ and is not a
                   guaranteed payment. Compensation shall be based on actual Services performed during the
                   Term of this Agreement and the Board shall not be obligated to pay for any Services or
                   deliverables not in compliance with this Agreement. In the event the Agreement is terminated



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                   early, the Board shall only be obligated to pay (i) the fees incurred up to the effective date of
                   termination and (ii) the total unamortized balance remaining on the Depreciable Equipment
                   calculated in accordance with Section 14, and Vendor shall promptly refund to the Board any
                   payments received for Services and deliverables not provided. If Vendor overcharges, in
                   addition to all other remedies, the Board shall be entitled to a refund in the amount of the
                   overcharge, plus interest at the rate of one percent (1%) per month from the date the
                   overcharge was paid by the Board until the date refund is made. The Board has the right to
                   offset any overcharge against any amounts due to Vendor under this or any other agreement
                   between Vendor and the Board.
                   Invoice, Billing and Payment Procedures. Vendor shall submit invoices to the Board for: (i)
                   Contract Price as set forth in Exhibit B, in monthly installments, with respect to the portion of
                   the Contract Price that is due and owing in such month; (ii) Implementation Costs actually
                   incurred and approved by the Board for the Implementation Services for the period from
                   August 1, 2021 through September 30, 2021, along with documentation satisfactory to the
                   Board evidencing such Implementation Costs; and (iii) any other amount due and owing by
                   the Board hereunder in accordance with the terms of this Agreement, within a reasonable
                   period after such fees or costs are incurred, subject to the terms of this Agreement, and in
                   each case, providing a detailed explanation of such fees or costs and documentation
                   satisfactory to the Board evidencing any such fees or costs. All invoices must be submitted
                   electronically via email in PDF format to cpsinvoice@cps.edu. Each email may only contain
                   one invoice and must include the Vendor’s name and the CPS Purchase Order number.
                   Orders must be on the Board’s Standard Purchase Order Form. The terms and conditions
                   found on the Board’s Purchase Order shall apply to the extent that such terms supplement
                   and are not inconsistent with the terms and conditions contained in this Agreement. All
                   invoices must include:

                       ●   Vendor name and payment address
                       ●   Unique invoice number (determined by Vendor)
                       ●   Valid purchase order number (only one PO number may be referenced on each
                           invoice)
                       ●   Invoice date
                       ●   Itemized description of the Services rendered and/or goods delivered
                       ●   Date the Services were provided and/or goods were delivered to CPS
                       ●   Detailed pricing information such as quantities, unit prices, discount, and final net
                           amount due.

                   Invoices shall be submitted in a timely manner. The final invoice shall be submitted no later
                   than ninety (90) days after the expiration or termination of this Agreement. If the Vendor has
                   more than one contract with the Board, separate invoices must be submitted for each contract.
                   The Board shall process payments in accordance with the Local Government Prompt
                   Payment Act 50 ILCS 505/1 et seq. in its normal course of business after receipt of invoices
                   and all supporting documentation necessary for the Board to verify the Services provided
                   under this Agreement. The Board reserves the right to request additional information and
                   supporting documentation necessary for the Board to verify the Services provided under this
                   Agreement. The Board has the right to offset any overcharge against any amounts due to
                   Vendor under any other agreement Vendor may have with the Board. The Board may, at its
                   sole discretion, make electronic payments for all invoices using ACH payments.




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                E. Withholding Payment. The Board may, in whole or in part, decline to approve any request for
                   payment hereunder, withhold or offset against any payment or, due to subsequently
                   discovered evidence or inspection, nullify any payment previously made to such extent as
                   may be necessary, in the Board's reasonable opinion resulting from Vendor’s failure to comply
                   with the terms of the Agreement, to protect the Board from loss due to Vendor's failure to meet
                   its obligations hereunder. In the event that the Board is considering withholding payment, the
                   Board shall provide Vendor written notice and the parties shall have ten (10) business days
                   to resolve any issues prior to Board withholding payment. The conditions or occurrences for
                   which the Board may withhold or offset against any payment include without limitation
                   Vendor's failure to provide Services in accordance with this Agreement, including Service
                   Level Requirements and Vendor’s failure to timely make payments owed to any
                   Subcontractor. If, through subsequently discovered evidence or subsequent observations, the
                   Board becomes aware that it could have withheld approval and payment (but did not), the
                   Board reserves the right to deduct the applicable amount from later invoices or obtain a credit
                   from Vendor for the applicable amount; provided, however, the Board shall be obligated to
                   provide Vendor prior written notice and the parties shall have ten (10) business days to resolve
                   any issues prior to the Board deducting amounts. The provisions of this Section shall not
                   lessen or diminish, but shall be in addition to, the right or duty of the Board to withhold
                   payments under the provisions of Applicable Law respecting the withholding of sums due to
                   Vendor.

           9.      Performance and Payment Bonds.

                A. Vendor Performance and Payment Bond.         Prior to commencing the Services under this
                   Agreement, at its own expense, Vendor shall furnish to the Board’s Chief Procurement Officer
                   with a performance and payment bond (“Services Performance and Payment Bond”). The
                   Services Performance and Payment Bond for each year of the Term shall be in the amounts
                   set forth below and delivered to the Board as follows. The amount of any Services
                   Performance and Payment Bond for any renewal term shall set forth by the Board at the time
                   of such renewal:

                   i.   Year 1 Services Performance and Payment Bond. The Services Performance and
                        Payment Bond covering the period from July 1, 2021 through June 30, 2022 shall be
                        delivered to the Board upon execution of this Agreement or July 1, 2021, whichever is
                        later, and shall be in an amount equal to five percent (5%) of the Year 1 Contract Price
                        (as defined on Exhibit B attached hereto) (“Year 1 Bond”).

                   ii. Year 2 Services Performance and Payment Bond. The Services Performance and
                       Payment Bond covering the period from July 1, 2022 through June 30, 2023 shall be
                       delivered to the Board no later than July 1, 2022 and shall be in an amount equal to five
                       percent (5%) of the Year 2 Contract Price (as defined on Exhibit B attached hereto) (“Year
                       2 Bond”).

                   iii. Year 3 Services Performance and Payment Bond. The Services Performance and
                        Payment Bond covering the period from July 1, 2023 through June 30, 2024 shall be
                        delivered to the Board no later than July 1, 2023 and shall be in an amount equal to five
                        percent (5%) of the Year 3 Contract Price (as defined on Exhibit B attached hereto) (“Year
                        3 Bond”).




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                    iv. The Year 1 Bond, the Year 2 Bond and the Year 3 Bond are collectively referred to as the
                        “Services Performance and Payment Bond”. The Services Performance and Payment
                        Bond for each year of the Term shall comply with the Bond Requirements set forth below,
                        and shall also be written on an annually renewable basis based on the amounts set forth
                        above for each year of the Term. Vendor shall use its surety's final bond form or, upon
                        written notice from Vendor to the Board, the following language shall be deemed to be
                        added to this Section:

                    The term of the bond shall be one year, and the term may be extended by the Surety by
                    Continuation Certificate; provided however, that neither non-renewal by the Surety, nor the
                    failure or inability of Vendor to file a replacement bond in the event of non-renewal, shall itself
                    constitute a loss recoverable under the bond or any renewal or continuation thereof.

                 B. Bond Requirements. The Bonds shall, in each instance, comply with the following
                    requirements, which are referred to collectively as the “Bond Requirements”, each Bond
                    shall: (i) expressly reference this Agreement; (ii) name the Board of Education of the City of
                    Chicago as the sole beneficiary; (iii) be in a form satisfactory to the Board, and issued by a
                    reputable surety company that is: (a) listed on the U.S. Department of Treasury List of
                    Approved Sureties; (b) rated A-, Class VII or better by A.M. Best; (c) licensed as a surety to
                    issue and sign performance bonds by the State of Illinois; (d) acceptable to and approved by
                    the Board in its sole discretion; (iv) be furnished with a current sealed, certified, original, first
                    hand signature power of attorney of an authorized officer of the surety signing on behalf of
                    the surety (facsimile or digital signatures shall not be accepted by the Board), notarized with
                    such officer’s official title identified; (v) not contain any forfeiture language, including forfeiture
                    or lapse in the event of an assignment by Vendor (or any Subcontractor, as applicable) for
                    the benefit of creditors or consent by Vendor (or any of its Subcontractor) to the appointment
                    of a trustee or receiver or the filing by or against Vendor of any petition or proceeding under
                    any bankruptcy, insolvency or similar law (collectively “Bankruptcy Event”); (vi) provide for
                    guaranteed payment, security and priority to the Board to protect against any default by
                    Vendor, including guaranteed coverage and payment obligation continuing during any Vendor
                    Bankruptcy Event. Vendor acknowledges and agrees that the Board shall have no obligation
                    to make any payments under this Agreement and shall have no liability to Vendor hereunder
                    unless and until the Vendor has provided the Bonds in compliance with the Bond
                    Requirements. Vendor acknowledges and agrees that the Board shall be entitled to withhold
                    payment for payment associated with those services that are not bond compliant. The Bonds
                    shall be security for the faithful performance of the Services provided by Vendor under this
                    Agreement and the payment of all persons supplying labor, Supplies, Equipment and services
                    of any nature to Vendor in connection with the Services hereunder.

           10.      Vendor Staffing Commitments and Requirements.

                 A. Vendor Staffing Commitment. At all times during the Term, Vendor shall maintain a minimum
                    of the Vendor proposed staffing levels listed in the staffing plan described in Exhibit A and at
                    no time should drop below 95% of the staffing plan staffing levels outlined in Exhibit A unless
                    agreed upon by CPS Chief of Facilities. The foregoing Custodial Manager, Lead Custodian,
                    and Custodian staffing requirements as well as the 1225 to be provided by the Board (“Board
                    Custodians” and collectively with the Vendor Personnel "Minimum Staffing
                    Requirements"). The Minimum Staffing Requirements may only be adjusted upon review of
                    operational requirements and written approval by the Board's Facilities Chief and the Board's
                    Chief Procurement Officer, in their sole discretion. If Vendor is directed by Board to modify



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                   staffing of Custodial Managers, Lead Custodians and/or Custodians above the staffing levels
                   defined in this Section, except in the event that the additional staffing is required to comply
                   with the Service Level Requirements, then (i) such increase shall be documented with an
                   Amendment to this Agreement signed by both Parties, (ii) Board shall reimburse Vendor in
                   accordance with Exhibit B, and (iii) such amount shall be included as part of the Maximum
                   Compensation Amount. If the Board later determines to lower the additional or minimum
                   staffing requirements under this provision, then Vendor reserves the right to initiate a layoff
                   process for staffing above the Minimum Staffing Requirements; provided however, the Vendor
                   shall be obligated to provide Board prior written notice and the parties shall have ten (10)
                   business days to resolve any issues prior to the Vendor initiating the layoff process. In the
                   event Vendor chooses to hire additional personnel above the Minimum Staffing Requirements
                   described herein without the documented approval of the Board’s Chief of Facilities, then such
                   amounts shall be paid by Vendor, not to be reimbursed by the Board.

               B. Staffing Plan. In addition to comply with the Minimum Staffing Requirements, Vendor shall
                  within thirty (30) days of the Effective Date, provide the Board with a staffing plan detailing the
                  allocation of the Custodial Managers, Lead Custodians and Custodians at each Board Facility
                  for the Term, in accordance with the requirements in Exhibit A ("Staffing Plan"). A tentative
                  draft of the Staffing Plan is attached to this Contract as Exhibit C. The Staffing Plan is subject
                  to review and written approval by the Board's Facilities Chief and following such approval,
                  may not be adjusted by Vendor without written approval of the Board's Facilities Chief. Any
                  proposed reductions to the Minimum Staffing Requirements and the Staffing Plan must be
                  approved in writing by the Board in advance of such reduction, and all decisions relating to
                  such proposed reductions (including, but not limited to communications regarding the same
                  with CPS staff, school principals and third parties) shall be made in cooperation with the Board
                  and subject to approval by the Board's Facilities Chief and CPO.

               C. Board Employee Management. Vendor shall have the authority and the obligation, to the
                  extent permissible by Applicable Laws, and subject to the terms and conditions set forth herein
                  and in compliance with any applicable collective bargaining agreements, to manage and direct
                  Board employees who are providing Custodial Services as described in Exhibit A at the
                  Board Facilities under this Agreement. Vendor will direct and supervise all Vendor Personnel
                  and Board Custodians providing Custodial Services at the Board Facilities. Vendor shall be
                  responsible for managing day to day supervision, training and development of such Board
                  Custodians and for documenting and maintaining complete performance records relating to
                  each such Board Custodian, which records shall be updated regularly, maintained for the
                  period required hereunder and provided to the Board upon request. Vendor shall also be
                  responsible for timely presenting the Board with any issues and concerns relating to any
                  Board Custodian providing Custodial Services under the supervision of Vendor, including
                  recommending disciplinary action to the Board as conditions and actions may necessitate. At
                  the direction, authorization and approval of the Board in each instance following review of any
                  disciplinary recommendation made by Vendor, Vendor shall issue disciplinary action as
                  specifically authorized by the Board in each such instance, in strict compliance with Board
                  policies, guidelines and direction. Notwithstanding the foregoing or any other provision in this
                  Agreement to the contrary, the Board shall retain exclusive control of the terms and conditions
                  of the employment of Board employees, including, without limitation, the hiring, firing,
                  promotion, discipline, compensation, and work duties of such Board employees; provided
                  however that the Vendor may, in accordance with the terms above, provide written



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                    recommendations to the Board from time to time regarding employment, compensation,
                    promotion, discipline, discharge, staffing levels and performance and progress evaluations
                    with respect to Board Custodians.

                 D. Alcohol and Drug Testing. Vendor shall maintain a written policy regarding drug and/or
                    alcohol testing of Vendor Personnel (“Vendor Drug and Alcohol Policy”), that shall comply
                    with the Board’s Drug and Alcohol Free Workplace Policy (06-0726-PO2) (“CPS Drug and
                    Alcohol Policy”), as amended, and Vendor shall ensure that each of its Vendor Personnel
                    and all Subcontractors are aware of their obligations to comply with the Vendor Drug and
                    Alcohol Policy and the CPS Drug and Alcohol Policy. Vendor shall implement the Vendor
                    Drug and Alcohol Policy throughout the Term and shall monitor Vendor Personnel for any
                    indications of non-compliance with such policy. The Vendor Drug and Alcohol Policy shall
                    require the testing of any Vendor Personnel directly or indirectly involved in any incident or
                    accident in which a physical injury has occurred immediately following the incident or accident.
                    In order to ensure that all Subcontractors maintain and implement similar testing policies,
                    Vendor shall expressly require compliance with the terms of the CPS Drug and Alcohol Policy
                    and Vendor Drug and Alcohol Policy in each of Vendor’s Subcontracts. If the results of any
                    drug or alcohol testing of Vendor Personnel are positive, Vendor shall immediately contact
                    the CPS Project Manager concerning the results. The Board reserves the right, in its sole
                    discretion to require the removal from a Board Facility, either temporarily or permanently, of
                    any person in violation of, (or believed to be in violation of, pending testing results) the CPS
                    Drug and Alcohol Policy.

                 E. CPS Policy. Vendor shall ensure that all CPS Policies are observed and followed by all Vendor
                    Personnel and Subcontractors. The Board reserves the right, in its sole discretion to require
                    removal from a Board Facility, either temporarily or permanently, of any person in violation of
                    CPS Policies.

                 D. Prevailing Wages: If in the performance of the Agreement, there is any underpayment of
                    wages by Vendor, the Board may withhold from payments due to Vendor an amount sufficient
                    to pay to employees underpaid the difference between the wages required to be paid and the
                    wages actually paid such employees for the total number of hours worked. The amounts
                    withheld shall be disbursed by the Board for and on account of Vendor to the respective
                    employees to whom the wages are due. In the event the Board is required to withhold and
                    disburse said amounts of underpaid wages to Vendor’s employees, the Board shall also
                    withhold a sum equal to the Board's cost to administer the payment of said balance of salaries
                    due. The amount withheld shall be disbursed by the Board for and on account of Vendor to
                    the respective employees to whom they are due.
           11.      Service Levels.
                 A. Service Levels. Vendor shall perform the Services in compliance with the Service Level
                    Requirements as outlined in Exhibit D, and where no KPI or SLA is provided for any portion
                    of the Services, such Services shall be at least equal to industry best practices and standards
                    of first tier vendors of services similar to the Services provided by Vendor hereunder, and in
                    no event shall any such Services fall below the degree of accuracy, quality, completeness,
                    timeliness, responsiveness, security and efficiency as was provided at the Board Facilities
                    prior to the Effective Date of this Agreement.

                 B. Service Level Failure. Vendor shall inform the Board immediately if Vendor is unable, or is
                    reasonably likely to be unable, to provide the Services in accordance with the Service Level



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                    Requirements, is otherwise unable to provide the Services in compliance with the terms and
                    conditions of this Agreement or if any organizational, security-related or other issues will
                    materially affect, or are reasonably likely to materially affect, the delivery of the Services.
                    Without limiting the remedies available to the Board hereunder, including the Board’s
                    remedies for an Event of Default (or a Non-Curable Event of Default, as applicable) or the
                    Board’s right hereunder to assess SLA Liquidated Damages (defined in Exhibit D), upon
                    Vendor's failure to provide any of the Services in accordance with the Service Level
                    Requirements, resulting in an SLA Deficiency (as defined in Exhibit D), and SCAR (as defined
                    in Exhibit D) and upon receipt of written notice from the Board regarding the same, Vendor
                    shall immediately take the following actions: (i) perform an analysis to identify the underlying
                    cause of such failure; (ii) identify the procedures necessary for most quickly and efficiently
                    correcting the failure and for immediately implementing such procedures to effectuate the
                    correction; (iii) provide the Board with a report detailing the findings and procedures identified
                    and implemented to correct the failure; and (iv) implement appropriate preventive measures
                    so that the problem does not reoccur.

                 C. Evolution and Improvement of Services. It is anticipated that the Services will evolve and be
                    supplemented, improved and enhanced by Vendor over time to keep pace with advancements
                    and improvements in industry standards and best practices, means and methods of delivering
                    similar services, including, implementation of technology or processes related to the Services
                    that are likely to improve the efficiency and effectiveness of the Services and/or result in cost
                    savings to the Board. Any such changes to the Services must be reviewed with the Board’s
                    Facilities Chief and approved by the Board in writing, to the extent such changes reflect a
                    material change to the Services.

                 D. Cooperation with Third Parties. Vendor understands and acknowledges that the Board may
                    retain other vendors or suppliers (collectively the "Third Party Vendors") to perform certain
                    services at the Board Facilities which are related to the Services performed by Vendor.
                    Vendor shall coordinate its performance of Services with the services of Third Party Vendors
                    in order to facilitate efficient, successful completion of each project or performance of the
                    Services and such Third Party Vendor services. Vendor shall take such action as necessary
                    or desirable to coordinate and cooperate with Third Party Vendors, including without limitation,
                    providing cooperation and information to and attending meetings with such Third Party
                    Vendors. Vendor shall coordinate the Services with all such services being provided by any
                    Third Party Vendor, and shall cooperate with the Board and each Third Party Vendor to allow
                    such Third Party Vendor to provide its services (including services similar to the Services) or
                    products in an integrated and seamless manner without disruption to the Board's operations.
           12.    Designated Project Managers. Each Party shall designate a project manager (each a
           “Project Manager”) who shall serve as the primary representative to the other Party with respect to
           performance of such Party under this Agreement. The initial Project Managers are named in Exhibit
           A. The Vendor Project Manager shall (i) have overall responsibility for managing and coordinating
           the performance of Vendor’s obligations under this Agreement, and (ii) be authorized to act for and
           on behalf of Vendor with respect to all matters relating to this Agreement. Any Project Manager
           provided by Vendor shall not have the authority to execute any contractual documents on behalf of
           the Vendor. Vendor’s Project Manager shall be deemed Key Personnel as set forth in Exhibit A.
           13.     Knowledge Transfer. Upon the request of the Board, Vendor shall make good faith efforts
           during the Term of the Agreement to provide Board with training of Board employees for the purpose
           of transferring to Board the non-proprietary know-how utilized by Vendor to perform the Services.
           The knowledge transfer shall be sufficient to enable the Board’s employees to perform the Services



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           in the event that the Board is required to step in to perform the Services or for any other reason
           resulting in transfer of the Services from Vendor. Any costs associated with this section shall be
           discussed and agreed to by the Parties at that time.

           14.      Custodial Supplies and Custodial Equipment. Except as may be expressly set forth in the
           Agreement or its Exhibits and Attachments, Vendor shall furnish all Supplies and Equipment
           necessary or desirable to provide the Services. Upon the complete reimbursement for the purchase,
           title to any consumable Supplies purchased by Vendor for the Services hereunder shall be held by
           the Board.
           15.    Reports. Vendor shall maintain, at a location acceptable to the Board, records that document
           Vendor’s performance of the Services as further detailed in Exhibit A. Vendor shall provide the Board
           with assistance in connection with any reporting requirements under Applicable Laws. Such
           assistance shall include providing accurate reports, records, logs and other information that the Board
           may request from time to time as to the Services provided hereunder.
           16.     Time is of the Essence. Time is of the essence with respect to the Services performed under
           this Agreement. Execution of this Agreement shall constitute Vendor's representation and warranty
           that Vendor is fully capable of performing, and will perform the applicable obligations hereunder in
           accordance with the timing set forth herein or as directed by the Board from time to time.
           17.     Non-appropriation. Expenditures not appropriated by the Board in its current fiscal year
           budget are deemed to be contingent liabilities only and are subject to appropriation in subsequent
           fiscal year budgets. In the event no funds or insufficient funds are appropriated and budgeted in any
           subsequent fiscal period by the Board for performance under this Agreement, the Board shall notify
           Vendor and this Agreement shall terminate on the earlier of the last day of the fiscal period for which
           sufficient appropriation was made or whenever the funds appropriated for payment under this
           Agreement are exhausted. Payments for Services completed to the date of notification shall be made
           to Vendor except that no payment shall be made or due to Vendor under this Agreement beyond
           those amounts appropriated and budgeted by the Board to fund payments under this Agreement.
           18.      Termination, Suspension of Services, Events of Default and Remedies.
                 A. Early Termination. Either Party may terminate the Agreement in whole or in part, without
                    cause, at any time, by a notice in writing from such terminating Party to the other Party in
                    accordance with the notice provisions herein. The effective date of termination shall be three
                    hundred and sixty-five (365) calendar days from the date the notice is received or the date
                    stated in the notice, whichever is later. This provision is subject to ratification by the Board at
                    the October 2021 Board meeting because it is inconsistent with the authority granted in Board
                    Report 21-0728-PR14.
                    After notice is received, Vendor must restrict its activities, and those of its Subcontractors, to
                    winding down any reports, analyses, or other activities previously begun. No costs incurred
                    after the effective date of the termination are allowed. Payment for any Services actually and
                    satisfactorily delivered before the effective date of the termination is on the same basis as set
                    forth in the Compensation Section of the Agreement.
                    Vendor must include in its contracts with Subcontractors an early termination provision in form
                    and substance equivalent to this early termination provision to prevent claims against the
                    Board arising from termination of Subcontracts after the early termination of the Agreement.




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                         Vendor shall not be entitled to make any early termination claims against the Board resulting
                         from any Subcontractor’s claims against Vendor or the Board to the extent inconsistent with
                         this provision.
                 B. Suspension of Services. The Board may, upon twenty one (21) calendar day’s written notice,
                    direct Vendor to suspend Services in whole or part. Vendor shall promptly resume
                    performance of Services upon written notice from the Board and upon such equitable
                    extension of time as may be mutually agreed upon in writing by the Board and Vendor.
                    Responsibility for any additional costs or expenses actually incurred by Vendor as a result of
                    remobilization shall be determined by mutual agreement of the Parties. During the period of
                    time that Services are suspended all costs incurred by Vendor will be billed back to the Board
                    as a Direct Cost as mutually agreed upon by the Parties in advance, including but not limited
                    to, amortization costs.
           19.           Events of Default. (“Events of Default”) include, but are not limited to, any of the following:

                 A. Any action or failure to act by Vendor which affects the safety and/or welfare of Board students
                         or staff;

                 B. Any material misrepresentation by Vendor in the inducement of the Agreement or the
                         performance of the Services;

                 C. Breach of any term, condition, representation, or warranty made by the Vendor in this
                         Agreement;

                 D. Failure of Vendor to perform any of its obligations under this Agreement including, without
                         limitation, the following:

                    i.       Failure to timely perform any portion of the Services in accordance with the terms,
                             conditions, and specifications of this Agreement;

                   ii.       Failure to perform the Services with sufficient personnel or material to ensure the timely
                             performance of Services;

                  iii.       Failure to enforce compliance with uniform and safety and security policies;

                  iv.        Failure to comply with the Service Level Requirements, or any part thereof;

                   v.        Failure to comply with Supplier Corrective Action Request, or any part thereof;

                  vi.        Failure to perform the Services, or any part thereof, in a manner reasonably satisfactory
                             to the Chief Procurement Officer of the Board;

                 vii.        Failure to promptly re-perform or re-deliver Services or Supplies that were rejected by the
                             Board as incomplete or unsatisfactory within a reasonable time and at no cost to the
                             Board;

                 viii.       Discontinuance of the Services for reasons within Vendor’s reasonable control;




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                  ix.      Failure to comply with any term of this Agreement, including but not limited to, the
                           provisions concerning insurance and non-discrimination and any other acts specifically
                           stated in this Agreement constituting an Event of Default;

                  x.       Failure of Vendor to comply at any time during the Term with any of the Bond
                           Requirements set forth in herein; or

                  xi.      Failure to meet MBE/WBE project participation goals.

                 E. Default by Vendor under any other agreement Vendor may have or may enter into with the
                        Board;

                 F. Where Services include contact with students, any failure to comply with the Background
                        Check requirements, in whole or in part; and

                 G. Assignment by Vendor for the benefit of creditors or consent by Vendor to the appointment of
                        a trustee or receiver or the filing by or against Vendor of any petition or proceeding under any
                        bankruptcy, insolvency or similar law.

           The Events of Default set forth in the following subsections of this Section 19, subsection 19.A.
           (student and staff safety and welfare), subsection 19.B (material misrepresentation), subsection 19.F.
           (Background Check), subsection 19.C (Representations or Warranties), subsection 19.D.iv (Service
           Level Requirements), subsection 19.D.vii. (Discontinuation of Services), subsection 19.D.ix
           (discrimination), and 19.G. (assignment of contract), are each a "Non-Curable Event of Default", for
           which Vendor does not have an opportunity to cure under Section 21 (collectively, "Non- Curable
           Events of Default").

           20.      Default by the Board. In the event the Board fails to pay Vendor undisputed amounts due
           and owing in accordance with the terms in Exhibit B (“Payment Default”), Vendor shall provide
           written notice to the Board for each such Payment Default (“Payment Default Notice”). Upon receipt
           of a Payment Default Notice by the Board, the Board shall thereafter have ninety (90) days to cure
           each such Payment Default. If the Board fails to cure a Payment Default within ninety (90) days after
           receipt of the Payment Default Notice, Vendor shall, upon ninety (90) days prior written notice to the
           Board, have the right to suspend and/or terminate this Agreement (“Termination Notice”), provided
           that the foregoing shall in no way limit the Board’s payment obligations hereunder (including without
           limitation Exhibit B of this Agreement) or otherwise in connection with the Local Government Prompt
           Payment Act 50 ILCS 205/1 et seq. Notwithstanding the foregoing, the Parties agree that a Payment
           Default shall not occur and Vendor shall have no right to provide a Payment Default Notice with
           respect to any invoices that are the subject of a then-existing good faith dispute between Vendor and
           the Board.

           21.     Remedies. Subject to the terms herein, the Board in its sole discretion may declare Vendor
           in default if the Vendor commits an Event of Default, including a Non-Curable Event of Default. The
           occurrence of any Event of Default (excluding Non-Curable Events of Default, for which Vendor does
           not have an opportunity to cure) which Vendor fails to cure within fifteen (15) calendar days after
           receipt of notice given in accordance with the terms of this Agreement specifying the Event of Default
           in reasonable detail, or which, if such Event of Default cannot be reasonably cured within fifteen (15)
           calendar days after notice, Vendor fails to commence and continue diligent efforts to cure in the sole




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           opinion of the Board, may permit the Board to declare Vendor in default of this Agreement (“Cure
           Period”). Provided however, that Vendor must immediately after receipt of notice of a Non-Curable
           Event of Default regarding subsection 19.A. (student and staff safety and welfare) promptly take any
           and all necessary steps to eliminate any imminent danger to such CPS students and staff, though
           such action shall not be deemed as cure of such Non-Curable Event of Default by Vendor. Whether
           to declare Vendor in default of this Agreement for an Event of Default is within the sole discretion of
           the Chief Procurement Officer (subject to the terms of this Agreement). The Chief Procurement
           Officer shall give the Vendor written notice of the Event of Default either in the form of a cure notice
           (“Cure Notice”) or, in the case of a Non-Curable Event of Default, a notice of default at the discretion
           of the Chief Procurement Officer (“Default Notice”). If the Chief Procurement Officer gives a Default
           Notice stating that he/she has decided to terminate this Agreement, in whole or in part, then that
           decision is final and effective on giving of the notice or on the date set forth in the notice, whichever
           is later. The Chief Procurement Officer may give a Default Notice if Vendor fails to effect a cure of
           an Event of Default as permitted hereunder within the Cure Period, or, in the event that the Event of
           Default cannot be cured completely within the Cure Period, Vendor fails to begin reasonable efforts
           to effect a cure within the Cure Period. If the Chief Procurement Officer decides not to terminate,
           then she or he may decide at any time thereafter to terminate this Agreement in a subsequent Default
           Notice, provided the Event of Default is continuing and remains uncured (if curable). Vendor must
           discontinue all Services unless otherwise specifically directed otherwise in the Default Notice, and
           Vendor must deliver to the Board all materials prepared or created in the performance of this
           Agreement, whether completed or in-process as required hereunder.

           Upon the occurrence of: (i) an Event of Default, subject to the terms above relating to Vendor’s Cure
           Period for curable Events of Default; or (ii) a Non-Curable Event of Default (defined below), the Board
           may invoke any or all of the following remedies:

               A. The right to take over and complete the Services or any part thereof, by contract or otherwise
                  as agent for and at the cost of Vendor, either directly or through others. Vendor shall be liable
                  to the Board for any excess cost reasonably incurred by the Board. Any amount due Vendor
                  under this Agreement or any other agreement the Vendor may have with the Board may be
                  offset against amounts claimed due by the Board.

               B. The right to terminate this Agreement, in whole or in part, as to any or all of the Services yet to
                   be performed, effective at a time specified by the board.

              C. The right to suspend the performance of Services during the cure period if the default results
                  from Vendor’s action or failure to act which affects the safety or welfare of students or Board
                  staff. In the event that Services are resumed, Vendor shall not be entitled to seek
                  reimbursement from the Board for any additional cost or expenses incurred as a result of
                  remobilization.

               D. The right to specific performance, an injunction, or any other appropriate equitable remedy.

               E. The right to money damages.

               F. The right to withhold all or part of Vendor’s compensation or other amounts due under this
                  Agreement for any and all damages incurred as a result or in consequence of an Event of
                  Default.




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                 G. The right to deem Vendor non-responsible in future contracts to be awarded by the Board,
                    pursuant to the Board’s Debarment Policy (08-1217-PO1), as may be amended.


           The Board may elect not to declare Vendor in default or to terminate the Agreement. The parties
           acknowledge that this provision is solely for the benefit of the Board and that if the Board permits
           Vendor to continue to provide the Services despite one or more Events of Default, Vendor shall in no
           way be relieved of any responsibilities, duties or obligations under the Agreement nor shall the Board
           waive or relinquish any of its rights under the Agreement, at law, in equity or by statute, nor shall the
           Board be deemed to have waived or relinquished any of the rights it has to declare an Event of Default
           in the future. If the Chief Procurement Officer decides not to terminate, then she or he may decide
           at any time thereafter to terminate the Agreement, in whole or in part, in a subsequent Default Notice.
           The remedies under the terms of the Agreement are not intended to be exclusive of any other
           remedies provided, but each and every such remedy shall be cumulative and shall be in addition to
           any other remedies, existing now or hereafter, at law, in equity or by statute. No delay or omission to
           exercise any right or power accruing upon the occurrence of any Event of Default shall be construed
           as a waiver of any Event of Default or acquiescence thereto, and every such right and power may be
           exercised from time to time and as often as may be deemed expedient.

           If the Board’s election to terminate the Agreement for default under this Section is determined by a
           court of competent jurisdiction to have been wrongful, then in that case the termination is to be
           considered an early termination pursuant to the Early Termination Section above.

           22.     Liquidated Damages for SLA Failure. Because of the difficulty ascertaining and quantifying
           the actual damages which the Board may sustain, should the Vendor fail to perform Custodial
           Services as required under the Agreement, the Board shall have the right to assess the liquidated
           damages set forth in herein for failure by the Vendor to meet the performance guarantees described
           herein. The Board and the Vendor have agreed to the Liquidated Damages as described in Exhibit
           D.

           Subject to the limitations in Exhibit D, Vendor shall pay the liquidated damages described herein as
           liquidated damages and not by way of penalty, to the Board and the Vendor shall authorize the Board
           to deduct the amount of such liquidated damages from money due the Vendor for the Maximum
           Compensation Amount. If the monies due the Vendor are insufficient to pay the liquidated damages,
           the Vendor shall pay the Board such amount(s) within thirty (30) calendar days after receipt of a
           written demand by the Board. In its sole discretion, the Board shall have the right to elect not to
           assess liquidated damages. Failure by the Board to assess liquidated damages in any particular
           instance or occasion shall not preclude or constitute a waiver of the Board’s right to assess such
           damages at a later time, or on a subsequent occasion. The Board’s right to assess liquidated
           damages shall not preclude the assertion of, or be exclusive of, any other available remedy including
           the right to terminate this Agreement.
           Liquidated damages will not be assessed if poor performance results from “Force majeure.” The
           terms “Force Majeure” as used herein means acts of god; labor strikes; acts of public enemy,
           blockades, wars, insurrections or riots; landslides, earthquakes, fires, storms, floods, washouts,
           governmental restraints, either federal or state, civil or military; civil disturbances; and explosions.




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           Liquidated damages also will not be assessed if Vendor’s poor performance results from (i) the failure
           of the Board to follow Vendor’s recommendations regarding hiring, discipline and discharge of Board
           Custodians; and/or (ii) vandalism or other causes outside Vendor’s control.

           23.    Termination Action, Turnover of Documents and Records. Upon expiration of the Term
           or other termination as provided hereunder, Vendor shall work with the Board to develop a plan to
           wind-down and transfer the Services, mitigate costs associated with such transition and preserve any
           Board Data (defined below) or other materials (whether in progress or completed) until the Board or
           the Board’s designee takes possession thereof.

                 A. Transition. Upon expiration or termination of all or part of the Services or this Agreement for
                    any reason, Vendor shall (i) take all actions necessary to accomplish a complete, efficient and
                    timely transition of the Services from Vendor to the Board, or to any replacement Third Party
                    Vendor by the Board without material impact on the Services and without any material impact
                    on any other services provided by Third Party Vendors; (ii) timely cooperate with all Board
                    requests for information regarding the Services and provide such requested information within
                    ten (10) days following such request; (iii) ensure the prompt and orderly conclusion of all
                    Services, as the Board may direct, including completion or partial completion Services in
                    process, providing status and documentation of Services in process; and (iv) comply with any
                    other requests or take such action as may be necessary or desirable to ensure an orderly
                    transition of the Services (“Termination Transition Services”).

                  B.       Development of Termination Transition Plan. As part of the Termination Transition
              Services, upon the request of the Board, Vendor shall assist the Board in developing a termination
              transition plan which shall specify the tasks to be performed by the Parties in connection with all
              services necessary to seamlessly transition the Services from Vendor to the Board or its designee,
              including a description of the Termination Transition Services, a timeline for the performance of
              such tasks and such other deliverables and documentation (such as operating manuals) that will
              promote an orderly transition of the Services. Vendor shall provide any additional transition
              services as Board requests in writing for a period of up to one (1) year after the termination or
              expiration of this Agreement for any reason, on a time and materials basis, at a rate to be mutually
              agreed upon between the Board and Vendor.

                  C.     Equipment and Supplies. Any equipment purchased pursuant to the Equipment
              Investment as detailed in Exhibit B shall be amortized in accordance with the terms thereunder.
              Any consumable supplies purchased will be reimbursed as a Direct Cost and title to such
              consumable supplies shall pass to the Board upon full reimbursement.
                                a. Vendor shall furnish any and all Custodial Supplies and Consumables and
                                   Custodial Equipment as necessary or required to complete or carry out the
                                   Services fully and to the standard of performance requirement in this
                                   Agreement, as a Direct Cost.
                                b. The Board shall make secure storage and janitorial areas available to the
                                   Vendor at the Board Facilities to store Custodial Supplies/consumables and
                                   Custodial Equipment.
                                c. Title to any Custodial Supplies/consumables purchased by Vendor prior to the
                                   expiration or early termination of this Agreement shall vest in the Board, upon
                                   reimbursement of the Direct Costs charged to the Board for such Custodial




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                                    Supplies/consumables. Vendor shall transfer title to, the Custodial Equipment
                                    to the Board pursuant to and in accordance with the terms of Section 14 of the
                                    Agreement. Vendor, at the Board’s request, shall execute and deliver any bills
                                    of sale, assignments or other documents of conveyance reasonably necessary
                                    to evidence the vesting of title in and to such Custodial Supplies to the Board
                                    and the conveyance of the Custodial Equipment to the Board.

           24.    Board Confidential Information, Dissemination of Information, Ownership, Survival. For
           the purposes of this Section and subsections A through K below, the term “Work Product” shall
           exclude any and all (i) third-party intellectual property and (ii) pre-existing intellectual property and
           Vendor Proprietary Materials (defined below) that are delivered to the Board as part of the Services
           to be provided by Vendor hereunder or are imbedded in any Work Product to be delivered to the
           Board by Vendor hereunder.

                 A. Confidential Information. In the performance of the Agreement, Vendor may have access to
                    or receive certain information that is not generally known to others (“Confidential
                    Information” or “Board Data”). Vendor acknowledges that Confidential Information may
                    include but is not limited to, proprietary information, copyrighted material, business plans,
                    financial data, student data, educational records, employee data, information relating to health
                    records, and other information of a personal nature. It is understood that Confidential
                    Information may also include confidential or proprietary information of third parties provided
                    by the Board to Vendor in the course of the performance of Services under the Agreement.
                    Confidential Information will not include information that is: (i) or becomes part of the public
                    domain through no fault of Vendor; (ii) made available to Vendor by an independent third party
                    having the legal right to make such disclosure; and (iii) information that can be established
                    and documented by Vendor to have been independently developed or obtained by Vendor
                    without violating the confidentiality obligations of the Agreement and any other agreements
                    with the Board.

                 B. Use of Confidential Information: Vendor shall only use Confidential Information for the sole
                    purpose of providing Services to the Board and shall not disclose the Confidential Information
                    except to those of its directors, officers, agents, servants, employees, and contractors who
                    need to know the Confidential Information in order to perform the Services set forth in the
                    Agreement. Vendor shall not copy or otherwise reproduce the Confidential Information for any
                    purposes outside the terms of the Agreement without the prior written consent of the Board.
                    Vendor shall use at least the same standard of care in the protection of Confidential
                    Information as Vendor uses to protect its own confidential information, but in any event, such
                    Confidential Information shall be protected in at least a commercially reasonable manner.
                    Notwithstanding the foregoing, it is understood and agreed that such protection of the
                    Confidential Information may be subject to the special requirements set forth in the Family
                    Educational Rights and Privacy Act (“FERPA”) and the Illinois School Student Records Act
                    (“ISSRA”).

                 C. Handling of Confidential Information: Vendor shall protect against the unauthorized access,
                    use or disclosure of Confidential Information by employing security measures when handling
                    Confidential Information that are no less protective as those used to protect Vendor’s own
                    confidential information and at least as secure as the following. When handling Confidential
                    Information, Vendor shall:




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                      i.   When mailing physical copies of Confidential Information, send the Confidential
                           Information in a tamper-proof, labeled container, with a tracking number and a delivery
                           confirmation receipt. Vendor shall not send with encrypted Confidential Information,
                           via mail or electronically, any password or other information sufficient to allow
                           decryption.

                     ii.   Not store any Confidential Information on portable or removable electronic media,
                           such as CDs, DVDs, electronic tape, flash drives, etc.

                    iii.   Not leave Confidential Information in any medium unsecured and unattended at any
                           time.

                    iv.    Keep all physical copies (paper, portable or removable electronic media, or other
                           physical representations) of Confidential Information under lock and key, or otherwise
                           have sufficient physical access control measures to prevent unauthorized access.

                     v.    Password protect any laptop or other electronic device that contains Confidential
                           Information. Additionally, any laptop or other electronic device that contains
                           Confidential Information shall have its full hard drive encrypted with an encryption key
                           of no less than 256 bits. Vendor shall not leave any laptop or other electronic device
                           unattended without enabling a screen-lock or otherwise blocking access to the laptop
                           or other electronic device. Vendor shall ensure that no password or other information
                           sufficient to access a laptop or electronic device containing Confidential Information is
                           attached to or located near the laptop or other electronic device at any time.

                    vi.    Secure the Confidential Information stored on its systems, including but not limited to
                           any servers, by employing adequate security measures to prevent unauthorized
                           access to, disclosure and use of that information. These measures include appropriate
                           administrative, physical, and technical safeguards, policies, procedures, and technical
                           elements relating to data access controls. All Confidential Information must be secured
                           in transit using secure FTP services or https/TLS 1.0+. Vendor must maintain industry
                           recognized security practices to establish secure application(s), network, and
                           infrastructure architectures.

                   vii.    Ensure that the manner in which Confidential Information is collected, accessed, used,
                           stored, processed, disposed of and disclosed within Vendor’s Services and supporting
                           enterprise complies with applicable data protection and privacy laws, as well as the
                           terms and conditions of the Agreement.

                   viii.   Conduct periodic risk assessments and remediate any identified security
                           vulnerabilities in a timely manner. Vendor will also have a written incident response
                           plan, to include prompt notification of the Board in the event of a security or privacy
                           incident, as well as best practices for responding to a breach of Confidential
                           Information security practices. Vendor agrees to share its incident response plan for a
                           specific incident upon request.

                    ix.    Assure that its systems, Services include at least the following safeguards:

                                a. Include component and system level fault tolerance and redundancy in system
                                   design.



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                                b. Encrypt user passwords in any data storage location and obfuscate password
                                   entry fields in any entry interface controlled by the discloser.
                                c. Encrypt Confidential Information at rest and in transit.
                                d. Authentication of users at logins with a 256-bit or higher encryption algorithm.
                                e. Secure transmission of login credentials.
                                f. Automatic password change routine.
                                g. Trace user system access via a combination of system logs and Google
                                   Analytics.
                                h. Secure (encrypt) the audit trails and system generated logs and ensure that
                                   they are stored in locations that are inaccessible to automated content
                                   discovery software.
                                i. Conduct or undergo system level testing whenever new functionalities are
                                   added to the system to reconfirm system security measures are retained and
                                   functional, and that interaction with the Board systems is not degraded or
                                   compromised.
                                j. Employ an in-line intrusion prevention system that inspects incoming data
                                   transmissions.
                                k. Prevention of hostile and unauthorized intrusion.
                                l. Backup of all Confidential Information at least once every twenty-four (24)
                                   hours.
                                m. Perform content snapshots at least daily and retain for at least ninety (90) days.

                   x. Confidential Information shall be stored, backed up, and served only on servers located in
                      the continental United States. Vendor’s network where Confidential Information may be
                      stored shall have an in-line intrusion prevention system that inspects incoming data
                      transmissions. Vendor shall have a documented disaster recovery plan for the
                      electronic systems where Confidential Information may be stored. Data stored in cloud-
                      based systems must be protected in the same manner as local data as described
                      throughout the Agreement.

               D. Dissemination of Information. Vendor shall not disseminate any Confidential Information
                  and/or any Work Product (as defined below) obtained or developed in performance or delivery
                  of Services and/or Materials for the Board to a third party without the prior written consent of
                  an authorized representative of the Board. If Vendor is presented with a request for
                  documents by any administrative agency or with a subpoena duces tecum regarding any
                  Confidential Information and/or Work Product (as defined below) which may be in Vendor’s
                  possession as a result of Services and/or Materials provided under the Agreement, Vendor
                  shall immediately give notice to the Board and its General Counsel with the understanding
                  that the Board shall have the opportunity to contest such process by any means available to
                  it prior to submission of any documents to a court or other third party. Vendor shall not be
                  obligated to withhold delivery of documents beyond the time ordered by a court of law or
                  administrative agency, unless the request for production or subpoena is quashed or
                  withdrawn, or the time to produce is otherwise extended.

               E. Destruction of Confidential Information. Vendor shall, upon the termination or expiration of
                   this Agreement and after the parties are no longer pursuing further contractual relationship,
                   cease using and take commercially reasonable measures to destroy all Confidential
                   Information (and all copies thereof) furnished by the Board or collected by Vendor in
                   performance under this Agreement. Vendor shall take commercially reasonable measures to
                   destroy all Confidential Information within five (5) business days of termination or expiration of



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                    the Agreement. Vendor shall confirm by written affidavit to the Board that Vendor has complied
                    with the requirement of this provision to destroy such items.

               F. Unauthorized Access, Use or Disclosure of Confidential Information. If the Vendor has actual
                    knowledge of any unauthorized access, use, or disclosure of the Confidential Information, it
                    shall: (i) notify the Board immediately, which shall be no more than twenty-four hours from the
                    Vendor receiving notice of the unauthorized access, use, or disclosure of the Confidential
                    Information; (ii) take prompt and appropriate action to prevent further unauthorized access,
                    use, or disclosure; (iii) cooperate with the Board and any government authorities with respect
                    to the investigation and mitigation of any such unauthorized access, use, or disclosure,
                    including the discharge of the Board’s duties under the law; and (iv) take such other actions
                    as the Board may reasonably require to remedy such unauthorized access, use or disclosure,
                    including if required under any federal or state law, providing notification to the affected
                    persons. Vendor shall bear the losses and expenses (including attorneys’ fees) associated
                    with a breach of Vendor’s obligations for the protection and handling of Confidential
                    Information including, without limitation, any costs: (1) of providing notices of a data breach
                    to affected persons and to regulatory bodies; and (2) of remedying and otherwise mitigating
                    any potential damage or harm of the data breach including, without limitation, establishing call
                    centers and providing credit monitoring or credit restoration services, as requested by the
                    Board. Vendor shall include provisions consistent with this Section in contracts with any
                    subcontractors providing any Services under the Agreement.

               G. Press Releases; Publicity; Board Intellectual Property. Vendor shall not issue publicity news
                    releases; grant press interviews; use any intellectual property belonging to the Board,
                    including but not limited to the CPS logo or the logos of any schools during or after the
                    performance of any Services without the prior written consent of authorized representatives
                    of the Board. Furthermore, Vendor shall not photograph or film or cause others to photograph
                    or film within any CPS school or facility without the prior express written consent of the Board’s
                    Chief Communications Officer or his/her designee.

               H. Injunctive Relief. In the event of a breach or threatened breach of this Section, Vendor
                    acknowledges and agrees that the Board would suffer irreparable injury not compensable by
                    money damages and would not have an adequate remedy at law. Accordingly, Vendor agrees
                    that the Board shall be entitled to immediate injunctive relief to prevent or curtail any such
                    breach, threatened or actual. The foregoing shall be in addition and without prejudice to such
                    rights that the Board may have in equity, by law or statute.

               I. Volunteers, Employees, Agents and Subcontractors. Vendor agrees to cause its volunteers,
                    employees, agents and subcontractors to undertake the same obligations regarding the
                    handling of Confidential Information as agreed to by Vendor in the Agreement, to the extent
                    applicable.

              J.    Vendor Confidential Information and Vendor Proprietary Materials: All Vendor financial,
                    statistical, operating and personnel materials and information, including, but not limited to,
                    technical manuals, plans, policy and procedure manuals and computer programs relative to
                    or utilized in Vendor's business or the business of any subsidiary or affiliate of Vendor, shall
                    be the property of Vendor and shall be confidential ("Vendor Confidential Information"). The
                    Board shall keep such information confidential and shall so instruct its agents, employees,
                    and independent contractors, and the use of such information by the Board in any manner




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                    shall not affect Vendor's ownership or the confidential nature of such information. The Board
                    shall not photocopy or otherwise duplicate any such materials without the prior written consent
                    of Vendor.

                    If the Board is presented with a request for documents by any administrative agency or with
                    a subpoena duces tecum regarding any Vendor Confidential Information or Vendor
                    Proprietary Materials which may be in the Board's possession, the Board shall, to the extent
                    permitted by applicable law, give notice to Vendor with the understanding that the Vendor
                    shall have the opportunity to contest such process by any means available to it prior to
                    submission of any documents to a court or other third party. The Board shall not be obligated
                    to withhold delivery of documents beyond the time ordered by a court of law or administrative
                    agency, unless the request for production or subpoena is quashed or withdrawn, or the time
                    to produce is otherwise extended.

                    The Board agrees that all proprietary computer software, systems and technology, signage,
                    and marketing and promotional literature of Vendor used by Vendor in providing Services
                    pursuant to this Agreement (the "Vendor Proprietary Materials") shall remain the property
                    of Vendor, notwithstanding the fact that the Board may have been charged for the use of such
                    materials. Vendor grants the Board a non-exclusive right to use the Vendor Proprietary
                    Materials for the Term. All patents, copyrights, trade secrets and other proprietary rights in or
                    related to the Vendor Proprietary Materials are and will remain the exclusive property of
                    Vendor, whether or not specifically recognized or perfected. The Board will not take any action
                    that jeopardizes Vendor's proprietary rights or acquire any rights in the Vendor Proprietary
                    Materials. Unless otherwise agreed, Vendor will own all rights in any copy, modification,
                    adaptation, or derivation of the Vendor Proprietary Material, including any improvement or
                    development thereof. Nothing contained in this Section 22 shall limit or prohibit the Board from
                    utilizing the know-how or processes utilized by Vendor in the delivery of the Services at the
                    Board Facilities for the Board's own purposes, including delivery of the Services or similar
                    services at the Board Facilities or other facilities of the Board following the termination or
                    expiration of this Agreement. Upon the conclusion or other termination of this Agreement, all
                    use of trademarks, service marks, and logos owned by Vendor or licensed to it by third parties
                    shall be discontinued by the Board and the Board shall immediately return any Vendor
                    Proprietary Materials to Vendor.

                 K. Survival. The provisions of this Section shall survive the termination or expiration of this
                    Agreement.

           23.      Intellectual Property.

                 A. Intellectual Property Defined. Intellectual Property shall mean all trademarks, trade dress,
                    copyrights and other intellectual property rights in the materials used in the performance of
                    Services and delivery of Products under this Agreement.

                 B. Board’s Intellectual Property. Vendor agrees that all Confidential Information, as well as any
                    intellectual property arising therefrom, shall at all times be and remain the property of the
                    Board. The Board’s intellectual property shall include specifically any documents and
                    materials created by the Board either alone or in cooperation with Vendor solely in connection
                    with the Services for the Board, including but not limited to such materials that are adapted or
                    reproduced from Vendor’s Materials (“Board Materials''). Any and all unfinished documents,
                    screens, reports, writings, procedural manuals, forms, source code, object code, workflow,



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                   charts, methods, processes, drawings, maps, files, records, computer printouts, designs or
                   other materials prepared in the performance of Services and explicitly marked as Work
                   Product or as otherwise mutually agreed (“Work Product”) is exclusively deemed to be “works
                   for hire” within the meaning and purview of the United States Copyright Act, 17 U.S.C. § 101
                   et seq. To the extent that any Work Product does not qualify as a work for hire, the Vendor
                   irrevocably grants, assigns, and transfers to the Board all right, title, and interest in and to the
                   Work Product in all media throughout the world in perpetuity and all intellectual property rights
                   therein, free and clear of any liens, claims, or other encumbrances, to the fullest extent
                   permitted by law. Vendor shall execute all documents and perform all acts that the Board
                   may request in order to assist the Board in perfecting or protecting its rights in and to
                   intellectual property rights as defined in this Section. Board Materials shall exclude any and
                   all (i) third party intellectual property, and (ii) pre-existing Vendor intellectual property that is
                   delivered to the Board as part of the Products and Services. Upon written agreement between
                   the parties, Vendor may be licensed to use the Board’s intellectual property for specifically
                   defined uses and terms.

               C. Vendor’s Intellectual Property. All Intellectual Property owned by Vendor prior to, created
                  independently of the Services under this Agreement shall be and remain at all times “Vendor’s
                  Intellectual Property”, provided that none of the Board’s Confidential Information is used or
                  disclosed in Vendor’s Intellectual Property and such Intellectual Property is not Work Product.
                  In the event that any Confidential Information is used or disclosed in any such Intellectual
                  Property, it is the Board’s Intellectual Property, and the Board shall have full and exclusive
                  ownership rights to such Intellectual Property. Other than as may be expressly stated
                  elsewhere in this Agreement, Vendor grants to the Board royalty-free, non-transferable
                  license to use such of Vendor’s Intellectual Property for non-commercial, educational
                  purposes during the Term of the Agreement, to the extent contemplated under the Agreement.

               D. Third Party Intellectual Property. Vendor represents and warrants to the Board that Vendor,
                  in connection with providing the Products, will not infringe on any presently existing United
                  States patent, copyright, trademark, service mark, trade secret and/or other confidentiality or
                  proprietary right of any person or other third party.

               E. Survival. The obligations set forth in this Section shall survive the termination or expiration of
                  this Agreement.

           24.     Representations, Warranties and Covenants of Vendor. Vendor represents, warrants and
           covenants that the following shall be true and correct as of the Effective Date and shall continue to
           be true and correct during the Term and any renewals thereof:
               A. Licensed Professionals. Vendor and all Vendor Personnel, including its employees, agents
                   and Subcontractors, are fully and properly licensed, to the extent required to perform their job,
                   under Applicable Law, experienced, equipped, organized and financed to perform the
                   obligations under this Agreement. Vendor shall perform no Services for which a
                   professional license is required by law and for which Vendor, its employees, agents, or
                   subcontractors, as applicable, are not appropriately licensed.
               B. Quality. Vendor shall use an adequate number of qualified individuals who possess the
                   requisite training, education, licensing, experience and skill to perform the Services subject to
                   the requirements hereunder. In performing the Services, Vendor shall meet the professional
                   standard of diligence, care, timeliness, trust and skill exercised by experienced members of
                   Vendor's profession with expertise in performing services similar to those to be provided



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                        hereunder. Vendor represents and warrants that Vendor, the Vendor Personnel, including all
                        Subcontractors, possesses a high level of expertise in the business and, as applicable for
                        each, in the administration, management, supervision and delivery of Services contemplated
                        hereunder
               C. Compliance with Laws and Regulations.

                  i.       Vendor is and shall remain in compliance with all applicable federal, state, county and
                           municipal statutes, laws, ordinances, regulations, requirements, codes, permits, or similar
                           such governmental requirements as applicable to Vendor, the Board, the Services or this
                           Agreement in effect now or later and as amended from time to time, including but not
                           limited to the Prevailing Wage Act, 820 ILCS 130/1 et seq.; Drug-Free Workplace Act; the
                           Illinois School Student Records Act (“ISSRA”); the Family Educational Rights and Privacy
                           Act (“FERPA”); the Protection of Pupil Rights Amendment; Title VII of the Civil Rights Act
                           of 1964 (“TITLE VII”); Executive Orders No. 11141 and 11246, as amended; Sections (1)
                           and (3) of Executive Order No. 11625 relating to the promotion of Minority Business
                           Enterprises; the Occupational Safety and Health Act of 1970 and related Department of
                           Labor Occupational Safety and Health Administration (“OSHA”) regulations, guidelines
                           and guidance; Americans with Disabilities Act (“ADA”); Age Discrimination in Employment
                           Act (“ADEA”); Environmental Protection Agency (“EPA”); Food and Drug Administration
                           (“FDA”), Consumer Product Safety Commission (“CPSC”), and Department of
                           Transportation (“DOT”) regulations, guidelines and guidance; Federal Hazardous
                           Substances Act (“FHSA”); Fair Labor Standards Act (“FLSA”); Family Medical Leave Act
                           (“FMLA”); the Vietnam Era Veterans' Readjustment Assistance Act; Rehabilitation Act of
                           1973 (including, without limitation, Section 504); all federal immigration laws; and all
                           others federal, state and local laws, regulations, rules, ordinances and orders relating to
                           non-discrimination, employment, health and safety or otherwise with respect to the
                           Services provided hereunder by Vendor (“Applicable Laws”). Further, Vendor and all
                           Vendor Personnel, including Subcontractors, are and shall remain in compliance with all
                           applicable Board policies and rules, which are incorporated herein by this reference
                           (“Board Rules”). The Board Rules are available at http://www.cps.edu/.

                           In addition, Vendor shall comply with any governmental regulations, requirements and
                           guidelines and Board guidelines, policies, and rules in effect now or later, and as amended
                           from time to time related to COVID-19, including without limitation all reporting
                           requirements and requirements or recommendations regarding face coverings and social
                           distancing.

                 ii.       Expertise and Knowledge of Regulations. Vendor represents, warrants and covenants
                           that it has significant expertise and experience in providing services of the kind
                           contemplated by this Agreement, and it is familiar with the requirements of all Applicable
                           Laws.

                 iii.      Changes to Applicable Laws. Vendor shall notify the Board of any changes or anticipated
                           changes to Applicable Laws of which Vendor is aware or should be aware that may impact
                           Vendor’s performance of the Services or Vendor’s obligations hereunder, and shall
                           provide the Board with recommendations for modifications to such any affected
                           performance of the Services to comply with such changes, subject to the Board's approval
                           and a written amendment to this Agreement signed by both Parties.




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                    iv.   Information and Support Involving Governmental Authorities. Vendor shall provide the
                          Board with all cooperation and assistance required by the Board in connection with
                          informal presentations, administrative hearings or court proceedings involving any federal,
                          state or local governmental authority, and in private party litigation, to the extent such
                          action is related to Services hereunder.

                    v.    COVID-19 Vaccination Requirements. On August 25, 2021, the Board adopted the
                          policy that all Vendor employees who have regular direct contact with CPS
                          students must be fully vaccinated on or before October 15, 2021, or as amended
                          by the Board. It will be the responsibility of each Vendor to certify to CPS that they
                          comply with this vaccination requirement and that they maintain accurate
                          personnel records to verify compliance. Vendor organizations will certify
                          compliance by logging into the CPS Supplier Portal beginning August 30, 2021.

               D. Good Standing. Vendor is not in default and has not been deemed by the Board to be in
                      default under any other agreement with the Board during the five (5) year period immediately
                      preceding the Effective Date of this Agreement.

               E. Authorization. Vendor represents that it has taken all action necessary for the approval and
                      execution of this Agreement, and execution by the person signing on behalf of Vendor is duly
                      authorized by Vendor and has been made with complete and full authority to commit Vendor
                      to all terms and conditions of this Agreement which shall constitute valid, binding obligations
                      of Vendor.
               F. Financially Solvent. Vendor warrants that it is financially solvent, is able to pay all debts as
                      they mature and is possessed of sufficient working capital to complete all Services and
                      perform all obligations under this Agreement.
               G. Gratuities. No payment, gratuity or offer of employment was made by or to Vendor, or, to the
                      best of its knowledge, to any of its employees, agents or Subcontractors in relation to this
                      Agreement or as an inducement for award of this Agreement.

               H. Employment and Vendor Personnel Wages. Vendor is an employer subject to, and shall
                      comply with, all Applicable Laws, including without limitation applicable wage and hour
                      statutes, unemployment compensation statutes and occupational safety and health statutes,
                      and shall be responsible for withholding and payment of any and all payroll taxes and
                      contributions. Vendor is and shall remain in compliance with, and shall only use
                      Subcontractors who are, and remain in compliance with the Illinois Prevailing Wage Act (820
                      ILCS 130/0.01 et seq.), as well as the terms and conditions of any applicable collective
                      bargaining agreement. All Vendor Personnel wages and benefits must be paid in accordance
                      with all Applicable Laws, collective bargaining agreements and BOMA rates then in effect at
                      all times throughout the Term. Vendor shall provide a health and welfare benefits package to
                      Vendor Personnel who are employees of Vendor, that shall, at a minimum, include the
                      elements set forth in the BOMA Chicago’s Health and Welfare Standards (Articles XIII-XV) for
                      full-time employees and Vendor shall otherwise comply in all material respects with the terms
                      of any applicable collective bargaining agreements at all times during the Term.

               I.     Federal Immigration Compliance. Vendor represents and warrants that the following are true
                      and accurate as of the Effective Date and shall remain true and accurate throughout the Term
                      of the Agreement:



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                        i.    Vendor is and shall remain in compliance with all applicable federal, state and local
                              immigration laws, statutes, rules, codes, orders and regulations including, but not
                              limited to, any relating to the immigration status of Vendor Personnel providing
                              Services at the Board Facilities. The Board may, in its sole discretion, require
                              documentation evidencing Vendor's compliance with such laws. If the Board requests
                              evidence of compliance, Vendor shall have five (5) days from receipt of the request to
                              supply such evidence to the Board.

                       ii.    Vendor shall take commercially reasonable steps to verify the employment-
                              eligibility/authorization to work in the United States of any Vendor Personnel providing
                              Services at the Board Facilities, including, but not limited to, through Employment
                              Eligibility Verification Forms (Form I-9) for any Vendor Personnel assigned to provide
                              Services on Vendor’s behalf. Vendor shall make and maintain copies of all documents
                              confirming Vendor Personnel employment eligibility and identity (e.g., Form I-9), and
                              other required records.

                       iii.   Vendor shall timely respond to any demand for inspection of its immigration records
                              by the Department of Homeland Security (“DHS”) or any other governmental agency.
                              Vendor also shall notify the Board in writing, by telephone and by e-mail within one (1)
                              hour of the occurrence of any of the following: any unscheduled Board Facility
                              inspection, work site enforcement action, inquiry, visit, audit or investigation by DHS
                              or any other governmental agency concerning any immigration compliance issues or
                              concerns involving Vendor or its Subcontractors.

                       iv.    Vendor agrees to cause its Subcontractors to undertake the same obligations agreed
                              to by Vendor under this Section.
               J.    Contractor’s Disclosure Form. The disclosures in the Contractor Disclosure Form previously
                     submitted by Vendor, are true and correct. Vendor shall promptly notify Board in writing of
                     any material change in information set forth therein, including but not limited to change in
                     ownership or control, and any such change shall be subject to Board approval which shall not
                     be unreasonably withheld.
               K. Communicable Disease.        Vendor warrants that all Vendor Personnel providing Services
                     hereunder have undergone tuberculosis testing as required by the Board, and that each such
                     Vendor Personnel is and shall remain during the Term, free from a communicable disease in
                     accordance with 105 ILCS 5/24-5, as may be amended from time to time.

               L. Research Activities and Data Requests. Vendor shall not conduct research in the Chicago
                     Public Schools or use CPS student data for research purposes. In the event Vendor seeks
                     to conduct research in the Chicago Public Schools or use CPS student data for research
                     purposes in connection with the Agreement or for any other purposes, Vendor shall comply
                     with the Board’s External Research Study and Data Policy adopted December 11, 2019 (19-
                     1211-PO3), as may be amended from time to time. Vendor acknowledges and agrees that it
                     may not begin any research activities or obtain data for research purposes without the prior
                     written consent of the Director of School Quality Measurement and Research, or as otherwise
                     provided in the Policy.

               M. Prohibited Acts.   Within the three (3) years prior to and as of the Effective Date of this
                     Agreement, Vendor or any of its members if a joint venture or a limited liability company, or



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                   any of its or their respective officers, directors, shareholders, members, managers, other
                   officials, agents or employees (i) have not been convicted of bribery or attempting to bribe a
                   public officer or employee of any public entity and (ii) have not been convicted of agreeing or
                   colluding among contractors or prospective contractors in restraint of trade, including bid-
                   rigging or bid-rotating, as those terms are defined under the Illinois Criminal Code.

               N. Use of the Board’s Network. If at any time, Vendor has access to the Board’s computer
                   network, Vendor warrants that it is and shall remain in compliance with the Board’s Information
                   Security Policy adopted August 28, 2019 (19-0828-PO1), and the Board’s Staff Acceptable
                   Use Policy, adopted August 28, 2019 (19-0828-PO3), both as amended, during the Term of
                   the Agreement and any renewals thereof. Vendor shall not act or fail to act in any manner
                   that will cause any CPS student to not comply with the Board’s Student Acceptable Use
                   Policy, adopted August 28, 2019 (19-0828-P21), as may be amended. Vendor shall also
                   comply with the requirements and guidance in the following links as applicable, as may be
                   amended: Acceptable Use Policy of Technology Guidance,                               found at
                   https://cps.edu/AcceptableUsePolicy/Pages/vendorPolicy.aspx             (“Vendor         AUP”).

                   Vendor and all Vendor Personnel shall be required to use CPS network login and Gmail
                   account to conduct business under this agreement. Failure to use the provided CPS accounts,
                   or use of an external platform instead of the provided CPS accounts, will be subject to review
                   by the Board and may result in Vendor being barred from continued engagement with CPS.

               O. Debarment and Suspension. Vendor certifies to the best of its knowledge and belief, after
                   due inquiry, that:
                      i.    it, its principals, and its Subcontractors providing Services under this Agreement are
                            not barred from contracting with any unit of state or local government as a result of
                            violation of either Section 33E-3 (bid-rigging) or Section 33E-4 (bid rotating) of the
                            Illinois Criminal Code (720 ILCS 5/33A et seq.);
                     ii.    it, its principals, and its Subcontractors providing Services under this Agreement are
                            not presently debarred, suspended, proposed for debarment, declared ineligible, or
                            voluntarily excluded from participation in this transaction by any federal department or
                            agency or any unit of State or local government; and
                     iii.   it, its principals, and its Subcontractors providing Services under this Agreement have
                            not violated the rules, regulations, or laws of any federal, state, or local government
                            unit or agency.
                    “Principals” for the purposes of this certification means officers, directors, owners,
                    partners, persons having primary management or supervisory responsibilities within a
                    business entity; and, if a joint venture is involved, each joint venture member and the
                    principals of each such member.

                    In performing any obligations under this Agreement, Vendor shall not utilize any firms that
                    have been debarred from doing business with the Board under the Board’s Debarment
                    Policy (08-1217-PO1), as amended.

               P. Third Party Property and Information. In performing and delivering the Services under the
                   Agreement, Vendor shall not violate or infringe upon any patent, copyright, trademark,


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                   trade secret or other proprietary or intellectual property right of any third party and will not
                   improperly use any third party’s confidential information. Vendor shall have, without
                   encumbrance, all ownership, licensing, marketing, and other rights required to furnish all
                   materials and products that it furnishes to the Board under the Agreement and can grant
                   or assign all rights granted or assigned to the Board pursuant to this Agreement.

               Q. No Legal Actions Preventing Performance. Vendor has no knowledge of any action, suit,
                   proceeding, or material claim or investigation pending or to its knowledge threatened against
                   it in any court, or by or before any federal, state, municipal, or other governmental department,
                   commission, board, bureau, agency, or instrumentality, domestic or foreign, or before any
                   arbitrator of any kind, that, if adversely determined, would materially affect Vendor’s ability to
                   perform its obligations to the Board hereunder.
               R. Business Requirements. Vendor is fully aware of the Board's requirements and intended uses
                   for the Services and Vendor represents and warrants that the Services shall satisfy such
                   requirements in all material respects and that the Services, any supplies or equipment
                   provided hereunder are fit for such intended uses.
               S. Vendor Vehicles. Any vehicle used by Vendor in the performance of the Services hereunder
                   shall be identified, licensed and insured in accordance with state and local laws and
                   regulations and shall be operated in a safe manner, only by an operator properly licensed by
                   the State of Illinois to operate such vehicle. All vehicles used by Vendor in its performance of
                   the Services must meet all Illinois Department of Transportation requirements.
               T. Warranty of Title. The Services including, but not limited to, all supplies and equipment
                   utilized by Vendor and its Subcontractors in the delivery of the Services are free and clear
                   from all liens, contracts, chattel mortgages or other encumbrances; and Vendor has the lawful
                   right to dispose of and sell the Services, and Vendor warrants and defends its title to such
                   items against all claims.
               U. Services Warranty.        Vendor has carefully examined and analyzed the provisions of this
                   Agreement and can and will perform, or cause the Services to be performed in compliance
                   with the provisions and requirements of this Agreement. The Services shall be performed in
                   a timely, professional manner, in accordance with all applicable industry and professional
                   standard and all Applicable Laws. Vendor warrants that its Services will be performed in a
                   manner that does not damage or corrupt data of the Board. Vendor also warrants that the
                   deliverables submitted to the Board for acceptance will conform to the Scope of Services and
                   will be free of errors or defects in design, material and workmanship. Without limiting any other
                   remedies or rights of the Board hereunder, if the Board notifies the Vendor, or if the Vendor
                   becomes aware, of any non-performance, error or defect covered by the foregoing warranties
                   within one year from performance of said Services the Vendor shall, at its own expense,
                   promptly (but in no event later than 30 days after written notification by the Board) correct
                   such non-performance, error or defect. Any re-performance of Services or any portions
                   thereof will be automatically warranted as provided herein.
               V. No Liens or Encumbrances. Vendor shall conduct the Services free and clear of all liens and
                   encumbrances resulting from any action of Vendor or work performed by a Subcontractor on
                   behalf of Vendor. To the extent permitted by Applicable Law, Vendor hereby waives and
                   releases any and all lien rights and similar rights for payment for services, labor, equipment,
                   supplies or materials, furnished by Vendor in performance of its obligations hereunder and
                   granted by law to persons supplying materials, equipment, services and other items of value
                   to improve or modify land or the structures thereon, which Vendor may have against the Board



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                   or the Board Facilities, property or funds payable to the Board. All Subcontracts must reflect
                   this express prohibition of liens against the Board, any Board Facility, property or any Board
                   rights. Notwithstanding the foregoing, if a lien affecting any of the Board's rights is filed by
                   any Subcontractor or other Vendor Personnel, Vendor must remove the lien within five (5)
                   days of notice of lien or of written demand from the Board, whichever is earlier. If Vendor fails
                   to remove the lien, the Board may, in its sole discretion, (i) pay the amount of the lien, (ii) bond
                   the removal of the lien, or (iii) take any other step necessary to remove the lien. Vendor shall
                   immediately reimburse the Board for all costs associated with the removal of any such lien,
                   including without limitation all attorneys' fees and costs, upon receipt of written demand from
                   the Board. If Vendor fails to reimburse the Board, the Board may, in addition to any other
                   remedies under the law or this Agreement, back charge or deduct the cost associated with
                   such removal from any amounts due and owing or that may become due and owing by the
                   Board to Vendor.
               W. Recycling/Energy Conservation. Vendor shall give preference to the use of recycled products
                   in the performance of any Services in accordance with the applicable Environmental
                   Protection Agency guidelines as promulgated in 40 C.F.R. Parts 247-254, as amended.
                   Vendor shall cooperate and comply with all Applicable Laws, including City of Chicago
                   ordinances or programs applicable recycling at the Board Facilities. In addition, Vendor shall
                   comply with any applicable mandatory standards and policies relating to energy efficiency
                   under the State of Illinois Energy Conservation Plan issued in compliance with the Energy
                   Policy and Conservation Act, 42 U.S.C. 6321, et seq., as amended. All warranties will survive
                   inspection, acceptance, payment and expiration or termination of this Agreement. Nothing in
                   the foregoing warranties will be construed to limit any other rights or remedies available to the
                   Board under the law and this Agreement.
               X. Evidence of Compliance. Upon the Board’s written request, Vendor shall furnish any evidence
                   that the Board reasonably requests relating to Vendor's obligations hereunder and its ability
                   to fulfill such obligations or substantiate its representations hereunder at any time during the
                   Term, and to the extent related to obligations that survive the termination or expiration of this
                   Agreement, for the period of such survival. The substance, form and timing of such evidence
                   shall be subject to the Board’s reasonable satisfaction.
               Y. Warranties Not Exclusive. The warranties provided hereunder are not sole or exclusive, shall
                   not be construed to modify or limit in any way any rights or remedies which the Board may
                   otherwise have against Vendor, and are in addition to any other express or implied warranties
                   set forth in this Agreement or provided by law.
               Z. Third Party Warranties. Vendor shall secure on the Board's behalf, the maximum warranty
                   period available for all goods and services provided by Subcontractors throughout the term of
                   this Agreement, which period, unless expressly agreed to by the Board in writing and on a
                   case-by-case basis, shall be for a period of no less than two (2) years after completion of the
                   Services corresponding with such warranty. Without limiting the other provisions hereunder,
                   Vendor shall assign to the Board all warranties provided by Subcontractors who furnish goods
                   and/or services in connection with Vendor's performance of the Services hereunder. Vendor
                   warrants that it shall perform its obligations in such manner so as to preserve any such third
                   party warranties. Vendor shall use commercially reasonable efforts to assist the Board in
                   enforcing such third party warranties.
               AA. Continued Disclosure Requirement. If at any time during the Term of the Agreement or during
                   any renewals, Vendor becomes aware of any change in the circumstances that makes the
                   representations and warranties stated above no longer true, Vendor must immediately



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                   disclose such change to the Board.

               BB. Survival. All representations and warranties will survive inspection, acceptance, payment and
                   expiration or termination of this Agreement. Nothing in the foregoing representations and
                   warranties will be construed to limit any other rights or remedies available to the Board under
                   the law and the Agreement.

           25.     Background Check. Vendor shall comply with the following requirements and such other
           procedures as may be determined necessary by the Board from time to time for each employee,
           agent, volunteer or subcontractor who may have contact with a CPS student as a result of this
           Agreement (individually and collectively “Staff”) (“Background Check”). For purposes of this Section,
           contact via text messages, live chats, emails, any other digital or online media, telephone, in person,
           or through any other means shall be considered “contact”. Vendor shall not allow any Staff to have
           contact with students until Vendor has confirmed with the Board that each respective Staff has
           successfully completed the Background Check in accordance with the following requirements:
               A. Do Not Hire List. The Board will perform a check of eligibility of each Staff who may have
                   contact with a CPS student pursuant to this Agreement by checking the Board’s “Do Not Hire”
                   (“DNH”) records (“DNH Check”). The Board will utilize the same DNH Check process that the
                   Board uses for its own prospective staff. Staff with a DNH designation shall not provide
                   Services hereunder.

               B. Criminal History Records Check. Vendor shall, as a direct cost subject to the limit in Exhibit
                   B, have a complete fingerprint-based criminal history records check conducted on each Staff
                   who may have contact with a CPS student pursuant to this Agreement through the process
                   established by the Board, including using the Board’s contracted Vendor for conducting such
                   checks, and otherwise in accordance with the Illinois School Code (105 ILCS 5/34-18.5),
                   which refers to and incorporates the Sex Offender and Child Murderer Community Notification
                   Law (730 ILCS 152/101 et seq.), and the Murderer and Violent Offender Against Youth
                   Registration Act (730 ILCS 154/1 et seq.) (collectively “Criminal History Records Check”). A
                   complete Criminal History Records Check includes the following:

                        i. Fingerprint-based checks through the Illinois State Police and the Federal Bureau of
                               Investigation;
                        ii. A check of the Illinois Sex Offender Registry and the Nationwide Sex Offender
                               Registry; and
                        iii. A check of the Illinois State Police Murderer and Violent Offender Against Youth
                               Registry.

                   The results of each Criminal History Records Check shall be adjudicated by the Board. Staff
                   shall not have contact with CPS students prior to successfully completing the Criminal History
                   Records Check. When the Board determines that any Staff has not passed a Criminal History
                   Records Check, such Staff shall not access any Board facility and shall not have contact with
                   any CPS student hereunder.

               C. Department of Children and Family Services Check. As a Direct Cost subject to the limit in
                   Exhibit B, the Board shall have the right to check Staff who may have contact with a CPS
                   student pursuant to this Agreement for indicated reports of child abuse and/or neglect with
                   the Illinois Department of Children and Family Services (“DCFS”) State Automated Child
                   Welfare Information System (or a comparable determination of child abuse or neglect by a
                   government agency in another jurisdiction) for each Staff (“DCFS Check”). Vendor shall follow
                   the directives and processes of the Board for initiating any DCFS Check, and the results of



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                   each DCFS Check shall be adjudicated by the Board. Staff determined by the Board not to
                   have passed a DCFS Check shall not access any Board facility and shall not have contact
                   with any CPS student hereunder.

               D. Background Check Representations and Warranties.        With respect to each Background
                   Check, Vendor further represents and warrants that Vendor shall:

                   i.    Utilize the process established by the Board for completing each Background Check and
                         immediately initiate all action, as directed by the Board, to have such Background Check
                         performed;

                   ii.   Obtain from each of its prospective and current Staff and provide to the Board a signed
                         copy of any release and consent required to conduct the Background Check in the form
                         determined by, and as directed by the Board;

                   iii. Confirm with the Board’s Chief of Safety and Security that each respective Staff has
                         successfully completed the Background Check through the process established by the
                         Board and complied with the Board’s directives regarding the results of each Background
                         Check before any contact with a CPS student may occur;

                   iv. When contact with a CPS student may occur, not allow any Staff to provide Services until
                         a DNH Check, Criminal History Records Check, and DCFS Check have been completed
                         by the Board and the results of the Background Check satisfy for the Board, at a minimum,
                         the requirements of 105 ILCS 5/34-18.5 and the requirements of all other Acts and Laws
                         referenced in this Section, as may be amended;

                   v.    Comply with and require compliance of all Staff with directives from the Board relating to
                         any updates to any Background Check (which updates shall be received and adjudicated
                         by the Board) and provide any other information requested by the Board necessary for the
                         performance of the Background Check and its update process; and

                   vi. Immediately remove from any contact with any CPS student pursuant to this Agreement
                         and otherwise terminate access for any Staff determined by the Board not to have passed
                         a Background Check or update for any matters arising after an initial Background Check.

               E. Allocation of Costs and Liquidated Damages. Vendor is obligated to cause the Background
                   Check to be performed for all Staff who may have contact with any CPS student pursuant to
                   this Agreement, and the costs of such Background Check shall be a Direct Cost subject to
                   the limits in Exhibit B.

                   If Vendor fails to comply with this Section, in whole or in part, then, in addition to the Remedies
                   set forth in this Agreement, the Board may exercise additional remedies, including but not
                   limited to: (i) withholding payments due under this Agreement, and any other agreement
                   Vendor may have or enter into with the Board until Vendor remedies such non-compliance to
                   the Board’s reasonable satisfaction; (ii) immediately terminating this Agreement without any
                   further obligation by the Board of any kind (other than payment for Services previously
                   rendered pursuant to the terms herein); (iii) seeking liquidated damages; (iv) or taking any
                   other action or remedy available under this Agreement or by law.

                   Liquidated damages shall be calculated as $5,000.00 per breach of this Section, which, for
                   purposes of clarity, for the aggregate calculation of liquidated damages, will include each
                   instance of contact with CPS students by Staff as a separate breach. It is understood and



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                   agreed that Vendor’s non-compliance with this Section shall constitute a material breach of
                   this Agreement.

           26.      Independent Contractor. It is understood and agreed that the relationship of Vendor and
           any Vendor Personnel, including Subcontractors, to the Board is and shall continue to be that of an
           independent contractor and neither Vendor nor any of its Vendor Personnel shall be entitled to receive
           Board employee benefits. Vendor is the common law employer of its employees providing Services
           hereunder. It is further understood and agreed that the Board shall not be responsible for, nor incur
           any liability for, any State or Federal withholding or other taxes or for FICA or State unemployment
           insurance for Vendor, its agents, employees or Subcontractors, and the payment of any such taxes
           incurred or due by Vendor shall be the sole responsibility of Vendor. To the extent that the Vendor
           is subject to taxes under Section 4980H of the Internal Revenue Code, the Vendor shall be solely
           responsible for paying such taxes. Vendor agrees that neither Vendor, nor any of agents, employees
           or Subcontractors shall represent themselves as employees or agents of the Board. Vendor shall
           provide the Board with a valid taxpayer identification number as defined by the United States Internal
           Revenue Code, including, but not limited to, a Social Security Number or a Federal Employer
           Identification Number.       Vendor acknowledges and agrees that Vendor is not an authorized
           representative of the Board. All agreements or approvals (written or verbal) of the Board shall be
           binding only if made by an authorized employee of the Board.

           27.      Indemnification. Each Party (the “Indemnifying Party”) agrees to defend, indemnify and hold
           harmless the other Party (the “Indemnified Party”), and the City in Trust for Use of Schools (“CIT”)
           and the Public Building Commission of Chicago (“PBC”) in their capacity as titleholders), and their
           members, employees, agents, officers and officials from and against all liabilities, losses, penalties,
           damages and expenses, including costs and attorney fees, arising out of all claims, liens, damages,
           obligations, actions, suits, judgments or settlements, or causes of action, of every kind, nature and
           character (collectively “Claims”)arising or alleged to arise out of the acts or omissions of the
           Indemnifying Party, its officers, agents, employees and subcontractors in the performance of the
           Agreement. The foregoing obligation extends to and is intended to encompass any and all Claims
           that the Services infringe, misappropriate, or otherwise violate any confidentiality, proprietary, or
           intellectual property right of a third party.

           In the event that the Board is determined to be liable for taxes under Section 4980H of the Internal
           Revenue Code as a result of its use of Vendor’s employees under the Agreement, Vendor shall
           indemnify the Board for any such liability. As stated in the Confidential Information Section above, in
           the event of unauthorized access, use, or disclosure of the Board’s Confidential Information arising
           or alleged to arise from the acts or omissions of Vendor, its employees, agents, or Subcontractors,
           in addition to the obligations provided in this Section, Vendor shall cover any costs or fees associated
           with (i) providing notices of a data breach to affected persons and to regulatory bodies and (ii)
           remedying and otherwise mitigating any potential damages or harm from the data breach, including
           but not limited to call centers and providing credit monitoring or credit restoration services as may be
           requested by the Board.

           The Indemnifying Party shall, at its own cost and expense, appear, defend and pay all attorney fees
           and, other costs and expenses arising hereunder. In addition, if any judgment shall be rendered
           against the Indemnified Party in any such action, Indemnifying Party shall, at its own expense, satisfy
           and discharge such obligation of the Indemnified Party. The Indemnified Party shall have the right, at
           its own expense, to participate in the defense of any suit, without relieving Indemnifying Party of any
           of its obligations hereunder. The Indemnified Party retains final approval of any and all settlements
           or legal strategies which involve the interest of the Indemnified Party.




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           However, if the Indemnifying Party, after receiving notice of any such proceeding, fails to promptly
           begin the defense of such claim or action, the Indemnified Party may (without further notice to the
           Indemnifying Party) retain counsel and undertake the defense, compromise, or settlement of such
           claim or action at the expense of Indemnifying Party, subject to the right of the Indemnifying Party to
           assume the defense of such claim or action at any time prior to settlement, compromise or final
           determination thereof. The cost and expense of counsel retained by the Indemnified Party in these
           circumstances shall be borne by the Indemnifying Party, and the Indemnifying Party shall be bound
           by, and shall pay the amount of, any settlement, compromise, final determination or judgment
           reached while the Indemnified Party was represented by counsel retained by the Indemnified Party
           pursuant to this paragraph, or while the Indemnifying Party was conducting the defense.

           Each Party agrees to provide the other Party with prompt written notice of all losses or claims for
           which it will seek indemnity under this Agreement.

           In no event shall either Party be liable to the other Party for any loss of business, business interruption
           or punitive damages.

           To the extent permissible by law, Vendor waives any limits to the amount of its obligations to defend,
           indemnify, hold harmless, or contribute to any sums due under any losses, including any claim by
           any employee of Vendor that may be subject to the Workers Compensation Act, 820 ILCS 305/1 et
           seq. or any other related law or judicial decision (such as Kotecki v. Cyclops Welding Corporation,
           146 Ill. 2d 155 (1991)). The Board, however, does not waive any limitations it may have on its liability
           under the Illinois Workers Compensation Act, the Illinois Pension Code, any other statute or judicial
           decision.

           The indemnities set forth herein shall survive the expiration or termination of the Agreemen


           28.     Non-Liability of Board Officials. Vendor agrees that no Board member, employee, agent,
           officer or official shall be personally charged by Vendor, its members if a joint venture, or any
           Subcontractors with any liability or expense under this Agreement or be held personally liable under
           this Agreement to Vendor, its members if a joint venture, or any Subcontractors.

           29.     Board Not Subject to Taxes. The federal excise tax does not apply to the Board by virtue of
           Exemption Certificate No. 36-600584, and the State of Illinois sales tax does not apply to the Board
           by virtue of Exemption No. E9997-7109-06. The amounts to be paid to Vendor hereunder are
           inclusive of all other taxes that may be levied or based on this Agreement, including without limitation
           sales, use, nonresident, value-added, excise, and similar taxes levied or imposed on the Services to
           be provided under this Agreement, but excluding taxes levied or imposed on the income or business
           privileges of the Vendor. Vendor shall be responsible for any taxes levied or imposed upon the
           income or business privileges of the Vendor. If applicable, Vendor shall use best efforts to mitigate
           any tax implications resulting from its purchase of supplies and equipment on behalf of the Board
           hereunder, including, as may be applicable, utilization of the Illinois Department of Revenue (“IDOR”)
           Certificate of Resale (CRT-61) pursuant to IDOR Regulations Title 86, Parts 130.2076 (Sales to
           Purchasers Performing Contracts with Governmental Bodies) and such other IDOR Regulations or
           Applicable Laws that may apply with respect to sales tax hereunder. If a government authority
           determines that any sales, purchases, payments, or use of property made to or by Vendor under this
           Agreement, either in whole or in part, is subject to any sales, use, gross receipts, property or any
           similar tax with any interest paid by the Vendor, will be invoiced by Vendor and will be reimbursed by
           the Board as a Direct Cost if those taxes and interests occurred as a result of this Agreement. .




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           30.     Insurance Requirements. Vendor, at its own expense, shall procure and maintain insurance
           covering all operations under the Agreement, whether performed by Vendor or by subcontractors. All
           insurers shall be licensed by the State of Illinois and rated A-VII or better by A.M. Best or a
           comparable rating service. Vendor shall submit to the Board Certificates of Insurance as evidence of
           insurance coverage and upon request, shall promptly provide a certified copy of the declaration pages
           including the Schedules of Underlying Insurance. Minimum insurance requirements include the
           coverage set forth:

               A. Workers' Compensation and Employers' Liability Insurance. Workers' Compensation
                   Insurance affording workers' compensation benefits for all employees, as required by law and
                   Employers' Liability Insurance covering all employees who are to provide Services under the
                   Agreement with limits of One Million and 00/100 Dollars ($1,000,000.00) per occurrence.

               B. Commercial General Liability Insurance (Primary and Umbrella). Commercial General
                   Liability Insurance or equivalent with limits of One Million and 00/100 Dollars ($1,000,000.00)
                   per occurrence and Two Million and 00/100 Dollars ($2,000,000.00) in the aggregate for bodily
                   injury, personal injury and property damage liability. Coverage shall include, but not be limited
                   to: all operations, contractual liability, independent contractors, products/completed
                   operations (for a minimum of two (2) years following completion), and defense. General
                   liability insurance may not exclude coverage for sexual abuse and/or molestation.

               C. Automobile Liability Insurance. Automobile Liability Insurance when any motor vehicle
                   (whether owned, non-owned or hired) is used in connection with Services to be performed,
                   with limits of One Million and 00/100 Dollars ($1,000,000.00) per occurrence for bodily injury
                   and property damage.

               D. Umbrella/Excess Liability Insurance. Umbrella or Excess Liability Insurance with limits of
                   Nine Million and 00/100 Dollars ($9,000,000.00) per occurrence, which will provide additional
                   limits for general liability, automobile liability, contractors pollution liability, sexual abuse &
                   molestation, and workers’ compensation and employers’ liability insurance and shall cover
                   the Board and its employees, as additional insureds, subject to that of the primary coverage.

               E. Contractors’ Pollution Liability Insurance.        When Services are performed which may
                   cause a pollution exposure, Contractors Pollution Liability must be provided covering bodily
                   injury, property damage and other losses caused by pollution conditions that arise from the
                   Services with limits of One Million and 00/100 Dollars ($1,000,000.00) per occurrence. The
                   policy shall not include a lead, asbestos, or mold exclusion without the prior written approval
                   of Board. When policies are renewed or replaced, the policy retroactive date must coincide
                   with or precede the start of the Services under this Agreement. A claims-made policy, which
                   is not renewed or replaced, must have an extended reporting period of two (2) years.

               F. Property Insurance. Vendor shall provide Property Insurance for Vendor’s property for full
                   replacement cost of such property.
               G. Sexual Abuse & Molestation: Sexual Abuse & Molestation Insurance with limits of not less than One
                  Million and 00/100 Dollars ($1,000,000.00) per occurrence and Two Million and 00/100 Dollars
                  ($2,000,000.00) in the aggregateor as otherwise determined by the Board’s Risk Management
                  Department. If coverage is claims-made, the policy shall have a retroactive date effective upon the
                  Effective Date of the Agreement and have an extended reporting period of not less than two (2) years
                  following completion of the Agreement. Any retroactive date or prior acts exclusion must predate both
                  the Effective Date of this Agreement and any earlier commencement of services. Notwithstanding the
                  provisions of this Subparagraph 1.G. hereinabove, if the Commercial General Liability coverage and




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                   the Umbrella coverage both include coverage for Sexual Abuse and Molestation (and do not exclude
                   or limit such coverage), then the requirements of this Subparagraph 1.G. may not apply, as determined
                   by the Board’s Risk Management Department.

               H. Additional Insured.      Vendor shall have its General, Umbrella, and Automobile Liability
                   Insurance policies endorsed to provide that “the Board of Education of the City of Chicago, a
                   body politic and corporate (and the CIT and the PBC, in their capacity as titleholders), and
                   their members, employees and agents, and any other entity as may be designated by the
                   Board are named as additional insured on a primary basis without recourse or right of
                   contribution from the Board''. Any insurance coverage (additional insured or otherwise) that
                   Vendor provides for the Additional Insureds shall only cover insured liability assumed by the
                   Vendor in this Agreement; such insurance coverage shall not otherwise cover liability in
                   connection with or arising out of the wrongful or negligent acts or omissions of the Additional
                   Insureds.

           Vendor or its representative, shall submit an insurance certificate evidencing all coverage, as required
           hereunder and indicating the Additional Insured status, as required above. The Board will not pay
           Vendor for any Services if satisfactory proof of insurance is not provided by Vendor prior to the
           performance of any Services. Vendor must provide thirty (30) days prior written notice of material
           change, cancellation, or non-renewal be given to:


                                            Risk Management
                                            Board of Education of the City of Chicago
                                            42 W. Madison Street, 2nd Floor
                                            Chicago, Illinois 60602
                                            Attn: riskmanagement@cps.edu

                                            Copy to : Chief Procurement Officer
                                            Board of Education of the City of Chicago
                                            42 W. Madison Street, 9th Floor
                                            Chicago, Illinois 60602

           Any failure of the Board to demand or receive proof of insurance coverage shall not constitute a
           waiver of Vendor’s obligation to obtain the required insurance. The receipt of any certificate does not
           constitute agreement by the Board that the insurance requirements in the Agreement have been fully
           met or that the insurance policies indicated on the certificate are in compliance with all Agreement
           requirements. Vendor’s failure to carry or document required insurance shall constitute a breach of
           the Vendor’s Agreement with the

           Board. In the event Vendor fails to fulfill the insurance requirements of the Agreement, the Board
           reserves the right to stop the Services until proper evidence of insurance is provided, or the
           Agreement may be terminated.

           Any deductibles or self-insured retentions on referenced insurance coverage must be borne by
           Vendor. Any insurance or self-insurance programs maintained by the Board of Education (or the CIT
           or the PBC in their capacity as titleholders) do not contribute with insurance provided by the Vendor
           under the Agreement.

           All subcontractors are subject to the same insurance requirements of Vendor unless otherwise
           specified in the Agreement. The Vendor shall require any subcontractors under the Agreement to




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           maintain comparable insurance naming the Vendor, the Board inclusive of its members, employees
           and agents, and any other entity designated by the Board, as Additional Insureds. The Vendor will
           maintain a file of subcontractor’s insurance certificates evidencing compliance with these
           requirements.

           The coverages and limits furnished by Vendor in no way limit the Vendor's liabilities and
           responsibilities specified within the Agreement or by law. The required insurance is not limited by
           any limitations expressed in the indemnification language in the Agreement, if any, or any limitation
           that might be placed on the indemnity in the Agreement given as a matter of law.

           Vendor agrees that insurers waive their rights of subrogation against the Board (and the CIT and the
           PBC in their capacity as titleholders).

           Vendor must register with the insurance certificate monitoring company designated by the Board and
           indicated below, and must maintain a current insurance certificate on file during the entire time of
           providing services to the Board. Vendor must register and pay the initial annual monitoring fee to the
           insurance certificate monitoring company prior to performing services for the Board. The initial
           annual monitoring fee is currently Twelve and 00/100 Dollars ($12.00) per year, but the fee may
           subject to change.

           Each year, Board-approved, registered vendors will be notified thirty (30) to forty-five (45)
           days prior to the expiration date of their required insurance coverage (highlighted on their
           latest submitted insurance certificate on file) in order to submit an updated insurance
           certificate   with    the   insurance    certificate   monitoring   company.      Insurance
           certificate submissions and related annual fees are required to be made online at the
           dedicated website established by the certificate monitoring company (see URL
           below). Should you have any questions on submissions and payment options, you can
           contact the certificate monitoring company.

                                            Certificate Monitoring Company:
                                            Topiary Communications Inc.
                                            211 W. Wacker Drive – Suite 220
                                            Chicago, IL 60606
                                            Phone: (312) 494-5709
                                            Email: dans@topiarycomm.net
                                            URL: http://www.cpsvendorcert.com (designated website
                                                    for online registration, insurance certificate submissions
                                                    and annual fee payment)

           31.     Audit and Records Retention. Vendor shall permit and cooperate in good faith in any audits
           by the Board, including its Department of Procurement or its agents for compliance by the Vendor
           with this Agreement. Vendor shall furnish the Board with such information, supporting documentation
           and reports as may be requested relative to the progress, execution and costs of the Services,
           compliance with Service Level Requirements and with applicable MBE/WBE requirements. Failure
           of the Vendor to comply in full and cooperate with the requests of the Board or its agents shall give
           the Board, in addition to all other rights and remedies hereunder, the right to charge the Vendor for
           the cost of such audit subject to the aggregate liability limitation set forth in Exhibit D.

           Vendor shall prepare, retain and safeguard complete and accurate records relating to Vendor’s
           Services under this Agreement for a minimum of five (5) years after the termination or expiration of
           this Agreement, or for such other longer period as required under Applicable Laws. Such records



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           shall be subject to inspection and audit by the Board and made available to the Board upon request.
           If any audit, litigation or other action involving the records is being conducted or has not been
           resolved, all applicable records must be retained until the proceeding is closed. As used in this
           Section, “records” shall include all correspondence, receipts, vouchers, memoranda and other data,
           regardless of type or medium (including emails or other electronically stored data) relating to the
           Agreement and Vendor’s performance of Services). Vendor shall require all of its Subcontractors to
           maintain the above-described records and allow the Board the same right to inspect and audit said
           records as set forth herein.

           32.     MBE/WBE Program. Vendor acknowledges that it is familiar with the requirements of the
           Board's “Remedial Program for Minority and Women Owned Business Enterprise Participation in
           Goods and Services Contracts”, which is incorporated by reference as if fully set forth herein. Vendor
           agrees to adhere to the minimum participation goals and to all other applicable MBE/WBE
           requirements as set forth in the plan. Vendor agrees to submit such documentation in connection
           with the plan as may be requested by the Board.

           Vendor and its Subcontractors shall provide all required compliance data with respect to the Remedial
           Plan via the Board’s electronic system available at http://cps.diversitycompliance.com.Vendor and its
           Subcontractors shall be responsible for responding to any requests for data or information by the
           noted response due dates, and shall check the electronic system on a regular basis to manage
           contact information and contract records. Vendor shall also be responsible for ensuring that all
           Subcontractors have completed all requested items with complete and accurate information and that
           their contact information is current.

           33.          Right of Entry, Use and Protection of Property.

                 A. Right of Entry and Limited Use. Vendor and any of its Vendor Personnel supplying Services
                        shall be permitted to enter the Board Facilities in connection with the delivery of the Services
                        hereunder, subject to the terms and conditions contained herein, all Board rules and any rules,
                        restrictions that may be established by the Board or its designee from time to time. Consent
                        by the Board to enter a Board Facility shall not create, nor be deemed to imply, the creation
                        of any additional responsibilities on the part of the Board. Vendor shall use, and shall cause
                        each of its Vendor Personnel to use the highest degree of care when entering upon or into
                        any Board Facility. Vendor shall use the Board Facilities for the sole and exclusive purpose
                        of providing the Services and the Board grants Vendor a limited license solely for such
                        approved use of the Board Facilities. Vendor’s use of the Board Facilities and the right of entry
                        granted hereunder does not constitute a leasehold or other property interest in favor of
                        Vendor. Any and all claims, suits or judgments, costs, or expenses, including, but not limited
                        to, reasonable attorneys fees, arising from, by reason of, or in connection with any such
                        entries and use shall be treated in accordance with the applicable terms and conditions of this
                        Agreement, including, without limitation, the indemnification provisions contained in this
                        Agreement. The Board may terminate Vendor’s right of entry and the limited license granted
                        hereunder in its sole discretion as the Board deems necessary to protect the Board’s best
                        interests, or the safety and well-being of the Board’s staff and students. Vendor shall:

                   i.      Use the Board Facilities in a manner that is strategic, planned and coordinated, and that
                           does not interfere with the Board's educational operations or other services being provided
                           at each Board Facility. To the extent that Vendor performs Services at any Board Facility
                           in a manner that unnecessarily increases Board Facility operational costs, including costs
                           of and related to utilities, the Board reserves the right to deduct such excess costs from
                           amounts paid to Vendor hereunder. Vendor shall be responsible for any damage to the



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                            Board Facilities resulting from the abuse, misuse, neglect or negligence of all Vendor
                            Personnel, including Subcontractors, or out of Vendor’s failure to comply with its
                            obligations with respect to the Board Facilities.

                 ii.        Vendor shall keep the Board Facilities in good order, not commit or permit waste or
                            damage to the Board Facilities or use the Board Facilities for any purpose outside of this
                            Agreement or for any unlawful purpose or act, and shall at all times comply with the Board
                            Rules and other Board procedures regarding access to and use of the Board Facilities,
                            including any policies and standards instituted by the principal at each Board Facility.

                 iii.       The Board shall retain the right to access any part of the Board Facilities at any time in its
                            sole discretion and Vendor shall not take any action, including changing locks or
                            employing other systems that would inhibit or prevent such access by the Board.

                 iv.        Upon termination or expiration of this Agreement, Vendor shall return each Board Facility
                            to the Board in substantially the same condition as when Vendor began the Services
                            hereunder The costs associated with this provision shall lie with the Vendor in any instance
                            when the change in condition is due to action or inaction, reasonable wear and tear
                            excepted, by the Vendor without prior written Board approval. The cost associated with
                            this provision shall lie with the Board only when restoring a prior condition that was
                            changed at the Board’s explicit request.

               B. General Safety Guidelines. In accordance with terms and conditions of the Agreement, the
                        Vendor shall observe all safety precautions throughout the performance of the Agreement
                        and shall assume full responsibility and liability for compliance with all applicable regulations
                        pertaining to the health and safety of personnel during the execution of the Services. Vendor
                        shall be solely responsible for safety at each Board Facility in the delivery of the Services,
                        both directly and indirectly through its Subcontractors, and take all precautions and action
                        necessary or advisable to protect the Board Facilities, students, staff, Vendor Personnel and
                        the public, and such other action as necessary or advisable to prevent accidents or injury to
                        any persons in the Board Facilities in connection with the performance of the Services. Vendor
                        shall adhere to appropriate safety standards applicable to the Services, taking into account:
                        (i) the type of facility; (ii) special issues and concerns related to providing Services at a facility
                        occupied by minor students; (iii) special issues and concerns related to providing Services at
                        a facility occupied by individuals, including staff and minor students with disabilities, health
                        and special education needs. Vendor shall comply with safety guidelines, procedures and
                        requests of the Board, including compliance with any requests or direction from the Board’s
                        Chief Facilities Officer and/or the Board’s Chief Safety & Security Officer or such other Board
                        designee with respect to the safety of students and staff. Vendor shall not perform hazardous
                        work that threatens the safety of students and staff when school is in session or when students
                        and staff are present at a Board Facility. The general guidelines set forth in this paragraph
                        are the “General Safety Guidelines”, which are subject to additional requirements set forth
                        in Exhibit A, the Board Rules, School policies and the requests, direction, policies and
                        procedures established by the Board from time to time.

               C. Liability. If any personal or real property of the Board is damaged by Vendor or its
                        Subcontractors, or otherwise due to Vendor's failure to perform Services in compliance with
                        the terms and conditions of this Agreement, Vendor shall pay, at its sole cost, for all necessary
                        repairs to or replacements of such property to the extent Vendor is liable for the same
                        pursuant to the terms of the indemnification provided in Section 27 of the Agreement, and the




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                   Board shall make reasonable efforts to file a timely claim in accordance with Section 27 of
                   this Agreement.

               D. Services Suspension. Notwithstanding Section 18.B of this Agreement, if, in the opinion of the
                   Board, any element of Vendor's delivery of the Services endanger any person, Board Facility
                   or any adjacent property, then upon written notice from the Board to the Vendor, such
                   Services determined by the Board to cause such danger shall be immediately suspended,
                   and the operations changed in a manner acceptable to the Board. Vendor acknowledges and
                   agrees that it shall be responsible for all costs and financial implications resulting therefrom
                   and that the delivery of Services hereunder shall not be delayed as a result. The Board shall
                   use its best efforts to mitigate such costs and financial implications.

               E. Physical Security.

                   i.   Security Obligations. At all times when present at a Board Facility, Vendor and Vendor
                        Personnel shall comply with all Board Rules and policies, including those related to
                        security, securing buildings and any protocol and procedures established by the Board’s
                        Chief Facilities Officer and/or the Board’s Chief Safety & Security Officer. Vendor shall
                        ensure that each Vendor Personnel are trained on and comply with protocol, procedures
                        and restrictions regarding Board Facility security. Vendor shall meet with the Board’s
                        Chief Safety & Security Officer to discuss security issues, concerns and planning
                        initiatives from time to time as determined necessary by the Board.

                   ii. Keys and Access Codes. Vendor shall comply with the directives of the Board’s Chief
                       Facilities Officer and/or the Board’s Chief Safety & Security Officer with respect to Board
                       Facility keys and access codes. Vendor acknowledges that maintaining the safety of CPS
                       students and the security of the Board Facilities is a critical element of the Services and
                       shall ensure that Vendor and each Vendor Personnel are trained on and comply with
                       guidelines and restrictions established by the Board regarding the issuance and
                       prohibition against duplication or sharing of keys, access codes, security or alarm codes
                       used to access a Board Facility (or specific areas within a Board Facility) or to disarm a
                       Board Facility security system.

                   iii. Vendor Personnel Access Reporting Requirements. It is critical that the Board’s Safety
                        and Security Department has access at all times to accurate records indicating who is in
                        a Board Facility. In order to ensure that the Board has timely, up-to-date, accurate
                        information regarding which Vendor Personnel are on-site providing Services at each
                        Board Facility at any time, Vendor shall comply with the Vendor Personnel Reporting
                        Requirements set forth in Exhibit A, and shall work cooperatively with the Board’s Chief
                        Facilities Officer and/or the Board’s Chief Safety & Security Officer to take such action as
                        may be necessary to ensure that only those Vendor Personnel meeting the security and
                        access requirements established by the Board from time to time and under this Agreement
                        are permitted to access any Board Facility.

                   iv. Restrictions on Access. All Vendor Personnel who are required to enter any Board Facility
                       or who may have contact with a CPS student shall only access a Board Facility upon: (a)
                       successful completion of the Background Checks (and any updates thereto) in compliance
                       with Section 25 of this Agreement; (b) compliance by Vendor with the Vendor Personnel
                       Reporting Requirements; (c) completion of a Board access badge request form and
                       issuance of an access badge by the Board; and (d) adherence throughout the Term with
                       all security or access requirements and protocol of the Board's Department of Safety and


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                        Security.

                    v. Action Required for Assignment Change or Termination. Upon completion of any Services
                       assignment by Vendor Personnel, including termination or removal of any Vendor
                       Personnel by Vendor (collectively “Assignment Change”), Vendor shall: (a) in the event
                       of an Assignment Change, notify the Board of such Assignment Change as required
                       through the Vendor Personnel Reporting Requirements; (b) collect all badges issued to
                       such Vendor Personnel and return such badges to the Board's Department of Safety and
                       Security as set forth in the Vendor Personnel Reporting Requirements; (c) collect all keys
                       issued to such Vendor Personnel; and (d) work with the Board’s Chief Facilities Officer
                       and the Board’s Chief Safety & Security Officer to change any access or alarm codes as
                       determined in the sole discretion of the Board.

           34.      Health and Safety Violations.

                 A. During the Term, Vendor shall be responsible for ensuring that the delivery of the Services
                    remains in compliance with all Applicable Laws and Vendor shall coordinate with the Board’s
                    Project Manager regarding any safety code violation assessed by a Federal, State and/or
                    local government unit or agency for the Board Facilities (each, a “Health and Safety
                    Violation”) Vendor shall be responsible for such Health and Safety Violation to the extent
                    the same is a direct result of failure of Vendor to perform the Services in accordance with this
                    Agreement and is not due in whole or in part from a Pre-Existing Health and Safety Condition
                    as defined below. In the event that the Board receives a Health and Safety Violation, Vendor
                    shall be liable for such Health and Safety Violation to the extent set forth below.

                 B. In the event the Board is assessed a Health and Safety Violation as a result of a deficiency in
                    Vendor’s performance of the Services and is not due, in whole or in part, to any Pre-Existing
                    Health and Safety Conditions or failure of the Board to perform any of its obligations with
                    respect to the Board Facilities, the Board shall promptly notify Vendor in writing of such Health
                    and Safety Violation, using reasonable efforts to notify Vendor within ten (10) business days
                    of the Board’s receipt and knowledge of such Health and Safety Violation; provided however,
                    that failure of the Board to notify Vendor within ten (10) business days shall not alter or
                    diminish the Board’s rights under this section. The notice shall describe in reasonable detail
                    the nature of the Health and Safety Violation. Vendor shall promptly, upon receipt of the
                    notice described in the preceding sentence, respond in writing to the Board either (i)
                    contesting the Vendor’s liability or such Health and Safety Violations, or (ii) agreeing to
                    appear, defend, and/or pay all costs and expenses (including, without limitation, attorneys’
                    fees) arising from the Health and Safety Violation pursuant to and in accordance with the
                    terms of Section 27 of this Agreement. If, after the Board’s receipt of notice from Vendor
                    pursuant to clause (i) of the preceding sentence, the Parties determine that the Vendor is
                    liable for the Health and Safety Violations, then any fine or penalty with respect to the Health
                    and Safety Violation resulting from Vendor’s negligence, as well as the fee from the agency
                    issuing the violation to reinspect the Board Facility shall be charged back by the Board against
                    the Vendor in accordance with Exhibit D. If the Health and Safety Violation is caused by the
                    negligence of both Parties, the apportionment of said Health and Safety Violation shall be
                    shared between both Parties based upon the comparative degree of each Party’s negligence
                    and each Party shall be responsible for its own defense and its own costs including, but not




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                    limited to, the cost of defense, attorney’s fees and witness’ fees and expenses incident
                    thereto.

                 C. Vendor shall, on a regular basis, , review the Services so as to minimize the assessment of
                    Health and Safety Violations, particularly the recurrence of Health and Safety Violations for
                    the same actions or omissions. Vendor shall promptly provide the Board with suggested
                    modifications in the Services provided by Vendor to correct and eliminate the circumstances
                    giving rise to the Health and Safety Violations.

                 D. For purposes of this Agreement, a "Pre-Existing Health and Safety Condition" shall mean
                    any condition that existed prior to commencement of the Services at the applicable Board
                    Facility which constitutes a Health and Safety Violation or, given the lack of remediation and/or
                    maintenance by the Board prior to the applicable commencement date of the Services,
                    materially contributed to the condition becoming a Health and Safety Violation after
                    commencement of the Services at the applicable Board Facility; provided that, a Pre-Existing
                    Health and Safety Condition shall not be deemed to exist if Vendor has actual knowledge of
                    the subject condition at the applicable Board Facility and is directed by the Board to remedy
                    the same through the ordinary performance of the Services hereunder (if remediation of such
                    condition is expressly within the defined scope of Services required to be performed by
                    Vendor herein); it being further understood and agreed by the Parties that any remediation
                    projects necessitating the various trades services shall be administered by the Board’s
                    Facility-Third Party Vendors, the same shall be deemed a Pre-Existing Health and Safety
                    Condition and Vendor shall not be responsible for any Health and Safety Violation arising
                    therefrom.

                 E. Notwithstanding anything herein to the contrary, Vendor shall not be responsible for any
                    Health and Safety Violations in connection with or arising out of the negligence of the Board,
                    or its employees or agents including without limitation, in addressing or failing to address
                    issues in or around Board Facilities caused by other contractors engaged by the Board, or
                    any Pre-Existing Facility Condition.

           35.    Lease of Office and Warehouse Space. During the Term, the Board may, in its sole and
           exclusive discretion, lease office and/or warehouse space to Vendor in connection with the
           performance of the Services. As an express condition to the Board leasing office and/or warehouse
           space to Vendor as contemplated by the preceding sentence, the Board and the Vendor shall
           negotiate the terms of such lease and enter into a separate lease agreement relating thereto, in each
           case in form and substance satisfactory to the Board.

           36.      Computer Maintenance Management Systems.

                 A. Access. The Board shall provide access to the Vendor for the use of the Board’s third-party
                    software platform, Computer Maintenance Management Systems (“CMMS”) so that Vendor
                    Personnel can track work request, preventative maintenance, log work order resolution and
                    other matters related to the Services as set forth in this Agreement. The Board shall provide
                    a separate username and password for each Vendor Personnel requiring access to the
                    CMMS as designated by the Board in order to track all aforementioned actions on the CMMS.
                    Vendor Personnel must use CPS-approved platforms (e.g., CMMS) for any work performed
                    or generated under this Agreement in accordance with the Board’s Staff Acceptable Use
                    Policy adopted August 28, 2019 (19-0828-PO3), as amended from time to time.




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               B. Sharing of Reports and Data. The Parties acknowledge that, other than Vendor Proprietary
                  Material, all Services data, reports and records resulting from the CMMS are deemed as Work
                  Product, Board Data and Board Materials exclusively owned by the Board. The Board may,
                  in its sole discretion, share such Work Product, Board Data and Board Materials generated
                  through the CMMS or by other means with respect to the Services hereunder, with the Board’s
                  designees, including any other Third Party Vendors or prospective vendors.

           37.                   Existing Board Equipment Inventory. Vendor shall be required to conduct
           an existing equipment inventory at each Board Facility listed on Schedule 3 within the first sixty (60)
           days of the Effective Date of this Agreement. Vendor shall be responsible for maintaining,
           inventorying and reporting on inventory in CMMS.

           38.    Environmental Compliance. Vendor shall comply with, and shall cause its Vendor
           Personnel, including Subcontractors to comply with, all Applicable Laws, including any environmental
           and other similar laws, ordinances, and regulations in the performance of any Services.

           In the event that environmental concerns exist that require mitigation, Vendor shall consult with the
           Board’s environmental Third Party Vendor. If environmental mitigation is required, Vendor shall
           submit a work order through the Board’s CMMS platform requesting the development of an
           environmental scope of services for remediation of the repairs in question. All environmental scope
           of repairs shall include, inspection of the project site at the Board Facility, characterization of the
           materials at the project site at a Board Facility, and the manner in which and requirements regarding
           the notice of, testing for, abatement of, or other handling of any Hazardous Materials as defined below
           shall be addressed. Vendor’s environmental work order for environmental Services shall be reviewed
           and approved by the Board’s designated Facilities Director of Environmental Health and Safety as
           an initial step prior to any final approval by the Board.

           “Hazardous Materials” means, without limitation, above or underground storage tanks, flammables,
           explosives, radioactive materials, radon, asbestos, urea formaldehyde foam insulation, methane,
           lead-based paint, poly chlorinated biphenyl compounds, hydrocarbons or like substances and their
           additives or constituents, caustic cleaning substances or materials, pesticides and toxic or other
           hazardous substances or material, including without limitation, substances now or hereafter defined
           as "hazardous substances," "hazardous materials," "toxic substances" or "hazardous wastes" in the
           following statutes, as amended: the Comprehensive Environmental Response, Compensation and
           Liability Act of 1980 (42 U.S.C. § 9601, et seq.); the Superfund Amendments and Reauthorization
           Act of 1986 (42 U.S.C. § 9671 et seq.); the Hazardous Materials Transportation Act (49 U.S.C. §
           1801, et seq.); the Toxic Substances Control Act (15 U.S.C. § 2601, et seq. and regulations - 40 CFR
           Part 760); the Resource Conservation and Recovery Act (42 U.S.C. § 6901, et seq. and ); the Clean
           Air Act (42 U.S.C. § 7401 et seq.); the Clean Water Act (33 U.S.C. §1251, et seq.); the Rivers and
           Harbors Act (33 U.S.C. § 401 et seq.); and any so-called "Superlien Law"; and the regulations
           promulgated pursuant thereto, and any other applicable federal, state or local law, common law,
           code, rule, regulation, order, policy or ordinance, presently in effect or hereafter enacted, promulgated
           or implemented imposing liability or standards of conduct concerning any hazardous, toxic or
           dangerous substances, waste or material, now or hereafter in effect.

            If the scope of work in the approved work order for any project at a Board Facility requires Vendor
           or its Subcontractors to manage or perform any environmental work, Vendor shall cooperate and
           coordinate its Services in all respects with that of Board's environmental consultants, and perform its
           Services according to safe and approved protocols and procedures in compliance with the
           requirements of the work order and Applicable Laws. Vendor and its Subcontractors shall review and




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           consult with the Board (including its consultants) and shall review all related and available
           environmental inspection and other reports, to determine whether previous abatement, remediation,
           stabilization, or containment work (“Abatement”) has been performed at the Board Facility. Vendor
           and its Subcontractors shall perform their work so as not to undo or disturb any prior Abatement at
           such Board Facility. Vendor shall be responsible for all costs incurred by the Board and resulting from
           Vendor’s failure to comply with the requirements of the work order, or for its failure to consult and
           protect the integrity of any prior environmental Services, in compliance with the indemnification
           obligations under the Agreement.

           If Vendor or any of its Subcontractors encounter material at a Board Facility reasonably believed to
           be Hazardous Material that has not been identified in the work order (including without limitation
           attached or incorporated Scope of Work documents) or rendered harmless, Vendor shall immediately
           cease Services in the area affected and immediately report the condition in writing to the Board’s
           Executive Director of Asset Management or its designee and thereafter comply with the Board-
           approved plan for identifying and handling the material reasonably believed to be Hazardous Material.
           If no plan is in place, Vendor shall not take any further action until it has received instructions on how
           to proceed from the Board’s Executive Director of Asset Management. Vendor shall thereafter
           proceed in compliance with such instructions. The Services in the affected area shall be immediately
           resumed if it is determined that such materials are not Hazardous Materials, or otherwise after such
           Hazardous Material has been rendered harmless, by written notification from the Board’s Executive
           Director of Asset Management. Vendor shall consult with the Board regarding the testing and
           abatement of any such materials reasonably believed to be Hazardous Materials. The Board shall
           be responsible for obtaining the services of a licensed laboratory to determine whether or not the
           materials in question are Hazardous Materials. If the material is determined to be a Hazardous
           Material, the Board must either (i) obtain verification from the licensed laboratory that such Hazardous
           Material has been rendered harmless; or (ii) undertake Abatement or other corrective measures as
           approved by Board’s Chief Facilities Officer in a written change order and/or otherwise in accordance
           with Board’s procedures.

           Notwithstanding any provision in this Agreement to the contrary, Vendor shall not be responsible or
           liable for, the detection, investigation, remediation, disposal, or abatement of, and will have no
           responsibility to the Board or others for any exposure of persons or property to, mold, mildew, fungi,
           pollutants, contaminants, asbestos, lead, fuel or Hazardous Materials storage tanks or their contents,
           indoor air pollutants or contaminants, poor air quality, or hazardous, toxic, or regulated waste
           substances, including, without limitation, any conditions that existed in, on, or upon any Board Facility,
           with regard to matters directly related to Services, including, without limitation, environmental
           impairments and other conditions (collectively, the "Excluded Environmental Activities, Materials
           and Conditions"). The Excluded Environmental Activities, Materials and Conditions shall be
           excluded from "Designated Person" (within the meaning of the Asbestos Hazard Emergency
           Response Act ("AHERA")), which duties remain solely with the Board. Nothing in the preceding
           sentence shall in any way abrogate or otherwise limit Vendor's obligations to properly train any
           Vendor Personnel of Vendor or any of Vendor's Subcontractors pursuant to AHERA and otherwise
           who will be supplying Services to the Board Facilities and to utilize only such properly trained
           personnel in the supply of Services to the Board Facilities.

           39.     Delivery of Services: In the event of a strike, sympathy strike, picketing, work stoppage,
           slowdown, demonstration, or any other lawful or unlawful disruptive activity by Vendor Personnel that
           impacts Services, Vendor shall make commercially reasonable efforts to deliver continued Services
           to the Board in accordance with the terms of this Agreement, or as may be otherwise directed by the
           Board and agreed upon by the Parties in writing. Under the aforementioned circumstances, the



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           Parties may agree to use any of the following methods to arrange for continued delivery of Services:
           1) use of Vendor’s non-union employees or an alternative courier to deliver supplies and equipment;
           2) delivery of supplies and equipment to an alternative site; 3) use of Board employees to pick up
           supplies and equipment from Vendor or Vendor’s couriers; or 4) any other alternative means, to which
           the Parties have mutually agreed, necessary to ensure that Services are timely delivered to the Board
           without unreasonable disruptions. Vendor shall also enforce any no-strike clauses that Vendor has
           in its collective bargaining agreements when such clauses impact the delivery of any Services under
           this Agreement. Any alternative delivery methods utilized under this section shall be mutually agreed
           upon by the Parties.

           40.     Student/Apprentice Program: Vendor agrees that it will initiate and implement a
           student/apprentice program to the fullest extent practicable in performing the Services. Vendor shall
           insure that such program adheres to any criteria established pursuant to the Illinois School Code or
           other applicable regulatory agency. Such program will include high school students (juniors and
           seniors) in work activities that expose them to various areas of the business environment. Vendor
           shall submit monthly reports to the Board’s Department of Facilities and the Department of
           Procurement relative to the progress of the program.

           41.   Assignment. This Agreement shall be binding on the Parties and their respective successors
           and assigns; provided however, that Vendor may not assign this Agreement or any obligations
           imposed hereunder without the prior written consent of the Board.

           42.      Governing Law. This Agreement shall be governed as to performance and interpretation in
           accordance with the laws of the State of Illinois. Vendor irrevocably submits itself to the original
           jurisdiction of those courts located in the County of Cook, State of Illinois, with regard to any
           controversy arising out, or relating to, or in any way concerning the execution or performance of the
           Agreement. Vendor agrees that service of process on Vendor may be made, at the option of the
           Board, by either registered or certified mail addressed to the office identified in the notice provision
           herein, by registered or certified mail addressed to the office actually maintained by Vendor, or by
           personal delivery on any officer, director, or managing or general agent of Vendor. If any action is
           brought by Vendor against the Board concerning the Agreement, the action shall only be brought in
           those courts located within the County of Cook, State of Illinois.

           43.      Notices. All notices required under this Agreement shall be in writing and sent to the
           addresses and persons set forth below, or to such other addresses as may be designated by a Party
           in writing. Any notice involving non-performance or termination shall be sent by hand delivery or
           recognized overnight courier. All other notices may also be sent by facsimile or email, confirmed by
           mail. All notices shall be deemed to have been given when received, if hand delivered; when
           transmitted, if transmitted by facsimile or email; upon confirmation of delivery, if sent by recognized
           overnight courier; and upon receipt if mailed.

                   IF TO THE BOARD: Board of Education of the City of Chicago
                                    Department of Procurement
                                    42 West Madison Street, 2nd Floor
                                    Chicago, IL 60602
                                    Attn: Chief Procurement Officer

                   Copy to:                 Board of Education of the City of Chicago
                                            Department of Facilities
                                            42 West Madison Street
                                            Chicago, IL 60602



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                                            Attn: Chief Facilities Officer

                                            General Counsel
                                            Board of Education of the City of Chicago
                                            Law Department
                                            One North Dearborn Street, Suite 900
                                            Chicago, IL 60602
                                            Fax: (773) 553-1701

                   IF TO VENDOR:            Vice President, Finance
                                            Aramark Management Services
                                            Limited Partnership
                                            2400 Market Street
                                            Philadelphia, PA 19103

           44.     Non-Discrimination. It shall be an unlawful employment practice for Vendor or any of its
           Subcontractors to fail or refuse to hire or to discharge any individual, or otherwise to discriminate
           against any individual with respect to compensation, or other terms, conditions, or privileges of
           employment, because of such individual's race, color, national origin, religion, sex, gender
           identity/expression, sexual orientation, age or disability; or to limit, segregate, or classify employees
           or applicants for employment in any way that would deprive or tend to deprive any individual from
           equal employment opportunities or otherwise adversely affect an individual's status as an employee
           because of such individual's race, color, national origin, religion, sex, gender identity/expression,
           sexual orientation, age or disability. Vendor shall particularly remain in compliance at all times with:
           the Civil Rights Act of 1964, 42 U.S.C.A. §2000a, et seq., as amended; the Age Discrimination in
           Employment Act, 29 U.S.C.A. §621, et seq.; Section 504 of the Rehabilitation Act of 1973, 29
           U.S.C.A. §701, et seq., as amended; the Americans with Disabilities Act, 42 U.S.C.A. §12101, et
           seq.; the Illinois Human Rights Act, 775 ILCS 5/1-101, et seq., as amended; the Illinois School Code,
           105 ILCS 5/1-1 et seq.; the Illinois Public Works Employment Discrimination Act, 775 ILCS 10/0.01
           et seq.; the Individuals with Disabilities Education Act (IDEA), 20 U.S.C.A. §1400 et seq.; the Chicago
           Human Rights Ordinance, ch. 2-160 of the Municipal Code of Chicago; and all other applicable federal
           statutes, regulations and other laws. Nothing in this paragraph is intended nor shall be construed to
           create a private right of action against the Board or any of its employees. Furthermore, no part of
           this paragraph shall be construed to create contractual or other rights or expectations for the Vendor’s
           employees or the Vendor’s Subcontractors’ employees

           45.      Minimum Wage. In performance of this Agreement, Vendor must comply with the Board’s
           Minimum Wage Resolution (14-1217-RS2) and any applicable regulations issued by the Board’s
           CPO. The Board’s resolution adopts Chicago Mayoral Executive Order 2014-1. A copy of the
           Mayoral Order may be downloaded from the Chicago City Clerk’s website at:
           https://chicityclerk.s3.amazonaws.com/s3fs-public/document_uploads/executive-
           order/2014/Executive-Order-No-2014-1.pdf; the Board’s Resolution may be downloaded from the
           Chicago Public School’s website at: http://www.cpsboe.org/content/actions/2014_12/14-1217-
           RS2.pdf. In the event of any discrepancy between the summary below and the Resolution and Order,
           the Resolution and Order shall control.

           Vendor must: (i) pay its employees no less than the minimum wage in accordance with the Resolution
           and Order (“Minimum Wage”) for work performed under the Agreement; and (ii) require any
           Subcontractors, sublicensees, or subtenants, to pay their employees no less than the Minimum Wage
           for work performed under the Agreement.



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           The Minimum Wage must be paid to: 1) All employees regularly performing work on property owned
           or controlled by the Board or at a Board jobsite and 2) All employees whose regular work entails
           performing a service for the Board under a Board contract.

           Beginning on July 1, 2015, and every July 1 thereafter, the Minimum Wage shall increase in
           proportion to the increase, if any, in the Consumer Price Index for All Urban Consumers most recently
           published by the Bureau of Labor Statistics of the United States Department of Labor, and shall
           remain in effect until any subsequent adjustment is made. On or before June 1, 2015, and on or
           before every June 1 thereafter, the City of Chicago may issue bulletins announcing adjustments to
           the Minimum Wage for the upcoming year.

           The Minimum Wage is not required to be paid to employees whose work is performed in general
           support of Vendor’s operations, does not directly relate to the services provided to the Board under
           the Agreement, and is included in the contract price as overhead, unless that employee's regularly
           assigned work location is on property owned or controlled by the Board. It is also not required to be
           paid by employers that are 501(c)(3) not-for-profits.

           The term ‘employee’ as used herein does not include persons subject to subsection 4(a)(2),
           subsection 4(a)(3), subsection 4(d), subsection 4(e), or Section 6 of the Illinois Minimum Wage Law,
           820 ILCS 105/1 et seq., in force as of the date of this Agreement or as amended. Nevertheless, the
           Minimum Wage is required to be paid to those workers described in subsections 4(a)(2)(A) and
           4(a)(2)(B) of the Illinois Minimum Wage Law.

           The Minimum Wage is not required to be paid to employees subject to a collective bargaining
           agreement that provides for different wages than those required by the Board’s Resolution, if that
           collective bargaining agreement was in force prior to December 17, 2014 or if that collective
           bargaining agreement clearly and specifically waives the requirements of the Resolution.

           If the payment of a prevailing wage is required and the prevailing wage is higher than the Minimum
           Wage, then Vendor must pay the prevailing wage.

           46.   Continuing Obligation to Perform. In the event of any dispute between Vendor and Board,
           Vendor shall expeditiously and diligently proceed with the performance of all its obligations under this
           Agreement with a reservation of all rights and remedies it may have under or pursuant to this
           Agreement at law or in equity.

           47.     Controlling Agreement: Vendor shall not request any CPS staff including school principals,
           administrative staff or other CPS employees to sign any form, memorandum of understanding or any
           other agreement for delivery of the Services except for those documents specifically approved by the
           Board under the Agreement. Additionally, the Board and its users shall not be bound by the terms
           and conditions in any clickwrap/clickthrough agreement or license, end user license or any other
           agreement or license contained or referenced in the service or any quote provided by Vendor. Even
           if a CPS staff or Board user agrees to any agreement or license contained or referenced in the
           services or a quote from Vendor, Vendor acknowledges and agrees that those terms and conditions
           are null and void and not binding on the Board. Vendor acknowledges and agrees that the terms and
           conditions of the Agreement represent the entire agreement of the parties for the Services. No
           additional terms or conditions shall apply to the Board unless a written amendment to this Agreement
           is made and signed by the authorized representatives of both Parties and approved as to legal form
           by the Board’s General Counsel.

           48.  Kickbacks: Neither Vendor nor any of its members if a joint venture or limited liability
           company has accepted and shall not accept from or on behalf of any subcontractor or any



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           intermediate tier subcontractor any payment, gratuity or offer of employment in relation to the
           Agreement or as an inducement for the acceptance of the Agreement. Vendor is and shall remain in
           compliance with all applicable anti-kickback laws and regulations.

           49.      Conflict of Interest. This Agreement is not legally binding on the Board if entered into in
           violation of the provisions of 105 ILCS 5/34-21.3, which restricts the employment of, or the letting of
           contracts to, former Board members within a one year period following expiration or other termination
           of their office.

           50.    Indebtedness. Vendor agrees to comply with the Board’s Indebtedness Policy adopted June
           26, 1996 (96-0626-PO3), as amended from time to time, which policy is hereby incorporated by
           reference into and made a part of this Agreement as if fully set forth herein.

           51.    Ethics. No officer, agent or employee of the Board is or shall be employed by the Vendor or
           has or shall have a financial interest, directly, or indirectly, in this Agreement or the compensation to
           be paid hereunder except as may be permitted in writing by the Board’s Code of Ethics Policy adopted
           May 25, 2011 (11-0525-PO2), as amended from time to time, which policy is hereby incorporated by
           reference into and made a part of this Agreement as if fully set forth herein.

           52.    Inspector General. Each party to this Agreement hereby acknowledges that in accordance
           with 105 ILCS 5/34-13.1, the Inspector General of the Board of Education of the City of Chicago has
           the authority to conduct certain investigations and that the Inspector General shall have access to all
           information and personnel necessary to conduct those investigations.

           53.    Waiver. No delay or omission by the Board to exercise any right hereunder shall be construed
           as a waiver of any such right and the Board reserves the right to exercise any such right from time to
           time and as often as may be deemed expedient.

           54.     Uniform Commercial Code. In the absence of a governing provision under this Agreement
           or should any provision of this Agreement be construed by a court of competent jurisdiction as vague,
           unenforceable or illegal and the Parties are unable to agree on a substitute enforceable and legal
           provision, the corresponding provision of Article 2 of the Uniform Commercial Code shall apply.

           55.      Freedom of Information Act. Vendor acknowledges that this Agreement and all documents
           submitted to the Board related to this Agreement are a matter of public record and are subject to the
           Illinois Freedom of Information Act (5 ILCS 140/1) and any other comparable state and federal laws
           and that this Agreement is subject to reporting requirements under 105 ILCS 5/10-20.44. Vendor
           further acknowledges that this Agreement shall be posted on the Board’s Internet website.

           56.     Survival/Severability. All express representations or indemnifications made or given in this
           Agreement shall survive the completion of Services or the expiration or termination of this Agreement
           for any reason. If any provision or part of this Agreement is held to be unenforceable, the Agreement
           shall be considered divisible and such provision shall be deemed inoperative to the extent it is
           deemed unenforceable, and in all other respects the Agreement shall remain in full force and effect;
           provided, however, that if any such provision may be made enforceable by limitation thereof, then
           such provision shall be deemed to be so limited and shall be enforceable to the maximum extent
           permitted by applicable law.

           57.     Joint and Several Liability. If Vendor, or its successors or assigns, if any, is comprised of
           more than one individual or other legal entity (or a combination thereof); then, and in that event, each
           and every obligation or undertaking herein stated to be fulfilled or performed by Vendor shall be the
           joint and several obligation or undertaking of each such individual or other legal entity.



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           58.     Participation by Other Local Government Agencies. Other local government agencies
           may be eligible to purchase Services pursuant to the terms and conditions of this Agreement if such
           agencies are authorized, by law or their governing bodies, to execute such purchases, and if such
           authorization is allowed by the Board’s Chief Procurement Officer, and if such purchases have no
           significant net adverse effect on the Board, and result in no observed diminished Services from the
           Vendor to the Board, and result in no observed diminished Services from the Vendor to the Board’s
           user departments pursuant to such purchases. Examples of such agencies are: City of Chicago,
           Chicago Park District, City Colleges of Chicago, Chicago Transit Authority, Chicago Housing
           Authority, Chicago Board of Elections, Metropolitan Pier & Exposition Authority (McCormick Place,
           Navy Pier), and the Municipal Courts. The scope of service for any such agencies shall be the basis
           for terms negotiated between Vendor and such agency before commencement of services.

           59.     Charter School Participation: Charter schools which receive funding from the Board shall
           be eligible to purchase Services pursuant to the terms and conditions of the Agreement and, if such
           charter schools are authorized by their governing bodies to execute such purchases, by issuing their
           own purchase order(s) to Vendor. The Board shall not be responsible for payment of any amounts
           owed by charter schools. The Board assumes no authority, liability or obligation on behalf of any
           charter school.
           60.     Multi-Project Labor Agreement: The Board has entered into that certain Multi-Project Labor
           Agreement (including that certain Supplemental Agreement to the Project Labor Agreement
           Regarding Student Programs and Apprenticeships) (“PLA”) with various trades regarding projects in
           excess of $25,000.00, and by this reference made a part of this Agreement. The Multi-Project Labor
           Agreement (including that certain Supplemental Agreement to the Project Labor Agreement
           Regarding        Student     Programs      and      Apprenticeships)      is    set     forth     in
           http://cps.edu/SiteCollectionDocuments/Multi_ProjectLaborAgreement2015_2025.pdf                 and
           http://cps.edu/SiteCollectionDocuments/Multi_ProjectLaborSupplementalAgreement2015_2025.pdf
           Vendor acknowledges familiarity with the requirements of the Board's PLA and shall comply with the
           PLA where applicable in the performance of the Services.

           61.     Entire Agreement. This Agreement, including all exhibits, attachments and schedules
           attached to and incorporated into it, constitute the entire agreement of the Parties with respect to the
           matters contained herein. All attached exhibits, attachments and schedules are incorporated into
           and made a part of this Agreement. No modification of or amendment to this Agreement shall be
           effective unless such modification or amendment is in writing and signed by an authorized
           representative of each Party. Any prior agreements or representations, either written or oral, relating
           to the subject matter of this Agreement are of no force or effect.

           62.     Counterparts and Electronic Signature. This Agreement may be executed in any number
           of counterparts, each of which shall be deemed to be an original, but all of which together shall
           constitute but one instrument. A signature delivered by facsimile or electronic means shall be
           considered binding for both Parties.

           63.    Board Approval. The execution of this Agreement is subject to approval by the members of
           the Board of Education of the City of Chicago.


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                  IN WITNESS WHEREOF, the Parties hereto have executed this Agreement as of the latest
           date set forth below.

                 BOARD OF EDUCATION OF                            ARAMARK MANAGEMENT SERVICES, LP
                 CITY OF CHICAGO


           By:                                                    By:
                     Miguel Del Valle                             Name:    Katherine Tracy
                     President                                    Title:   VP Finance


                                                                           September 30, 2021
           Attest:                                                Date:
                     Estela G. Beltran
                     Secretary
                     October 1, 2021
           Date:

           Board Report No: 21-0728-PR14


           Pedro Martinez
           Chief Executive Officer

           Approved as to legal form:



           Joseph Moriarty
           General Counsel


           Exhibit A: Scope of Services
           Exhibit B: Financial Terms
           Exhibit C: Tentative Staffing Plan
           Exhibit D: Service Level Agreement and Liquidated Damages
           Exhibit E: Performance Evaluation
           Exhibit F: CPS FY-20 AAP Audit Flow Procedural Requirements Diagram
           Exhibit G: CPS Facilities Building Security Protocols

           Schedule 1: APPA Cleaning Standard
           Schedule 2: Services and Frequencies
           Schedule 3: School Equipment List
           Schedule 4: List of Schools
           Schedule 5: Community Relations Initiatives




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                                                                  SCOPE OF SERVICES
                           Name of Project: Custodial Services Contract with Aramark, RFP Specification NO 20-350030
                           CPS Project Manager: Muhammad Saiduzzaman Phone: 773/553-1837 E-Mail: msaiduzzaman@cps.edu
                           Consultant’s Project Manager: Brian Bilthuis (708) 932-6956 E-Mail: bilthuis-brian@aramark.com
                           Period of Performance: August 1, 2021 through June 30, 2024




                    THIS SCOPE OF SERVICES (this “Scope of Services”) shall be conducted pursuant to the terms and
                    conditions of that certain Custodial Services Agreement dated as of August 1, 2021 (the “Agreement”) by and
                    between Aramark (“Vendor”) and the Board of Education of the City of Chicago, a body politic and corporate,
                    commonly known as the Chicago Public Schools (the “Board” or “CPS”; and together with the Vendor,
                    individually, a “Party” and collectively, the “Parties”). Capitalized terms used and not otherwise defined herein
                    shall have the meanings assigned thereto in the Agreement. In the event of a conflict between the terms of
                    this Scope of Services and the Agreement, the terms of the Agreement shall supersede and prevail.
                      I.       BACKGROUND
                                  CPS is the third largest school district in the United States and currently operates approximately
                                  683 schools serving approximately 403,000 students. In FY 2022, CPS is estimated to spend
                                  more than $200 million on all facility management services, which comprises utilities, Custodial
                                  Services, janitorial supplies, building maintenance, engineering services and other trade
                                  services. CPS desires to provide a safe and comfortable environment for the students, faculty
                                  and staff while minimizing the costs associated with the delivery of these services.


                     II.       CUSTODIAL SERVICES
                                  A. General.
                                           i.    Vendor shall provide all management, personnel, materials, supplies and
                                                 equipment needed to manage, operate, and deliver custodial services at the Board
                                                 Facilities in accordance with the requirements of this Agreement, Scope of Services
                                                 herein and in compliance with the Service Level Agreements (“SLAs”) and Key
                                                 Performance Indicators (KPI's) (with the exception of the Board Custodian
                                                 Commitment) ("Custodial Services"), including, all supplies, materials and
                                                 equipment necessary to deliver the Custodial Services, including, but not limited to,
                                                 any and all: (i) janitorial or custodial supplies and materials of the type that are
                                                 necessary or desirable for the performance of the Custodial Services, including, but
                                                 not limited to floor finishes, cleaners, detergents, sanitizers, hand soaps, wipes,
                                                 paper towels, toilet paper, plastic liners for containers, plastic bags for trash
                                                 removal ("Custodial Supplies"); and (ii) all equipment necessary to deliver the
                                                 Custodial Services, including, but not limited to, floor scrubbing, waxing, polishing
                                                 and shampooing machines, step ladders ("Custodial Equipment"). Vendor shall
                                                 deliver to the Board's Facilities Operations Chief, a list of all Cleaning Supplies that
                                                 are cleaning agents and sanitizing chemicals ("Cleaning Agents") that Vendor
                                                 proposes to use in its delivery of the Custodial Services within thirty (30) days of
                                                 the Go-Live Date.

                                           ii.   Vendor's Custodial Services hereunder shall include, but are not limited to manage,
                                                 supervise, train, monitor and oversee all Vendor Personnel providing Custodial
                                                 Services, namely (i) third-party janitorial Subcontractors ("Vendor Custodians"); (ii)
                                                 manage, supervise, train, monitor and oversee Board employees providing
                                                 Custodial Services at the Board Facilities ("Board Custodians"); (iii) purchase and
                                                 maintain sufficient inventory of all Custodial Supplies and Custodial Equipment,
                                                 including Cleaning Agents, used in connection with the Custodial Services; (iv)
                                                 clean and maintain the areas designated under the column heading "SQFT" in
                                                 Schedule 4, (each, a "Custodial Area"); (v) observe, document and report any
                                                 known mechanical deficiencies, leaks, and broken fixtures in each Custodial Area;
                                                 (vi) regularly inspect each Custodial Area and exterior grounds at such Board
                                                 Facility; (vii) set up the cafeteria or such other areas designated for breakfast and


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                                            lunch; (viii) remove trash, dispose of liquid waste, clean up spills, replace garbage
                                            liners and clean surfaces (including, without limitation, floors, table tops, chairs,
                                            benches and walls); (ix) maintain all Custodial Supplies and Custodial Equipment in
                                            a secured storage area, and maintain any storage and/or locker space provided by
                                            the Board according to the SLA; (x) clean minor mold and mildew in bathroom,
                                            locker room and shower areas, provided that the Vendor shall not be responsible or
                                            liable in any way for the investigation, remediation and abatement of mold, mildew,
                                            fungi pollutants, contaminants, asbestos, lead, fuel storage tanks or contents, poor
                                            air quality, or hazardous, toxic, or regulated waste substances; (xi) open, close and
                                            secure each Board Facility in accordance the standards and operational
                                            procedures established by the Board, including compliance with the "CPS Daily
                                            Building Security Protocol for Building Level Custodians", as may be revised by the
                                            Board from time to time, to the extent the CPS Daily Building Security Protocol for
                                            Building Level Custodians and any revisions to the same are provided to Vendor in
                                            writing; it being further understood and agreed that the CPS Daily Building Security
                                            Protocol for Building Level Custodians and any revisions to the same established
                                            by the Board after execution of this Agreement shall not be imposed upon Vendor
                                            to the extent the same materially expand the obligations of Vendor as set forth in
                                            this Agreement, or impose any additional costs on Vendor, without the prior written
                                            agreement of both parties evidenced by a duly executed amendment to this
                                            Agreement in accordance with the terms herein; and (xii) perform the Custodial
                                            Services set forth herein and such other tasks and deliverables necessary to
                                            comply with Vendor's obligations hereunder.



                                     iii.   During the Term, the Vendor shall, with respect to (i) each of the schools set forth
                                            on Schedule 4 and (ii) solely with respect to the period during each year of the
                                            Term in which the Board’s summer schools are in session, (“Summer School
                                            Facilities”), to be determined by the Parties in good faith (the properties described
                                            in clauses (i) and (ii) being collectively referred to herein as the “Board Facilities”
                                            or “Facilities”), in each case perform Custodial Services:

                                                1.   Manage, supervise, train, monitor and oversee (the Board Custodians;
                                                     and together with the Vendor Custodians, collectively, the “Custodians”),
                                                     in each case performing custodial services under the Agreement;
                                                2.   Purchase and maintain the Cleaning Supplies and the Cleaning
                                                     Equipment;
                                                3.   Convey the Depreciable Cleaning Equipment to the Board pursuant to the
                                                     terms of Section 14 of the Agreement;
                                                4.   Clean and maintain the Custodial Area at each Board Facility designated
                                                     under the column heading “SQFT” in Schedule 4 to the Agreement,
                                                     including, with respect to Summer School Facilities, (i) opening and
                                                     closing such Summer School Facilities for summer school or other Board
                                                     activities and (ii) turning on and off lights, monitoring restroom cleanliness,
                                                     supporting meal periods, trash removal and/or daily cleaning, in each case
                                                     with respect to such Summer School Facilities;
                                                5.   Review the exterior grounds of each Board Facility daily to collect and
                                                     discard debris;
                                                6.   Observe and report any known mechanical deficiencies, leaks, and broken
                                                     fixtures in each Custodial Area and otherwise periodically inspect each
                                                     Custodial Area and the immediate exterior grounds at each Board Facility;
                                                7.   Set up the cafeteria and/or areas designated for breakfast and lunch;
                                                8.   Dispose of liquid waste, clean spills, replace garbage liners and clean
                                                     surfaces (including, without limitation, floors, table tops, chairs, benches
                                                     and walls) and remove trash and garbage to dumpsters or receptacles
                                                     designated by the Board at the applicable Board Facility;



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                                                   9.  Maintain any storage and/or locker space provided by the Board to the
                                                       Vendor;
                                                   10. Clean minor mold and mildew in bathroom, locker room and shower
                                                       areas; provided that, the Vendor shall not be responsible or liable in any
                                                       way for the investigation, remediation or abatement of mold, mildew, fungi,
                                                       pollutants, contaminants, asbestos, lead, fuel storage tanks or contents,
                                                       indoor air pollutants or contaminants, poor air quality, or hazardous, toxic,
                                                       or regulated waste substances, in each case at the Facilities or their
                                                       surrounding premises; provided further that Vendor shall not be liable for
                                                       any conditions that existed in, on, or upon any Board Facility or the
                                                       Board’s cleaning equipment or systems on or prior to the Effective Date,
                                                       including, without limitation, environmental impairments and other
                                                       conditions;
                                                   11. Coordinate interviews with each Board Custodian to (a) evaluate and
                                                       assess the knowledge, skill and abilities of such Board Custodian, (b)
                                                       provide written recommendations to the Board from time to time regarding
                                                       employment, compensation, promotion, discipline, and discharge of such
                                                       Board Custodian and (c) create new job descriptions, labor schedules,
                                                       cleaning schedules and standards of performance;
                                                   12. Perform the obligations set forth in Section II. C. below;
                                                   13. Endeavor to fulfill the community initiatives set forth on Schedule 5 hereto
                                                   14. Participate in the removal of snow and ice at entrance ways and egresses
                                                       at each Board facility as per the specific school Snow Plan, and under the
                                                       direction of the Board or Board designee (FMO). Activities may include,
                                                       but not limited to, shoveling snow, snow blowing, sweeping, placing signs
                                                       or cones, and application of ice melt.

                                       iv.    Vendor accepts the Association of Physical Plant Administrators(“APPA”) “APPA
                                              Level 2” Cleaning Standards for meeting the Board’s standards for clean and safe
                                              working/learning environments and the service levels and performance standards
                                              that the Vendor’s organization and all their individual team members are expected
                                              to achieve.
                                        v.    In all business practices, purchases and process involved in Vendor’s service
                                              delivery responsibilities, sustainability and appropriate accountabilities shall be a
                                              focused component supporting the Board's commitment to responsible use of
                                              energy, water and any other natural resources.


                       B.    Custodial Services Exclusions
                            i.   The Parties acknowledge and agree that the Custodial Services performed by Vendor under the
                                 Agreement shall include any of the following services (such services being individually and
                                 collectively referred to herein as the “Additional Services”):
                                 a.   The cleaning of laboratory equipment, sink hoods, art room kilns and ovens, kitchen
                                      equipment and vent hoods, machinery and equipment in boiler, fan and air compressor and
                                      all building systems’ mechanical equipment located anywhere outside such areas
                                      maintaining
                                 b.   The re-lamping of light fixtures
                                 c.   The removal of exterior graffiti
                                 d.   The refinishing of gym floors
                                 e.   The procurement and installation of flooring
                                 f.   The repairing of furniture
                                 g.   Painting
                                 h.   The maintenance and/or training with respect to swimming pools, athletic turf, general turf,
                                      pool operators, maintenance technicians, plant maintenance managers



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                                  i. Interior pest management & control
                                  j. Emergency management
                                  k. Building commissioning
                                  l. Preventative maintenance, except on cleaning equipment where recommended by the
                                     manufacturer
                                  m. Predictive maintenance, except on cleaning equipment where recommended by the
                                     manufacturer
                                  n. Corrective maintenance, except on cleaning equipment
                                  o. Project management, except on large custodial cleaning and for minor restoration projects
                                  p. Snow Removal from parking lots
                                  q. Chemical spills and hazardous materials cleaning

                       C.    Implementation Services and Project Plan.
                            i.   Vendor and the Board acknowledge that Vendor shall provide certain implementation services
                                 relating to the transition and implementation of the Custodial Services hereunder
                                 ("Implementation Services") commencing on August 1, 2021, or such other date as determined
                                 by the Board, and continuing through September 30, 2021 for all quality regions -(or such other
                                 end date as may be agreed by the Parties in writing ("Implementation Period") in accordance
                                 with the terms herein. Vendor shall provide the "Implementation Services" pursuant to the
                                 terms of this Agreement, in accordance with the implementation plan developed by Vendor and
                                 approved by the Board ("Implementation Plan"). Vendor shall invoice the Board for
                                 Implementation Costs in accordance with the terms of this Agreement. Vendor shall also provide
                                 a plan to the Board within ten (10) days following the date by which Vendor is required to provide
                                 full services in CPS facilities as described in this exhibit (“Go-Live Date”) The Parties agree that
                                 the Go-Live Date is October 1, 2021, detailing Vendor's operational plan for the ongoing delivery
                                 of Custodial Services during the Term ("Project Plan"). The Implementation Plan and the Project
                                 Plan are each subject to the review, revision and written approval of the Board, and may be
                                 refined as necessary from time to time in coordination with the Board's Facilities Chief or its
                                 designee.
                            i.   During the Implementation Period, Vendor shall familiarize itself with particular aspects of the
                                 Facilities, operations, equipment, materials, supplies, and other matters. Vendor shall assist the
                                 Board with inventorying its cleaning equipment and shall order Cleaning Equipment necessary to
                                 provide the Custodial Service during the Implementation Period. The Implementation Period
                                 shall include setting up Vendor’s computer and software programs, determining the net square
                                 footage of the Board Facilities, screening new employees and subcontractor employees, and
                                 training Custodians. The Board agrees to reasonably cooperate with the activities of Vendor
                                 contemplated by this paragraph C. During the Implementation Period, Vendor shall not provide
                                 Custodial Services and shall not supervise or manage the Custodians for Custodial Services that
                                 are to be effective October 1, 2021 and are not currently being provided under an active
                                 agreement with the Board. Vendor shall be paid the “Implementation Period Fees” set forth on
                                 Exhibit B during the Start-Up Period, which shall represent a portion of Vendor’s actual cost
                                 during the Start-Up Period. The balance of Vendor’s actual costs during the Start-Up Period
                                 shall be payable by the Board in accordance with the payment schedule set forth on Exhibit B
                                 hereto.
                       D.     Meetings with the Board and Strategic Goals.
                            i.   The Vendor shall meet with the Board or the Board designee:
                                           a. During the first three months of the Agreement, weekly to review the Vendor’s
                                                program transition and program implementation, inventory and delivery of Cleaning
                                                Supplies and Cleaning Equipment, inventory and assessment of Board Facilities,
                                                call center review and validation. Vendor shall be fully responsible for ensuring that
                                                computerized custodial service audit/inspection and management system is fully
                                                compatible with Board’s Computerized Maintenance Management System
                                                (“CMMS”) and to set-up and implementation and training.



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                                        b.   At the beginning of each school year to review the Vendor’s written proposals for
                                             the year (including the supporting business case) which shall identify saving and/or
                                             operational efficiencies that would result in (i) process improvement opportunities
                                             and/or innovation for the Board; and/or (ii) a reduction in the Board’s costs related
                                             to delivery of custodial services in such calendar year (collectively, the
                                             “Performance and Savings Opportunities”).
                                        c.   During the Term, once each month and once each quarter to review matters such
                                             as, the progress toward the Performance and Savings Opportunities, level of
                                             cleanliness, safety, training, attendance, productivity, call center review and the
                                             Annual Survey (“Annual Survey”).
                                        d.   From time to time, as mutually agreed between the Parties.


                       F.   Computer Maintenance Management Systems (CMMS)
                              i.    CMMS Access. Board hereby grants to the Vendor access to use the CMMS in the delivery
                                    of the Custodial Services. The Vendor shall not copy or knowingly permit the copying by any
                                    third party of the CMMS, or distribute, market, sell, rent, lease, license, transfer, sublicense,
                                    or assign to any third party any portion of the CMMS except as permitted under this
                                    Agreement. The Vendor shall not make any alterations, additions, or modifications, create
                                    derivative works, decompile, disassemble, or reverse engineer the CMMS without the prior
                                    written consent of the Board.
                              ii.   Sharing of Reports and Data. Notwithstanding the foregoing CMMS user limitations, the
                                    Parties acknowledge that all Custodial Services data, reports and records resulting from the
                                    CMMS are "work product" and Board Data exclusively owned by the Board. The Board may,
                                    in its sole discretion, share such Board Data generated through the CMMS or by other
                                    means with respect to the Custodial Services hereunder, with the Board's designees,
                                    including any other Third Party Subcontractors or prospective vendors.
                             iii.   Permitted Users. Board shall provide a separate username and password for each user of
                                    the CMMS, including those Vendor employees requiring access to the CMMS as designated
                                    by the Vendor in order to track all actions on the CMMS. Board shall not establish a central
                                    username and password for use by multiple Vendor Personnel.
                             iv.    CMMS and Information Systems Security. Vendor shall take all necessary action to maintain
                                    security of the CMMS and the information systems, hardware, software, equipment, network
                                    components, services, and other resources of the Board ("Board Systems"), taking steps to
                                    protect the CMMS from unauthorized access or viewing, data loss, or accidental deletion,
                                    addition, editing, access or viewing by unauthorized Vendor Personnel or third parties.
                              v.    Board shall implement and maintain a consolidated data, recordkeeping, inventory and
                                    operations management solution through the CMMS and provide integrated connectivity
                                    between the CMMS and the Vendor. Board shall coordinate with the Vendor to create an
                                    interface of the CMMS with the Vendor Systems, if deemed necessary by the Board. The
                                    Vendor shall maintain and manage the CMMS based on the following minimum
                                    requirements, which shall be further refined to comply with additional specifications as may
                                    be mutually agreed by the Parties:
                                          a. General Management and Tracking. Record keeping, management, tracking and
                                               communication of day-to-day operations, work requirements, work status, analyze
                                               data in order to efficiently deploy and manage the Custodial Services, maintain
                                               history of Custodial Services, generate reports, monitor and analyze Custodial
                                               Services delivery metrics against Service Level Requirements (“Service Level
                                               Requirements”) for use in evaluating compliance with the Agreement, the
                                               effectiveness of the Custodial Services and providing for data driven decision
                                               making by Vendor and the Board.
                                          b. Inventory Records, Recordkeeping for all Supplies and Custodial Equipment. With
                                               respect to Custodial Equipment records, Vendor shall retain and include in the



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                                              CMMS: bill of material, preventative maintenance schedule, service contracts,
                                              safety procedures, specification data, equipment downtime, location and related
                                              documentation (collectively "Inventory Data").
                                         c.   Vendor Personnel Tracking. Recordkeeping for all Vendor Personnel (“Vendor
                                              Personnel”), including assignments, specialty or trade categories, associated labor
                                              costs, skill levels and evidence of compliance with qualifications, licensing, the
                                              Background Checks and tracking of other compliance requirements as needed.
                                         d.   Safety Plans. Storage of emergency guidelines, disaster and safety plans for each
                                              Board Facility, tracking Hazardous Materials, ratings for health, flammability and
                                              Safety Data Sheets (“SDS”) for Hazardous Materials, linkage of safety plans to
                                              Custodial Services and operations plans, preventative maintenance plans, and
                                              work orders with ability to print safety plans automatically on work orders.
                                         e.   Work Order Request Management. Capability to input, monitor, manage and track
                                              work order requests, with information inputs for detailed planning and scheduling,
                                              including Custodial Services plan operations and requirements for all Custodial
                                              Supplies, Custodial Equipment and labor costs and documents such as blueprints,
                                              plans and other Custodial Services and Board Facility related documents.
                                         f.   Custodial Services Management. Capability to specify which Vendor Personnel to
                                              apply to specific Custodial Services work orders and related timing for Custodial
                                              Services planning and deployment.
                                         g.   Reporting. Track and report development for opening and closing work orders,
                                              reporting on status, labor, materials, equipment, failure codes and completion
                                              dates.
                                         h.   Purchasing. Module to initiate the requisition of material and Subcontractor
                                              Custodial Services against and track the delivery and cost data of the material or
                                              subcontractor services.
                                         i.   Subcontractor Contracts. Module that includes information on Subcontractor
                                              contracts, including reference to each contractor's past performance, current and
                                              planned services.
                                         j.   KPI/Metrics and SLAs. Record data based on the SLAs and KPIs, measuring
                                              progress toward meeting goals and ensuring compliance with the terms of the
                                              Agreement.
                                         k.   Warehouse & Logistics. Move management of equipment, assets, and supplies.


                       G. Cleaning Standards.
                               i.   At all times during the Term of this agreement, the Vendor shall provide Custodial Services
                                    that are consistent with the Association of Physical Plant Administrators (“APPA”) “APPA
                                    Level 2” Cleaning Standards and for meeting the Board’s standards for clean and safe
                                    working/learning environments. For a detailed review of APPA Level 2 expectations in
                                    comparison to other Levels, refer to Schedule 1.
                              ii.   The Vendor shall notify all relevant parties including the Board’s Coordinator of Facility
                                    Maintenance or his/her successor, when a condition exists that could hinder the Vendor’s
                                    ability to perform the Custodial Services at acceptable levels in a Board Facility. Examples
                                    of obstacles include but are not limited to staffing issues, insufficient Cleaning Supplies,
                                    Cleaning Equipment, and dangerous or hazardous building conditions.


                       H.   Standards of Performance (Performance Based)
                                a. Vendor shall assist the Board in meeting environmental, energy and sustainability goals,
                                    maximize efficiencies, and meet budget limitations. Vendor shall provide Custodial
                                    Services to ensure clean, sanitized and disinfected environments that are conducive to
                                    learning. The Vendor shall employ the latest technologies, and automation to work
                                    methods to continuously improve the service quality within budget. The vendor shall



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                                     adhere to performance standards as outlined in the SLAs and measured by agreed upon
                                     KPIs.
                       I.   Service Level Agreement and Compliance
                                     i.   Service Level Agreement. Vendor shall comply with the levels of services set forth in
                                          the SLAs attached hereto as Exhibit D and shall be subject to SLA Liquidated
                                          Damages (“SLA Liquidated Damages”) for failure to provide Custodial Services in strict
                                          compliance with the SLAs.
                       L.   Call Center Responsiveness
                                   i.    Custodial vendor is required to provide and coordinate all information with the Facilities
                                         Management Office (FMO) Call Center.

                       M. Training Program (New Hire Orientation, Competency Training).
                                  i.   Vendor shall develop a training program to ensure efficient, skilled, detailed delivery of
                                       the Custodial Services in compliance with the standards set forth and required by the
                                       Board hereunder ("Vendor Training Program") and shall provide each Custodian used
                                       in the performance of the Custodial Services with adequate training to perform the work
                                       with knowledge, skill and competence necessary to meet the requirements set forth
                                       herein. Vendor shall ensure that all Custodians are well informed on procedures related
                                       to work safety, chemicals, tools and equipment, general procedures, common mistakes
                                       and other matters that may arise in day to day delivery of Custodial Services, taking into
                                       account the special requirements, needs, sensitivities and rules that impact the Board
                                       Facilities as schools, including all applicable Board Rules. The training obligations
                                       hereunder are not intended to be an all-inclusive description of training but rather,
                                       provide guidance and insight to the Board's minimum expectations. Vendor shall
                                       provide and maintain competent, skilled adequate supervisory and management Vendor
                                       Personnel to monitor work performance and ensure that the standards of cleanliness
                                       required under this Agreement and in compliance with the SLAs that are being
                                       maintained. Vendor shall provide a training program for all Custodians to ensure
                                       consistency of delivery of Custodial Services across each Board Facility. Vendor shall
                                       institute and maintain the Training Program throughout the Term, ensure that all new
                                       Vendor and all appropriate Board Personnel to undergo the Training Program that
                                       includes but not limited to New Hire orientation, onboarding and competency training
                                       before providing Custodial Services at any Board Facility, and to enlist and include in all
                                       regularly scheduled and Vendor provided continual training updates and refreshers to
                                       ensure that the requirements hereunder are met.

                                   ii.   The Vendor Training Program shall include, at a minimum, but not limited to, trainings
                                         and materials on the following topics:
                                              a. general daily cleaning techniques;
                                              b. training on proper use of equipment;
                                              c. chemical Handling and green cleaning;
                                              d. project and progressive cleaning techniques;
                                              e. elements of an emergency action plan;
                                              f. elements of blood borne pathogens and exposure control plan;
                                              g. hazard communication program (including Material Safety Data Sheets,
                                                  Labels and other forms of warning);
                                              h. the APPA Standards;
                                              i. proper use of cleaning agents;
                                              j. industry accepted best cleaning procedures and practices for schools and
                                                  school facilities; and
                                              k. OSHA requirements.
                                  iii.   Vendor shall be responsible for all costs associated with the Vendor Training Program,
                                         including costs for any training materials. Vendor shall plan for and ensure that all


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                                        Vendor and the Board Personnel are performing Custodial Services that comply with
                                        the basic provisions of OSHA Safety and Health Standards and General Construction
                                        Standards as applicable to the specific Custodial Services being provided. All applicable
                                        Vendor’s personnel shall be instructed on the use of all emergency valves, switches,
                                        and fire and safety devices in the Board Facility to which such Vendor Personnel is
                                        assigned. Vendor shall coordinate with the Board to assist with the implementation and
                                        enforcement of health and safety requirements at the Board Facilities. Vendor shall
                                        provide Safety Data Sheets (“SDS”) (formerly MSDS or Material Safety Data Sheets)
                                        incompliance with OSHA Hazard Communication Standards. Vendor shall take all
                                        necessary and desirable precautions for the safety of, and provide the necessary
                                        protection to prevent damage, injury, or loss to all Vendor Personnel, all Custodial
                                        Supplies and Custodial Equipment, whether on or off the site of a Board Facility; and
                                        any other personal property, including other supplies, equipment, furniture and other
                                        materials located at the Board Facility where the Custodial Services are performed.
                                 iv.    Vendor shall plan for and ensure that all Custodians performing Custodial Services
                                        comply with the basic provisions of OSHA Safety and Health Standards. Each
                                        Custodian shall be instructed on the use of all emergency valves, switches, and fire and
                                        safety devices in the Board Facility to which such Custodian is assigned. The Vendor
                                        shall implement and enforce health and safety standards by Custodians. Vendor shall
                                        provide SDSs in compliance with OSHA Hazard Communication Standards. Each Party
                                        shall take all necessary and desirable precautions for the safety of, and provide the
                                        necessary protection to prevent damage, in jury, or loss to:
                                            a.    Each Custodian
                                            b.    All Cleaning Supplies and Cleaning Equipment to be provided, incorporated in,
                                                  or utilized in connection with the Agreement duties, whether on or off the site of
                                                  a Board Facility; and
                                             c. Other property located at the Board Facility where the Custodial Services are
                                                  performed.
                                  v.    Vendor shall collect, compile, analyze all training data and will report summary analytics
                                        with all supporting data, verifiable personnel sign offs for specific training as needed by
                                        the Board on a monthly, quarterly basis.
                                 vi.    The Vendor shall comply with Board requirements to facilitate training utilizing the
                                        Board’s designated on-line training portal.
                                   N.   Emergency Action and Emergency Work Training Requirements.
                                            a.   If an emergency endangering the safety or protection of persons or property
                                                 located at or adjacent to a Board Facility occurs, emergency responders
                                                 shall be directed by Vendor to communicate with the Board's designee of
                                                 the Department of Facilities and with Vendor. Vendor shall, without special
                                                 instructions or authorization from the Board, take all necessary action to
                                                 attempt to prevent or mitigate any such threatened damage, injury or loss.
                                                 As soon as is practical during or following such an emergency, Vendor shall
                                                 promptly notify the Board Building Manager. Vendor shall respond in the
                                                 time and manner defined in Exhibit B. Vendor shall provide support to the
                                                 Building Manager, the Board, and/or FMO leadership to mitigate damage
                                                 and resolve the emergency situation.
                                            b.   The Vendor will be required to provide personnel with a comprehensive
                                                 training plan designed to meet all federal, state, and CPS requirements and
                                                 satisfies the operational needs of CPS and of all facilities subject to this
                                                 contract. The topics covered by such documented training should be
                                                 including but not limited to:
                                                 1. Job Specific knowledge/Skills assessment & Training (Core Competency
                                                      Training);
                                                 2. Emergency Preparedness;



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                                                  3.   Pandemic and Public Health Preparedness;
                                                  4.   Supervisory Management Skills;
                                                  5.   Team Building;
                                                  6.   Cleaning for Health;
                                                  7.   Leadership Skills Training;
                                                  8.   Asbestos Compliance Awareness

                            viii.   Scheduling of the meetings, documentation and records of all training must be made
                                    available to the Board or Board Designee for review periodically or as requested. Remedial
                                    training must be provided as and when required, and refresher training will be provided on
                                    an annual basis or when required. All training shall be documented and provided to the
                                    Board on a monthly/quarterly basis.
                             ix.    A written instruction (with appropriate visuals) document will exist for each station in every
                                    Board property identifying the area of responsibility, the expectation of that employee's
                                    efforts by the end of the shift, and workplace instructions to meet those expectations.
                                    Newly assigned personnel must receive on the job training from day one - whether they
                                    are permanently or temporarily assigned to a station.


                       O. Equipment, Materials, Consumables and Cleaning Chemicals.
                               i.   Equipment
                                        a. The Vendor shall furnish any and all Cleaning Supplies and consumables (defined
                                           below) and Cleaning Equipment (defined below).
                                        b. Cleaning Supplies & Consumables. As used herein, “Cleaning Supplies &
                                           Consumables” means any and all janitorial supplies and materials of the type that
                                           are necessary for the performance of the Custodial Services, including, without
                                           limitation, floor finishes, cleaners, detergents, sanitizers, hand soaps, wipes, paper
                                           towels, plastics.
                                        c. Cleaning Equipment. As used herein, “Cleaning Equipment” means, collectively,
                                           (i) the Depreciable Cleaning Equipment and (ii) the Non-Depreciable Cleaning
                                           Equipment, but excluding snow removal equipment and related supplies, including,
                                           without limitation, snow throwers, shovels, vehicles and snow plows.
                                        d. The Board shall make secure storage and janitorial areas available to the Vendor at
                                           the Board Facilities to store Cleaning Supplies/consumables and Cleaning
                                           Equipment.
                                        e. Title to any Cleaning Supplies/consumables purchased by Vendor prior to the
                                           expiration or early termination of this Agreement shall, without further act, vest in
                                           the Board. Vendor shall transfer title of the Cleaning Equipment to the Board
                                           pursuant to and in accordance with the terms of Section 14of the Agreement.
                                           Vendor, at the Board’s request, shall execute and deliver any bills of sale,
                                           assignments or other documents of conveyance necessary to evidence the vesting
                                           of title in and to such Cleaning Supplies to the Board and the conveyance of the
                                           Cleaning Equipment to the Board.
                                        f. Pre-Existing Custodial Services Equipment/ Asset Conditions.
                                                 1. Vendor shall conduct an inventory and assessment of the Pre-Existing
                                                       Custodial Services Equipment/ Asset Conditions for the entire district
                                                       and shall submit a report (“Pre-Existing Custodial Services
                                                       Equipment/Asset Conditions Assessment”) to the Board’s Facilities
                                                       Chief for consideration and review no later than sixty (60) days following
                                                       either the Letter of Intent or the Executed Contract, which is issued first,
                                                       detailing. For clarity, as used herein, "Pre-Existing Custodial
                                                       Services Equipment/Asset Conditions" shall mean any condition that
                                                       existed prior to commencement of this Custodial Services contract at
                                                       the applicable Board Facility.




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                                                          a.  The mutually agreed upon parameters of the assessment
                                                              between the Vendor and the Board’s Chief of Facilities;
                                                         b. The results of the Pre-Existing Custodial Services
                                                              Equipment/Asset Condition Assessment of the custodial
                                                              assets at each Board Facility, prioritized by level of urgency
                                                              and years;
                                                         c. A recommended course of action for each piece of
                                                              equipment/asset, prioritizing level of urgency, cost of repair,
                                                              cost of replacement, lead time for replacement and impact to
                                                              school custodial operations.
                                                         d. The Custodial Services equipment/asset inventory should be
                                                              catalogued in an electronic database or system (CMMS) that
                                                              is mutually agreed upon by both the Vendor and Board’s Chief
                                                              of Facilities, and can then manage the inventory moving
                                                              forward.
                                                2. The Pre-Existing Custodial Services Equipment/Asset Conditions
                                                    Assessment Report shall not be deemed to include discovery of latent
                                                    defects that are not reasonably discovered through a visual inspection
                                                    by the Custodial Manager or other qualified Vendor Personnel with
                                                    knowledge of facilities and custodial equipment/asset inspections
                                                    (which visual inspection shall include an inspection of assets and
                                                    equipment using vision, hearing, touch and smell and/or any non-
                                                    invasive inspection equipment). Notwithstanding the foregoing, while
                                                    the intent of the Pre-Existing Equipment/Asset Conditions Assessment
                                                    is not to require Vendor to actively conduct invasive inspections to
                                                    uncover latent defects, Vendor shall, to the extent it becomes aware of
                                                    any latent defects, in connection with its performance of the Custodial
                                                    Services hereunder, notify the Board of such latent defects in the Pre-
                                                    Existing Custodial Services Equipment/Asset Conditions Assessment
                                                    Report.
                                                3. Based on the results of the Pre-Existing Custodial Services
                                                    Equipment/Asset Condition Assessment Report and the comprehensive
                                                    evaluation by the Board’s Chief of Facilities, the Vendor shall develop
                                                    and propose a strategic, forward-looking Custodial Services
                                                    Equipment/Asset Program (“Custodial Services Equipment/Asset
                                                    Program”) to address necessary or advisable Custodial Services
                                                    equipment and assets at each Board Facility. Vendor will provide the
                                                    Board with an initial proposal addressing immediate potential equipment
                                                    and assets needs that the Board should consider no later than July 30,
                                                    2021. Vendor shall provide updated proposals, (including proposed
                                                    project details, cost analysis, justification and timelines) to the Custodial
                                                    Services Equipment/Asset Program as necessary throughout the Term.
                                                    The initial Custodial Services Equipment/Asset Program proposal and
                                                    each updated proposal thereafter is subject to the Board's review,
                                                    revision and written approval. Vendor shall thereafter be responsible for
                                                    managing all elements of the delivery of the Custodial Services
                                                    Equipment/Asset Program in compliance with the proposal so approved
                                                    by the Board. Vendor shall ensure that to the extent practicable and
                                                    commercially reasonable, Custodians deliver the Custodial Services in
                                                    accordance with the Custodial Services Equipment/Asset Program.
                                       g.   The Board shall not be responsible for any services performed as a part of the
                                            Custodial Services Equipment/Asset Program resulting from
                                                1. Vendor's negligence in performance of the Custodial Services required
                                                    hereunder; or
                                                2. Vendor's negligence in performance of acquisition of equipment and
                                                    assets to carry out Custodial Services which failure resulted in the need
                                                    for the services.




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                                       h.   Vendor shall purchase and place in service equipment for use in connection with
                                            the Custodial Services ("Depreciable Equipment") in an amount of up to Two
                                            Million and 00/100 Dollars ($2,000,000.00) (the “Custodial Equipment
                                            Investment"). The Custodial Equipment Investment is included in the Contract
                                            Price and shall be amortized on a monthly, straight-line basis for a period of no
                                            longer than three (3) years from the Effective Date, commencing, respectively,
                                            on the date the applicable item of Depreciable Equipment is placed into service
                                            and ending on June 30, 2024. Schedule 3 attached hereto sets forth the
                                            Depreciable Equipment that will be purchased by Vendor in connection with the
                                            Custodial Equipment Investment. Promptly after the purchase of any Depreciable
                                            Equipment, Vendor shall provide the Board with an updated Schedule 3, to the
                                            extent not already included thereon, setting forth the following for each item of
                                            Depreciable Equipment: (1) a complete and accurate description, including the
                                            manufacturer and model number, of the Depreciable Equipment purchased; (2)
                                            serial number for the Depreciable Equipment purchased; (3) the amount of the
                                            Custodial Equipment Investment attributable to such item of Depreciable
                                            Equipment and (4) date the applicable item of Depreciable Equipment was
                                            placed into service. Any Depreciable Equipment purchased by Vendor on the
                                            Board's behalf shall be purchased as "sales for resale" to the Board as
                                            referenced in IDOR Regulations Title 86, Parts 130.2076 (Sales to Purchasers
                                            Performing Contracts with Governmental Bodies). The Board shall hold title to all
                                            such Equipment upon full amortization of the Depreciable Equipment at the end
                                            of the applicable amortization period, or upon sooner repayment of the Custodial
                                            Equipment Investment by the Board. Vendor hereby represents and warrants to
                                            the Board that as of the purchase date of each item of Depreciable Equipment
                                            by Vendor, and upon full amortization of the Depreciable Equipment, Vendor
                                            shall have good, valid and marketable title to each such item of Depreciable
                                            Equipment, free and clear of all liens. Vendor shall not create, incur, assume or
                                            suffer to exist, any lien upon any item of Depreciable Equipment, whether now
                                            owned or hereafter acquired. Upon expiration or termination of this Agreement
                                            by either Party for any reason whatsoever prior to the complete amortization of
                                            the Custodial Equipment Investment (to the extent such funds are used to
                                            purchase Depreciable Equipment), the Board shall pay to Vendor an amount
                                            equal to the total unamortized balance remaining on the Depreciable Equipment
                                            calculated in accordance with this Section 14, to the extent purchased with funds
                                            from the Custodial Equipment Investment, as of the date of expiration or
                                            termination.
                                       i.   All equipment/assets must be asset tagged and cataloged in the Board’s CMMS.
                                       j.   Vendor should be aware that there are select multi-level Board Facilities that do not
                                            have elevators. Therefore, equipment deployment must include the use of light
                                            weight or portable equipment along with duplicating heavier equipment to avoid
                                            possible personal injury or damage to the property along with increasing
                                            productivity.
                                       k.   All energy consuming equipment must be certified against a nationally
                                            recognized industry standard such as the U.S. Green Building Council. The
                                            Vendor must also demonstrate that the equipment is in the top 20% for energy
                                            consumption within its class. Should any equipment fail, it will be repaired or
                                            replaced immediately, and back-up equipment will be supplied in the interim, the
                                            estimated annual costs need to be part of the proposed expense budget. The
                                            following are categories of Depreciable Cleaning Equipment: all Automatic Floor
                                            Machines; Scrubbing machines; Upright & Backpack vacuums; and High-Speed
                                            Burnishing machines.

                                       l.   Should the Vendor not repair, replace or supply temporary replacement
                                            equipment included in the scope of work, the Board may initiate replacement
                                            services, deducting any incremental cost of it from the Vendor’s next invoice. The
                                            Board should provide written notification in advance if the agreed time frame is
                                            not met, and the issue will become part of the next meeting’s agenda. A



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                                             maintenance Inspection Form, to be provided by Vendor and approved by the
                                             Board, is required to be used for all equipment in order to capture and report
                                             inspections results.

                                        m. Washroom carts, housekeeping carts, mop tanks and similar cleaning equipment
                                           shall have rubber bumpers or other protective devices to prevent damage to
                                           walls, desks, furnishings, doors, etc.

                                        n.   Equipment used by staff, especially service carts used by day staff, are to be
                                             efficient, ergonomic, clean, and sanitary. Service carts used by day staff should
                                             be unobtrusive and employed quietly throughout the property. The carts should
                                             have spaces for all appropriate and adequate accommodation for necessary
                                             cleaning accessories and their appropriate and safe user work instructions
                                             including chemical mixing/dilution, storage, preservations and shelf-life. The
                                             Board may, at its sole discretion, may reject and request Vendor to replace any
                                             such carts that do meet aforementioned features. The Vendor shall immediately
                                             replace with carts acceptable to the Board at no cost to the Board. All cleaning
                                             materials will be suitable for the surfaces intended and shall not be harmful to
                                             such surfaces, and shall be used in the manner specified by the original
                                             manufacturers and shall be brought onto the premises in the manufacturers’
                                             original containers with appropriate user instructions accompanied by pertinent
                                             Safety Data Sheets (“SDS”). It is to be understood that the Board may, at its
                                             discretion, instruct the Vendor to discontinue the use of any products and to
                                             substitute others that are mutually satisfactory. All plastic transparent garbage
                                             bags, as required by the respective property for the storage of waste and general
                                             use, will be supplied by the Vendor.
                                        o. All cleaning equipment, materials and supplies/consumables shall be in ample
                                             supply and in good working condition and must meet current industry standards
                                             and requirements. The Board reserves the right to evaluate the quality and
                                             functionality (form-fit-function) of the equipment and request to be upgraded or
                                             insist on newer equipment if they feel the current equipment is in poor and
                                             inadequate working condition. Equipment such as mopping equipment,
                                             scrubbing machines, polishers, vacuum cleaners (wet and dry), mops, ladders,
                                             dust cloths, pails, brooms, brushes, scrapers, cloths, soap and detergents,
                                             menstrual hygiene products, cleaners, deodorants, disinfectants, waxes,
                                             applicators, floor finishes, wet floor signage and other tools and supplies shall
                                             be supplied by the Vendor and reimbursed by the Board as part of the expense
                                             budget agreed at contract signature and any approved changes made
                                             thereafter.
                              ii.   Materials and Consumables:
                                        a. All consumables and materials including paper goods, floor mats and any other
                                             items requested by the Board and supplied by Vendor shall be of the quality
                                             requested by the Board. All purchases made under this contract are subject to
                                             the approved budget as developed by Vendor and approved by the Board at the
                                             beginning of the contract and as revised and approved annually.
                                        b. Vendor should be aware that most multi-level schools do not have elevators.
                                             Therefore, equipment deployment must include the use of light weight or portable
                                             equipment along with duplicating heavier equipment to avoid possible personal
                                             injury or damage to the property along with increasing productivity.

                                        c. Commercial/industrial grade, and environmentally and eco friendly consumable
                                           supplies including toilet tissue, paper towel, hand soap and hand sanitizer will be
                                           supplied by the Vendor within the Board’s requirements and specifications. All
                                           consumables shall be purchased with consideration to national sustainable and
                                           recyclable standards from organizations like Greenseal, US Green Building
                                           Council and other sustainability focused organizations. Vendor shall provide
                                           annual reports on its efforts and success in this area.
                             iii.   Chemicals:




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                                        a.     Vendor agrees to consider environmental impact, worker safety and product
                                               performance when selecting cleaning products. At each Board Facility, the
                                               following must be consistently maintained through policy:
                                                    1. Standardized packaging and dilution ratios
                                                    2. Selection of products for each cleaning application
                                                    3. Uniform training on product use
                                                    4. Development and utilization of appropriate hazard communication
                                                        programs.
                                          b. Vendor shall deliver to the Board's Facilities Operations Chief, a list of all Cleaning
                                               Supplies that are cleaning agents and sanitizing chemicals ("Cleaning Agents")
                                               that Vendor proposes to use in its delivery of the Custodial Services within thirty
                                               (30) days of the contract Go-Live Date of August 1, 2021.
                              iv.   Supply Level. All cleaning equipment, materials and supplies/consumables shall be in
                                    ample supply and in good working condition and must meet and follow current industry
                                    standards and requirements. The Board reserves the right to evaluate the quality and
                                    functionality (form-fit-function) of the equipment and request to be upgraded or insist on
                                    newer equipment if in their commercially reasonable judgment the current equipment is in
                                    poor, inadequate and in inadequate working condition. Equipment such as mopping
                                    equipment, scrubbing machines, polishers, vacuum cleaners (wet and dry), mops, ladders,
                                    dust cloths, pails, brooms, brushes, scrapers, cloths, soap and detergents, menstrual
                                    hygiene products, cleaners, deodorants, disinfectants, waxes, applicators, floor finishes, wet
                                    floor signage and other tools and supplies shall be supplied by the Vendor and reimbursed
                                    by the Board as part of the expense budget agreed at contract signature and any
                                    approved changes made thereafter. Related to all supplies and consumables, the Vendor
                                    must take all actions to eliminate or reduce the likelihood of cross-contamination. The
                                    following is the cross contamination approach the Vendor intends to adhere to during the
                                    utilization of Microfiber Technology:
                                          a. Blue Cloths – For use on restroom counters, fixtures, mirrors, damp dusting etc.
                                          b. Red Cloths – For use on toilets, urinals, etc. only
                                          c. Red/Red Trimmed Flat Mops – For restroom floors only
                                          d. Green Cloths – For general cleaning
                                          e. Green Dust Sleeves/Mitts – For general dusting
                                          f. Green Flat Mops – For general sweeping and damp mopping

                              v.    Vendor shall perform any additional services that may be required by the Board prepare
                                    and present the properties in a clean, safe, and proper manner, including but not limited
                                    to minor graffiti removal, light bulbs/fixtures cleaning, dusting, minor and localized spill
                                    containments, clean ups, removals and restorations. Custodian will coordinate with the
                                    Building Engineer/Manager, In all cases, Vendor custodians are required to communicate
                                    and collaborate in working with the Board and board designated engineering/facilities
                                    management staff.
                       P.   Sustainable Green Cleaning
                               i.   Vendor shall appoint and engage a management level representative responsible for
                                    Manager requires compliance with the following Environmental Standards to adhere with
                                    LEED EBOM or similar standards as may be designated from time to time. Vendor green
                                    cleaning plan must meet or exceed required objectives of City of Chicago Board of
                                    Education green cleaning policy Titled: GREEN CLEANING POLICY Section: 410.8 Board
                                    Report: 08-0827-PO6 Date Adopted: August 27, 2008
                                    https://policy.cps.edu/download.aspx?ID=70


                              ii.   Chemicals
                                        a.   OPTION 1A: (EcoLogo) Cleaning products must meet the following standards
                                             as applicable for the given product category.
                                                 1. UL-2792 for Cleaning and Degreasing Compounds (formerly CCD-110)
                                                 2. UL-2579 for Hard Surface Cleaners (formerly CCD-146)
                                                 3. UL-2795 for Carpet and Upholstery Care (formerly CCD-148)
                                                 4. UL-2784 / GS-41 for Hand Cleaner / Hand Soaps (formerly CCD-104)


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                                                 5.    UL-2798 for Digestion Additives for Cleaning and Odor Control (formerly
                                                       CCD-112)
                                                  6. UL-2791 for Drain or Grease Traps Additives (formerly CCD-113)
                                                  7. UL-2796 for Odor Control Additives (formerly CCD-115)
                                        b.   OPTION 1B: (LEED-EB/Green Seal) Cleaning products must meet the
                                             following standards as applicable for the given product category.
                                                  1. Glass Cleaners, All Purpose/General Purpose Cleaners, Washroom
                                                       Cleaners and Carpet Extraction Products shall be certified by Green
                                                       Seal’s GS-37 Standard.
                                        c.   OPTION 1C: (All + Anticipated revisions to LEED-EB Requirements) Cleaning
                                             products shall meet at least one of the following product Standards as
                                             applicable to the given product category.
                                                  1. Glass Cleaners, All Purpose/General Purpose Cleaners, Washroom
                                                       Cleaners and Carpet Extraction Products shall be certified by Green
                                                       Seal’s GS-37 Standard.
                                                  2. UL-2795 for Carpet and Upholstery Care (formerly CCD-148)
                                                  3. UL-2784 / GS-41 for Hand Cleaner/Hand Soaps, (formerly CCD-104)
                                                  4. UL-2796 for Odor Control Additives (formerly CCD-115)
                                        d.   All cleaning products, including floor strippers must be in compliance with the
                                             California Department of Public Health Standard Method V1.1-2010 for low
                                             emissions of volatile organic compounds and/or pass the EPA design for the
                                             Environment Program’s standard for safer cleaning products and/or Cleaning
                                             devices that use only ionized water or electrolyzed water and have third party
                                             verified Results data equivalent to the other standards mentioned above (if the
                                             device is marketed for antimicrobial cleaning, Results data must demonstrate
                                             antimicrobial Results comparable to EPA Office of pollution Prevention and Toxics
                                             and Design for the Environment requirements, as appropriate for use patterns and
                                             marketing claims).
                                        e.   Asbestos Containing Building Material (ACBM) Floors: Cleaning of flooring that
                                             may contain asbestos material, such as Vinyl Asbestos Tile (VAT), shall comply
                                             with the methods prescribed in the National Institute of Building Sciences (NIBS)
                                             Guidance Manual, ‘Asbestos Operations and Maintenance Work Practices.’ The
                                             Vendor shall have a copy of the NIBS Guidance Manual
                                             https://www.nibs.org/page/standards


                             iii.   Reporting on Chemicals
                                        a.   Contractors must provide documentation on a semi-annual basis on individual
                                             product certifications: Safety Data Sheets and/or OSHA documentation. In addition,
                                             based on these purchases, the Vendor will provide a calculation of the fraction of
                                             covered materials purchased that meet one or more of the specified criteria (on a
                                             cost basis).

                             iv.    Consumables
                                        a. All paper, plastic, or other consumables must be of commercial or industry grade
                                           and environmentally responsible as defined by national standards like US Green
                                           Buildings Council and other notable industry recognized organizations. The
                                           Board must approve all products and those products will be consistent. Any
                                           changes of initially approved products must be approved by the Board. The
                                           Vendor may be required to submit ample and objective proof of adherence to the
                                           originally recommended product form, fit and functions to receive any approval
                                           for replacement.
                             v.     Equipment
                                        a. OPTION 4A: (LEED-EB) Equipment:




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                                                1.  Vacuum cleaners meet the requirements of the Carpet & Rug Institute
                                                    (“CRI”) Seal of Approval/Green Label Program and are capable of
                                                    capturing 96% of particulates 0.3 microns in size and operate with a
                                                    sound level less than 70dBA.
                                                2. Hot water extraction equipment for deep cleaning carpets is capable
                                                    of removing sufficient moisture such that carpets can dry in less than
                                                    24 hours.
                                                3. Powered maintenance equipment including floor buffers, burnishers
                                                    and automatic scrubbers are equipped with vacuums, guards and/or
                                                    other devices for capturing fine particulates and shall operate with a
                                                    sound level less than 70dBA.
                                                4. Propane-powered floor equipment have high-efficiency, low-emissions
                                                    engines with catalytic converter and mufflers that meet the California
                                                    Air resources Board or EPA standards for the specific engine size.
                                                5. Automated scrubbing machines must be equipped with variable-speed
                                                    feed pumps and either:
                                                         a. (i) on-board chemical metering to optimize the use of cleaning
                                                              fluids; or (ii) dilution control systems for chemical refilling.
                                                              Alternatively, scrubbing machines may use tap water only, with
                                                              no added cleaning products.
                                                6. Battery-powered equipment is equipped with environmentally preferable
                                                    batteries.
                                                7. Where appropriate, active microfiber technologies are used to reduce
                                                    cleaning chemical consumption and prolong life of disposable
                                                    scrubbing pads.
                                                8. Powered equipment is ergonomically designed to minimize vibration,
                                                    noise and user fatigue in accordance with ISO 5349-1 for arm
                                                    vibrations, ISO 2631–1 for vibration to the whole body, and ISO 11201
                                                    for sound pressure at operator’s ear
                                                9. Equipment has rubber bumpers to reduce potential damage to building
                                                    surfaces.
                                                10. A log will be kept for all powered housekeeping equipment to
                                                    document the date of equipment purchase and all repair and
                                                    maintenance activities and include Vendor’s cut sheets for each type
                                                    of equipment in use in the maintenance logbook.

                                       b.   OPTION 4B: (Green Seal) Equipment:

                                                1.   Vacuum cleaners must meet at a minimum the CRI Green Label
                                                     Program requirements and shall operate at a sound level of less than
                                                     70 dBA.
                                                2.   Carpet extraction equipment must meet at a minimum the CRI Seal of
                                                     Approval for Deep Cleaning Extractors and Seal of Approval Deep
                                                     Cleaning Systems Program, unless otherwise agreed upon by the
                                                     parties. .
                                                3.   Powered floor maintenance equipment must be equipped with controls
                                                     or other devices for capturing and collecting particulates and shall
                                                     operate at a sound level less than 70 dBA.
                                                4.   Reporting on Equipment: The Vendor shall provide specifications for
                                                     each type of equipment in use and, on an annual basis, provide a
                                                     record of the janitorial equipment used in the building and a log of the
                                                     maintenance of each piece over the last year. Each piece of
                                                     equipment will be asset tagged, recorded, and the documented
                                                     inventory along with the maintenance log will be shared with the Board
                                                     upon request.



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                       Q. Public Health Emergency Preparedness and Response Plan


                               i.    Vendor shall develop, in collaboration with the Board, a Public Health Emergency
                                     Preparedness and Response Plan . Vendor’s plan must provide details concerning Vendor’s
                                     approach, capabilities, and state of readiness to respond and address public health
                                     emergencies (“Public Health Emergency Preparedness and Response Plan”). Within thirty
                                     (30) days of the commencement of Custodial Services, Vendor shall prepare and publish a
                                     Public Health Emergency Preparedness and Response Plan to the Board for review and
                                     approval. The plan must include, but not limited to the following:

                                          a.
                                           Schedule detailing management actions based on individual levels of a
                                           pandemic/public health emergency alert
                                      b. Mitigation measures undertaken at each level
                                      c. Infection containment and control measures
                                      d. Actions taken post pandemic/public health emergency to ensure business
                                           continuance
                                      e. Provisions to protect workers’ health
                                      f.      Within thirty (30 days) of the commencement of service the vendor shall
                                           provide their school specific custodial cleaning and disinfecting plan and
                                           schedule.
                       R.   Communicable Disease Control Program

                               i.    The Board follows the guidelines set by CDC, Illinois Department of Public Health
                                     (“IDPH”), Chicago Department of Public Health (“CDPH”), Environmental Protection
                                     Agency (“EPA”) Chicago School Board, State of Illinois, Illinois State Board of Education,
                                     and the City of Chicago for protection, containment and prevention measures against all
                                     Public health emergencies including, but not limited to, COVID-19.


                              ii.    Vendors shall develop and submit a Communicable Disease Control Program
                                     (“Communicable Disease Control Program”) to the Board, highlighting cleaning,
                                     disinfecting and sanitizing policies, procedures, guidelines and work instructions for CPS
                                     school portfolio within thirty (30) days of commencement date. This program must be
                                     coordinated with the Board's Office of Student Health & Wellness, and at the direction of
                                     the Chicago Department of Public Health.

                              iii.   Screening Measures.
                                         a. Vendor must comply with the Board’s mandated health screening guideline. Prior
                                             to initially entering a Board Facility, at the beginning of each shift, Vendors are
                                             required to complete the Board’s health screening/CDC self-assessment and
                                             submit the results to the Board designee at the Board Facility.


                              iv.    Worker Information and Training.
                                     a.   The Vendor’s Communicable Disease        Control Program must provide evidence of the
                                          following:
                                                   1. Details related to workplace hazards including potential for exposure to
                                                      COVID-19
                                                   2. Details of COVID-19 symptoms
                                                   3. Social Distancing
                                                   4. PPE donning and doffing using infection control procedures
                                                   5. Hand washing and sanitizing



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                                                  6.    Cough and sneeze etiquette
                                                  7.    Requirement to wear face covering (cloth or disposable) at all times in
                                                        Board Facilities


                              v.    Social Distancing
                                         a.   The Vendor’s employees are required to adhere to the Board’s social distancing
                                              guidelines while on Board properties.


                              vi.   Cleaning and Disinfection
                                         a.   The Vendor must establish cleaning, and disinfecting schedules for the various
                                              work areas and high touch point surfaces. Vendors must establish practices for
                                              custodial cleaning prior to completing disinfection. Vendor must follow the
                                              cleaning and disinfecting protocol based on different occupancy, suspected case
                                              or confirmed case found in Vendor’s Infection Control Program.


                             vii.   Personal Protective Equipment (“PPE”)
                                         a.   The Board may implement the use of personal face masks at all times while on
                                              Board properties. Vendor’s employees are expected to provide and wear PPE
                                              that is appropriate for the type of work. PPE should be utilized and handled in
                                              accordance with Illinois Department of Public Health (IDPH) and Chicago
                                              Department of Public Health standards (CDPH).
                                         b.   The Board may implement the use of personal face masks at all times while on
                                              Board properties. Vendor’s employees are expected to provide and wear PPE
                                              that is appropriate for the type of work. PPE should be utilized and handled in
                                              accordance with Illinois Department of Public Health (IDPH) and Chicago
                                              Department of Public Health standards (CDPH).
                                         c.   Vendors are expected to remove and discard used PPE in a responsible manner.
                                         d.   Vendors are expected to adhere to CDC recommended principles of hand washing
                                              and hand sanitizing when on Board property.




                       S.   Handling, Storage, Preservation, and Recycling

                               i.   Handling and Storage:
                                         a.   Equipment and supplies will be stored in areas as designated by the Board
                                              including but not limited to janitor’s closets. Such areas are always to be kept
                                              in an orderly and clean condition. Highly volatile liquids or acids shall not be
                                              used or brought onto the Board properties without express written permission
                                              of the Board. Improper adherence to the above conditions resulting in
                                              damages will be charged back to the Vendor. All liquid products shall be
                                              stored in secondary bulk containment in any areas where floor drains are
                                              present in accordance with Occupational Safety and Health Administration
                                              (“OSHA”) and other industry guidelines, and Vendor will ensure appropriate
                                              spill response kits, appropriate for day to day cleaning and containment, are
                                              available in such locations with adequate and appropriate user instructions.
                                              All materials/chemical shelf life. Expiration dates must be adhered to and
                                              followed, All and all expired chemicals or cleaning materials must be
                                              appropriately segregated and removed from the Board property per proper
                                              disposal.
                                         b.   If the Vendor intends to use the Board Central Warehouse for storage of any
                                              kind, use must be agreed by CPS Real Estate department and a rental lease
                                              agreement will be required.



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                              ii.    Preservation and Maintenance:

                                         a.        Preventative and corrective maintenance, including inspection, testing, repair and
                                                   operation of equipment relating to Custodial Services to ensure that all Custodial
                                                   Equipment/Assets and related equipment remain in good working condition and in
                                                   compliance with all Applicable Laws and regulations at all times during the Term.
                                                   Notwithstanding the foregoing, in no event shall Custodial Equipment/Assets
                                                   include "run-to-fail" assets. Preventive Maintenance Activities include tasks
                                                   designed to ensure that each Board Facility remains functional and in a good
                                                   aesthetic condition at all times (“Preventative Maintenance Activities”). Corrective
                                                   Maintenance Activities include tasks related to minor repairs of areas or equipment
                                                   required to sustain operations or restore the aesthetics and/or functionality of the
                                                   Board Facility (“Corrective Maintenance Activities”).

                                         b.        Vendor shall perform all manufacturer recommended preventative maintenance for
                                                   all cleaning equipment and assets.
                                         c.        As such, the Vendor must develop an annual Equipment/Asset Preventative
                                                   Maintenance Program. This program will be catalogued, tracked, and managed
                                                   within the Board’s Computer Maintenance Management System (CMMS). This
                                                   program, mutually agreed up by the Vendor and Board’s Chief Facilities Officer,
                                                   must address the following:

                                                       1.   The equipment /asset by asset tag
                                                       2.   How often will equipment be seen and evaluated
                                                       3.   Include daily and routine inspections and cleanings, as well as any repairs
                                                       4.   Include data on warranties
                                                       5.   Determine the budget for replacement costs and expected life
                                                       6.   Identification of any service plans

                                         d.        All new equipment purchased by the Vendor is expected by the Board to provide a
                                                   minimum of one (1) year warranty period and subject to manufacturer availability. In
                                                   the event extended warranties beyond one year are requested by Board this cost
                                                   shall be factored into the capital outlay and borne by the Board.


                              iii.   Recycling
                                         a.        Vendor shall participate in the Board recycling program. Vendor shall collect
                                                   recyclables from common area collection points and to the appropriate recycling
                                                   storage and pick up bins. If required to operate a compactor, the Vendor shall
                                                   operate these units in a safe manner. The Vendor shall provide proof of operation
                                                   safety training to the Board including, but not limited to, individual employee training
                                                   for any and all employees required to use such equipment at any time.

                       T.   General Safety and Security Policies, Procedures and Work Instructions.


                               i.    Safety Policies, Procedures and Measures

                                              a.     The Vendor shall take such measures, as may be necessary, to protect all
                                                     persons and property from injury or loss arising out of providing the Custodial
                                                     Services and provide and maintain all passageways, guards, fences, lights and
                                                     such other facilities for the protection of persons and property as may be
                                                     necessary to ensure safety or as required by any public authority.

                                              b.     The Vendor shall comply with all applicable statutes, ordinances, rules,
                                                     regulations, and codes, including, without limitation, those regulating hazardous
                                                     or toxic substances, materials, wastes or compounds or health, safety and the




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                                                     environment. This includes but not limited to, full compliance with OSHA,
                                                     Environmental Protection Agency (“EPA”), Illinois Department of Public Health
                                                     (“IDPH”), and Chicago Department of Public Health (“CDPH”). The Vendor shall
                                                     be solely responsible for ensuring the safety and health of their agents, workers,
                                                     and subcontractors as approved and for ensuring that their activities do not
                                                     compromise the safety of school operations. A Job Hazard Analysis must be
                                                     conducted by Vendor staff prior to tasks being performed. The Vendor shall
                                                     provide to their agents, workers and subcontractors any and all safety and or
                                                     Personal Protective Equipment (“PPE”) required with appropriate user’s
                                                     instructions to protect against injuries during the performance of the services and
                                                     shall ensure that their agents, workers and subcontractors are knowledgeable,
                                                     utilize safe work practices and safe job procedures in the provision of the
                                                     services. Proper use of PPE (selection, donning/doffing, storing, disinfection and
                                                     disposal) is the responsibility of the Vendor and must be provided to agents,
                                                     workers and subcontractors. Such practices should be as stringent as those set
                                                     out in the Board’s safety standards provided to Vendor monthly, quarterly, or as
                                                     required by the Board.

                                              c.     It is expected that the Vendor will comply with all federal, state and municipal
                                                     OSHA regulations. The Vendor will endeavor to create a safe work environment
                                                     by developing among their agents, workers, and subcontractors a heightened
                                                     sense of awareness for health and safety issues. It is also expected that the
                                                     Vendor will appoint one worker and one management representative to attend
                                                     health and safety committee meetings conducted by CPS and to convey
                                                     pertinent communications and carry out execution, implementation and training
                                                     required for the personnel at all and appropriate levels within the entire service
                                                     portfolio.

                                              d.     The Vendor will maintain documented evidence of OSHA administration, training
                                                     and support initiatives including but not limited to:

                                                       1.   Regular tailgate/toolbox sessions
                                                       2.   Development and application of Safe Work Practices
                                                       3.   Development and application of Safe Job Procedures
                                                       4.   Emergency Preparedness and Fire Evacuation
                                                       5.   Regular Safety Data Sheet (“SDS”), Supplier and Workplace level audits
                                                       6.   Asbestos Awareness Training
                                         e.        In the event the Vendor is required to investigate a workplace injury or illness or
                                                   is made aware of any workplace safety violation, or receives a report concerning
                                                   workplace violence or harassment, documentation must be completed, and a
                                                   copy provided to the Board within 24 hours. All incidents need to be reported
                                                   immediately to the Student Safety Center at 773.553.3335.

                                         f.        The Vendor shall be available on-site at each Board Property (i) within one (1)
                                                   hour of receiving notice, with respect to work that will impact shutdown and
                                                   imminent safety of the Board's staff, students or property or (ii) within five (5)
                                                   hours of receiving notice with a designated Vendor supervisory employee, with
                                                   respect to work that could eventually lead to safety issues or critical service
                                                   disruptions if not resolved or if left unaddressed.
                              ii.   Security Policies, Procedures and Measures
                                    a.   The Vendor is required to comply with the Board’s security requirements, which include
                                         but are not limited to, obtaining, and clearly displaying their Name Badges at all times.
                                         In addition, the Custodial Vendor and its employees (including replacement workers)
                                         must obtain clearance through the Board’s background check process prior to starting



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                                         any work on CPS site and must have such documents in place prior to contract
                                         commencement date and maintain them throughout the duration of the contract.
                                    b.   Cleaning staff are to be trained in the operation of the building’s key/card access
                                         systems and procedures.
                                    c.   All material and conversations seen or heard are to be regarded as strictly confidential.
                                         No materials including but not limited to paperwork, computers, or white boards are to
                                         be touched or removed unless expressly requested by the Board.
                                    d.   Any false alarm charges, penalties on violations, infraction on building rules and
                                         regulations incurred by the contractor’s operations will be billed back to the Vendor.
                                         Documentation of these violations and infractions will be identified by the Board’s Safety
                                         & Security Department, analyzed by the Board’s Chief Facilities Officer or their
                                         designee, and presented to the Vendor for review on a continual ongoing basis as
                                         determined by the Board.
                                    e.   The Vendor will immediately notify the site manager of any potentially dangerous
                                         situations as they arise.

                       Facilities Access and Key Controls.FMO
                               iii.  The Vendor shall be responsible for all keys (Hard) and access cards provided and adhere
                                     to the Board’s key management and control process. Keys/access cards are not to be
                                     duplicated or removed at any time from the premises except for individual school’s
                                     supervisory keys to lock/unlock buildings. Key(s), access cards and pass codes are not to
                                     be shared with any unauthorized personnel, doors are not to be unlocked, and doors are
                                     not to be left/propped open nor access be given to admit anyone other than a member of
                                     the authorized Vendor’s staff.
                               iv.   If keys or access cards provided to Vendor are lost requiring replacement, the Vendor is
                                     fully responsible for the cost to rekey the building. Bi-annual documented key audits must
                                     be conducted and traceable proof of such audits must be retained and made available to
                                     CPS on demand.
                                v.   Vendor is also for a key management system to provide to the Board for approval.


                       U.   Lights and Door
                               i.   Subject to the instructions issued by the Board, only those lights necessary for cleaning in
                                    the immediate areas will be lighted. All lights shall be turned out before leaving areas that
                                    have been cleaned, except for those lights requested to be left on and special security
                                    lighting as advised by the Board. Where possible, cleaners should turn off lights when
                                    leaving an area.
                              ii.   The Board has sensitive areas that are required to be locked and other areas that are off-
                                    limits to unauthorized personnel. These may include but are not limited to Human
                                    Resources, Principal’s office, Information and Technology centers, exit and entry points etc.
                                    Vendor will follow the Board’s policy to identify and label areas that are required to be
                                    secured and a process to ensure the space is secured. All doors and windows should be
                                    closed and secured according to the school’s operational plans.
                       V.   Damage, Breakage and Losses
                               i.   The Vendor accepts full responsibility for any damage to the extent caused by the Vendor,
                                    or its officers, employees, workers, equipment or subcontractors to any part of the Board’s
                                    property, including but not limited to any buildings, parking lots, sidewalks, curbs, store
                                    fronts, doors, interior columns, walls, floors, light standards, landscaping, furniture or
                                    equipment of the property and will promptly remedy any such damage in accordance with
                                    the Board’s written request except normal wear and tear and other damage to the extent
                                    not caused by Vendor. Certificates of Insurance for the Vendor and its subcontractors,
                                    vendors etc. will be required.
                              ii.   The Vendor’s Managers/Supervisor(s) will notify the Board, in writing, concerning all
                                    damage and breakage as noted during shift, whether the damages caused by Vendor’s



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                                     employees or not. The Vendor shall replace and repair damages, in accordance with the
                                     Board’s building standard should there appear to be reasonable proof the incident was
                                     caused by the Vendor’s employees. Security will be notified so digital photos can be taken
                                     if needed.
                                b.   Vendor shall prohibit Custodians and other staff from disturbing papers on desks, opening
                                     desk drawers or cabinets, or using telephone or office equipment unless authorized to do so
                                     by the principal at the applicable Board Facility. Vendor shall, at its own expense, repair,
                                     replace or otherwise compensate the Board for all losses, unauthorized use, theft or damage
                                     related to Custodial Services provided by Vendor Custodians under this Agreement.


                       W. Occupant Emergency Plan (OEP)
                               i.    The City of Chicago Board of Education's Occupant Emergency Plan (OEP) is used by
                                     their designee during building emergencies. Designated Vendor personnel, including the
                                     on-site supervisor(s), shall be thoroughly familiar with the City of Chicago Board of
                                     Education's OEP. All of the Vendor’s employees shall be trained by the Vendor to fully
                                     understand their responsibilities relative to each emergency plan. The Vendor shall
                                     participate in fire and other emergency drills. The Vendor shall be required to perform the
                                     services required by the contract and as identified by their designee to the extent allowed
                                     during all emergency situations including but not limited to: fires, accidents and rescue
                                     operations; the Vendor’s personnel strikes; other service Vendors on strike; civil
                                     disturbances; natural and man-made disasters, and utility service outages.
                       X.   Staffing Management


                               i.    General Staffing, Qualified Vendor Personnel.
                                         a.   Vendor shall hire, train, assign and retain during the Term and any renewal thereof,
                                              an adequate staff of qualified, competent employees, Sub-contractors and other
                                              personnel that are fully equipped, licensed as required, available as needed to
                                              perform the Custodial Services and fulfill its obligations under this Agreement,
                                              including without limitation Supervisory Personnel, managerial, administrative staff
                                              and any other agents or representatives of Vendor providing services hereunder
                                              ("Vendor Personnel"). Vendor shall be required to maintain adequate staffing of
                                              Vendor Personnel at all times during the Term and ensure continuity of Custodial
                                              Services at all times, including periods when Vendor Personnel assigned to provide
                                              Custodial Services are unable to provide the Custodial Services for any reason,
                                              including, but not limited to sickness, holiday or any other such absence as further
                                              set forth in Exhibit E. All Vendor Personnel shall be competent, qualified, trained,
                                              trustworthy, reliable non-threatening, non-violent, shall not pose a risk of harm to
                                              others and shall have successfully completed the Background Check required
                                              hereunder prior to accessing any Board Facility and performing any Custodial
                                              Services hereunder.

                                         b.   The Vendor will provide, at the commencement of pay the Term, a detailed list
                                              that will identify the names of all the Vendor’s Personnel. This will include the
                                              names of any supervisors and managers who have direct involvement at the
                                              properties as well as the names of hourly paid workers who will be performing
                                              the day- to-day cleaning services. In addition, the list will also include the name,
                                              type, description of training, and expected training dates regarding the
                                              completion of all appropriate training and expiration of certificates. A report of
                                              comprehensive personnel management should be provided on a weekly basis to
                                              the Board.




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                                        c.   The Vendor shall provide to the Board the Job Descriptions of all personnel of
                                             the Vendor and their subcontractors for all positions working on this contract both
                                             direct and contract employees of the Vendor and all direct and contract
                                             employees for all subcontractors.



                              ii.   Key Personnel
                                        a.   Certain management employees of Vendor have particular expertise on which
                                             the Board is relying ("Key Personnel"). Vendor may not reassign or replace Key
                                             Personnel without the written consent of the Board, which consent shall not be
                                             unreasonably withheld or delayed. Such requirements shall not prevent Vendor
                                             from removing Key Personnel for performance reasons. Furthermore, the Board
                                             understands that Vendor cannot prevent its Key Personnel from posting for a
                                             position at another account or otherwise leaving the services at Chicago Public
                                             Schools. If one or more Key Personnel terminate their employment with Vendor
                                             or otherwise become unavailable for reasons beyond Vendor's reasonable
                                             control, Vendor shall promptly replace such person with another person with
                                             comparable training and experience, subject to the approval of the Board, which
                                             approval shall not be unreasonably withheld or delayed. Those individuals
                                             deemed Key Personnel are identified below:
                                                  1. The Vendor’s Custodial Manager and all other Vendor Personnel
                                                      assigned to provide executive and management services who are
                                                      Manager-level and above shall be considered Key Personnel.



                             iii.   Organizational Chart.

                                        a.   Vendor shall submit the organizational chart for the permanent management and
                                             staff level personnel and the additional staff assigned to the transition process.
                                        b.   Vendor shall provide updates to the organizational chart to the Board or Board
                                             Designee as they occur, or at minimum at the start of the new fiscal year.


                             iv.    No Contractual Relationship with Board; Not Board Employees.

                                        a.   Vendor Personnel shall not be deemed employees of the Board and Vendor shall
                                             have the sole responsibility to compensate Vendor Personnel and to comply with all
                                             Federal, State and local employment laws and obligations, including requirements,
                                             regulations and laws regarding compensation, taxes, benefits, insurance, workers'
                                             compensation, any laws relating to discrimination and any other Applicable Laws.
                                             The relationship between Vendor Personnel who are employees of Vendor and
                                             Vendor is governed by applicable employment laws, and Vendor is subject to all
                                             such employment laws, liability and claims arising out of its employment or
                                             contractual relationship with each of the Vendor Personnel. The Board shall have
                                             no obligation to any Vendor Personnel under any employment or other laws or
                                             union agreements, and Vendor shall indemnify the Board for any claims made by
                                             any Vendor Personnel as set forth herein. Vendor acknowledges and agrees that
                                             the Board shall have no responsibility or liability for treating Vendor Personnel as
                                             employees of the Board for any purpose (including any former Board employee
                                             subsequently hired by Vendor). Neither Vendor nor any Vendor Personnel shall be
                                             eligible for coverage or to receive any benefit under any Board provided benefit
                                             plans.




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                              v.    No Co-Employment, Joint Employer or Common Law Employees:

                                        a.   The Parties acknowledge that as a necessity to perform the Custodial Services,
                                             Vendor Personnel are assigned and deployed to work within the Board Facilities;
                                             however such assignment to Board Facilities does not serve to create any
                                             employment relationship with the Board. Vendor further acknowledges that some
                                             Vendor Personnel may be former Board employees. Vendor acknowledges that
                                             with respect to all Vendor Personnel, but specifically with respect to any Vendor
                                             Personnel who are former Board employees, there is a risk that such Vendor
                                             Personnel may attempt to assert claims alleging that (i) the Board and Vendor are
                                             their joint employers; (ii) the Board and Vendor are their co-employers; and/or (iii)
                                             they are the common law employees of the Board. Vendor shall indemnify the
                                             Board against any such claims made by Vendor Personnel arising out of
                                             allegations of a joint, co-employer, or common law employee relationship as
                                             required pursuant to the indemnification provisions hereunder, and in an effort to
                                             prevent such claims, Vendor shall provide the Vendor Personnel adequate
                                             supervision, evaluations, feedback, and monitor, evaluate and keep records
                                             relating to each Vendor Personnel while assigned to work at a Board Facility.


                             vi.    Right to Replace Vendor Personnel.
                                        a.   If the Board determines, in its sole discretion, that any Vendor Personnel providing
                                             Custodial Services hereunder on behalf of Vendor are not performing in
                                             accordance with the Service Level Requirements or such other requirements,
                                             expectations or prohibitions of the Board, including, but not limited to, endangering
                                             the health, safety or welfare of any CPS student, the Board shall have the right, in
                                             its sole discretion, to direct the Vendor in writing to remove such Vendor Personnel
                                             from performing any Custodial Services under this Agreement, or under any other
                                             agreement with the Board. Upon such notice from the Board or Board Designee ,
                                             Vendor shall promptly remove such Vendor Personnel from providing any Custodial
                                             Services and shall promptly replace with Vendor Personnel meeting the standards
                                             required hereunder. Vendor shall be solely liable for any personnel actions taken as
                                             a result, and all such personnel actions must be performed in accordance with
                                             Vendor's personnel policies, all Applicable Laws, and shall be subject to the terms
                                             and conditions of any applicable collective bargaining agreement.

                                        b.   Competency. If any person employed in the work of this Contract is considered
                                             to be, in the opinion of the Board, intemperate, disorderly, incompetent, willfully
                                             negligent or dishonest in the performance of his/her duties, he/she shall, on
                                             written request from the Board or Board Designee, be forthwith replaced, and the
                                             Vendor shall not permit employee to remain on the Vendor’s Board property.
                                             Vendor’s hourly staff will also be required to have sufficient written and verbal
                                             English skills to interact with property management, tenants, and the Board team
                                             members.


                             vii.   Staffing Requirements and Board Employees.
                                        a.   Vendor is responsible for supervising all Custodians, both Board employed
                                             Custodians and Custodians employed by the Vendor, and their subcontractors.

                                        b.   Board and Vendor Staffing Commitment. Vendor understands and agrees that
                                             Board employees currently fill certain Custodian and in-school custodial leader
                                             positions at the Board Facilities ("Board Facility Employees"). Such positions
                                             shall remain intact at each Board Facility. Vendor shall maintain a minimum of one
                                             full time equivalent (1) Custodian (either a Board Custodian or Vendor Custodian)



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                                            at each Board Facility at all times during the Term. Vendor shall provide 1275 full
                                            time equivalent Vendor Custodian positions (as defined under the applicable
                                            collective bargaining agreement) at all times during the Term based on the Facility
                                            Schedule per Schedule 4. At all times during the Term, Vendor shall also provide
                                            one (1) full time equivalent in-school custodial leader positions per campus based
                                            on the Facility Schedule per Schedule 4 by January 1, 2022. These in-school
                                            custodial leader positions shall be phased out and replaced by Board Custodians
                                            upon mutual agreement by the Parties. Vendor shall also, at all times during the
                                            Term, provide one full time dedicated (1) Custodial Manager full time equivalent for
                                            every Ten (10) Board Facilities at which Vendor provides Custodial Services. For
                                            purposes of clarity, each Custodial Manager position shall be dedicated to and
                                            responsible solely for custodial services management of Eight(8) Board Facilities
                                            as described above and shall not be a dual position with other responsibilities
                                            related to the management of the Custodial Services hereunder or any of Vendor's
                                            other programs. The foregoing Custodial Manager, in-school custodial leader
                                            position and Custodian staffing requirements are collectively the "Minimum
                                            Staffing Requirements". The Minimum Staffing Requirements may only be
                                            adjusted upon review of operational requirements and written approval by the
                                            Board's Facilities Chief and the Board's Chief Procurement Officer, in their sole
                                            discretion. If Vendor is directed by Board to modify staffing of Custodial Managers,
                                            in-school custodial leader positions and/or Custodians above the staffing levels
                                            defined in this Section, except in the event that the additional staffing is required to
                                            comply with the Service Level Requirements, then (i) such increase shall be
                                            documented with an Amendment to this Agreement signed by both Parties, (ii)
                                            Board shall reimburse Vendor in accordance with Exhibit B, and (iii) such amount
                                            shall be included as part of the Maximum Compensation Amount. If Board declines
                                            to reimburse Vendor for additional staffing under this provision, then Vendor
                                            reserves the right to initiate a lay off process for staffing above the Minimum
                                            Staffing Requirements; provided however, the Vendor shall be obligated to provide
                                            Board or Board Designee prior written notice and the parties shall have ten days to
                                            resolve any issues prior to the Vendor initiating the lay off process. In the event
                                            Vendor chooses to hire additional personnel above the Minimum Staffing
                                            Requirements described herein without the documented approval of the Board’s
                                            Chief of Facilities, then such amounts shall be paid by Vendor, not to be
                                            reimbursed by the Board.
                                       c.   Staffing Plan. For purposes of Vendor's obligation to meet the Minimum Staffing
                                            Requirements, "Board Facility" shall not include separate annexes or ancillary
                                            buildings, and Vendor shall not be required to provide an additional Custodian for
                                            each annex or ancillary buildings, as long as the main Board Facility is maintained
                                            by at least one (1) Custodian. In addition to comply with the Minimum Staffing
                                            Requirements, Vendor shall within 30 days of the Go-Live Date, provide the Board
                                            with an initial draft of the staffing plan detailing the allocation of the Custodial
                                            Managers, in-school custodial leader positions and Custodians at each Board
                                            Facility for the Term ("Staffing Plan"), to be finalized by January 1, 2022. The
                                            Staffing Plan is subject to review and written approval by the Board's Facilities
                                            Chief and following such approval, may not be adjusted by Vendor without written
                                            approval of the Board's Facilities Chief. The Board shall provide a minimum of
                                            twelve hundred twenty five (1225) Board Custodians for the period from October 1,
                                            2021 through June 30, 2024 ("Board Custodian Commitment"; each a "Board
                                            Custodian". However, in the event of the removal of a Board Facility or portion
                                            thereof from Custodial Services, at a Board Facility where a Board Custodian is
                                            assigned to such Board Facility, the Board shall have the right in its sole discretion,
                                            to transfer such Board Custodian to another Board Facility where Custodial
                                            Services are being provided by a Vendor Custodian ("Board Custodian



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                                            Transfer"). In such a case, the Board Custodian shall replace the Vendor
                                            Custodian and the Vendor Custodian position shall be discontinued as of the date
                                            of such transfer. Upon each Board Custodian Transfer as envisioned in this
                                            paragraph, the Vendor Custodian Commitment shall be reduced and adjusted by
                                            the number of Board Custodians transferred and replacing a Vendor Custodian.
                                            Any proposed reductions to the Minimum Staffing Requirements and the Staffing
                                            Plan must be approved in writing by the Board in advance of such reduction, and all
                                            decisions relating to such proposed reductions (including, but not limited to
                                            communications regarding the same with CPS staff, school principals and third
                                            parties) shall be made in cooperation with the Board and subject to approval by the
                                            Board's Facilities Chief and CPO.
                                       d.   Board Employee Management. Vendor shall have the authority and the obligation,
                                            to the extent permissible by Applicable Laws, and subject to the terms and
                                            conditions set forth herein and in compliance with any applicable collective
                                            bargaining agreements, to manage and direct Board employees who are providing
                                            Custodial Services at the Board Facilities under this Agreement. Vendor will direct
                                            and supervise all Vendor Personnel and Board employees providing Custodial
                                            Services at the Board Facilities. Vendor shall be responsible for managing day to
                                            day supervision, training and development of such Board employees and for
                                            documenting and maintaining complete performance records relating to each such
                                            Board employee, which records shall be updated regularly, maintained for the
                                            period required hereunder and provided to the Board upon request. Vendor shall
                                            also be responsible for timely presenting the Board with any issues and concerns
                                            relating to any Board employee providing Custodial Services under the supervision
                                            of Vendor, including recommending disciplinary action to the Board as conditions
                                            and actions may necessitate. At the direction, authorization and approval of the
                                            Board in each instance following review of any disciplinary recommendation made
                                            by Vendor, Vendor shall issue disciplinary action as specifically authorized by the
                                            Board in each such instance, in strict compliance with Board policies, guidelines
                                            and direction. Notwithstanding the foregoing, Vendor shall not have the authority to
                                            terminate the employment of any Board employee.
                                       e.   Annual Board Custodial Voluntary Transfer Program. The Board has the right to
                                            implement an Annual Board Custodial Voluntary Transfer Program that allows
                                            eligible Board employees to transfer to a school of their choice. Once a year in
                                            Spring, the Board shall notify all Custodians, in-school custodial leader positions
                                            and Factor Custodians eligible to voluntarily transfer of available positions.
                                            Applications to transfer shall be submitted in accordance with the directives
                                            outlined in said transfer notice. Custodians, in-school custodial leader positions and
                                            Factor Custodians shall be eligible to apply for a voluntary transfer if all set criteria
                                            are met.
                                       f.   Board Custodial Involuntary Transfers. Involuntary transfers may take place due to
                                            operational needs, school closures, or other legitimate business reasons and will
                                            be limited to once per year. When the Board elects to conduct an involuntary
                                            transfer, the Board shall seek volunteers beginning with the most senior employee
                                            in the school. If there are no volunteers, the Board shall transfer the least senior
                                            employee in the school. The Board shall have final authority of transfer placement.
                                       g.   Additional Vendor Custodians. The Board has the right in its sole discretion and at
                                            the Board's cost, to require Vendor to provide the full time equivalent of a certain
                                            number of Vendor Custodian positions, which number shall be determined by the
                                            Board ("Additional Vendor Custodian Positions"). The Additional Vendor
                                            Custodian Positions are supplemental resources provided by Vendor in the Board's
                                            sole discretion at the Board's cost. The Board shall only pay for Additional Vendor
                                            Custodian Positions for which Vendor has received written notification of such
                                            position from the Board. Additional Vendor Custodian Positions requested by the



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                                             Board in writing shall be provided by Vendor as set forth in Exhibit B. Vendor shall
                                             provide the Additional Vendor Custodian Positions at the Board Facilities as
                                             designated on Schedule 4. The Board may reduce the number of Additional Vendor
                                             Custodian Positions at any time during the Term. The Board shall not be obligated
                                             for any costs associated with Additional Vendor Custodian Positions so reduced by
                                             the Board, effective as of the date specified by the Board in the notice, Additional
                                             Vendor Custodian Positions are not part of the Board Custodian Commitment and
                                             are not included in Vendor's Minimum Staffing Requirements. Any decision by the
                                             Board not to implement Additional Vendor Custodian Positions and any removal or
                                             reduction in Additional Vendor Custodian Positions by the Board shall in no way
                                             impact, eliminate or reduce Vendor's obligation hereunder to meet the Service
                                             Level Requirements. Vendor's obligation to meet the Service Level Requirements is
                                             independent of the Board's right to implement Additional Vendor Custodian
                                             Positions and Vendor's obligation to meet the Service Level Requirements shall
                                             remain in effect at all times during the Term, notwithstanding any decision by the
                                             Board to implement, reduce or remove Additional Vendor Custodian Positions.
                                        h.   Staffing Issues. Vendor shall give written notice to the Board immediately, and in no
                                             case less than one (1) hour following the occurrence of either of the following: (i)
                                             more than ten percent (10%) of Vendor Personnel that have performed, or are
                                             scheduled to perform Custodial Services have either (a) resigned their positions
                                             with Vendor, (b) had their employment or engagement with Vendor terminated, or
                                             (c) been assigned or proposed to be assigned by Vendor to work for or on behalf of
                                             other clients of Vendor; or (ii) Vendor does not reasonably anticipate that it will
                                             have a sufficient number of qualified Vendor Personnel to complete the Custodial
                                             Services in a timely manner and consistent with the Service Level Requirements
                                             ("Staffing Notice"). In the event such staffing issue occurs, notwithstanding
                                             Vendor's obligation to provide a Staffing Notice to the Board, Vendor shalt not be
                                             relieved from its obligations to provide the Custodial Services hereunder and
                                             Vendor shall continue to provide the Custodial Services with appropriate
                                             replacement Vendor Personnel to ensure continuity of Custodial Services without
                                             disruption to the Board's educational and other operations at each Board Facility.


                            viii.   Labor Management Tool

                                        a.   Vendor shall utilize a, mutually agreed upon with the Board, Labor Management
                                             Tool (LMT), that identifies all vendor personnel and Board employees’ assigned
                                             schools, schedules, job titles, employment status, vacancies, and current
                                             suspensions or LOAs.
                                        b.   The LMT shall identify Vendor’s Key Personnel and all schools under their
                                             supervision.
                                        c.   The LMT must be shared with the Board in a live electronic format mutually agreed
                                             upon by the Board and updated and reported to the Board weekly for all staff
                                             serving at each Board Facility.


                             ix.    Drug & Alcohol Free
                                        a.   CPS follows tobacco-free policy throughout all its facilities. Smoking, or vaping and
                                             other tobacco use is not permitted at any time, within the interior or exterior of CPS
                                             property.
                                        b.   Alcohol and intoxicants consumption is not permitted on site at any time.
                                             Cleaning personnel are not permitted to consume alcohol or intoxicants or any
                                             other controlled substance in any establishment at the site at any time, even
                                             when not on duty.
                                        c.   Vendor will comply with Board policy for maintaining a drug & alcohol free
                                             environment. https://policy.cps.edu/download.aspx?ID=44


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                              x.    Alcohol and Drug Testing.
                                        a.     Vendor shall maintain a written policy regarding drug and/or alcohol testing of
                                               Vendor Personnel ("Vendor Drug and Alcohol Policy"), that shall comply with the
                                               Board's Drug and Alcohol Free Workplace Policy (06-0726-P02) ("CPS Drug and
                                               Alcohol Policy"), and Vendor shall ensure that each of its Vendor Personnel and
                                               all Subcontractors are aware of their obligations to comply with the Vendor Drug
                                               and Alcohol Policy and the CPS Drug and Alcohol Policy. Vendor shall implement
                                               the Vendor Drug and Alcohol Policy throughout the Term and shall monitor
                                               Vendor Personnel for any indications of non-compliance with such policies. The
                                               Vendor Drug and Alcohol Policy shall require the testing of any Vendor Personnel
                                               directly or indirectly involved in any incident or accident in which a physical injury
                                               has occurred immediately following the incident or accident. In order to ensure
                                               that all Subcontractors maintain and implement similar testing policies, Vendor
                                               shall expressly require compliance with the terms of the CPS Vendor and Alcohol
                                               Drug Testing Policy in each of Vendor's subcontracts. If the results of any drug
                                               or alcohol testing of Vendor Personnel are positive, Vendor shall, immediately
                                               contact the CPS Project Manager concerning the results. The Board reserves the
                                               right, in its sole discretion to require the removal from a Board Facility, either
                                               temporarily or permanently, of any person in violation of, (or believed to be in
                                               violation of, pending testing results) the CPS Drug and Alcohol Policy or of any
                                               other CPS Policy.

                             xi.    Scheduling & Hours

                                        a.     Cleaning personnel will not be required to work more than twelve (12) continuous
                                               hours in one (1) shift. In addition, cleaning personnel will not be required to work
                                               more than forty (40) hours during a normal work week, which is defined as
                                               Saturday through the following Friday without Board approval. Overtime
                                               opportunities need to be offered to Board custodians prior to Vender Personnel.
                                        b.      Evening Custodial Cleaning Hours are typically from 2 pm through 12 am. Day
                                               Staff hours are typically 6 am through 2:30 pm in policing/maintaining the buildings
                                               and grounds throughout the primary usage hours. Midday staff hours are typically
                                               10 am through 7:30 pm.
                                        c.     Custodians must not be scheduled for breaks at the same time to ensure adequate
                                               and appropriate cleaning service coverage.



                             xii.   Custodial Service Personnel Readiness Requirement
                                        a.     Vendor shall require that all Custodians either come to the Facilities dressed for
                                               work or change their clothes in the areas designated for such purpose at each
                                               Board Facility so long as Board’s prohibited materials and substances rules are
                                               followed. If Custodians eat meals at a Board Facility, Vendor shall ensure that
                                               such Custodians do so only in areas approved by the applicable principal.

                            xiii.   Visitors
                                        a.     Custodians are not permitted to have visitors while working on site.
                                               Custodians are not allowed to bring family to worksites during
                                               scheduled work hours.

                            xiv.    Photographs, Personnel Telephone Calls & Use of Mobile Electronic Entertainment Devices
                                        a.     Phone calls and use of mobile electronic entertainment devices shall only be
                                               permitted during breaks. Phone calls are to be made by use of personal cell
                                               phones or by payphones. No personal calls are permitted at any time on the



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                                            mobile radios, portable phones, or landlines except in the case of emergency. No
                                            photography or recording shall be permitted at any time excluding the official
                                            businesses authorized by the Board. B.
                                       b.   Photographic (visuals) Documentation for Service Delivery and Compliance
                                            Communications - Photography may and will be required wherever appropriate
                                            by the Vendor building engineers, managers, and technical staff for the following:
                                                                i. Site, building, equipment, system and/or process workmanship
                                                 Quality and Operational deficiencies or conditions that require photographs to
                                                 document, report and communicate those conditions to CPS leadership, Vendor
                                                 technical support or leadership, or to include in CMMS for specific reference(s)
                                                 as an evidence of conforming to service delivery requirements.
                                                               ii.   Photographic documentation of site, building, system or
                                                 equipment as part of facility reviews and or required facility assessments.


                            xv.    Project Management

                                       a.   The Vendor shall assign Custodial Managers who will be in charge of the
                                            operations of a number of Board properties to be determined by Vendor and the
                                            board. The ratio of Custodial Managers to board properties will be 1:8 and
                                            managers will have work schedules to cover all employee shifts. Vendor’s
                                            staff/management shall report to Vendor management structure that will act as
                                            liaison between the Vendor and the Board representative. Vendor will provide all
                                            key operational field personnel with portable devices to communicate with Board
                                            representatives for service calls, emergencies, status updates, etc. and those
                                            devices will remain in workable order.
                                       b.   All Vendor’s personnel, both hourly and salaried, will be issued a Kronos I.D.
                                            card/number and will swipe the card on entry and departure from the Board
                                            Property. Applicable to hourly employees, the time between entry and departure
                                            will be the time paid based upon approval of either on- site or area supervision
                                            and the Board.
                                       c.   The Vendor shall assign a lead or working supervisor reporting to an area
                                            manager for each Board Property’s evening shift. Vendor’s Area Managers are
                                            responsible for conducting periodic, on-site/physical oversight and supervision
                                            during the entirety of operational shifts. This supervisor will be responsible for
                                            staff discipline, completion of work assignments, on the job training, specific
                                            cleaning duties (as needed), and checking the areas cleaned before leaving the
                                            building and to see that lights have been switched off, except for special security
                                            lighting, all windows are securely closed and all doors designated as to be locked
                                            have been locked.
                                       d.   The Vendor shall ensure that all staff employed in a supervisory capacity will be
                                            individuals deemed by virtue of their industry and work-related experience to be
                                            competent, knowledgeable, and capable. All supervisors will be fluent in both
                                            written and spoken English, enabling them to communicate appropriately with
                                            colleagues, members of the public and the Board’s representatives.
                                       e.   The Vendor agrees that in the event of a change of supervisory personnel, the
                                            Board will be formally notified and documented notification/communication must
                                            be made to the principal in advance and the Board or Board Designee shall have
                                            the right to interview any new Supervisor prior to their presence in the building.
                                       f.   The Vendor shall identify, observe, and report mechanical deficiencies, leaks,
                                            and broken fixtures in each Custodial Area and otherwise periodically inspect
                                            each Custodial Areas and the immediate exterior grounds at each Board Facility
                                            and report any flawed maintenance issues.




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                            xvi.    Strike Contingency Plan

                                    a.   The Vendor shall prepare and submit to the Board a “Strike Contingency Plan” to be
                                         used in the event of a strike by employees. The Strike Contingency Plan shall be
                                         reviewed and approved by the Board including all subsequent revisions as updated
                                         annually.


                           xvii.    Absenteeism
                                    a. The Vendor shall develop and submit an “Absenteeism Management Program” to the
                                       Board for review and approval. The Absenteeism Management Program must provide
                                       details of how Custodian absenteeism will be managed to ensure each Board Facility is
                                       adequately staffed to meet or exceed overall Custodial Services SLAs. The
                                       Absenteeism Management Program will include policies, procedures and work
                                       instructions with pertinent and periodic records and reporting requirements.
                                    b. To the extent a Board Custodian(s) and/or a Vendor custodian is/are absent, Vendor
                                       shall determine, in collaboration with the Board or Board Designee, if substitute
                                       personnel is/are required in order to provide the Custodial Services and meet the
                                       standards set forth in this Agreement. To the extent Vendor determines substitute
                                       personnel is/are required, the Board shall pay, per hour for each hour of work of
                                       substitute personnel provided by Vendor. The Parties shall work together in good faith
                                       to understand and limit absenteeism and to limit the need for substitute personnel.
                                       Vendor shall invoice for the approved substitute personnel filling for the absentee staff
                                       in a manner that highlights the absenteeism and aligns with the Boards’ Labor
                                       Management Tool.
                           xviii.   Open Positions

                                    a.   To the extent any Board Custodian position becomes open, Vendor shall determine
                                         ,in collaboration with the Board, if replacement personnel are needed in order to
                                         provide the Custodial Services and meet the standards set forth in this Agreement.
                                         To the extent replacement personnel is needed, then, except as set forth in the
                                         paragraph immediately below with the heading "Minimum Board Staffing Level", the
                                         Board may fill the open position(s) in accordance with the Board's customary hiring
                                         practices.


                            xix.    Minimum Board Staffing Level.
                                         a.   The Parties acknowledge and agree that the Scope of Services and the
                                              aggregate amount payable to Vendor under the Agreement is based on certain
                                              assumptions required by Vendor to fulfill its obligations in the Agreement,
                                              including a minimum of 1225 Board Custodians (the "Minimum Board Staffing
                                              Level") to perform the Custodial Services. If the Board fails to provide the
                                              Minimum Board Staffing Level and the Vendor reasonably determines that no
                                              less than the Minimum Board Staffing Level is required by Vendor to fulfill its
                                              obligations under the Agreement, the Vendor shall increase the backfill sub pool
                                              as mutually agreed by the Parties.


                             xx.    Kronos
                                         a.   Vendor shall work with all parties, including Board and its designees diligently and
                                              in good faith to ensure that all Custodians are programmed into the Board’s Kronos
                                              System and the Board shall provide the Vendor with all material information and
                                              appropriate systems access as needed to perform the Custodial Services.




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                             xxi.     Right to Direct.
                                          a.   The Vendor shall have the authority, to the maximum extent possible, to direct
                                               Vendor Custodians and its agents and subcontractors when performing the
                                               Custodial Services at the Board Facilities. The Board shall make available (Board
                                               Custodians) to work second shift during the weeks, subject to absenteeism in the
                                               ordinary course. Custodians shall not be required to perform maintenance
                                               services; provided that to the extent that any Vendor Custodian is directed by the
                                               Board to perform obligations constituting “public works” under and as defined in the
                                               Illinois Prevailing Wage Act (820 ILCS 130/1 et seq.), the Board shall indemnify and
                                               hold harmless the Vendor from and against any and all penalties in connection with
                                               or arising out of the failure to comply with the Illinois Prevailing Wage Act (820 ILCS
                                               130/1 e seq.).


                            xxiii.    Discipline Program
                                          a.   The Vendor shall embrace the Board’s concept of progressive and corrective
                                               discipline for Employees. The Board encourages managers and supervisors to use
                                               progressive discipline when they believe that an Employee is amenable to
                                               correcting his/her misconduct. Progressive discipline is a systematic approach to
                                               correct unwanted behavior and deter its occurrence by administering disciplinary
                                               actions based upon various factors, including but not limited to: (1) the seriousness
                                               of the offense; (2) the number of times it has occurred; (3) prior acts of misconduct;
                                               (4) the length of time between infractions (5) the attitude and cooperation of the
                                               Employee; (6) the Employee’s work history; and (7) the totality of the
                                               circumstances.
                                          b. Groups of Misconduct shall be coded with a preferred disciplinary action.
                                               Disciplinary actions shall include cautionary notices, written reprimands,
                                               suspensions without pay, and dismissal from employment. The vendor must
                                               provide corresponding documentation for Board’s or Board’s Designee review and
                                               approval. The vendor shall also provide timely notices to Local Bargaining Unions.
                                               See Exhibit E for CPS Discipline Policy and Performance Evaluations Guidelines.
                                          c. The Vendor shall report all Vendor personnel and Board employees discipline
                                               history to the Board on a bi-weekly basis.
                            xxiv.     Evaluation Program
                                          a. Three times per year, the Vendor shall conduct Performance Evaluations for
                                               Vendor personnel and Board employees. The Board requires Vendor managers
                                               and supervisors to conduct Self Evaluations (November 1st - 30th), Mid Year
                                               Evaluations (December 1st - February 15th), and End of Year Evaluations (May 1st
                                               - June 30th) for all cleaning staff. The Evaluation program must have three
                                               performance categories on which employees will be evaluated: Effectiveness,
                                               Dependability, and Professionalism. The evaluation system has four performance
                                               levels. These performance levels are (1) Unsatisfactory, (2) Developing, (3)
                                               Proficient, and (4) Excellent. Employees will receive a rating on a scale of 1-4 for
                                               each of the performance categories. The Vendor shall report all Vendor personnel
                                               and Board employee’s evaluation results after each Performance Evaluation has
                                               been conducted. See Exhibit E for CPS Performance Evaluation and Guidelines.
                                          b. When an employee is rated unsatisfactory at the end of the year, the Vendor shall
                                               refer the employee for dismissal using applicable dismissal procedures for the
                                               employee.


                       Z.   Wages and Benefits.
                                     i.   The Vendor acknowledges and agrees that all subcontractors, employees and other
                                          personnel of the Vendor performing Custodial Services (the “Vendor Custodians”) shall



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                                          be paid in accordance with the terms and conditions of the Board’s collective bargaining
                                          agreement, but all such wages must be in accordance with BOMA Chicago rates.
                                    ii.   The Vendor shall provide a health and welfare benefits package to the Vendor
                                          Custodians that shall, at a minimum, included the elements set forth in the BOMA
                                          Chicago’s Health and Welfare Standards (Articles XII-XV) for full-time employees and
                                          Vendor shall otherwise comply in all material respects with the terms of any applicable
                                          collective bargaining agreement to which the Board is a party.
                       AA. Board Not Subject to Taxes:
                                    i.    The federal excise tax does not apply to the Board by virtue of Exemption Certificate
                                          No. 36-600584, and the State of Illinois sales tax does not apply to the Board by virtue
                                          of Exemption No. E9997-7109. The amounts to be paid to Vendor hereunder are
                                          inclusive of all other taxes that may be levied or based on this Agreement, including
                                          without limitation sales, use, nonresident, value-added, excise, and similar taxes levied
                                          or imposed on the Custodial Services to be provided under this Agreement, but
                                          excluding taxes levied or imposed on the income or business privileges of Vendor.
                                          Vendor shall be responsible for any taxes levied or imposed upon the income or
                                          business privileges of Vendor.
                       BB. Audit and Document Retention:
                              i.      Audit. Vendor shall /furnish the Board or Board Designee with such information as may be
                                      requested relative to the progress, execution and costs of supplying the Custodial Services.
                                      Vendor shall permit and cooperate in a periodic audit by Board staff or Board-appointed
                                      auditors for compliance by Vendor with this Agreement. Failure of Vendor to comply in full
                                      and cooperate with the reasonable requests of the Board or its agents shall give the Board,
                                      in addition to all other rights and remedies hereunder, the right to charge Vendor for the cost
                                      of such audit.
                              ii.     Document Retention: Vendor shall maintain all material records, correspondence, receipts,
                                      vouchers, memoranda and other data relating to Vendor's supplying the Custodial Services
                                      under this Agreement. All records referenced above shall be retained for six (6) years after
                                      delivery of the Custodial Services and shall be subject to inspection and audit by the Board.
                                      Vendor shall include in all subcontractor contracts for the Custodial Services, provisions
                                      requiring subcontractors to maintain the above-described records and allowing the Board the
                                      same right to inspect and audit said records as set forth herein.
                       CC. Health and/or Safety Violations
                              i.      During the Term, Vendor shall be liable for any claim, action, proceeding, fine or penalty
                                      arising directly from any health and/or safety code violation (each, a "Health and Safety
                                      Violation") assessed by a Federal, State and/or local governmental unit or agency, in any
                                      case as a direct result of a deficiency in Vendor's performance of the Custodial Services.
                                c. In the event the Board is assessed a Health and Safety Violation as a direct result of a
                                      deficiency in Vendor's performance of the Custodial Services, the Board shall promptly (and
                                      in any event within 10 days) notify Vendor in writing of such Health and Safety Violation
                                      (provided that failure to so notify the Vendor within 10 days shall not alter or diminish the
                                      Board's rights under this Section 39) describing in reasonable detail the nature of the Health
                                      and Safety Violation. Vendor shall promptly, upon receipt of the notice described in the
                                      preceding sentence, respond in writing to the Board either (i) contesting the Vendor's liability
                                      for such Health and Safety Violation or (ii) agreeing to appear, defend and/or pay all costs
                                      and expenses (including, without limitation, attorneys' fees) arising from the Health and
                                      Safety Violation pursuant to and in accordance with the terms of Section 16 of this
                                      Agreement. If, after the Board's receipt of notice from the Vendor pursuant to clause (i) of
                                      the preceding sentence, the Parties determines that the Vendor is liable for the Health and
                                      Safety Violation, the Vendor shall promptly pay to the Board, the cost and expenses
                                      described in the preceding sentence which are attributable to the deficiencies in Vendor's



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                                    performance of the Custodial Services. If the Health and Safety Violation is caused by the
                                    negligence of both Parties, the apportionment of said Health and Safety Violation shall be
                                    shared between both Parties based upon the comparative degree of each Party's negligence
                                    and each Party shall be responsible for its own defense and its own costs including but not
                                    limited to the cost of defense, attorney's fees and witnesses’ fees and expenses incident
                                    thereto.
                                d. Vendor shall, from time to time, review the Custodial Services so as to minimize the
                                    assessment of Health and Safety Violations, particularly the recurrence of Health and Safety
                                    Violations for the same actions or omissions. Vendor shall promptly provide the Board with
                                    suggested modifications in the Custodial Services provided by Vendor to correct and
                                    eliminate the circumstances giving rise to the Health and Safety Violations.
                       DD. Subcontractor and Board Employee Management
                               i.   The Vendor must require subcontractors to service specific school regions, meet the
                                    Board’s MBE/WBE requirements, or for any other reasonable purpose toward providing
                                    quality servicing of the properties. All subcontractors must be approved through either the
                                    CPS Office of Diversity for MBE/WBE companies or the CPS Facilities department,
                                    including revisions at any point after award and through the full duration of the contract
                                    term.

                              ii.   Board reserves the right to approve/deny subcontracting agreements in association with this
                                    contract. Vendor shall share subcontractor operational agreements with the Board prior to
                                    execution.

                             iii.   The Vendor agreements (content only) with multiple subcontractors should be consistent
                                    in form and content and must be approved by The Board prior to executing the contract.
                                    Amendments to the contract taking place throughout the life of the Board/Vendor
                                    agreement shall also be approved by the Board.

                             iv.    Any contract Vendor employing a subcontractor for services on this account must have
                                    the exact same standards, service levels, terms and conditions as outlined in this
                                    agreement. All subcontracts made by Vendor shall be open for review and inspection by
                                    the Board or Board Designee.

                              v.    The Vendor may be supervising Vendor personnel, subcontractor’s personnel, and Board
                                    employees or any other combination. Agreements must be in place with the understanding
                                    that supervisors be granted full authority to train, instruct, and supervise subcontractor and
                                    Board employees assigned to their area of responsibility. Should the employee be other
                                    than the supervisor’s employee, the true employer should follow any disciplinary
                                    recommendation from the supervisor in cases of misconduct or insubordination.

                             vi.    Coordinate interviews with each Board Custodian to (a) evaluate and assess the
                                    knowledge, skill and abilities of such Board Custodian, (b) provide written
                                    recommendations to the Board from time to time regarding employment, compensation,
                                    promotion, discipline, and discharge of such Board Custodian, and (c) create new job
                                    descriptions, labor schedules, cleaning schedules and standards of performance.

                             vii.   Vendors shall manage Board Custodian’s time utilizing the Board’s time management
                                    system which includes but not limited to vacation and sick time requests. Vendor shall
                                    meet payroll deadlines set by the Board.


                       EE. Quality Management Systems (QMS)
                               i.   The Vendor must have a comprehensive Quality Management System (“QMS”) that includes
                                    CPS approved portable, accessible and web enabled devices loaded with industry



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                                    recognized software applications with the ability to collect, compile, analyze, manage,
                                    perform quality inspections, record, report and submit but not limited to the following:

                                        a.   Custodial Quality Assurance Plan
                                        b.   Key Performance Indicators (“KPI”) reporting monthly with appropriate, original
                                             source and supporting data and analytics
                                        c.   Quality of work grading and scoring by area and period
                                        d.   Planning and recording of project work submittal
                                        e.   Complaints, Incidents and “Near Miss” Tracking and their report with all remedial
                                             measures.
                                        f.   Issue corrective action, provide resolution and follow up and validate
                                             effectiveness of remedial measures
                                        g.   Continuous Quality Improvement Program

                              ii.   Vendor shall establish a complete Quality Control System to ensure that the Custodial
                                    Services obligations, standards and requirements under this Agreement are met (“Quality
                                    Management System”). Vendor shall submit an electronic copy of such QMS program to
                                    the Board’s Facilities Operations Chief within thirty (30) days following the Go-Live Date.
                                    The Vendor’s Quality Control Program shall include, at a minimum, and inspection system
                                    and program and is subject to review and approval by the Board prior to implementation:

                             iii.   Vendor shall designate certain Vendor trained Personnel to conduct service quality
                                    inspections on a daily/weekly/monthly based basis ("Quality Inspectors") of its current
                                    operations, performance of Custodial Services and compliance with the Custodial
                                    Services hereunder ("Quality Control Inspection"). The Quality Control Inspection shall
                                    serve as a part of a system to be developed by Vendor, for monitoring the effectiveness
                                    of the Custodial Services provided to the Board (the "Effectiveness System"). The purpose
                                    of the Effectiveness System is to detect and correct deficiencies in the quality of Custodial
                                    Services before the school level Custodial Services level of performance falls under APPA
                                    level 2 and becomes unacceptable based on the standards and requirements set forth
                                    herein and/or before health department inspectors identify the deficiencies.

                             iv.    Monthly Report

                                        a.   Vendor shall submit a monthly report to the Board or Board Designee (in such
                                             form and content as required by the Board or Board Designee) ("Quality Control
                                             Report"), which sets forth: (a) Custodial Services that are scheduled (b) Custodial
                                             Services that have been performed; (c) Custodial Services that are planned or in
                                             progress; (d) evidence of service records are kept; (e) any failures to meet the
                                             requirements of this Agreement or the SLA set forth herein and corrective actions
                                             taken; (e) how the Effectiveness System has detected and corrected any
                                             deficiencies in Custodial Services that have been rendered and completed.



                             v.     Quality Control Checklist.
                                        a.   A quality control electronic checklist shall be used in evaluating Custodial Services
                                             compliance and performance during regularly scheduled and unscheduled
                                             inspections. The checklist shall include all Board Facilities serviced by Vendor, as
                                             well as every Custodial Services task required to be performed at each such Board
                                             Facility.

                             vi.    Quality Control File
                                        a.   A quality control file containing a record of all inspections conducted by Vendor
                                             and all corrective actions taken ("Quality Control File") shall be recorded,
                                             maintained, and updated and reported to the Board by Vendor throughout the


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                                             Term and made available to the Board or Board Designee upon request. Vendor
                                             is fully responsible for the quality and operational data contents, integrity and for
                                             their safe retention.

                             vii.   Quality Inspectors
                                        a.   Vendor shall provide the Board or Board Designee with the names and
                                             qualifications of the Quality Inspectors responsible for performing the Quality
                                             Control Inspections and Board or Board Designee shall have the right, but not the
                                             obligation, to require that Vendor designate specific Vendor Personnel or other
                                             designated Vendor Personnel meets the meeting experience requirements as
                                             determined by the Board.

                            viii.   Quality Assurance Inspection and Audit
                                        a.   Vendor shall cooperate with the Board in conducting quality assurance
                                             inspections/audits as determined appropriate by the Board either on a regularly
                                             scheduled basis or from time to time, throughout the Term ("Quality Assurance
                                             Audit"). A Quality Assurance Audit may be scheduled at any time by the Board
                                             at its sole discretion. A Quality Assurance Audit may take place: (i) Monday
                                             through Friday on school days, without prior notice; or (ii) on non-school days,
                                             with 24-hour prior notice; and (iii) as early as 5:00a.m., Central Standard Time
                                             on any day. Vendor shall ensure that all vehicles used by Vendor in connection
                                             with the performance of the Custodial Services are available for inspection at
                                             each Quality Assurance Audit. As part of routine vendor custodial service
                                             oversight, the Board has the right to initiate and conduct both scheduled and/or
                                             unscheduled audits and inspections at any or all facilities. In addition, as the need
                                             warrants as determined by the Board, it may choose to engage Third Party
                                             Independent APPA Auditing Company(s) to perform Custodial Services
                                             Condition requirements of APPA level 2 are being adequately met and
                                             maintained in each school on a monthly/quarterly/annually. For the Board
                                             required audits of the Board Facilities, all methods used by Vendor in the
                                             performance of the Custodial Services and all records relating to the Custodial
                                             Services as required hereunder, shall be critical components of each Quality
                                             Assurance Audit by the Board. All identified and issued Corrective Actions and
                                             Custodial Services Deficiencies must be responded, remediated and reported to
                                             the Board as documented close with relevant pictures, documents with traceable
                                             evidence of completion.


                             ix.    Quality Control and Reporting
                                        a.   Vendor's Project Manager shall be a single point of contact assigned to oversee
                                             and manage the day-to-day Custodial Services and management of the
                                             relationship with the Board. Vendor shall have periodic meetings with the Board's
                                             and its designated Project Manager, as well as in regular scheduled meetings
                                        b.    Board's Department of Procurement, Department of Facilities and other Board
                                             representatives as may be necessary, for regular compliance review, as well as
                                             an quarterly/annual business review. The time and frequency of such meetings
                                             shall be determined by the Board or Board Designee. Vendor shall cooperate
                                             with the Board or Board Designee in complying with reporting requirements set
                                             forth in this Agreement and shall, during the Term, furnish to the Board or Board
                                             Designee such reports as set forth herein.

                                        c.   In addition, the Vendor will be expected to conduct regular monthly on-site
                                             inspections with copies of reports sent to the Board or Board Designee and its
                                             designated manager and daily problem-solving activities designed to support and
                                             improve the overall quality of services provided. On a quarterly and annual basis,
                                             or as required by the Board, the Vendor will submit a written report and conduct




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                                              a review meeting with the Board’s representative to analyze key elements of
                                              service delivery during the past half of the year and detail plans for the upcoming
                                              half of the year.
                                         d.   At a minimum, but limited to the items to be reported on will include:
                                                  1.   Full KPI Report
                                                  2.   Quality control Audit/Inspection scores and the grade level attained
                                                  3.   Project work planned and completed
                                                  4.   Attendance Management Plan
                                                  5.   Staff turnover (voluntary/Involuntary attrition) , replacement statistics, and
                                                       improvement planning
                                                  6.   Training conducted, documented, and attendee signatures
                                                  7.   Complaint and special requests analysis
                                                  8.   Equipment maintenance and/or replacement
                                                  9.   Provide Safety and Security “Near Miss” incidents or concerns
                                                       escalation, tracking, and policy reports
                              x.    Deficient Work.
                                    a.   Vendor shall, at no additional cost to the Board, timely re-execute any Custodial
                                         Services found to be deficient by the Board in its reasonable determination.
                                         Acceptance of workmanship is based on cleanliness standards and guidelines of APPA,
                                         along with internal quality inspection guidelines and requirements. Unacceptable work
                                         will not include conditions that are outside the control of the vendor.


                       FF. Compliance.
                              i.   Vendor shall be appropriately licensed, insured, bonded and shall meet all other
                                   requirements specified in the Agreement. Vendor shall, and shall cause Custodians to,
                                   confirm and adhere to the established building policies and the policies established by a
                                   school, if any. Vendor shall comply with all OSHA requirements and shall provide
                                   documentation of such compliance upon request from the Board. Vendor shall develop and
                                   maintain a program for all Custodians servicing the Agreement to assure compliance with
                                   EPA and OSHA guidelines.
                       GG. Cooperation.
                              i.   Each party shall work cooperatively in a spirit of good faith and professionalism with the
                                   other Parties and the other Party’s agents and employees, and the authorized
                                   representatives of the Parties shall meet on a regular basis, at least once per week, to
                                   review and discuss any ongoing operational matters relating to the Custodial Services.
                                   Vendor shall meet with the Board whenever necessary, in the Board’s discretion, to promptly
                                   resolve any concerns that arise relative to the performance of Custodial Services under this
                                   Agreement.
                             ii.   Vendor shall fully cooperate with other Board contractors, subcontractors and assigns and
                                   shall carefully plan and perform its own work to accommodate the work of other Board
                                   contractors. Vendor shall not intentionally commit or permit any act which will interfere with
                                   the performance of work by any other Board contractors.
                       HH. Subcontractors:
                              i.   At the request of the Board, the Vendor will provide a complete copy of any subcontractor
                                   agreement for review of alignment with Board Agreement.
                             ii.   Vendor may, with prior written approval of the Board, enter into a written subcontract(s) for
                                   performance of certain functions under this Agreement. All insurance coverage for
                                   subcontractors shall be subject to the minimum requirements identified in Section 19 of this
                                   Agreement.
                       II. Record Keeping and Reporting.
                              i.   Vendor shall capture, report incidents related to disputes and complaints regarding the
                                   Custodial Services in board owned/operated CMMS Customer complaint services module to




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                                    include data and time of the complaint, response and resolution, name of the involved
                                    parties and any other action that was required. General Safety Guidelines.
                              ii.   Vendor shall be solely responsible for safety on the Board Facility related to the Custodial
                                    Services. Vendor shall adhere to any and all reasonable safety related requests by the
                                    Board and the Board’s designated representatives related to the Custodial Services, Vendor
                                    shall develop and make available including submission, upon the request of the Board, of
                                    Vendor’s Safety Manual and/or a Board Facility specific safety plan.
                             iii.   Vendor, both directly and indirectly through its agents and subcontractors, shall continuously
                                    protect the Board’s property from damage, injury or loss arising in connection with
                                    operations under the Agreement. Vendor shall make good any such damage, injury or loss,
                                    except to the extent caused by the Board Custodians or other Board employees or agents.
                             iv.    Vendor, both directly and indirectly through its agents and subcontractors, shall take all
                                    reasonable precautions to prevent accidents or injury to any persons on the Board Facility in
                                    connection with the performance of the Custodial Services.
                              v.    Vendor shall comply with all laws, ordinances, codes, rules and regulations relative to safety
                                    and the prevention of accidents. Vendor, and its agents and subcontractors, shall cooperate
                                    with any other contractor that may be performing work on a Board Facility, including, but not
                                    limited to, OSHA compliance and safety efforts. Upon the request of the Board, Vendor and
                                    its subcontractors shall provide the Board with their Exposure Control Plan, Hazard
                                    (HazMat) Communications Plan and other safety related documents and programs.
                             vi.    Vendor shall provide and properly maintain, at all times, as required by laws and regulations
                                    and the conditions and progress of the Custodial Services, reasonable safeguards for the
                                    protection of workers, staff, students, and the public. If such reasonable safeguards are not
                                    taken by the Vendor, the Board reserves the right (without incurring any obligation
                                    whatsoever and without limiting any other right or remedy which the Board may have under
                                    the Agreement or at law or equity) to take such action as necessary to so protect workers,
                                    students, staff, and the public and to back charge the Vendor for the cost thereof.
                                    Appropriate precautions must be taken when Custodial Services are performed when school
                                    is in session and/or students are on a Board Facility.
                             vii.   In an emergency affecting the safety of life, or adjoining property, Vendor, without special
                                    instructions or authorization from the Board, is permitted to act, at its discretion, to prevent
                                    the threatened loss or injury.
                            viii.   Vendor shall not damage private and public property adjacent to the Board Facility, including
                                    all streets, sidewalks, light poles, hydrants and concealed or exposed utilities of every
                                    description affected by or adjacent to the Board Facility. If the times are damaged by
                                    Vendor or its subcontractors, Vendor shall make all necessary repairs to or replacements of
                                    them at no cost to the Board.
                             ix.    If, in the opinion of the Board, the Custodial Services endanger adjoining property or
                                    persons, upon written notice from the Board to the Vendor, the Custodial Services shall be
                                    stopped and the method of operation changed in a manner acceptable to the Board. Vendor
                                    acknowledges and agrees that it shall be responsible for any financial repercussions
                                    resulting therefrom and that contract schedules will not be postponed as a result thereof.
                              x.    Vendor and all its subcontractors shall take all appropriate, effective and adequate
                                    precautions and protective measures against fire throughout their operations at all times.
                                    Flammable material shall be kept at an absolute minimum and, if any, shall be properly
                                    used, handled and stored according to manufacturer recommended guidelines. Vendor
                                    shall not permit fires to be built or open salamanders to be used in any part of the Custodial
                                    Services.
                             xi.    Vendor shall maintain a written policy regarding drug and/or alcohol testing of Vendor
                                    Custodians and shall implement such policy at any time that Vendor forms a reasonable
                                    suspicion that such testing may have a positive result. In order to ensure that all
                                    subcontractors maintain and implement similar testing policies, Vendor shall require a similar
                                    written policy in each subcontract. If the results of any such test are positive, the Board
                                    reserves the right to require the removal from a Board Facility, either temporarily or



                                                                                36
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                                    permanently, of any person receiving positive results from any of the aforesaid tests. The
                                    Vendor shall report all positive drug testing to the Board's designee.




                       JJ. Liquidated Damages.
                              I.    Because of the difficulty ascertaining and quantifying the actual damages which the Board
                                    may sustain should the Vendor fail to perform Custodial Services as required under the
                                    Agreement, the Board shall have the right to assess the liquidated damages set forth in
                                    Exhibit D.
                       KK. Uniform, Protective Clothing and Equipment.
                              i.   Vendor shall require all Custodians to wear suitable uniform and safety shoes that are
                                   acceptable to the Board during the time the Custodians are on-site at a Board Facility.
                                   Vendor may purchase the uniforms and/or shoes for Custodians to comply with this
                                   paragraph KK.
                              ii.  The Vendor shall ensure that all Vendor Personnel working in or around the Board
                                   Facilities wear distinctive uniform clothing, and as necessary, personal protective
                                   equipment required or desirable for the safe performance of the Custodial Services.
                                   Protective clothing, equipment and devices shall, at a minimum, conform to OSHA
                                   standards for the products being used. Vendor shall be solely responsible to maintain,
                                   sustain and quality upkeeping of all required uniforms and PPE without any deviations and
                                   failures. Vendor shall be responsible for any costs related to uniforms provided to or
                                   otherwise worn by Vendor Personnel.
                             iii.  All cleaning staff must be in professional work appropriate attire with, as necessary
                                   depending on work assignments, slip resistant shoes, safety glasses, gloves, and PPE. All
                                   staff wearing Board approved dark pants and uniform shirts with the custodial Vendor name
                                   or a Chicago Public Schools (“CPS”) logo affixed to it. The Board reserves the right to add
                                   their logo if they so decide to the uniform shirt.
                             iv.   Uniforms should always be clean and in good repair with staff well-groomed and
                                   presentable. Uniforms are to be supplied by the Vendor and are subject to approval by the
                                   Board.
                              v.   Vendor shall be responsible for enforcing compliance with uniform and safety and security
                                   policies. Failure to do so will result in contract default.
                       LL. Contractor Use of CPS Accounts for CPS Business

                              i.    The Vendor must follow the requirements that are specified in the “Contractor Use of CPS
                                    Accounts for CPS Business” memorandum issued by the Information and Technology
                                    Services department dated 02/27/19:
                              ii.   Chicago Public Schools (CPS) provides access to technology devices, internet, data and
                                    network systems to employees and other authorized users for educational and business
                                    purposes. This Staff Acceptable Use Policy (AUP) establishes the standards for
                                    acceptable electronic activity of employees and other authorized Users using and
                                    accessing the district or school technology, internet, data and network systems regardless
                                    of the User’s physical location and also the electronic communication between students
                                    and CPS staff.
                             iii.   To ensure consistency with recently adopted staff acceptable use policy, the District requires
                                    that consulting resources follow the same guidelines. The purpose of this memorandum is to
                                    highlight the requirements around the use of CPS provided email accounts for operational or
                                    project-based consultants. Specifically, any contractor provided a CPS network login and
                                    Gmail account must use that CPS Gmail account to conduct CPS business. Vendors with
                                    active Gmail accounts found to be conducting CPS business via any external platform will be
                                    subject to review and possibly barred from continued engagement at CPS.




                                                                               37
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                              iv.      The CPS Gmail system allows for the requisite archiving and audit trail for both operational
                                       and project-based efforts. Use of external email accounts by consultants undermines this
                                       critical district requirement. Department leaders are ultimately responsible for the
                                       establishment of Vendor accounts, notification to ITS upon completion of the consulting
                                       assignment, and assurance that all protocols are being followed in the interim.
                       MM. Continuity Plan. In order to maintain compliance with the terms of this Agreement, including the
                           Service Level Requirements, Vendor shall develop, maintain, test and implement a continuity plan
                           in respect of the Services that provides for the emergency response and management, recovery,
                           restoration and ongoing performance of the Services following any disaster or any other event that
                           disrupts performance of the Services ("Continuity Plan"). Vendor shall submit the Continuity Plan
                           to the Board for review, inputs and approval within one hundred and twenty (120) days after the
                           Effective Date. The Continuity Plan shall be sufficient to ensure that Vendor is able to reasonably
                           continue providing the Services in the event of a disaster (i) affecting the Board or any Board Facility
                           or (ii) affecting only Vendor and not the Board, and address the following: (a) single building failure;
                           wide scale or district-wide disruption; loss of data and information systems; loss of critical staff; and
                           the ability to access pre-staged, readily available Supplies and Equipment; (b) provide for Supplies
                           and Equipment necessary for response and recovery; and (c) provide for Key Personnel
                           responsible for the Continuity Plan, notification procedures (24 hours a day, 365 days per year),
                           including direct contact numbers for Key Personnel. The parties acknowledge that the Services
                           Continuity Plan may require modification during the Term and the parties shall cooperate as needed
                           to implement mutually agreed changes. Vendor shall maintain the Continuity Plan throughout the
                           Term and implement the Continuity Plan in accordance with its terms as part of the Services in
                           order to minimize the effect of potential incidents affecting the delivery of the Services to the Board.
                           Notwithstanding the foregoing or any provision to the contrary herein, neither the Continuity Plan
                           nor any other provision herein shall require Vendor to provide any Services in the event of a Force
                           Majeure (as defined in the Agreement).




                                                                                  38
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                                                    Exhibit B – Financial Terms


                1. Financial Terms.
                A. Definitions.

                             i.       “Accounting Period” means the two accounting periods of four weeks
                     each and one accounting period of five weeks which occur in each quarter. The
                     September accounting period shall periodically consist of six weeks.
                            ii.       “Charge” means a charge to the operating statement, established and
                     substantiated by Vendor, which is reasonably allocated to the Board, for certain services
                     provided by Vendor to its client locations for: (i) information technology applications,
                     systems and support, (ii) salaried employee fringe benefits and human resource services,
                     and (iii) insurance coverage, comprised of workers’ compensation, general liability and
                     related services.
                           iii.“Direct Costs” means all costs incurred by Vendor directly attributable to
                     Vendor’s provision of the Services and invoiced to the Board as further described on
                     Exhibit [B-1] hereto.
                           iv.        “Reimbursable Costs” means the Direct Costs and Charges to be
                     charged to the Board under this SOW.
                            v.        “General and Administrative Expenses” means those certain costs
                     incurred by Vendor that are expressly excluded in this Agreement and its exhibits from
                     being charged by Vendor to the District as a Direct Cost. This includes the Services and
                     Payment Bond described in Section 9.A of the Agreement, costs of background checks
                     above the limits described in Section M below; the cost of audits as described in Section
                     31 of the Agreement subject to aggregate liability limitation set forth in Exhibit D, any
                     liquidated damages described in Exhibit D subject to the aggregate liability limitation set
                     forth in Exhibit D, and any other costs expressly excluded in this Agreement and its
                     exhibits.

                    B.      Compensation for Custodial Services. In consideration for performance of the
            Services described in this Agreement and set forth more fully in Exhibit A Vendor's compensation
            for the Services over the Term shall be paid as set forth below. Vendor shall submit an invoice for
            payment for Services rendered monthly or as otherwise set forth in this Exhibit B, in accordance
            with and subject to the terms and conditions of Section 4 (Compensation, Purchase Orders and
            Payment) of the Agreement. Vendor shall only be paid for Services rendered and the total amount
            paid to Vendor for all Services during the Term shall not exceed the Maximum Compensation
            Amount of Three Hundred Sixty-Nine Million and 00/100 Dollars ($369,000,000) over the Term,
            subject to the adjustment as further described in this Exhibit B.

                     C.     Fees. All facilities, equipment and services to be provided by the Board under this
            Agreement shall be provided at the Board’s expense. Vendor shall be reimbursed for all its
            Reimbursable Costs. In addition, Vendor shall receive an annual management fee equal to two-
            and-a-half percent (2.5%) of its Direct Costs (the “Management Fee”). Vendor’s Reimbursable
            Costs (the aggregate of Direct Costs, and the Charges) and the Management Fee (collectively,
            the “Fees”) will be invoiced as described in Section E below.

                     D.      Implementation Period Fees. Subject to the terms and conditions set forth in the
            Agreement, the Board shall pay Implementation Period Fees associated with start-up and
            transition of the Services provided hereunder. The start-up budget is not to exceed Five Hundred
            Thousand Dollars ($500,000.00) as a Direct Cost on a single invoice.
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                             i. Year 1 Max Compensation. The annual contract price for Services provided for
                     the period from July 1, 2021, through June 30, 2022, subject to Permitted Adjustments for
                     that period, is One Hundred Twenty Million and 00/100 Dollars ($120,000,000.00).

                             ii. Year 2 Max Compensation. The annual contract price for Services Provided for
                     the period from July 1, 2022 through June 30, 2023, subject to Permitted Adjustments for
                     that period, is One Hundred Twenty-Three Million and 00/100 Dollars ($123,000,000.00).

                             iii. Year 3 Max Compensation. The annual contract price for Services provided the
                     period from July 1, 2023 through June 30, 2024, subject to Permitted Adjustments for that
                     period is One Hundred Twenty-Six Million and 00/100 Dollars ($126,000,000).

                     E.    Board Absenteeism and Board Vacancies. Vendor shall provide a substitute
            custodian for Board Custodian and Vendor Custodian absentee and vacancy, also referred to as
            Backfill, when deemed necessary per Exhibit A. Starting in Year 1, the subpool will be 8% of the
            overall custodial staffing plan, inclusive of Board and Vendor Custodians. The Parties may agree
            to adjust the percentage of the overall custodial staffing plan for the subpool and associated
            budget impact.

                   F.       Invoicing and Payments. Payment shall be made by bank transfer into a bank
            account designated by Vendor or as otherwise directed by Vendor. Payments will be made in
            accordance with 30 ILCS 540/ State Prompt Payment Act. Vendor shall invoice the Board at the
            end of each month in a consolidated invoice with line items for the categories below. There will
            be a weekly reconciliation of the hours worked between the Vendor and the Board to ensure
            there will not be discrepancies in the monthly invoice, prior to submission.

                          a. Custodian Straight-time. This is the straight-time worked in the applicable period
                             for the 1275 Vendor Custodians. FTE count subject to change with the approval
                             by the Board.
                          b. Managers Straight-time. This is the straight-time for managers and non-custodian
                             positions for the applicable period.
                          c. Custodian Overtime. This is the overtime worked by the Vendor Custodians for
                             the applicable period.
                          d. Custodian Backfill. This is the utilization of the subpool to provide substitute
                             employees, when determined necessary per Exhibit A, for either Vendor or Board
                             custodians during absences or vacancies.
                          e. Consumables/Supplies. The Board shall pay Vendor for all custodial
                             consumables and supplies. This is a portion of the annual expense budget
                             maximum.
                          f. Equipment Depreciation. This is the equipment purchased, not-to-exceed Two
                             Million Dollars ($2,000,000), to be billed back to CPS on a 3-year, straight-line
                             amortization schedule.
                          g. Equipment Repairs. The Board shall pay Vendor only for the completed repairs in
                             the applicable period. This is a portion of the annual expense budget maximum.
                          h. Markup & Miscellaneous. The invoice shall indicate the fees on supplies, labor,
                             and equipment. The invoice shall also indicate other miscellaneous charges,
                             such as payroll costs, reimbursable costs (including start-up fees) and overhead.
                          i. Emergency Services. The Vendor shall bill emergency services as a separate
                             invoice with itemized services at the direction of the building manager.
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                    G.       Equipment Investment. Vendor shall purchase and place in service equipment
            for use in connection with the Services ("Depreciable Equipment") in an amount inclusive of any
            applicable taxes of up to Two Million and 00/100 Dollars ($2,000,000.00) (the "Custodial
            Equipment Investment"). The Custodial Equipment shall be amortized on a monthly, straight-
            line basis for a period of no longer than three (3) years from the Effective Date of this Agreement,
            commencing, respectively, on the date the applicable item of Depreciable Equipment is placed
            into service and ending on June 30, 2024. The amortized balance shall be invoiced to the Board
            as a Direct Cost. Schedule 3 attached hereto sets forth the Depreciable Equipment that will be
            purchased by Vendor in connection with the Equipment Investment. Promptly after the purchase
            of any Depreciable Equipment, Vendor shall provide the Board with an updated Schedule 3, to
            the extent not already included thereon, setting forth the following for each item of Depreciable
            Equipment: (1) a complete and accurate description, including the manufacturer and model
            number, of the Depreciable Equipment purchased; (2) serial number for the Depreciable
            Equipment purchased; (3) the amount of the Equipment Investment attributable to such item of
            Depreciable Equipment and (4) date the applicable item of Depreciable Equipment was placed
            into service. If allowable by law, any Depreciable Equipment purchased by Vendor on the Board's
            behalf shall be purchased as "sales for resale" to the Board as referenced in IDOR Regulations
            Title 86, Parts 130.2076 (Sales to Purchasers Performing Contracts with Governmental Bodies).
            The Board shall hold title to all such Equipment upon full amortization of the Depreciable
            Equipment at the end of the applicable amortization period, or upon sooner repayment of the
            Equipment Investment by the Board. Vendor hereby represents and warrants to the Board that
            as of the purchase date of each item of Depreciable Equipment by Vendor, and upon full
            amortization of the Depreciable Equipment, Vendor shall have good, valid and marketable title to
            each such item of Depreciable Equipment, free and clear of all liens. Vendor shall not create,
            incur, assume or suffer to exist, any lien upon any item of Depreciable Equipment, whether now
            owned or hereafter acquired. Upon expiration or termination of this Agreement by either Party for
            any reason whatsoever prior to the complete amortization of the Equipment Investment (to the
            extent such funds are used to purchase Depreciable Equipment), the Board shall pay to Vendor
            an amount equal to the total unamortized balance remaining on the Depreciable Equipment
            calculated in accordance with this section, to the extent purchased with funds from the Equipment
            Investment, as of the date of expiration or termination.

                    H.     Purchasing. Vendor will purchase and pay for all products, supplies, equipment
            and services in connection with the Services, which purchases will be made through Vendor’s
            purchasing programs. Vendor reserves the right, subject to the Board’s approval, to determine
            specific brands, product lines and other purchasing decisions, subject to compliance with the
            standards for the Services as set forth in this Agreement and applicable laws and regulations.
            Vendor may receive and shall retain all prompt payment or ‘cash’ discounts, as well as other
            rebates, allowances and other payments from its manufacturers, suppliers and distributors, on all
            purchases made by Vendor in connection with this Agreement; it being understood and agreed
            that such sums are associated with Vendor’s supply chain purchasing programs, which are
            generally associated with Vendor’s extremely large volume of total purchases on a company-wide
            and/or nationwide basis and are not exclusively related to the services provided by Vendor
            hereunder. If an affiliated company or division of Vendor furnishes product, equipment or services
            necessary in connection with the Services, the associated prices charged to the Board will be
            competitive with those prices from an independent source in the open market.

                     I.     Compensation for Renewal Years. If the Parties renew the Agreement beyond
            the Initial Term, then the Maximum Compensation Amount shall increase by an amount agreed
            upon by the Parties in a signed written Amendment to this Agreement.
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                     J.     Budget Assumptions. The Parties acknowledge that, in addition to the
            information supplied by the Board, certain assumptions were made in the determination of the
            total amount of the yearly Budget for the Services (the “Budget Assumptions”) and corresponding
            Maximum Compensation Amount for each Contract Year. The Budget Assumptions include, but
            are not limited to: (i) a static number of Board Facilities in the Services, (ii) a static total gross
            square footage for the Board Facilities as described in Schedule 4 as reported by the Board, (iii)
            the Board will supply at least 1225 Board Custodians for the Services, (iv) number of Substitute
            Custodians necessary for the Services will not increase pursuant to Section E above, (v) number
            of school days throughout the year will remain consistent with what was reported by the Board,
            (vi) the required percentage of spend allocated toward MWBE subcontractors in the Services will
            remain consistent with what was required in the Custodial RFP, and (vii) there will be no changes
            in the Scope of Services.

            Should the Budget Assumptions become inaccurate for any reason, the Parties shall meet and
            discuss an increase to the Budget and corresponding Maximum Compensation Amount to
            account for the change of circumstances (the “Budget Assumption Adjustment”), subject to
            approval by the Board at the next scheduled Board Meeting. If the Parties cannot agree, or if the
            Board does not approve, on an increase to the Budget and Maximum Compensation Amount,
            then Vendor shall not perform the affected Services that are in excess of the Budget and
            Maximum Compensation Amount, and instead the Parties shall discuss necessary changes to (i)
            the Scope of Services; (ii) the Key Performance Indicators; (iii) the ability of CPS to levy Liquidated
            Damages; and (iv) the ability of the Board to withhold payments, in order to keep the costs of the
            Services within the Budget and Maximum Compensation Amount.

                    K.       Budget Projections. Vendor shall provide to the Board a month-end summary to
            be used to forecast ongoing alignment with the Budget and Maximum Compensation Amount (the
            “Budget Projection”). If Vendor’s Budget Projection indicates that the costs of the Services will
            exceed the Budget and Maximum Compensation Amount, then Vendor and the Board shall meet
            to discuss an increase to the Budget and Maximum Compensation Amount (the “Budget
            Projection Adjustment”). The Parties shall agree on whether to increase the Budget and Maximum
            Compensation Amount to accommodate the Budget Projection, subject to the approval of the
            Board. If the Parties cannot agree, or if the Board does not approve, on an increase to the Budget
            and Maximum Compensation Amount, then Vendor shall not perform the affected Services that
            are in excess of the Budget and Maximum Compensation Amount, and instead the Parties shall
            discuss necessary changes to (i) the Scope of Services; (ii) the Key Performance Indicators; (iii)
            the ability of the Board to levy Liquidated Damages; and (iv) the ability of the Board to withhold
            payments, in order to keep the costs of the Services within the Budget and Maximum
            Compensation Amount.

                    L.      Material Change. If there is a change in the scope of the Services (including if
            the Board requests an expansion or reduction in the Services) or if Vendor’s costs increase due
            to unforeseen circumstances (e.g. the size and uses of the Facilities; increases in staffing or
            employee health and welfare benefits costs, minimum wage rates, employer contributions to
            social security or payroll taxes (including retroactive changes to such contributions); changes in
            a collective bargaining agreement covering the Service Employees or similar circumstances;
            increases in labor and supply costs; tax rates; license and permit fees; or changes in the Board’s
            number of facilities or student population), then Vendor shall give the Board written notice of such
            increase and the Parties shall negotiate in good faith a reasonable adjustment to the impacted
            financial and/or operational terms and memorialize such adjustments in a written amendment (the
            “Material Change Adjustment”).
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                    M.      Information and Conditions. In determining the resources required to perform
            the Services, the Budget and the Maximum Compensation Amount, each Party relied on
            information the other provided about existing operations and finances and on conditions existing
            as of the Effective Date of the Agreement that the Party did not have independent knowledge of,
            and representations regarding existing and future conditions made in connection with the
            negotiation and execution of the Agreement. Upon request and as needed, each Party will
            continue to provide similar information to the other and represents that such information will be
            current, complete, and accurate at the time provided. If such information materially changes or is
            inaccurate, or if applicable conditions materially change, the Parties will negotiate in good faith a
            reasonable adjustment of the impacted financial and/or operational terms and memorialize the
            adjustment in a written amendment (the “Information and Conditions Adjustment”, and
            collectively with the Material Change Adjustment, Budget Projection Adjustment and Budget
            Assumption Adjustment, the “Permitted Adjustments”.

                    N.     The Vendor may invoice the Board for the cost of background checks up to three
            (3) checks per vacant position per year. Any background checks required beyond this limit may
            not be invoiced to the Board.
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                                                                              Direct Costs
        Category Name                         Account Name
        Management Salaries and Wages         Management Salaries and Wages
                                              Compensated Absences (Vacation, PTO, Holidays, etc.)
                                              Payroll Taxes - Management (FICA-Employer, Unemployment-State, Unemployment-Federal, Medicare-
        Management Taxes                      Company)
                                              Employee Benefit Programs - Management (Health, Life/Accident/Death Plan, Long Term Disability, Short Term
        Management Benefits                   Disability)
                                              Retirement Plans-Direct
        Hourly Wages                          Hourly Wages
                                              Employee Benefit Programs - Hourly (Health, Life/Accident/Death Plan, Long Term Disability, Short Term
                                              Disability)
                                              Compensated Absences (Vacation, PTO, Holidays, etc.)
                                              Overtime Wages
        Hourly Taxes                          Payroll Taxes - Hourly
        Hourly Benefits                       Retirement Plans
                                              Union Benefit Costs
        Agency Labor                          Agency Labor Fees
        Direct Expenses                       Employee Programs and Welfare
                                              Sub-Contracted Services Expense
                                              Delivery Expense
                                              Works Comp. and Liability Insurance
                                              Freight Expense (Shipping)
                                              State and Local Taxes
                                              Lease Expense (Equipment)
                                              Equipment Expense
                                              Equipment Maintenance & Repair Expense
                                              Office Expense
                                              Rental Expense (Equipment, Mops, Misc.)
                                              Supplies and Consumables Expense
                                              Technology Cost (Software, Cellular Expense, Telephone Expense, Equipment-Computers & Peripherals)
                                              Travel Expense (Parking, Milage reimbursement, Vehicle expenses)
                                              Warehouse Expense
                                              Recruiting Expense (TB Test, Backgrounds, Recruitment Costs)
                                              Directs Expense Other
        Depreciation/Amortization             Depreciation Expense-Machines and Equipment
                                              Equipment Investment

                                              *Note, this list does not include the 3 allocated charges separately defined in the MSA: risk insurance, information
                                              technology, and human resource services and employee benefits
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                                                                                     Exhibit C
                                                                              Tentative Staffing Plan
        Quality Region
                   Property Use    Main Campus                Total Campus SQFT    Total             Board     Ara Day       Ara Lead       Ara Reg       Part Day       Part Lead       Part Reg   SQFT per FTE
        QS-1A      Active School   ALBANY PARK                              104203              6          3             2              1             0                                                  17,367
        QS-1A      Active School   ARMSTRONG G                              147016              6          2             0              1             3                                                  24,503
        QS-1A      Active School   BATEMAN                                  151694              6          3             0              1             2                                                  25,282
        QS-1A      Active School   BELDING                                   73840              3          2             0              1             0                                                  24,613
        QS-1A      Active School   BOONE                                     92344              4          2             0              1             1                                                  23,086
        QS-1A      Active School   CLEVELAND                                 97461              4          2             0              1             1                                                  24,365
        QS-1A      Active School   DECATUR                                   42434              2          1             0              1             0                                                  21,217
        QS-1A      Active School   DISNEY II ES                              50560              3          2             0              1                                                                16,853
        QS-1A      Active School   DISNEY II HS                             181923              6          4             0              1           1                                                    30,321
        QS-1A      Active School   FIELD                                    104418            3.5          1             0              1         1.5                                                    29,834
        QS-1A      Active School   GALE                                     157816              5          3             1              1           0                                                    31,563
        QS-1A      Active School   HAUGAN                                   137971              6          2             3              1           0                                                    22,995
        QS-1A      Active School   HENRY                                     90100            4.5          3             0              1         0.5                                                    20,022
        QS-1A      Active School   HIBBARD                                  169900              7          2             4              1           0                                                    24,271
        QS-1A      Active School   JORDAN                                    66950              2          1             0              1           0                                                    33,475
        QS-1A      Active School   KILMER                                   106366            3.5          2             0              1         0.5                                                    30,390
        QS-1A      Active School   MURPHY                                    85287              4          2             0              1           1                                                    21,322
        QS-1A      Active School   NEW FIELD                                 85500              3          2             0              1           0                                                    28,500
        QS-1A      Active School   NORTH RIVER                               42197            2.5          2                                                         0          0.5               0      16,879
        QS-1A      Active School   NORTHSIDE LEARNING HS                     44150            3.5          2                                                         1          0.5               0      12,614
        QS-1A      Active School   NORTHSIDE PREP HS                        222600              7          3                                                         0            2               2      31,800
        QS-1A      Active School   PETERSON                                  97862              5          2             1              1             1                                                  19,572
        QS-1A      Active School   ROGERS                                    89910              3          2             0              1             0                                                  29,970
        QS-1A      Active School   ROOSEVELT HS                             319900            9.5          4                                                         1               2          2.5      33,674
        QS-1A      Active School   SAUGANASH                                 68612              4          1             2              1             0                                                  17,153
        QS-1A      Active School   STONE                                     70601              4          2             1              1             0                                                  17,650
        QS-1A      Active School   SULLIVAN HS                              218067              8          3                                                         0               2            3      27,258
        QS-1A      Active School   VOLTA                                     86480              5          1             3              1             0                                                  17,296
        QS-1A      Active School   VON STEUBEN HS                           248453              8          4                                                         0               2            2      31,057
        QS-1A      Active School   WEST RIDGE                               100107              3          2             0              1             0                                                  33,369
        QS-1B      Active School   BEARD                                     58224            4.5          3                                                         1          0.5               0      12,939
        QS-1B      Active School   BEAUBIEN                                 117451              4          2             0              1             1                                                  29,363
        QS-1B      Active School   BRIDGE                                   126934              4          3             0              1             0                                                  31,734
        QS-1B      Active School   CANTY                                    103578            5.5          4                                                         1          0.5               0      18,832
        QS-1B      Active School   CHICAGO ACADEMY ES                       250844            7.5          3                                                         0            2             2.5      33,446
        QS-1B      Active School   DEVER                                     66250            3.5          2                                                         1          0.5               0      18,929
        QS-1B      Active School   DIRKSEN                                  127551            5.5          3                                                         2          0.5               0      23,191
        QS-1B      Active School   EBINGER                                   93518              4          1           2                1             0                                                  23,380
        QS-1B      Active School   EDGEBROOK                                 65590            3.5          1         1.5                1             0                                                  18,740
        QS-1B      Active School   EDISON PARK                               60475              4        1.5         1.5                1             0                                                  15,119
        QS-1B      Active School   FARNSWORTH                                81712            4.5          4                                                         0          0.5               0      18,158
        QS-1B      Active School   FOREMAN HS                               234393              7          4                                                         1            2               0      33,485
        QS-1B      Active School   GARVY                                     79665              4        1.5         1.5                1             0                                                  19,916
        QS-1B      Active School   GRAY                                     129990            6.5          2         0.5                1             3                                                  19,998
        QS-1B      Active School   HITCH                                     82050            3.5          2                                                         1          0.5               0      23,443
        QS-1B      Active School   NORWOOD PARK                              56330              3          2             0              1           0                                                    18,777
        QS-1B      Active School   ONAHAN                                    90969            3.5          2             0              1         0.5                                                    25,991
        QS-1B      Active School   ORIOLE PARK                               76476              4          1             2              1           0                                                    19,119



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        Quality Region
                   Property Use   Main Campus                Total Campus SQFT     Total             Board        Ara Day       Ara Lead       Ara Reg       Part Day       Part Lead       Part Reg       SQFT per FTE
        QS-1B     Active School   PALMER                                  126342               5             3              0              1           1                                                        25,268
        QS-1B     Active School   PORTAGE PARK                            145775               5             2              0              1           2                                                        29,155
        QS-1B     Active School   PRUSSING                                 96493               5             1              3              1           0                                                        19,299
        QS-1B     Active School   REINBERG                                 90955             5.5             3              0              1         1.5                                                        16,537
        QS-1B     Active School   SMYSER                                  111681             5.5             3                                                       2             0.5                 0        20,306
        QS-1B     Active School   STOCK                                    18360               3             3                                                       0               0                 0         6,120
        QS-1B     Active School   TAFT HS                                 523970            16.5             6                                                     2.5               3                 5        31,756
        QS-1B     Active School   THORP O                                  93200             4.5             2                                                       2             0.5                 0        20,711
        QS-1B     Active School   VAUGHN HS                                50289               3             2              0              1             0                                                      16,763
        QS-1B     Active School   WILDWOOD                                 60018             2.5             1                                                          1          0.5                 0        24,007
                                                                                               0                                                                                                                  NA
        QS-2A     Active School   AMUNDSEN HS                             218950               7              2                                                         2               2              1        31,279
        QS-2A     Active School   BLAINE                                   98646             3.5              1             0              1         1.5                                                        28,185
        QS-2A     Active School   BRENNEMANN                               53422               2              2                                                         0                              0        26,711
        QS-2A     Active School   BUDLONG                                 102352               5              2             1              1           1                                                        20,470
        QS-2A     Active School   CHAPPELL                                 87149               5              2             2              1           0                                                        17,430
        QS-2A     Active School   CLINTON                                 136047             5.5              4             0              1         0.5                                                        24,736
        QS-2A     Active School   COONLEY                                 107635             5.5              4             0              1         0.5                                                        19,570
        QS-2A     Active School   COURTENAY                               112070             3.5              1             1              1         0.5                                                        32,020
        QS-2A     Active School   DISNEY                                  260140               8              3                                                         0               2              3        32,518
        QS-2A     Active School   GOUDY                                    98019             3.5              1             0              1         1.5                                                        28,005
        QS-2A     Active School   GREELEY                                  60718             3.5              1             1              1         0.5                                                        17,348
        QS-2A     Active School   HAMILTON                                 74643             2.5              1             0              1         0.5                                                        29,857
        QS-2A     Active School   HAWTHORNE                                71199               3              2             0              1           0                                                        23,733
        QS-2A     Active School   HAYT                                    118800               4              3             0              1           0                                                        29,700
        QS-2A     Active School   INTER-AMERICAN                          110443             3.5              1             0              1         1.5                                                        31,555
        QS-2A     Active School   JAMIESON                                111599               4              3             0              1           0                                                        27,900
        QS-2A     Active School   LAKE VIEW HS                            266099               8              4                                                         0               2              2        33,262
        QS-2A     Active School   LORCA                                   105599               4              3             0              1           0                                                        26,400
        QS-2A     Active School   MATHER HS                               185689               6              3             0              1           2                                                        30,948
        QS-2A     Active School   MCCUTCHEON                               49500               4              3             0              1           0                                                        12,375
        QS-2A     Active School   MCPHERSON                               155337             5.5              3             1              1         0.5                                                        28,243
        QS-2A     Active School   NETTELHORST                             104490             3.5              1             0              1         1.5                                                        29,854
        QS-2A     Active School   PEIRCE                                  141588               5              3             1              1           0                                                        28,318
        QS-2A     Active School   RAVENSWOOD                               76423               3              1             0              1           1                                                        25,474
        QS-2A     Active School   REILLY                                  113870               6              2             3              1           0                                                        18,978
        QS-2A     Active School   RICKOVER MILITARY HS                    117000               5              1             1              1           2                                                        23,400
        QS-2A     Active School   SCAMMON                                  85474             5.5              3                                                         2          0.5                 0        15,541
        QS-2A     Active School   SCHURZ HS                               455800              14             10                                                         0            3                 1        32,557
        QS-2A     Active School   SENN HS                                 291204              11              3                                                         6            2                 0        26,473
        QS-2A     Active School   SOLOMON                                  40333             2.5              1                                                         1          0.5                 0        16,133
        QS-2A     Active School   SWIFT                                   109399             3.5              1             0              1         1.5                                                        31,257
        QS-2A     Active School   UPLIFT HS                               149312             4.5              1             0              1         2.5                                                        33,180
        QS-2A     Active School   WATERS                                   93947               6              3             1              1           1                                                        15,658
        QS-2A     Closed          Courtenay CPC @ Stockton                  7700               0                                                                                                                  NA
        QS-2A     Stadium         Winnemac Stadium                         13080               2             1                                                          1                              0         6,540
        QS-2B     Active School   BEIDLER                                  86770               5             2              2              1             0                                                      17,354
        QS-2B     Active School   BURR                                     60929               3             1              1              1             0                                                      20,310



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        Quality Region
                   Property Use    Main Campus                           Total Campus SQFT     Total             Board        Ara Day       Ara Lead       Ara Reg       Part Day       Part Lead       Part Reg       SQFT per FTE
        QS-2B     Active School    CATHER                                              52579              3.5            1                                                          2          0.5                 0        15,023
        QS-2B     Active School    CHALMERS                                            68184              4.5            2                                                          2          0.5                 0        15,152
        QS-2B     Active School    CHIARTS HS                                         171400                7            2              4              1             0                                                      24,486
        QS-2B     Active School    CHOPIN                                              96895                4            1              2              1             0                                                      24,224
        QS-2B     Active School    CLEMENTE HS                                        433342               13            3                                                          1            3               6          33,334
        QS-2B     Active School    COLUMBUS                                            39036              2.5            2                                                          0          0.5               0          15,614
        QS-2B     Active School    DE DIEGO                                           238557              7.5            3                                                          0            2             2.5          31,808
        QS-2B     Active School    DETT                                                70600              2.5            1              0              1         0.5                                                        28,240
        QS-2B     Active School    DRUMMOND                                            47500              2.5            1                                                          1          0.5                 0        19,000
        QS-2B     Active School    FARADAY                                             61645              3.5            2                                                          1          0.5                 0        17,613
        QS-2B     Active School    IRVING                                              55148                2            1              0              1           0                                                        27,574
        QS-2B     Active School    LASALLE II                                          92173                4            1              1              1           1                                                        23,043
        QS-2B     Active School    LOWELL                                             136125                5            2              0              1           2                                                        27,225
        QS-2B     Active School    LOZANO                                              57885              2.5            1              0              1         0.5                                                        23,154
        QS-2B     Active School    MANLEY HS                                          213820                7            4                                                          0            2                 1        30,546
        QS-2B     Active School    MITCHELL                                            56385              3.5            2                                                          1          0.5                 0        16,110
        QS-2B     Active School    MOOS                                               139709                7            3              3              1             0                                                      19,958
        QS-2B     Active School    MORTON                                              71504              4.5            3                                                          1          0.5                 0        15,890
        QS-2B     Active School    OGDEN ES                                           222888                7            3                                                          2            2                 0        31,841
        QS-2B     Active School    OGDEN HS                                            93355              3.5            1              0              1         1.5                                                        26,673
        QS-2B     Active School    PAYTON HS                                          216475                7            4                                                          0               2              1        30,925
        QS-2B     Active School    PHOENIX MILITARY HS                                160945              6.5            3          2.5                1           0                                                        24,761
        QS-2B     Active School    PRITZKER                                            66300              2.5            1            0                1         0.5                                                        26,520
        QS-2B     Active School    PULASKI                                            103904              4.5            1            1                1         1.5                                                        23,090
        QS-2B     Active School    SABIN                                               95219                4            1            1                1           1                                                        23,805
        QS-2B     Active School    SALAZAR                                             45084                2            1            0                1           0                                                        22,542
        QS-2B     Active School    STOWE                                              133900                7            2            4                1           0                                                        19,129
        QS-2B     Active School    SUDER                                               71500              2.5            1            0                1         0.5                                                        28,600
        QS-2B     Active School    WELLS HS                                           264101                8            5                                                          0               2              1        33,013
        QS-2B     Active School    YATES                                              145300                7            2              4              1             0                                                      20,757
        QS-2B     Admin Building   Admin Offices @ Dodge-Garfield Park                 72340                4            2              1              1             0                                                      18,085
        QS-2B     Closed           Calhoun                                             76400                0                                                                                                                 NA
        QS-2B     Active School    Dett                                                68494              2.5            1                                                          0                          1.5          27,398
        QS-2B     Active School    Moos                                                 2290                3                                                                       3                            0           763
        QS-3A     Active School    AUSTIN CCA HS                                      397258               12            10                                                         0               2            0          33,105
        QS-3A     Active School    BELMONT-CRAGIN                                     151846              6.5             3             0              1         2.5                                                        23,361
        QS-3A     Active School    BRUNSON                                            102700                4             2             0              1           1                                                        25,675
        QS-3A     Active School    BURBANK                                            165364              5.5             4             0              1         0.5                                                        30,066
        QS-3A     Active School    CAMRAS                                             125430                4             3             0              1           0                                                        31,358
        QS-3A     Active School    CLARK ES                                            43600              2.5             1                                                         1          0.5                 0        17,440
        QS-3A     Active School    CLARK HS                                           150700              4.5             2             0              1         1.5                                                        33,489
        QS-3A     Active School    DEPRIEST                                           106650              3.5             1             0              1         1.5                                                        30,471
        QS-3A     Active School    DOUGLASS HS                                        135210                5             3             1              1           0                                                        27,042
        QS-3A     Active School    ELLINGTON                                          112380                4             3             0              1           0                                                        28,095
        QS-3A     Active School    FALCONER                                           165513                5             2             1              1           1                                                        33,103
        QS-3A     Active School    HANSON PARK                                        132816                6             1             2              1           2                                                        22,136
        QS-3A     Active School    HAY                                                 94900              3.5             3                                                         0          0.5                 0        27,114
        QS-3A     Active School    KIPP - ACADEMY                                      35633              1.5             1                                                         0          0.5                 0        23,755



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                   Property Use   Main Campus                    Total Campus SQFT     Total             Board       Ara Day       Ara Lead       Ara Reg       Part Day       Part Lead       Part Reg       SQFT per FTE
        QS-3A     Active School   LELAND                                      109407              4.5            2             0              1         1.5                                                        24,313
        QS-3A     Active School   LEWIS                                       128953              4.5            2             0              1         1.5                                                        28,656
        QS-3A     Active School   LLOYD                                       150436                5            3             0              1           1                                                        30,087
        QS-3A     Active School   LOCKE J                                     117116              4.5            1             0              1         2.5                                                        26,026
        QS-3A     Active School   LOVETT                                       85200              3.5            2             0              1         0.5                                                        24,343
        QS-3A     Active School   LYON                                        117576              4.5            2             0              1         1.5                                                        26,128
        QS-3A     Active School   MARINE LEADERSHIP AT AMES HS                126540                4            3             0              1           0                                                        31,635
        QS-3A     Active School   MCAULIFFE                                    90799                3            1             0              1           1                                                        30,266
        QS-3A     Active School   MCNAIR                                       98596                3            1             0              1           1                                                        32,865
        QS-3A     Active School   NASH                                        105956                4            1             1              1           1                                                        26,489
        QS-3A     Active School   PRIETO                                      115458                4            3             0              1           0                                                        28,865
        QS-3A     Active School   PROSSER HS                                  209971                7            3                                                         0               2              2        29,996
        QS-3A     Active School   SAYRE                                        79775                3            1             0              1           1                                                        26,592
        QS-3A     Active School   SCHUBERT                                    101364              3.5            1             0              1         1.5                                                        28,961
        QS-3A     Active School   STEINMETZ HS                                398320               12            9                                                         0               2              1        33,193
        QS-3A     Active School   WEST PARK                                    81350                3            2             0              1           0                                                        27,117
        QS-3A     Active School   YOUNG ES                                    177004              5.5            3             0              1         1.5                                                        32,183
        QS-3A     Closed          ARMSTRONG L                                  14750                0                                                                                                                NA
        QS-3A     Vacant Lot      Depriest Lot                                  8845                0                                                                                                                NA
        QS-3A     Stadium         Hanson Park Stadium                          10000                2            1                                                         1                              0         5,000
        QS-3A     Stadium         Rockne Stadium                                8200                2            1                                                         1                              0         4,100
        QS-3B     Active School   AGASSIZ                                      57743                3            1             1              1           0                                                        19,248
        QS-3B     Active School   ALCOTT ES                                    84193                3            2             0              1           0                                                        28,064
        QS-3B     Active School   ALCOTT HS                                    51852                2            1             0              1           0                                                        25,926
        QS-3B     Active School   AUDUBON                                      72489                3            2             0              1           0                                                        24,163
        QS-3B     Active School   AVONDALE-LOGANDALE                          138900                5            2             1              1           1                                                        27,780
        QS-3B     Active School   BARRY                                        78700              2.5            1             0              1         0.5                                                        31,480
        QS-3B     Active School   BELL                                        112084                5            1             1              1           2                                                        22,417
        QS-3B     Active School   BRENTANO                                    117104              3.5            1             0              1         1.5                                                        33,458
        QS-3B     Active School   BURLEY                                       58527                3            1             0              1           1                                                        19,509
        QS-3B     Active School   CHASE                                        84715              3.5            2             0              1         0.5                                                        24,204
        QS-3B     Active School   DARWIN                                      121241              4.5            2             0              1         1.5                                                        26,942
        QS-3B     Active School   FRANKLIN                                     53097              2.5            1             0              1         0.5                                                        21,239
        QS-3B     Active School   FUNSTON                                     107729              3.5            1             0              1         1.5                                                        30,780
        QS-3B     Active School   GOETHE                                       80028              3.5            1             0              1         1.5                                                        22,865
        QS-3B     Active School   JAHN                                         83029              2.5            2                                                         0          0.5                 0        33,212
        QS-3B     Active School   KELVYN PARK HS                              188084                6            2             0              1             3                                                      31,347
        QS-3B     Active School   LANE TECH HS                                713935               21            9                                                         3               4              5        33,997
        QS-3B     Active School   LASALLE                                      47156                3            1             1              1             0                                                      15,719
        QS-3B     Active School   LINCOLN                                     115536                4            2             0              1             1                                                      28,884
        QS-3B     Active School   LINCOLN PARK HS                             341821               11            6                                                         0               2              3        31,075
        QS-3B     Active School   MANIERRE                                     87876              3.5            2             0              1         0.5                                                        25,107
        QS-3B     Active School   MAYER                                        73514                3            1             0              1           1                                                        24,505
        QS-3B     Active School   MONROE                                      123430                5            2             2              1           0                                                        24,686
        QS-3B     Active School   MOZART                                       92365                3            1             0              1           1                                                        30,788
        QS-3B     Active School   NEWBERRY                                     75176                3            2             0              1           0                                                        25,059
        QS-3B     Active School   NIXON                                       130113                4            1             0              1           2                                                        32,528
        QS-3B     Active School   OTIS                                         94414                3            1             0              1           1                                                        31,471



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                   Property Use   Main Campus                      Total Campus SQFT     Total             Board       Ara Day       Ara Lead       Ara Reg       Part Day       Part Lead       Part Reg       SQFT per FTE
        QS-3B     Active School   PRESCOTT                                       49663                2            1             0              1             0                                                      24,832
        QS-3B     Active School   SKINNER NORTH                                  68922                3            2             0              1             0                                                      22,974
        QS-3B     Active School   TALCOTT                                       127371                4            2             0              1             1                                                      31,843
        QS-3B     Active School   VON LINNE                                     105920                4            3             0              1             0                                                      26,480
        QS-3B     Stadium         Lane Stadium                                   20000              2.5            1                                                    1.5                                 0         8,000
        QS-4A     Active School   CAMERON                                       137334                6            3             2              1             0                                                      22,889
        QS-4A     Active School   CASALS                                         66550              3.5            2                                                         1          0.5                 0        19,014
        QS-4A     Active School   COLLINS HS                                    206018                9            5                                                         0            2                 2        22,891
        QS-4A     Active School   CROWN                                          63352                4            2             1              1             0                                                      15,838
        QS-4A     Active School   DVORAK                                         69287              4.5            3                                                         1          0.5                 0        15,397
        QS-4A     Active School   ERICSON                                        74410              3.5            2                                                         1          0.5                 0        21,260
        QS-4A     Active School   FRAZIER PROSPECTIVE                            72000              3.5            2                                                         1          0.5                 0        20,571
        QS-4A     Active School   GREGORY                                       109900                6            3             2              1             0                                                      18,317
        QS-4A     Active School   HEFFERAN                                       60934              3.5            2                                                         1          0.5                 0        17,410
        QS-4A     Active School   HERZL                                         151436              8.5            6                                                         2          0.5                 0        17,816
        QS-4A     Active School   HOWE                                           69535              4.5            2                                                         2          0.5                 0        15,452
        QS-4A     Active School   HUGHES C                                       49043              2.5            2                                                         0          0.5                 0        19,617
        QS-4A     Active School   LAWNDALE                                      116650              4.5            2                                                         2          0.5                 0        25,922
        QS-4A     Active School   MARSHALL HS                                   366981               11            7                                                         0            2                 2        33,362
        QS-4A     Active School   MASON                                         208829                7            3                                                         2            2                 0        29,833
        QS-4A     Active School   MELODY                                         99420                6            3             2              1             0                                                      16,570
        QS-4A     Active School   NOBEL                                          75800                5            2             2              1             0                                                      15,160
        QS-4A     Active School   NORTH LAWNDALE - CHRISTIANA HS                138936                5            2             2              1             0                                                      27,787
        QS-4A     Active School   NORTH-GRAND HS                                205094                7            3                                                         0            2                 2        29,299
        QS-4A     Active School   ORR HS                                        303310               10            4                                                         0            2                 4        30,331
        QS-4A     Active School   PENN                                          158325              5.5            4                                                         1          0.5                 0        28,786
        QS-4A     Active School   PICCOLO                                       218899                7            3                                                         1            2                 1        31,271
        QS-4A     Active School   RABY HS                                       156248                6            3             2              1             0                                                      26,041
        QS-4A     Active School   SPENCER                                       122935                4            2             0              1             1                                                      30,734
        QS-4A     Active School   SUMNER                                        159555                6            2             3              1             0                                                      26,593
        QS-4A     Active School   TILTON                                        104888                6            3             2              1             0                                                      17,481
        QS-4A     Active School   WARD L                                        114019                5            3             0              1             1                                                      22,804
        QS-4A     Active School   WEBSTER                                        60295              3.5            3                                                         0          0.5                 0        17,227
        QS-4A     Active School   WESTINGHOUSE HS                               224604                7            2                                                         0            2                 3        32,086
                                                                                                      0                                                                                                                NA
        QS-4A     Closed          Goldblatt                                      61378                0                                                                                                                NA
        QS-4A     Closed          Henson                                         64300                0                                                                                                                NA
        QS-4A     Vacant Lot      Henson Lot                                      2978                0                                                                                                                NA
        QS-4B     Active School   AIR FORCE HS                                   68306              2.5            1             0              1         0.5                                                        27,322
        QS-4B     Active School   ARMOUR                                         82842                5            2             0              1           2                                                        16,568
        QS-4B     Active School   BROWN W                                        63290              2.5            1                                                         1          0.5                 0        25,316
        QS-4B     Active School   CHICAGO TECH HS                                48600              2.5            1             0              1         0.5                                                        19,440
        QS-4B     Active School   CRANE MEDICAL HS                              419415               13            7                                                         0               3              3        32,263
        QS-4B     Closed          Medill                                        110540                0                                                                                                                NA
        QS-4B     Active School   GALILEO                                       102703                4            2             0              1           1                                                        25,676
        QS-4B     Active School   GRAHAM ES                                     116500              4.5            2             1              1         0.5                                                        25,889
        QS-4B     Active School   GRAHAM HS                                      23403              1.5            1                                                         0          0.5                 0        15,602
        QS-4B     Active School   HAINES                                         75558              2.5            1             0              1         0.5                                                        30,223



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                   Property Use    Main Campus                        Total Campus SQFT     Total             Board       Ara Day       Ara Lead       Ara Reg       Part Day       Part Lead       Part Reg       SQFT per FTE
        QS-4B     Active School    HEALY                                           114704                5            1             1              1             2                                                      22,941
        QS-4B     Active School    HOLDEN                                           99762                3            1             0              1             1                                                      33,254
        QS-4B     Active School    HOPE LEARNING ACADEMY                           263250                8            3                                                         0               2              3        32,906
        QS-4B     Active School    JACKSON A                                        74135              2.5            1             0              1         0.5                                                        29,654
        QS-4B     Active School    JENSEN                                           64440                4            2             0              1           1                                                        16,110
        QS-4B     Active School    JOHNSON                                          71422                4            3             0              1           0                                                        17,856
        QS-4B     Active School    JONES HS                                        383631               12            8                                                         0               2              2        31,969
        QS-4B     Active School    KELLMAN                                          75510              3.5            2             0              1         0.5                                                        21,574
        QS-4B     Active School    MCCLELLAN                                        58108                2            1             0              1           0                                                        29,054
        QS-4B     Active School    NATIONAL TEACHERS                               156400              5.5            3             0              1         1.5                                                        28,436
        QS-4B     Active School    PLAMONDON                                        38751              2.5            2                                                         0          0.5                 0        15,500
        QS-4B     Active School    SHERIDAN                                         77706                3            2             0              1             0                                                      25,902
        QS-4B     Active School    SIMPSON HS                                       33493              1.5            1                                                         0          0.5                 0        22,329
        QS-4B     Active School    SKINNER                                         150694              7.5            3             0              1         3.5                                                        20,093
        QS-4B     Active School    SMYTH                                           121566                6            1             1              1           3                                                        20,261
        QS-4B     Active School    SOUTH LOOP                                      191255                6            3             0              1           2                                                        31,876
        QS-4B     Active School    STEM                                             69329              2.5            2                                                         0          0.5                 0        27,732
        QS-4B     Active School    WARD J                                           85194              3.5            2             0              1         0.5                                                        24,341
        QS-4B     Active School    YOUNG HS                                        430443               19            9                                                         0               3              7        22,655
                                                                                                         0                                                                                                                NA
        QS-4B     Admin Building   Admin Office Near West @ Rudolph                 25690              1.5            1                                                                    0.5                 0        17,127
        QS-4B     Admin Building   Admin Offices @ Bridgeport                       41441                2            2                                                         0                              0        20,721
        QS-4B     Parking Lot      McClellan Parking Lot                             7845                0                                                                                                                NA
        QS-5A     Active School    CARDENAS                                        149786              4.5            2             1              1         0.5                                                        33,286
        QS-5A     Active School    COOPER                                          131200                6            3             2              1           0                                                        21,867
        QS-5A     Active School    CORKERY                                          71668              2.5            1             0              1         0.5                                                        28,667
        QS-5A     Active School    FARRAGUT HS                                     359255               11            5                                                         0               2              4        32,660
        QS-5A     Active School    FINKL                                            71980                3            2           0                1             0                                                      23,993
        QS-5A     Active School    GARY                                            132193                4            2           0                1             1                                                      33,048
        QS-5A     Active School    HAMMOND                                          59692              2.5            1         0.5                1             0                                                      23,877
        QS-5A     Active School    INFINITY HS                                     290134                9            4                                                         0               2              3        32,237
        QS-5A     Active School    JUAREZ HS                                       256400                9            3                                                         0               2              4        28,489
        QS-5A     Active School    JUNGMAN                                          69850              2.5            1             0              1         0.5                                                        27,940
        QS-5A     Active School    KANOON                                           67900              2.5            1             0              1         0.5                                                        27,160
        QS-5A     Active School    LITTLE VILLAGE                                   73770                3            2             0              1           0                                                        24,590
        QS-5A     Active School    MADERO                                           62071                2            1             0              1           0                                                        31,036
        QS-5A     Active School    MCCORMICK                                       100260              3.5            2             0              1         0.5                                                        28,646
        QS-5A     Active School    OROZCO                                          107722              3.5            2             0              1         0.5                                                        30,778
        QS-5A     Active School    ORTIZ DE DOMINGUEZ                               63900                2            1             0              1           0                                                        31,950
        QS-5A     Active School    PEREZ                                           103392              3.5            1                                                         2          0.5                 0        29,541
        QS-5A     Active School    PICKARD                                         116245                4            3             0              1             0                                                      29,061
        QS-5A     Active School    PILSEN                                           61287                3            1             1              1             0                                                      20,429
        QS-5A     Active School    RUIZ                                             80217                3            1             0              1             1                                                      26,739
        QS-5A     Active School    SAUCEDO                                         292121                9            3                                                         0               2              4        32,458
        QS-5A     Active School    SPRY ES                                         145060                5            3             0              1           1                                                        29,012
        QS-5A     Active School    WALSH                                            73288              2.5            1             0              1         0.5                                                        29,315
        QS-5A     Active School    WHITNEY                                         108653                4            2             0              1           1                                                        27,163
        QS-5A     Active School    WHITTIER                                         49232                2            1             0              1           0                                                        24,616



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        QS-5A     Active School    ZAPATA                                  108845                4            3             0              1             0                                                      27,211
        QS-5A     Vacant Land      3148 S Kedzie                           488459                0                                                                                                                NA
        QS-5A     Vacant Land      Hammond Lot                               9500                0                                                                                                                NA
        QS-5A     Closed           PADEREWSKI                               56100                0                                                                                                                NA
        QS-5B     Active School    BACK OF THE YARDS HS                    212285                7            3                                                         0               2              2        30,326
        QS-5B     Active School    BRIGHTON PARK                            80730                4            2             0              1           1                                                        20,183
        QS-5B     Active School    BURROUGHS                                53251              3.5            2             0              1         0.5                                                        15,215
        QS-5B     Active School    CALMECA                                 108624                4            3             0              1           0                                                        27,156
        QS-5B     Active School    CHAVEZ                                   97480                6            3             0              1           2                                                        16,247
        QS-5B     Active School    CHRISTOPHER                              76800                5            3             0              1           1                                                        15,360
        QS-5B     Active School    COLUMBIA EXPLORERS                      108052              6.5            3             1              1         1.5                                                        16,623
        QS-5B     Active School    CURIE HS                                415577               15            6                                                         0               3              6        27,705
        QS-5B     Active School    DALEY                                    73350                4            2             0              1           1                                                        18,338
        QS-5B     Active School    DAVIS N                                 121557                7            4             1              1           1                                                        17,365
        QS-5B     Active School    EDWARDS                                 175143              9.5            6             0              1         2.5                                                        18,436
        QS-5B     Active School    EVERETT                                  53495                3            2             0              1           0                                                        17,832
        QS-5B     Active School    EVERGREEN                                50060                2            1             0              1           0                                                        25,030
        QS-5B     Active School    GAGE PARK HS                            219411                7            3                                                         1               2              1        31,344
        QS-5B     Active School    GREENE                                   82455              5.5            3             0              1         1.5                                                        14,992
        QS-5B     Active School    GUNSAULUS                               106519              4.5            2             0              1         1.5                                                        23,671
        QS-5B     Active School    HAMLINE                                 117063                6            4             0              1           1                                                        19,511
        QS-5B     Active School    HEDGES                                  101940              5.5            3             0              1         1.5                                                        18,535
        QS-5B     Active School    KELLY HS                                298432               10            4                                                         0               2              4        29,843
        QS-5B     Active School    LARA                                     67964                2            1             0              1           0                                                        33,982
        QS-5B     Active School    PEACE AND EDUCATION HS                   42972                2            1             0              1           0                                                        21,486
        QS-5B     Active School    RICHARDS HS                             103015              5.5            3             0              1         1.5                                                        18,730
        QS-5B     Active School    SEWARD                                   98375              4.5            3                                                         1          0.5                 0        21,861
        QS-5B     Active School    SHIELDS                                 128230                7            3             3              1             0                                                      18,319
        QS-5B     Active School    SHIELDS MIDDLE                           95265                3            2             0              1             0                                                      31,755
        QS-5B     Active School    THOMAS                                   16056              2.5            2                                                         0          0.5                 0         6,422
        QS-5B     Active School    TILDEN HS                               332514               10            4                                                         0            2                 4        33,251
        QS-5B     Admin Building   CPS Warehouse                           249000                3            3                                                         0                              0        83,000
                                                                                                 0                                                                                                                NA
        QS-5B     Vacant Land      Richards HS Lot                           6130                0                                                                                                                NA
        QS-6A     Active School    BLAIR                                    37948                3            3                                                         0               0              0        12,649
        QS-6A     Active School    BYRNE                                    78340                3            2           0                1           0                                                        26,113
        QS-6A     Active School    CARSON                                  138015              8.5            5           0                1         2.5                                                        16,237
        QS-6A     Active School    CLAREMONT                               112806              3.5            1           0                1         1.5                                                        32,230
        QS-6A     Active School    DORE                                    133216                4            2         0.5                1         0.5                                                        33,304
        QS-6A     Active School    EBERHART                                164398                7            7                                                         0                              0        23,485
        QS-6A     Active School    FAIRFIELD                                79926              2.5            1             0              1         0.5                                                        31,970
        QS-6A     Active School    GLOBAL CITIZENSHIP                       29461              1.5            1                                                         0          0.5                 0        19,641
        QS-6A     Active School    GRIMES                                   40860                2            2                                                         0                              0        20,430
        QS-6A     Active School    HALE                                     99233                3            1             0              1           1                                                        33,078
        QS-6A     Active School    HANCOCK HS                              179600              5.5            3             0              1         1.5                                                        32,655
        QS-6A     Active School    HEARST                                   84178              2.5            1             0              1         0.5                                                        33,671
        QS-6A     Active School    HERNANDEZ                               127162                4            3             0              1           0                                                        31,791
        QS-6A     Active School    HUBBARD HS                              218200              6.5            2                                                    0.5                  2              2        33,569



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        QS-6A     Active School    HURLEY                                      55250                3            1             0              1             1                                                      18,417
        QS-6A     Active School    KENNEDY HS                                 233791                7            4                                                         0               2              1        33,399
        QS-6A     Active School    KINZIE                                     111615                4            2             0              1           1                                                        27,904
        QS-6A     Active School    LEE                                         56882              3.5            1             0              1         1.5                                                        16,252
        QS-6A     Active School    MCKAY                                      128128              4.5            1             0              1         2.5                                                        28,473
        QS-6A     Active School    MORRILL                                     99200                4            2             0              1           1                                                        24,800
        QS-6A     Active School    PASTEUR                                     98900              5.5            3             0              1         1.5                                                        17,982
        QS-6A     Active School    PECK                                       118621              7.5            5                                                         2          0.5                 0        15,816
        QS-6A     Active School    RICHARDSON                                 135212                4            3             0              1             0                                                      33,803
        QS-6A     Active School    SANDOVAL                                   108534                4            3             0              1             0                                                      27,134
        QS-6A     Active School    SOLORIO HS                                 213710                7            3                                                         0            2                 2        30,530
        QS-6A     Active School    TALMAN                                      36898              2.5            2                                                         0          0.5                 0        14,759
        QS-6A     Active School    TONTI                                       89103                5            3             0              1             1                                                      17,821
        QS-6A     Active School    TWAIN                                      140166                5            3             0              1             1                                                      28,033
        QS-6A     Active School    HANCOCK HS                                 169086                0            0                                                         0                              0          NA
        QS-6A     Parking Lot      Major Lot                                   48500                0                                                                                                                NA
        QS-6B     Active School    ASHBURN                                     58580                3            2             0              1             0                                                      19,527
        QS-6B     Active School    AZUELA                                      94600                3            2             0              1             0                                                      31,533
        QS-6B     Active School    BARNARD                                     47741              2.5            2                                                         0          0.5                 0        19,096
        QS-6B     Active School    BOGAN HS                                   184611                6            3             0              1             2                                                      30,769
        QS-6B     Active School    CARROLL                                     85634              3.5            3                                                         0          0.5                 0        24,467
        QS-6B     Active School    CASSELL                                     41100                2            2                                                         0                              0        20,550
        QS-6B     Active School    CHICAGO AGRICULTURE HS                     192250              6.5            3             0              1         2.5                                                        29,577
        QS-6B     Active School    CLISSOLD                                    63257                2            2             0              0           0                                                        31,629
        QS-6B     Active School    DAWES                                       90061                4            2             0              1           1                                                        22,515
        QS-6B     Active School    DURKIN PARK                                 86520              3.5            2             0              1         0.5                                                        24,720
        QS-6B     Active School    ESMOND                                      53700              2.5            1             0              1         0.5                                                        21,480
        QS-6B     Active School    GOODE HS                                   208200                7            5                                                         0               2              0        29,743
        QS-6B     Active School    HAMPTON                                     98776              3.5            2             0              1         0.5                                                        28,222
        QS-6B     Active School    KELLER                                      36864              1.5            1                                                         0          0.5                 0        24,576
        QS-6B     Active School    KELLOGG                                     30843              1.5            1                                                         0          0.5                 0        20,562
        QS-6B     Active School    MARQUETTE                                  172688              5.5            4             0              1         0.5                                                        31,398
        QS-6B     Active School    MORGAN PARK HS                             269480                8            5                                                         0               2              1        33,685
        QS-6B     Active School    MOUNT GREENWOOD                            111660                4            2             0              1             1                                                      27,915
        QS-6B     Active School    NIGHTINGALE                                140838              8.5            4                                                         1            1             2.5          16,569
        QS-6B     Active School    OWEN                                        33218              1.5            1                                                         0          0.5               0          22,145
        QS-6B     Active School    SAWYER                                     163308                8            4                                                         0            1               3          20,414
        QS-6B     Active School    SOR JUANA                                   38389              3.5            2                                                         0            1             0.5          10,968
        QS-6B     Active School    STEVENSON                                  149908                5            3                                                         0            1               1          29,982
        QS-6B     Active School    SUTHERLAND                                  80219                3            1                                                         0            1               1          26,740
        QS-6B     Active School    TARKINGTON                                 136289                5            3                                                         0            1               1          27,258
        QS-6B     Active School    VANDERPOEL                                  38981              2.5            1                                                         1          0.5               0          15,592
        QS-6B     Active School    VICK                                        31345                2            2                                                         0                            0          15,673
        QS-6B     Admin Building   Admin Offices @ Western Ave                 19000                2            1                                                         0            1               0           9,500
        QS-7A     Active School    BASS                                        85881              5.5            4                                                         1          0.5               0          15,615
        QS-7A     Active School    BOND                                       104126                4            3                                                         0            1               0          26,032
        QS-7A     Active School    BROWNELL                                    42620              2.5            2                                                         0          0.5               0          17,048
        QS-7A     Active School    DAVIS M                                    104200                4            3                                                         0            1               0          26,050



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        QS-7A     Active School   DENEEN                                    87736                4            1                                          0               1            2          21,934
        QS-7A     Active School   DEWEY                                     86191                5            4                                          0               1            0          17,238
        QS-7A     Active School   EARLE                                     67506                4            2                                          0               1            1          16,877
        QS-7A     Active School   Englewood STEM                           160000                6            2                                          0               1            3          26,667
        QS-7A     Active School   FULTON                                    96598              5.5            3                                        1.5               1            0          17,563
        QS-7A     Active School   HARPER HS                                220787                7            5                                          0               2            0          31,541
        QS-7A     Active School   HENDERSON                                 81110                4            2                                          0               1            1          20,278
        QS-7A     Active School   HOLMES                                    67141                4            1                                          2               1            0          16,785
        QS-7A     Active School   HOPE HS                                  159500              6.5            3                                          0               1          2.5          24,538
        QS-7A     Active School   KERSHAW                                   51900                3            1                                          0               1            1          17,300
        QS-7A     Active School   KING ES                                   71892              4.5            3                                          0               1          0.5          15,976
        QS-7A     Active School   LANGFORD                                  78575              4.5            3                                          1             0.5            0          17,461
        QS-7A     Active School   LIBBY                                    115600                6            2                                          0               1            3          19,267
        QS-7A     Active School   LINDBLOM HS                              305788               11            5                                          1               2            3          27,799
        QS-7A     Active School   MAYS                                      65017              3.5            2                                          0               1          0.5          18,576
        QS-7A     Active School   NICHOLSON                                 71602                4            1                                          0               1            2          17,901
        QS-7A     Active School   OTOOLE                                    96700              4.5            4                                          0             0.5            0          21,489
        QS-7A     Active School   PARK MANOR                                62706                4            1                                          2               1            0          15,677
        QS-7A     Active School   PARKER                                   279300                9            4                                          0               2            3          31,033
        QS-7A     Active School   SHERMAN                                   58451              3.5            2                                          1             0.5            0          16,700
        QS-7A     Active School   SHERWOOD                                  52237              2.5            1                                          1             0.5            0          20,895
        QS-7A     Active School   TANNER                                    52920              2.5            1                                          1             0.5            0          21,168
        QS-7A     Active School   URBAN PREP - ENGLEWOOD HS                188800              6.5            6                                          0             0.5            0          29,046
        QS-7A     Active School   WENTWORTH                                102616              3.5            2                                          0               1          0.5          29,319
        QS-7A     Closed          Bontemps                                  53600                0                                                                                                 NA
        QS-7A     Active School   Earle                                     86390                3            1                                             0                           2        28,797
        QS-7A     Vacant Land     Formerly Miles Davis                      55240                0                                                                                                 NA
        QS-7A     Vacant Land     May Lot                                    6752                0                                                                                                 NA
        QS-7A     Closed          Parkman                                   61109                0                                                                                                 NA
        QS-7A     Leased          Princeton Eye Clinic                      21300                1            1                                             0                           0        21,300
        QS-7A     Active School   Wentworth                                124980                0            0                                             0                           0          NA
        QS-7A     Closed          Woods                                     69497                0                                                                                                 NA
        QS-7B     Active School   ASHE                                      55335              2.5            2                                          0             0.5              0        22,134
        QS-7B     Active School   BARTON                                    82203                5            3                                          1               1                       16,441
        QS-7B     Active School   COOK                                      98500                6            3                                          2               1            0          16,417
        QS-7B     Active School   CUFFE                                     82120              4.5            3                                        0.5               1            0          18,249
        QS-7B     Active School   DIXON                                    101627                4            1                                          2               1            0          25,407
        QS-7B     Active School   EVERS                                     52968                3            2                                          0               1            0          17,656
        QS-7B     Active School   FORT DEARBORN                            106624              3.5            2                                          1             0.5            0          30,464
        QS-7B     Active School   FOSTER PARK                               68005              4.5            3                                          1             0.5            0          15,112
        QS-7B     Active School   GREEN                                     40088              2.5            1                                          1             0.5            0          16,035
        QS-7B     Active School   GRESHAM                                  113339              5.5            4                                          0               1          0.5          20,607
        QS-7B     Active School   HARVARD                                   80584              4.5            3                                          1             0.5            0          17,908
        QS-7B     Active School   HIRSCH HS                                217770                7            5                                          0               2            0          31,110
        QS-7B     Active School   JACKSON M                                 74586              4.5            3                                          1             0.5            0          16,575
        QS-7B     Active School   JOPLIN                                    77483              4.5            2                                          0               1          1.5          17,218
        QS-7B     Active School   KIPLING                                   34919              2.5            1                                          1             0.5            0          13,968
        QS-7B     Active School   LENART                                    60474              3.5            2                                          1             0.5            0          17,278



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                                                                                     Exhibit C
                                                                              Tentative Staffing Plan
        Quality Region
                   Property Use    Main Campus                Total Campus SQFT     Total            Board       Ara Day   Ara Lead   Ara Reg   Part Day       Part Lead    Part Reg       SQFT per FTE
        QS-7B     Active School    NEIL                                     71870              4.5           1                                             3          0.5            0          15,971
        QS-7B     Active School    OGLESBY                                  77140              3.5           2                                             1          0.5            0          22,040
        QS-7B     Active School    PIRIE                                    48010              3.5           2                                             1          0.5            0          13,717
        QS-7B     Active School    RANDOLPH                                 78450                3           1                                             0            1            1          26,150
        QS-7B     Active School    RUGGLES                                  99710                3           1                                             0            1            1          33,237
        QS-7B     Active School    RYDER                                    73326                4           2                                             1            1            0          18,332
        QS-7B     Active School    SIMEON HS                               284691             11.5           4                                             0            2          5.5          24,756
        QS-7B     Active School    STAGG                                    68227              4.5           3                                             1          0.5            0          15,162
        QS-7B     Active School    TURNER-DREW                              39077                2           1                                             0            1            0          19,539
        QS-7B     Active School    WACKER                                   27552              1.5           1                                             0          0.5            0          18,368
        QS-7B     Active School    WESTCOTT                                 46480              3.5           2                                             1          0.5            0          13,280
        QS-7B     Vacant Land      9100-9300 S Triangular                   55524                0                                                                                                NA
        QS-7B     Closed           Morgan                                   80640                0                                                                                                NA
        QS-7B     Vacant Lot       Morgan Lot                                2372                0                                                                                                NA
        QS-7B     Closed           Perspectives @ Calumet                  324446                0                                                                                                NA
        QS-7B     Stadium          Stagg Stadium                             3325                2           1                                             1                         0           1,663
        QS-7B     Active School    SOUTHSIDE HS                             54740              4.5           3                                             1          0.5            0          12,164
        QS-8A     Active School    ARIEL                                   147109                6           3                                             0            1            2          24,518
        QS-8A     Active School    BEASLEY                                 154984                7           3                                             0            1            3          22,141
        QS-8A     Active School    BEETHOVEN                                92185                3           1                                             0            1            1          30,728
        QS-8A     Active School    BRONZEVILLE CLASSICAL                    63929                2           1                                             0            1            0          31,965
        QS-8A     Active School    BRONZEVILLE HS                          410375               13           6                                             0            3            4          31,567
        QS-8A     Active School    BURKE                                    73963              2.5           1                                             0            1          0.5          29,585
        QS-8A     Active School    CARNEGIE                                 63979                3           1                                             1            1            0          21,326
        QS-8A     Active School    CHICAGO MILITARY HS                     121900              4.5           2                                             0            1          1.5          27,089
        QS-8A     Active School    DRAKE                                   148150                5           2                                             0            1            2          29,630
        QS-8A     Active School    DYETT ARTS HS                           162840                5           2                                             0            1            2          32,568
        QS-8A     Active School    FISKE                                   105274                4           2                                             0            1            1          26,319
        QS-8A     Active School    FULLER                                   91800              3.5           2                                             0            1          0.5          26,229
        QS-8A     Active School    HARTE                                    34281              2.5           1                                             1          0.5            0          13,712
        QS-8A     Active School    HENDRICKS                                56857                2           2                                             0                         0          28,429
        QS-8A     Active School    KENWOOD HS                              313814               10           2                                             0            2            6          31,381
        QS-8A     Active School    KOZMINSKI                               100709                3           1                                             0            1            1          33,570
        QS-8A     Active School    MOLLISON                                 43300              2.5           1                                             0            1          0.5          17,320
        QS-8A     Active School    MURRAY                                   73984              2.5           2                                             0          0.5            0          29,594
        QS-8A     Active School    PHILLIPS HS                             287721                9           5                                             0            2            2          31,969
        QS-8A     Active School    REAVIS                                   57507              3.5           2                                             1          0.5            0          16,431
        QS-8A     Active School    ROBINSON                                 41784                2           1                                             0            1            0          20,892
        QS-8A     Active School    SHOESMITH                                38987                2           1                                             0            1            0          19,494
        QS-8A     Active School    U OF C - DONOGHUE                        74828              2.5           1                                             0            1          0.5          29,931
        QS-8A     Active School    WELLS ES                                 62750              2.5           2                                             0          0.5            0          25,100
        QS-8A     Active School    WOODSON                                 138354              4.5           2                                             0            1          1.5          30,745
        QS-8A     Leased           Ace Tech HS                              68331                3           2                                             0            1            0          22,777
        QS-8A     Admin Building   Admin Offices @ Colman                   99100                3           2                                             0            1            0          33,033
        QS-8A     Closed           Attucks                                      0                0                                                                                                NA
        QS-8A     Active School    Fiske                                    73930                4           2                                             0                           2        18,483
        QS-8A     Leased           Ounce of Prevention                      24000              1.5           1                                                        0.5              0        16,000
        QS-8B     Active School    AVALON PARK                              87101              3.5           1                                             2          0.5              0        24,886



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                                                                                                    Exhibit C
                                                                                             Tentative Staffing Plan
        Quality Region
                   Property Use   Main Campus                                Total Campus SQFT     Total            Board       Ara Day   Ara Lead   Ara Reg   Part Day       Part Lead    Part Reg       SQFT per FTE
        QS-8B     Active School   BOUCHET                                                 141329                8           3                                             4            1            0          17,666
        QS-8B     Active School   BRADWELL                                                143266                6           3                                             1            1            1          23,878
        QS-8B     Active School   CALDWELL                                                 64483              3.5           2                                             1          0.5            0          18,424
        QS-8B     Active School   CAMELOT - EXCEL SOUTHSHORE HS                            42300              2.5           1                                             1          0.5            0          16,920
        QS-8B     Active School   CARTER                                                   86910                3           1                                             0            1            1          28,970
        QS-8B     Active School   CHICAGO VOCATIONAL HS                                   684248               13           6                                             2            3            2          52,634
        QS-8B     Active School   COLES                                                    94614                5           3                                             0            1            1          18,923
        QS-8B     Active School   DOOLITTLE                                               112296                4           2                                             0            1            1          28,074
        QS-8B     Active School   DULLES                                                   70786                3           2                                             0            1            0          23,595
        QS-8B     Active School   DUNBAR HS                                               319937               10           5                                             1            2            2          31,994
        QS-8B     Active School   HYDE PARK HS                                            324961               10           5                                             0            2            3          32,496
        QS-8B     Active School   KING HS                                                 310545               10           6                                             0            2            2          31,055
        QS-8B     Active School   MADISON                                                  67700              2.5           1                                             1          0.5            0          27,080
        QS-8B     Active School   MANN                                                    106355                4           3                                             0            1            0          26,589
        QS-8B     Active School   NEW SULLIVAN                                            218126                7           3                                             0            2            2          31,161
        QS-8B     Active School   NINOS HEROES                                             73518              4.5           3                                             1          0.5            0          16,337
        QS-8B     Active School   OKEEFFE                                                  95310              4.5           3                                             1          0.5            0          21,180
        QS-8B     Active School   PARKSIDE                                                 75104              4.5           3                                             1          0.5            0          16,690
        QS-8B     Active School   PERSHING                                                128716              4.5           2                                             0            1          1.5          28,604
        QS-8B     Active School   POWELL                                                  113516                6           2                                             3            1            0          18,919
        QS-8B     Active School   RAY                                                     115306              3.5           1                                             0            1          1.5          32,945
        QS-8B     Active School   REVERE                                                   81610              4.5           2                                             0            1          1.5          18,136
        QS-8B     Active School   SOUTH SHORE ES                                           76945                3           2                                             0            1            0          25,648
        QS-8B     Active School   SOUTH SHORE INTL HS                                     213710                7           3                                             0            2            2          30,530
        QS-8B     Active School   TILL                                                    134618                4           1                                             2            1            0          33,655
        QS-8B     Active School   URBAN PREP - BRONZEVILLE HS                              74152              2.5           2                                             0          0.5            0          29,661
        QS-8B     Active School   WADSWORTH                                                64558                3           1                                             0            1            1          21,519
        QS-8B     Active School   WOODLAWN                                                 30193                6           2                                             1            1            2           5,032
        QS-8B     Vacant Land     6428 Minerva                                              5942                0                                                                                                NA
        QS-8B     Closed          Admin Offices @ Pershing East                            26200                0                                                                                                NA
        QS-8B     Stadium         Eckersall Stadium                                         6500                2           1                                             1                           0         3,250
        QS-8B     Vacant Land     Langley Lot (Till Lot)                                    5788                0                                                                                                NA
        QS-8B     Closed          Oneida Cockrell CPC                                      14500                0                                                                                                NA
        QS-8B     Closed          Price                                                    62000                0                                                                                                NA
        QS-8B     Closed          Ross                                                     94200                0                                                                                                NA
        QS-8B     Closed          South Shore South (School of Leadership)                139560                0                                                                                                NA
        QS-8B     Closed          UC Woodlawn at Wadsworth                                122095                0                                                                                                NA
        QS-8B     Closed          Young Womens HS @ Sengstake                              50500                0                                                                                                NA
        QS-8B     Vacant Lot      Revere Parking Lot                                           0                0                                                                                                NA
        QS-9A     Active School   ALDRIDGE                                                 45589                2           1                                          0               1              0        22,795
        QS-9A     Active School   BENNETT                                                  67595              2.5           1                                          1             0.5              0        27,038
        QS-9A     Active School   BROOKS HS                                               264710                8           3                                          0               2              3        33,089
        QS-9A     Active School   BROWN R                                                  36229                2           1                                        0.5             0.5              0        18,115
        QS-9A     Active School   CARVER G                                                110606                5           2                                          2               1              0        22,121
        QS-9A     Active School   CARVER MILITARY HS                                      298689                9           5                                          0               2              2        33,188
        QS-9A     Active School   COLEMON                                                  34600                2           1                                          0               1              0        17,300
        QS-9A     Active School   CORLISS HS                                              272651                9           4                                          0               2              3        30,295
        QS-9A     Active School   CULLEN                                                   25927              1.5           1                                          0             0.5              0        17,285



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                                                                             Tentative Staffing Plan
        Quality Region
                   Property Use   Main Campus                Total Campus SQFT     Total            Board       Ara Day   Ara Lead   Ara Reg   Part Day       Part Lead       Part Reg     SQFT per FTE
        QS-9A     Active School   CURTIS                                  103610                4           2                                             0            1               1        25,903
        QS-9A     Active School   DUBOIS                                   27248              1.5           1                                             0          0.5               0        18,165
        QS-9A     Active School   DUNNE                                    34038              1.5           1                                             0          0.5               0        22,692
        QS-9A     Active School   FENGER HS                               341000             10.5           4                                             0            2             4.5        32,476
        QS-9A     Active School   FERNWOOD                                 67170                2           1                                             0            1               0        33,585
        QS-9A     Active School   GARVEY                                   55354                3           1                                             1            1               0        18,451
        QS-9A     Active School   HALEY                                   101294              3.5           1                                             2          0.5               0        28,941
        QS-9A     Active School   HIGGINS                                  51303                2           1                                             0            1               0        25,652
        QS-9A     Active School   HUGHES L                                100000                4           1                                             0            1               2        25,000
        QS-9A     Active School   JULIAN HS                               266404                8           4                                             0            2               2        33,301
        QS-9A     Active School   LAVIZZO                                  83900                3           1                                             0            1               1        27,967
        QS-9A     Active School   METCALFE                                 81370                3           2                                             0            1               0        27,123
        QS-9A     Active School   MOUNT VERNON                             82650              2.5           1                                             1          0.5               0        33,060
        QS-9A     Active School   OWENS                                   127276                4           2                                             0            1               1        31,819
        QS-9A     Active School   POE                                      57432              2.5           2                                             0          0.5               0        22,973
        QS-9A     Active School   PULLMAN                                  80075                3           2                                             0            1               0        26,692
        QS-9A     Active School   SHOOP                                   124553                4           2                                             0            1               1        31,138
        QS-9A     Active School   SMITH                                    76920              2.5           1                                             0            1             0.5        30,768
        QS-9A     Active School   WHISTLER                                 88230              3.5           2                                             0            1             0.5        25,209
        QS-9A     Active School   WHITE                                    23635              1.5           1                                             0          0.5               0        15,757
        QS-9A     Stadium         Gately Stadium                            7200                2           1                                             1                            0         3,600
        QS-9A     Closed          KOHN                                     60624                0                                                                                                 NA
        QS-9A     Vacant Land     Metcalfe Lot                              4124                0                                                                                                 NA
        QS-9A     Vacant Land     Metcalfe Lot 2                               0                0                                                                                                 NA
        QS-9A     Vacant Land     Tuner-Lot                                22174                0                                                                                                 NA
        QS-9B     Active School   ADDAMS                                   62043                4           2                                                          1               1        15,511
        QS-9B     Active School   BLACK                                    70379              4.5           2                                             2          0.5               0        15,640
        QS-9B     Active School   BOWEN HS                                296441                9           5                                             0            2               2        32,938
        QS-9B     Active School   BRIGHT                                   90919                3           2                                             0            1               0        30,306
        QS-9B     Active School   BURNHAM                                  82156                3           2                                             0            1               0        27,385
        QS-9B     Active School   BURNSIDE                                122945                5           2                                             2            1               0        24,589
        QS-9B     Active School   CLAY                                     91770                3           1                                             0            1               1        30,590
        QS-9B     Active School   EARHART                                  28152              1.5           1                                                        0.5               0        18,768
        QS-9B     Active School   GALLISTEL                                94577                4           3                                             0            1               0        23,644
        QS-9B     Active School   GILLESPIE                                91300                4           2                                             1            1               0        22,825
        QS-9B     Active School   GRISSOM                                  31615                2           1                                             0            1               0        15,808
        QS-9B     Active School   HARLAN HS                               169730                7           3                                             3            1               0        24,247
        QS-9B     Active School   HOYNE                                    27984                2           2                                             0            0               0        13,992
        QS-9B     Active School   MARSH                                   140770              4.5           3                                             0            1             0.5        31,282
        QS-9B     Active School   MCDADE                                   41812              1.5           1                                             0          0.5               0        27,875
        QS-9B     Active School   MCDOWELL                                 17586                1           1                                             0                            0        17,586
        QS-9B     Active School   MIRELES                                 144246              7.5           5                                             0               1          1.5        19,233
        QS-9B     Active School   SCHMID                                   36938                3           3                                             0                            0        12,313
        QS-9B     Active School   SOUTHEAST                               111081                4           2                                             0               1            1        27,770
        QS-9B     Active School   TAYLOR                                   87628                3           1                                             0               1            1        29,209
        QS-9B     Active School   THORP J                                 135638              4.5           2                                             0               1          1.5        30,142
        QS-9B     Active School   WARREN                                   40255                2           2                                             0                            0        20,128
        QS-9B     Active School   WASHINGTON G ES                          75112              2.5           1                                             1          0.5               0        30,045



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                                                                                    Exhibit C
                                                                             Tentative Staffing Plan
        Quality Region
                   Property Use   Main Campus                Total Campus SQFT     Total           Board       Ara Day     Ara Lead     Ara Reg     Part Day       Part Lead       Part Reg       SQFT per FTE
        QS-9B     Active School   WASHINGTON H ES                          77300               4           2                                                   1               1              0        19,325
        QS-9B     Active School   WASHINGTON HS                           214541               7           3                                                   0               2              2        30,649
        QS-9B     Vacant Land     9318 S                                   14273               0                                                                                                         NA
        QS-9B     Closed          Buckingham                               14272               0                                                                                                         NA
        QS-3B     Active School   Burley                                    2807               3           1                                                   0                              2         936
        QS-9B     Closed          Burnham Anthony Branch                   15103               0                                                                                                         NA
        QS-9B     Closed          CICS-HAWKINS                            144504               0                                                                                                         NA
        QS-9B     Closed          Goldsmith                                14559               0                                                                                                         NA
        QS-9B     Closed          SHEDD (BENNETT) - CLOSED                 14150               0                                                                                                         NA
                                                                        64686160            2444      1225         109.5          237       172.5         153             298             249          26,467




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            Exhibit D SLAs and Liquidated Damages


            Service Level Agreement and Compliance

            1. Service Level Agreement.
            Vendor shall comply with Performance Level Service Agreements (SLAs) and be subject to the SLA
            Liquidated Damages (“SLA Liquidated Damages”) for failure to provide Custodial Services in strict
            compliance with the SLAs. Nothing contained in this Exhibit shall limit any of the Board's other rights
            hereunder. This Service Level Agreement becomes effective as of January 1, 2022.

            2. Total Liability.
            Notwithstanding anything to the contrary in the Agreement, Exhibits, or any other incorporated
            documents, terms, or conditions, Vendor’s aggregate liability for liquidated damages pursuant to the
            Agreement including shall not exceed One Million, Three Hundred Thousand Dollars ($1,300,000.00) in
            any contract year as defined in Exhibit B.

            3. Cleaning Performance Frequency and Compliance.
            Service Level Agreement (SLA) Requirements. Vendor shall provide Services in compliance at a minimum
            with the SLA Requirements. Vendor shall immediately notify the Board and the Board's Project Manager
            or such other designee of the Board if a condition arises that could impact Vendor's ability to perform
            the Custodial Services in compliance with SLAs in any Board Facility for any reason, including, but not
            limited to, staffing issues, insufficient Custodial Supplies or materials, insufficient or non-working
            Custodial Equipment, and dangerous or hazardous conditions at such Board Facility. Vendor shall
            provide the Board with a plan to address the potential Services issue and ensure continuity of Custodial
            Services as required hereunder.

                A. APPA Level 2 Compliance. Vendor shall provide the Custodial Services in accordance, at a
                    minimum, with the APPA Level 2 Standard and in compliance with the applicable APPA SLA
                    compliance levels for each year of the Term.

                B. Cleaning Frequency Standards. The Cleaning Frequency Standards shall be used by the Board for
                    all purposes in connection with determining Vendor compliance with the terms of the
                    Agreement as well as Vendor's failure to comply with Cleaning Frequency Standards with
                    respect to all Board Facilities at any time during the Term. Vendor's failure to comply with the
                    Cleaning Frequency Standards shall constitute an Event of Default (“Event of Default”) under
                    this Agreement. Vendor shall perform tasks set forth on Schedule 2 at the times specified
                    ("Cleaning Frequency Standards").

                C. General Custodial Services and Cleaning APPA Inspections by Vendor. Vendor shall inspect
                    each school at least once per week in order to maintain, sustain and validate custodial
                    cleanliness condition level at APPA Level 2 standards.

            4. General Custodial Services Inspections

                A. Custodial Services Evaluation. At any time during the Term, the Board will inspect Board
                    Facilities to assess Vendor’s compliance with this Agreement, adherence to cleaning frequencies
                    and staffing levels, the APPA standards, or SLA compliance levels.

                B. Custodial Services Inspector Evaluation Results. If, following any inspection, Board makes a
                    good faith determination that any Board Facility fails to meet the expectations of this
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                     Agreement or subsequent mutually agreed to in writing by the Parties, then the Board shall use
                     reasonable efforts to notify Vendor in writing within five (5) days of the discovery a notice of
                     determination indicating such non-compliance/SLA Deficiency ("Notice of Determination"). If
                     the Vendor does not agree with the Board's determination as specified in the Notice of
                     Determination, Vendor shall promptly, but in no event later than twenty-four (24) hours after
                     receipt of the Board's Notice of Determination, provide the Board with written notice of the
                     Vendor's response, including its plan for resolving the alleged non-compliance as required
                     hereunder. Vendor and the Board agree to reasonably cooperate in good faith to resolve any
                     dispute arising from the Board's Notice of Determination. If the Parties are unable to resolve the
                     dispute with respect to any such Board Facility within three (3) days after the Vendor's receipt of
                     the Notice of Determination, then the results of the Inspection Results and the Notice of
                     Determination shall be deemed final, and in addition to any other rights and remedies of the
                     Board hereunder, Vendor shall, with respect to the Custodial areas in each Board Facility,
                     perform the tasks set forth on Schedule 2 at the times specified ("Cleaning Frequency
                     Standards").

                C. General Custodial Services Inspection SLA Deficiency. Should the Vendor fail to correct the
                    deficiencies identified in the Notice of Determination, the Board may implement the Vendor
                    Responsiveness Supplier Corrective Action Request (SCAR) process as defined in this section.

            5. Cleaning APPA Level 2 Inspections by Third Party Audit SLA

                A. APPA Evaluations. At any time during the Term, at its sole cost and expense, the Board will
                    audit, through a third party APPA Auditor, Board Facilities to assess Vendor’s compliance with
                    this Agreement, adherence to cleaning frequencies and staffing levels, the APPA standards, and
                    APPA SLA compliance levels. The Board shall utilize an independent, qualified auditor (“APPA
                    Auditor”), to provide an independent report and inspection results (“APPA Condition
                    Assessment”) to determine Vendor’s compliance with the APPA Standards and SLA’s for each
                    Board Facility.

                B. APPA Audit Deficiency Resolution Requirements. If, following any audit, the APPA Auditor
                    makes a good faith determination that any Board Facility fails to meet the expectations of this
                    Agreement or subsequent mutually agreed to in writing by the Parties, the APPA Auditor will
                    provide electronically to the Vendor on the day of the audit (Day 1), a notice of determination
                    indicating such non-compliance/SLA Deficiency ("Notice of Determination"). Vendor shall cure,
                    resolve, and correct (“Cure”) all deficiencies identified by the Board third party APPA Auditor,
                    with appropriate and acceptable visuals and verbiage as objective evidence of conformance,
                    within 48 hours (Day 3) (“APPA SLA Resolution Period”) following the original audit completion
                    date (Day 1), unless the deficiency has been formally contested and resolved with the Board and
                    the APPA third party auditing organization within the scope of conditional deficiency exclusions.
                    If the Board determines that such APPA SLA Deficiency cannot be cured within forty eight (48)
                    hours, such additional cure time may be allowed as mutually agreed in writing by both Parties.

                     The deficiency resolution timeline and associated actions are written in the table below. “Day”
                     represents working days; Monday through Friday.
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            Exhibit D SLAs and Liquidated Damages


                        Day          APPA Auditor                                 Vendor
                         1        Perform original APPA Audit. Send            Support APPA auditor, if requested
                                  electronic Notice of Determination to
                                  Vendor.
                          2       Evaluate contested deficiency, if            Cure deficiencies. Contest, if required,
                                  required.                                    qualified deficient condition.
                          3       Evaluate and cure contested                  Cure all qualified deficiencies. Report
                                  deficiencies, if required.                   and demonstrate resolved issue.
                          4       Re-inspect and report results.               Review reinspection report.


                C. APPA Auditor Evaluation Results. If the Vendor does not agree with the APPA Auditor’s
                    determination, the Vendor shall notify the third party APPA auditor, in writing and with clear
                    and qualified justification, within 24 hours (Day 2) following the original APPA audit. The APPA
                    auditor shall address the contested issue within 48 hours (Day 3) following the original APPA
                    audit. If the Parties are unable to resolve the dispute with respect to any such Board Facility
                    within seven (7) days after the Vendor's receipt of the Notice of Determination, then the results
                    of the Inspection Results and the Notice of Determination shall be deemed final, and in addition
                    to any other rights and remedies of the Board hereunder, Vendor shall, with respect to the
                    Custodial areas in each Board Facility, perform the Cleaning Frequency Standards.

                D. APPA SLA Deficiency Resolution. The Board requires Vendor to pay for the APPA Auditor to
                   return to the applicable Board Facility where a non-compliance/SLA Deficiency occurred to
                   confirm whether Vendor has cured, the deficiency (“APPA Correction”).

                     If Vendor cures an APPA SLA Deficiency within the APPA SLA Resolution Period, and the results
                     meet the applicable APPA SLA Standard identified in the notice provided by the third party APPA
                     Auditor consistent with the terms of this Agreement ("APPA Correction''), then no further action
                     is required and the APPA SLA Deficiency for that incident shall be considered resolved, including,
                     without limitations, any assessment of any liquidated damages.

                     If Vendor does not cure the APPA SLA Deficiency for that incident prior to the end of the APPA
                     SLA Resolution Period for any reason, then liquidated damages may be assessed against Vendor
                     ("APPA SLA Liquidated Damages").

                     Notwithstanding the foregoing, Vendor shall have no opportunity for an APPA Correction and
                     APPA SLA Liquidated Damages shall apply immediately upon the occurrence of each APPA SLA
                     Deficiency at a Board Facility where the same APPA SLA Deficiency has previously occurred
                     during the Term and such APPA SLA Deficiency was documented in a prior Notice of
                     Determination and would be subject, at the Board's discretion, to immediate APPA SLA
                     Liquidated Damages in the event of reoccurrence ("Repeat APPA SLA Deficiency"). If an
                     additional, similar APPA SLA Deficiency occurs at a Board Facility following the occurrence of a
                     Repeat APPA Deficiency, then such shall be deemed an "APPA Deficiency Default" and shall
                     constitute a Non-Curable Event of Default hereunder, and the Board shall have the right, in its
                     discretion to: (a) assess additional APPA SLA Liquidated Damages through the Vendor
                     Responsiveness Supplier Corrective Action Request (SCAR) process; or (b) declare Vendor in
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                     default in accordance with the terms and conditions of Section 17 of the Agreement and subject
                     to the remedies available to the Board therein.

                     For purposes of clarity, each APPA SLA Deficiency shall be considered a separate and distinct
                     incident hereunder and the provisions herein applicable thereto including, APPA Correction (not
                     applicable upon Repeat APPA Deficiency), APPA SLA Resolution Period (not applicable upon
                     Repeat APPA Deficiency), and APPA SLA Liquidated Damages shall apply separately to each APPA
                     SLA Deficiency.

                E. APPA SLA Target and Liquidated Damages.

                      APPA SLA targets are based on the APPA Level 2 audit results. The targets progressively
                      increase each term of the Agreement.

                      Fiscal Year One Target; assessment period is January 1, 2022 – June 30, 2022; Target is that
                      90% of schools audited meet APPA Level 2 standards based on re-audit results of cured APPA
                      SLA deficiencies.

                      Fiscal Year Two Target; assessment period is July 1, 2022 – June 30, 2023; Target is 95% of
                      schools audited meet APPA Level 2 standards based on re-audit results of cured APPA SLA
                      deficiencies.

                      Fiscal Year Three Target; assessment period is July 1, 2023 - June 30,2024; Target is 90% of
                      schools audited meet APPA Level 2 standards based on initial independent APPA audit results.


                      Vendor will produce a “Work Plan” by November 1, 2021 to reach the target of ninety percent
                      (90%) of all Facilities meet APPA Level 2 Cleaning Standards based on a sampling of schools.

                      For each Regular Assessment Period which Vendor fails after the forty-eight (48) hour cure
                      period to cure the APPA SLA deficiencies and meet the APPA SLA Targets, as applicable, the
                      Board in is sole discretion may require Vendor to pay in APPA SLA Liquidated Damages up to
                      Five Hundred Thousand Dollars ($500,000.00) in any annual period. For Fiscal Year One
                      assessment period, January 1, 2022 through June 30, 2022, APPA SLA Liquidated Damage
                      maximum value will be Two Hundred Fifty Thousand Dollars ($250,000).
            6. Satisfaction Survey SLA

                     A. District Annual Satisfaction Survey. Board shall each year of the Term or any renewal
                     thereof survey users of the Custodial Services, including school principals and other key
                     stakeholders at each Board Facility, to ascertain their level of satisfaction with Vendor's
                     management and delivery of the Custodial Services ("District Satisfaction Survey''). If the results
                     of any District Satisfaction Survey (or any other similar survey conducted by the Board) show any
                     material or recurring dissatisfaction, Vendor shall, within thirty (30) days of the completion of
                     the applicable customer satisfaction survey:

                     (a) conduct an analysis to determine the root cause of such dissatisfaction;

                     (b) develop an action plan to address and improve the level of satisfaction;
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                     (c) present such plan to the Board for its review, comment and approval; and

                     (d) take action in accordance with the approved plan to address the dissatisfaction indicated in
                     the District Satisfaction Survey.

                     Vendor's action plan developed hereunder shall set forth the specific measures to be taken by
                     Vendor and the dates by which each such measure will be completed. Following implementation
                     of the action plan, Vendor shall conduct a follow-up survey to confirm that the cause of any
                     dissatisfaction has been addressed and that the level of satisfaction has improved. Any results of
                     the District Satisfaction Survey that indicate non-compliance with the applicable SLA Standard
                     shall be addressed. Nothing contained in this paragraph shall limit any of the Board's other
                     rights hereunder.

                B. Facilities Department Annual Satisfaction Survey. Board’s Facilities Department shall each year
                    of the Term or any renewal thereof survey users of the Services, including school principals and
                    other key stakeholders at each Board Facility, to ascertain their level of satisfaction with
                    Vendor's management and delivery of the Services ("Facilities Department Satisfaction Survey'').
                    If the results of any Facilities Department Satisfaction Survey (or any other similar survey
                    conducted by the Board) show any material or recurring dissatisfaction, Vendor shall, within
                    thirty (30) days of the completion of the applicable customer satisfaction survey:

                     (a) conduct an analysis to determine the root cause of such dissatisfaction;

                     (b) develop an action plan to address and improve the level of satisfaction;

                     (c) present such plan to the Board for its review, comment and approval; and

                     (d) take action in accordance with the approved plan address the dissatisfaction indicated in the
                     Facilities Department Satisfaction Survey.

                     Vendor's action plan developed hereunder shall set forth the specific measures to be taken by
                     Vendor and the dates by which each such measure will be completed. Following implementation
                     of the action plan, Vendor shall conduct a follow-up survey to confirm that the cause of any
                     dissatisfaction has been addressed and that the level of satisfaction has improved. Any results of
                     the Facilities Department Satisfaction Survey that indicate non-compliance with the applicable
                     SLA Standard shall be addressed.

                C. Annual Satisfaction Surveys SLA Target and Liquidated Damages.

                     Satisfaction Survey results target is based on a percentage of completed surveys that result in a
                     survey rating of Satisfied or better. The results target a percentage of surveys resulting in a
                     rating of satisfied or better and will escalate through the term of the Agreement.

                     i. District Satisfaction Survey Target Rating
                         Fiscal Year One Target; assessment period is January 1, 2022 – June 30, 2022; Target
                         percentage of completed surveys resulting in a rating of satisfied or better is 45%
                         Fiscal Year Two Target; assessment period is July 1, 2022 – June 30, 2023; Target
                         percentage of completed surveys resulting in a rating of satisfied or better is 55%
                         Fiscal Year Three Target; assessment period is July 1, 2023 – June 30, 2024; Target
                         percentage of completed surveys resulting in a rating of satisfied or better is 65%
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                     ii. Facilities Department Customer Satisfaction Survey Target Rating
                            Fiscal Year One Target; assessment period is January 1, 2022 – June 30, 2022; Target
                            percentage of completed surveys resulting in a rating of satisfied or better is 70%
                            Fiscal Year Two Target; assessment period is July 1, 2022 – June 30, 2023; Target
                            percentage of completed surveys resulting in a rating of satisfied or better is 75%
                            Fiscal Year Three Target; assessment period is July 1, 2023 – June 30, 2024; Target
                            percentage of completed surveys resulting in a rating of satisfied or better is 80%

                     iii. Satisfaction Survey Liquidated Damages
                            To the extent Vendor fails to meet any survey Target Rating for the District Satisfaction
                            Survey and for the Facilities Department Satisfaction Survey, Vendor shall pay the Board in
                            Satisfaction Survey SLA Liquidated Damages One Hundred Thousand Dollars ($100,000) per
                            survey, not to exceed Two Hundred Thousand Dollars ($200,000) in any annual period.
                            Fiscal Year One, January 1, 2022 through June 30, 2022, Satisfaction Survey SLA Liquidated
                            Damage annual maximum value will be One Hundred Thousand Dollars ($100,000).
             7. Vendor Responsiveness

                 A. Vendor Responsiveness Work Management. Vendor Responsiveness Standard (“Vendor
                     Responsiveness Standard”). There are four (4) categories of cleaning service activities,
                     Vital/emergency, urgent, routine and scheduled that the Vendor shall be available on-site at
                     each Board Facility to perform:

            Response                                                    Priority       Priority        Priority
                                   Definitions        Priority One                                                 Priority Five
             Priority                                                    Two            Three           Four

                                                      Emergency         Urgent         Routine       Scheduled       Deferred
                                                                                     Repairs to
                                                                                                                   Non-emergent
                                                                                     maintain        Repairs and
                                                     Imminent life                                                 service
                                How priorities are                     System or     normal          service
           Classification                            and                                                           request that
                                to be categorized                      school        operating       requests
                                                     environmental                                                 require
                                                                       functions     conditions.     that may be
                                                     threat or                                                     significant
                                                                       are           No immediate    disruptive
                                                     significant                                                   capital related
                                                                       impaired      threat to       and can be
                                                     asset damage                                                  services and
                                                                                     people or       scheduled
                                                                                                                   or funding.
                                                                                     assets
                                                     Life safety and
                                                                       Significant
                                                     environmental
                                                                       occupant
                                                     threat
                                                                       discomfort                                  Capital related
                                                     Elevator
                                                                       Facility or   Equipment                     upgrade that
                                                     dysfunction                                     May need to
                                                                       system is     repair                        does not
                                                     Significant                                     be
                               How the issue                           impaired      Architectural                 impact the
                                                     asset damage                                    completed
                               presented is                            Disruption    repairs                       safety of the
              Impact                                 threat                                          during
                               affecting the                           of school     Can be                        occupants or
                                                     School or                                       building
                               school.                                 activities    performed                     pose an
                                                     building                                        closure or
                                                                       Time-         during normal                 immediate
                                                     closure                                         after hours
                                                                       critical      school hours                  threat to major
                                                     Spills
                                                                       Urgent                                      critical assets.
                                                     Threat to
                                                                       equipment
                                                     Student health
                                                                       repair
                                                     and safety
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                                                                      15
                             Acknowledgment                           minutes
                                                      15 minutes
                             of the incident or                       during
                                                        during
                             issue via creating a                     coverage
                                                       coverage
                             work order or                            hours and
                                                       hours and
         Acknowledgment      acknowledging a                          30            4 Hours        4 Hours      24 hours
                                                      30 minutes
                             work order in                            minutes
                                                      during non-
                             CMMS software                            during
                                                       coverage
                             within the amount                        non-
                                                        hours.
                             of time specified.                       coverage
                                                                      hours.
                             Respond to the            15 minutes
                             incident and initiate       during
                             taking necessary           coverage
                                                                                                     As
            Response         steps to document         hours and       4 Hours      24 Hours                  As scheduled
                                                                                                  scheduled
                             and report the          2 hours during
                             incident via live       non-coverage
                             phone contact.              hours.
                             Communication to          15 minutes
                             appropriate                 during
                             personnel via live         coverage
                                                                      Within 24                    Weekly
            Escalation       phone contact             hours and                  Weekly report               Weekly report
                                                                       Hours                       report
                             outlined with CPS       2 hours during
                             emergency               non-coverage
                             response plan.              hours
                             All tasks required
                             to address the
                             issue have been
                             completed and the
                                                                      24 Hours
                             overall issue           <8 Hours or as
                                                                        or as                        As
            Completion       presented has            agreed with                    5 Days                   As scheduled
                                                                       agreed                     scheduled
                             been resolved               CPS
                                                                      with CPS
                             within the CMMS
                             system. All
                             involved parties
                             have been notified.


                 B. Vendor Responsiveness Work Management Compliance. Vendor shall manage service requests
                    and complaints as outlined in the Work Management table above. Service requests are to be
                    tracked in TMA and managed by Vendor. For a service request to meet SLA requirements, the
                    required data fields in TMA must be filled and accurate and the required response times must
                    have been met. Vendor shall ensure that service requests are being managed in TMA, required
                    fields are completed prior to closing, response times are met, and proper and timely
                    communication occurs. Compliance with Work Management SLAs will be assessed based on
                    data and reports from TMA.

                C. Vendor Responsiveness Work Management SLA Liquidated Damages. Vendor Work
                    Management compliance shall be evaluated and reported by Vendor monthly and Work
                    Management SLA Liquidated Damages scored quarterly with the first quarterly assessment
                    period beginning January 1, 2022. Vendor shall demonstrate 90% Work Management
                    Compliance.
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                              Work Management                  Work Management                 Quarterly Work
                              Compliance Status                Compliance Results              Management SLA
                                                                                               Liquidated
                                                                                               Damages
                              Performing                       90% or greater                  None
                              Underperforming                  85-89%                          $15,000
                              Non-Compliant                    Less than 85%                   $30,000


                     Work Management SLA Liquidated Damages are not to exceed One Hundred, Twenty Thousand
                     Dollars ($120,000) annually. Fiscal Year One, January 1, 2022 – June 30, 2022, Work
                     Management SLA Liquidated Damage annual maximum value will be Sixty Thousand Dollars
                     ($60,000).
                D. Vendor Responsiveness Supplier Corrective Action Request (SCAR). An industry recognized,
                   globally accepted and Quality Management System (QMS-ISO-9000) compliant tool used by
                   OEMs/Contract Owners as one of the most effective Vendor/Supplier performance monitoring
                   and service delivery surveillance mechanism. It is used to traceably identify, communicate,
                   escalate and report product(s)/service(s) deficiencies/non-con-conformances between
                   OEMs/Contract owners and product/service providers. The principal objective of this process is
                   to identify, capsulate vital process deficiency and to enhance sense of urgency in successfully
                   resolving/remedying product/process service inadequacy, inaccuracy, service delivery
                   irregularity and inefficiency. Furthermore, when well collaborated, this process ensures higher
                   level of quality, transparency and honesty in service delivery and in strengthening partnerships.

                     i. Attributes of Supplier Corrective Action Request:

                        A simple and effective mechanism to identify service deficiency (non-conformance to
                        requirements)

                        A traceably documented non-conformance finding system that clearly include but limited to
                        the following:

                             Previously identified service deficiency that were formally (verbally and/or in writing)
                             reported to vendor management/associates either left it open or had not been
                             responded to within the allowable period.

                             Pattern of continued recurrence of identical/similar non-conformances that had
                             previously been notified to vendor management/associates

                             Identified non-conformance of service requirement(s) involving Quality /Operational
                             Systemic breakdown (partial and or full) of equipment, processes that critically
                             jeopardize life, environmental health and safety, and the district goals of providing CPS
                             students, parents, teachers and staff a conducive learning environment.

                             Incompletely and/or inadequately documented response(s) that fails to substantially
                             correct the originally reported issue(s)
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                             Traceably documented negligence in responding to reported service deficiency, non-
                             conformance and to previously issued Supplier Corrective Action Requests (SCAR) within
                             the allowable time frame.

                     ii. SCAR Response Times and Durations:

                         Immediate solution(s), remedial and containment details - Vendor shall provide the Board,
                         in writing, an action plan to correct deficiencies to include specific actions to be taken,
                         Vendor personnel responsible to resolve the issue, and associated timeline with 3 Business
                         days (72 hours) of receipt of the SCAR.

                         Full corrective action implementation details – Vendor shall provide to the Board, in writing,
                         a report with full root cause analysis (in 8D format by using 5s, Decision Tree analysis and
                         etc.) within 7 business days of receipt of the SCAR, unless Vendor received a formal
                         authorization for extension from the Board.

                     iii. Attributes of Willful Negligence:

                         Repeated failure to respond to service deficiency requests/reports within the time periods
                         allowed by the appropriate contractual agreement.

                         Repeated failure to maintain and sustain required level of documented communication with
                         all appropriate CPS personnel on all emergency incidence reporting, escalation and
                         resolution.

                         Failure to maintain and sustain timely responses to CPS issued SCARs within the time
                         allowed.

                         Documented evidence of misrepresenting data, documentation and records in
                         support/against of proving service delivery or compliance identified by CPS facilities internal
                         audits.

                         Failures to provide and produce evidentiary data, documents, records in support/against of
                         required service deliverables within the time allowed.

                     iv. Vendor Responsiveness Supplier Corrective Action Request Liquidated Damages.
                          Liquidated damages will be assessed against Vendor based on the Severity Level of the
                          SCAR.

                      SCAR Type             Description                                        Liquidated Damages
                                                                                               Range Per Incident
                                         Non-responsive to quality audit required actions,     $2,000 – $20,000
                      Performance-       procedure compliance, communication
                      based              deficiencies, persistent and unresolved
                                         performance issues.
                         Impactful –     Life safety, environmental compliance, regulatory     $20,000 – $100,000
                      Life safety,       compliance, property damage, school closure,
                                         theft, security, CPS policy violation.
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                      damage,
                      compliance


                     Supplier Corrective Action Request Annual liquidated damages are not to exceed Four Hundred,
                     Eighty Thousand ($480,000). Fiscal Year One assessment period, January 1, 2022 through June
                     30, 2022, Supplier Corrective Action Request Liquidated Damage annual maximum value will be
                     Three Hundred Ninety Thousand Dollars ($390,000).
            8. Liquidated Damages.

                Because of the difficulty ascertaining and quantifying the actual damages which the Board may
                sustain, should the Vendor fail to perform Custodial Services as required under the Agreement, the
                Board shall have the right to assess the liquidated damages set forth in herein for failure by the
                Vendor to meet the performance guarantees described herein.

                Vendor shall pay the liquidated damages described herein as liquidated damages and not by way of
                penalty, to the Board and shall authorize the Board to deduct the amount of such liquidated
                damages from money due the Vendor for the Maximum Compensation Amount. If the monies due
                the Vendor are insufficient to pay the liquidated damages, the Vendor shall pay the Board such
                amount(s) within thirty (30) calendar days after receipt of a written demand by the Board. In its sole
                discretion, the Board shall have the right to elect not to assess liquidated damages. Failure by the
                Board to assess liquidated damages in any particular instance or occasion shall not preclude or
                constitute a waiver of the Board’s right to assess such damages at a later time, or on a subsequent
                occasion. The Board’s right to assess liquidated damages shall not preclude the assertion of, or be
                exclusive of, any other available remedy including the right to terminate this Agreement.

                Liquidated damages will not be assessed if poor performance results from “Force majeure.” The
                terms “Force Majeure” as used herein means acts of god; labor strikes; acts of public enemy,
                blockades, wars, insurrections or riots; landslides, earthquakes, fires, storms, floods, washouts,
                governmental restraints, either federal or state, civil or military; civil disturbances; and explosions.

                Liquidated damages also will not be assessed if Vendor’s poor performance results from (i) the
                failure of the Board to follow Vendor’s recommendations regarding hiring, discipline and discharge
                of Board Custodians; and/or (ii) vandalism or other causes outside Vendor’s control.

            9. SLA Performance Scorecard and Service Reward Incentive
                The Board will identify SLA’s that are eligible for a service reward incentive. The SLAs will be
                weighted with associated performance targets. Required Reports, Metrics, KPIs and SLAs will be
                reviewed monthly, quarterly, semi-annually and annually, as applicable, to ensure that they provide
                the necessary information to manage performance. Based on the magnitude and the severity of the
                overall impact on continuous process improvement goals, performance SLAs, KPIs, Metrics, or
                Reports may be revised quarterly, semi-annually and/or annually, to enhance, relax, or eliminate at
                no cost to the Board. The Board may solicit inputs from Vendor to set appropriate and measurable
                service levels to drive continuous performance improvement and the Board will make final decisions
                on all aspects of SLA’s, KPIs, Metrics, or Reports.
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                A. Service Reward Incentive. Service Reward SLA’s, weighting, and performance targets are
                   defined in the file Exhibit D SLA and KPI Matrix . Vendor compliance with the Service Reward
                   Incentive SLAs shall be based on performance and scored quarterly beginning on July 1st of each
                   year of the Agreement Term with the first term beginning on January 1, 2022. Performance
                   results will be captured in the SLA Performance Scorecard. The maximum annual Service
                   Reward Incentive shall not exceed Seven Hundred Thousand Dollars ($700,000). For the first
                   annual term, the Service Reward Incentive SLAs will be based on performance beginning January
                   1, 2022 – June 30, 2022 and the Service Reward Incentive value shall be up to Fifty Percent
                   (50%) of the annual Service Reward Incentive value totaling Three Hundred and Fifty Thousand
                   Dollars ($350,000) may be earned by the Vendor. The Service Reward Incentive calculation and
                   financial adjustment for the annual term will be reconciled with the Vendor within the first 90
                   days of the following annual term.
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                                                                                 Service Level Agreement (SLA) Matrix


        Performance                  Category                                                                          Description
        Metrics/Deliverables

        APPA Level-2 Cleaning        Quality & Reliability   APPA standards - At all times during the Term of this agreement, the Vendor shall manage custodial services that are
        Standard                                             consistent with the Association of Physical Plant Administrators (“APPA”) “APPA Level 2” Cleaning Condition Standards as
                                                             defined in Exhibit A and meeting the Board’s standards for clean and safe working/learning environments. Measurement
                                                             completed by qualified auditor “APPA Auditor”and provided in an independent report.




        District Satisfaction Survey District Satisfaction   The CPS Board shall each year of the Term or any renewal thereof survey users of the Services, including school principals
                                     Survey                  and other key stakeholders at each Board Facility, to ascertain their level of satisfaction with Vendor's management and
                                                             delivery of the Services ("District Satisfaction Survey''). If the results of any District Satisfaction Survey (or any other similar
                                                             survey conducted by the Board) as it relates to the vendor scope of work, show any material or recurring dissatisfaction,
                                                             Vendor shall, within thirty (30) days of the completion of the applicable customer satisfaction survey: (a) conduct an
                                                             analysis to determine the root cause of such dissatisfaction; (b) develop an action plan to address and improve the level of
                                                             satisfaction; (c) present such plan to the Board and/or the Board Designated Representative for its review, comment and
                                                             approval; and (d) take action in accordance with the approved plan address the dissatisfaction indicated in the District
                                                             Satisfaction Survey. Vendor's corrective/preventive action plan developed and implemented hereunder shall set forth the
                                                             specific measures to be taken by Vendor and the dates by which each such measure will be completed and confirmation by
                                                             a school representative and facilities department that the action item has be resolved. All documents, supporting data,
                                                             records and visuals in support of the measures taken must be submitted for approval to the Board and/or Board
                                                             Designated Representative as evidence of conformance prior to close.


        Facilities Department        Facilities Department   The CPS Board shall each year of the Term or any renewal thereof survey users of the Services, including school principals
        Satisfaction Survey          Customer Satisfaction   and other key stakeholders at each Board Facility, to ascertain their level of satisfaction with Vendor's management and
                                                             delivery of the Services ("Facilities Department Satisfaction Survey''). If the results of any Facilities Department Satisfaction
                                                             Survey (or any other similar survey conducted by the Board) as it relates to the vendor scope of work, show any material or
                                                             recurring dissatisfaction, Vendor shall, within thirty (30) days of the completion of the applicable customer satisfaction
                                                             survey: (a) conduct an analysis to determine the root cause of such dissatisfaction; (b) develop an action plan to address
                                                             and improve the level of satisfaction; (c) present such plan to the Board and/or the Board Designated Representative for its
                                                             review, comment and approval; and (d) take action in accordance with the approved plan address the dissatisfaction
                                                             indicated in the Facilities Department Satisfaction Survey. Vendor's corrective/preventive action plan developed and
                                                             implemented hereunder shall set forth the specific measures to be taken by Vendor and the dates by which each such
                                                             measure will be completed and confirmation by a school representative and facilities department that the action item has
                                                             be resolved. All documents, supporting data, records and visuals in support of the measures taken must be submitted for
                                                             approval to the Board and/or Board Designated Representative as evidence of conformance prior to close.
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                                                                                   Service Level Agreement (SLA) Matrix


        Performance                         Purpose & Measurement                  Frequency Lead/lag      Source      Start      Start SLA   FY 2022 Target FY 2023 Target FY 2024 Target
        Metrics/Deliverables                                                                                         Reporting    Incentive   (Jan22-Jun22)   (Jul22-Jun23)  (Jul23-Jun24)
                                                                                                                                 Assessment
        APPA Level-2 Cleaning       APPA level 2 Cleanliness - number of schools   Semi Annual   Lag    Audit         FY 2022      FY 2022     90% of facilities    95% of facilities    90% of facilities
        Standard                    audited that meet APPA level 2 standards        or Annual                                                   audited meet         audited meet         audited meet
                                    2022 Target 90% based on cured re-audit                                                                      APPA level 2         APPA level 2         APPA level 2
                                    2023 Target 95% based on cured re-audit                                                                   Cleanliness based    Cleanliness based    Cleanliness based
                                    2024 Target 90% based on initial APPA audit                                                               on cured re-audit    on cured re-audit     on initial APPA
                                                                                                                                                                                              audit


        District Satisfaction Survey Evaluate the service satisfaction. Develop     Annually     Lag    Surveys       FY 2022      FY 2022      45% Satisfied        55% Satisfied        65% Satisfied
                                     school action plan for addressing
                                     dissatisfied customers. Report on survey
                                     results and actions taken.




        Facilities Department       Evaluate the service satisfaction. Develop      Annually     Lag    Surveys       FY 2022      FY 2022      70% Satisfied        75% Satisfied        80% Satisfied
        Satisfaction Survey         school action plan for addressing
                                    dissatisfied customers. Report on survey
                                    results and actions taken.
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                                                             Service Level Agreement (SLA) Matrix


        Performance
        Metrics/Deliverables

        APPA Level-2 Cleaning
        Standard




        District Satisfaction Survey




        Facilities Department
        Satisfaction Survey
                                                                                                                               Exhibit D-1
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                                                                                                                                KPI Matrix

                                                                                                                                                                                                                                                  Performing
                 KPIs, Metrics, Report                                                                                                                                                                       Overall Quarterly Vendor Rating    (sample ratings
                                                                                                                                                                                                                                                     below)
                                                                                                                                                                                                                                               Vendor Rating per
                         Category        Metric                                            Description                                                                                  Frequency   Type     KPI Owner          Target
                                                                                                                                                                                                                                                    Quarter
            Business Proficiency         Business Proficiency                             Proficiency in meeting deadlines and proactively completing tasks as scheduled.               Quarterly   Metric      CPS             100%               Performing
                                                                                          Examples include summer and fall cleaning programs.
            Communication                Point of Contact Details                         Updated and Current Point of Contact Details. This shall be updated weekly by Vendor or        Weekly     Report    Vendor       CPS has a current   Underperforming
                                                                                          immediately following a change in personnel.                                                                                        list always.
            Compliance                   Regulatory Compliance: Chicago Department of     All inspections must result in full 100% compliance with all Public Health inspections.       Monthly      KPI      Vendor       100% compliance         Excelling
                                         Public Health (CDPH)                             Should a non-compliant situation occur, where the Vendor is responsible, the Vendor
                                                                                          shall resolve as per the Response Time Matrix requirements and regulatory agency
                                                                                          requirements.
            Customer Service             Customer Requests and Complaints - Recording and All complaints and service requests responded to as outlined in the Response Time             Monthly      KPI      Vendor       As per response        Performing
                                         Response Times                                   Matrix requirements.                                                                                                               time matrix
            Diversity                    % of MBE Business - Cumulative (YTD)             Percent of businesses contracted out by the supplier who are classified as minority-          Quarterly    KPI      Vendor            40%               Performing
                                                                                          owned businesses
            Diversity                    % of WBE Business - Cumulative (YTD)             Percent of businesses contracted out by the supplier who are classified as women-owned        Quarterly    KPI      Vendor             10%              Performing
                                                                                          businesses
            Environmental Programs       Environmental Programs                           Vendor has operated in accordance with the established Green Cleaning Program and             Quarterly   Report    Vendor         Satisfactory         Performing
                                                                                          keeps current with the latest industry environmental initiatives. Vendor should make
                                                                                          industry best practice recommendations to the Board for approval and implement
                                                                                          approved initiatives as per agreed schedule.
            Governance                   Planned Periodic Reviews                         Plan and attend as required monthly, quarterly and annual reviews with CPS or CPS             Monthly     Report    Vendor         100% review          Performing
                                                                                          Designated Representative                                                                                                             meetings
                                                                                                                                                                                                                            scheduled and
                                                                                                                                                                                                                                attended
            Inspection                   Inspections                                       KPI includes completed Vendor custodial weekly inspections as agreed.                        Quarterly    KPI      Vendor        90% of weekly         Performing
                                                                                                                                                                                                                              inspections
                                                                                                                                                                                                                               completed
            Inspection                   Inspections - Cleaning Tasks                      All cleaning tasks are completed as per requirements outlined in the Exhibit A based on      Monthly     Metric    Vendor       100% of required       Performing
                                                                                           Vendor weekly inspection reports and CPS board inspections, discrepancies are resolved,                                         tasks completed
                                                                                           report and metrics are generated, and back-up provided. Vendor shall track, monitor                                            and descrepancies
                                                                                           and trend vendor proactive quality management and discrepancy resolution process.                                                    resolved.

            Inspection                   Inspections - Consumables                         All consumables maintained fully stocked based on Vendor weekly inspection reports and       Monthly     Metric    Vendor       100% of required       Performing
                                                                                           CPS board inspections, discrepancies are resolved, report and metrics are generated, and                                        tasks completed
                                                                                           back-up provided. Vendor shall track, monitor and trend vendor proactive quality                                               and descrepancies
                                                                                           management and discrepancy resolution process.                                                                                      resolved.

            Invoicing                    Accuracy                                          All invoices completed accurately and do not require adjustment or corrections.              Quarterly   Metric    Vendor        100% accurate         Performing
                                                                                                                                                                                                                               invoices
            Invoicing                    Timely                                            All Vendor Company invoices shall be submitted within 10 days of invoice date and            Quarterly   Metric    Vendor       100% submitted         Performing
                                                                                           Vendor reimbursable invoices shall be submitted within 30 days of reciept.                                                          on time
            Performance                  Service Response in TMA                           Service requests and complaints are addressed and completed as agreed. Service               Quarterly    KPI      Vendor          90% year 1          Performing
                                                                                           requests are tracked in TMA and managed by Vendor. For a service request to be
                                                                                           successful the required data fields in TMA must be filled and accurate and the required
                                                                                           response times have been met. Ensure that service requests are being managed in TMA,
                                                                                           required fields are completed prior to closing, response times are being met.

            Performance                  CMMS Utilization                                  Custodial Equipment/Assets assigned to vendor in TMA are accurate and complete.              Quarterly    KPI      Vendor          85% year 1          Performing
                                                                                           Ensure that all assets are in TMA and all required data for the asset is current.
                                                                                           Representative sample audit.
            Quality                      Respond to CPS quality audits                     Address action items identified in CPS facilities department audits. Vendor shall load the   Monthly      KPI      Vendor         90% of action        Performing
                                                                                           action in to TMA and resolution tracked by the Vendor.                                                                           items loaded in
                                                                                                                                                                                                                                TMA and
                                                                                                                                                                                                                               completed
                                                                                                                                                                                                                                correctly.
            Reporting                    Timely and accurate                               Monthly and quarterly reports submitted by the 10th of the month following the               Monthly      KPI      Vendor              100%            Performing
                                                                                           reporting period
            Safety                       Personnel Safety and Work Hazard Assessments      Records indicating regular site-specific hazard assessments are conducted. Must provide      Quarterly    KPI      Vendor            100%              Performing
                                                                                           documentation that the CPS-approved assessment was performed at each school and all
                                                                                           hazards have been mitigated.
                                                                                                                               Exhibit D-1
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                                                                                                                                KPI Matrix

            Safety                           Vendor Safety Incidents                      Total number of Vendor safety incidents reported                                               Monthly      KPI     Vendor   100% reported to      Performing
                                                                                                                                                                                                                               CPS
            Safety                           Number of Safety Incidents                   Number of lost time incidents                                                                  Monthly      KPI     Vendor       0 lost time       Performing
                                                                                                                                                                                                                            incident
            Safety                           Days Since Last Safety Incident              Number of days since last reported lost time safety incident                                   Monthly     Report   Vendor         Report          Performing
            Safety                           Workers Comp Claims                          The total number of work comp claims reported (all custodians)                                 Monthly      KPI     Vendor        0 claims         Performing
            Safety                           Toolbox Sessions                             Records indicating dates, topics & attendance logs                                             Monthly     Report   Vendor         Report          Performing
            Safety                           Safety Training                              Total number of safety training hours completed per employee, attendance logs and sign-        Monthly     Report   Vendor     Report - safety     Performing
                                                                                          offs                                                                                                                         training is current

            Safety                           OSHA Training                                Records indicating dates, topics, attendance logs and sign-offs                                Monthly     Report   Vendor     Report - safety     Performing
                                                                                                                                                                                                                       training is current

            Security                         Clearance Status Update                      All security and background checks must be completed, reviewed and updated as                  Monthly      KPI     Vendor         100%            Performing
                                                                                          required. Records of Vendor employee background checks demonstrating that are
                                                                                          completed, compliant and current must be submitted to the Board.
            Security                         Security                                     All entrances, exits and windows must be properly secured at the end of the day. Vendor        Monthly      KPI     Vendor   100% daily closing    Performing
                                                                                          to complete an end-of day check to confirm that the building is securely closed. End of                                          checklist
                                                                                          Day Checklist shall include a specific task to confirm the building is secure and if the                                     completed in TMA
                                                                                          Vendor Employee is not the last one to leave, there is a provision for the Vendor
                                                                                          employee to check off that they notified the remaining staff that they were leaving and
                                                                                          have the remaining staff sign the vendor employee checklist confirming that they were
                                                                                          notified.
            Social Responsibility Programs   Responsibility                               Report programs where Vendor participates or sponsors. Demonstrate commitment to               Quarterly   Report   Vendor        Report           Performing
                                                                                          supporting the community where we live and work with supporting documentation.

            Staffing                         Staffing - absentee and backfill             Labor Management Report.                                                                        Weekly      KPI     Vendor     100% - report       Performing
                                                                                          Provide weekly the custodian absenteeism for each day.                                                                         provided and
                                                                                          Absences that were not backfilled per day. Indicate Day or Night.                                                                accurate
                                                                                          Identify custodian that was absent and the custodian that substituted for vacant position.
                                                                                          Include the substitute custodian hours worked and labor rate.
            Staffing                         Time Management (Kronos)                     Track and schedule custodian time (punctuality, tardiness, time off, vacation)                  Weekly     Report   Vendor     100% Kronos         Performing
                                                                                                                                                                                                                       matches LMT and
                                                                                                                                                                                                                        Invoiced Labor
                                                                                                                                                                                                                            Hours.
            Staffing                         Disciplinary action                          Report, as appropriate, the formal disciplinary action taken with custodial staff that         Monthly     Report   Vendor        Report           Performing
                                                                                          impacts service at Board facilities or impose risk to the Board.
            Staffing                         Custodial Staffing Turnover                  Turn over including Voluntary and Involuntary Attrition                                        Monthly     Metric   Vendor     Satisfactory        Performing
            Staffing                         Overtime Management                          Overtime shall be planned, approved, reported, and a summary dashboard kept current,           Weekly      Report   Vendor    100% overtime        Performing
                                                                                          except in case of emergencies. Emergency overtime shall be approved when possible                                               advanced
                                                                                          and always reported.                                                                                                             approval
            Staffing                         Dress & Deportment                           All staff to be properly attired & conduct themselves in a professional manner. Custodial      Monthly     Metric   Vendor     Satisfactory        Performing
                                                                                          Supervisors, Principals, or FMO (Building Engineers and Managers) ensure that all staff
                                                                                          are properly attired and are conducting themselves professionally. Compliance is
                                                                                          measured through Vendor weekly audits, CPS quality audits and reports from the school
                                                                                          stakeholders.
            Staffing                         Employee Recogition, Morale, Team Building   Demonstrate intitiatives for regognizing employee performance, improving employee              Quarterly   Report   Vendor      Satisfactory       Performing
                                                                                          morale and team building activities.
            Training                         Onboarding                                   Records indicating dates, topics, attendance logs and sign offs                                Monthly      KPI     Vendor      100% of new        Performing
                                                                                                                                                                                                                           employees
                                                                                                                                                                                                                          appropriately
                                                                                                                                                                                                                       trained and signed
                                                                                                                                                                                                                               off
            Training                         Continuous Education and Record Keeping      Records are current and indicate dates, topics & attendance logs and sign offs                 Monthly     Report   Vendor     Training occurs     Performing
                                                                                                                                                                                                                        per Vendor Plan
            Value - cost savings             Hard Cost Savings                            Vendor shall identify process improvements, operational efficiencies and/or cost savings       Quarterly    KPI     Vendor     1.0% Year One       Performing
                                                                                          that would result in innovation for the Board and/or a reduction in the Board’s costs                                          2.5% Year Two
                                                                                          related to delivery of custodial services in the given calendar year. Vendor will report CPS                                  2.5% Year Three
                                                                                          approved process improvement, value added proposition, and cost-saving
                                                                                          initiatives/programs that relate to the scope of services in this Agreement and result in
                                                                                          cost savings.
                                                                                                                                         Exhibit D-1
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                                                                                                                                          KPI Matrix

            Value - Innovation, efficiency,    Process Improvement, Value Improvement, and            Value of meaningful initiatives offered by the Vendor and accepted by CPS in a given   Quarterly    KPI     Vendor       At least two    Performing
            process improvement                Cost-Avoidence Initiatives/Programs Offered            year. Vendor to provide creative ideas, industry best practices, and process                                            intiatives per
                                                                                                      improvement solutions.                                                                                                     quarter
            Compliance - Title 7 and Title 9   Report on the status of compliance with Title 7, Title Vendor to keep CPS current with the status of compliance.                              Monthly     Report   Vendor    100% compliant     Performing
                                               9 and other applicable legally required associated                                                                                                                          with requirements
                                               requirements as it relates to the performance of the
                                               Agreement.
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                                                                                                      Exhibit D-1
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                                                                                                   SLA and KPI Matrix
                                                                                                       Scorecard
        Scorecard First Fiscal Year
                                                                               Max Assessment                                                              YTD           YTD
         Period Scored Category                         Metric                Points Criteria                               Q1       Q2   Q3        Q4   Average        Total                   Data/Metric Source
        First Year will be Quality        APPA (2) Cleanliness - number of     60    >95%=60                                              60                60            60    Metric is based on independent APPA cleanliness
              Annual                      schools audited that meet APPA             90-95%=30                                                                                  audits. An initial independent APPA auidt is
                                          level 2 standards                          <90%=0                                                                                     performed on a specific day (Day 1). Vendor has
                                           2022 Target 90% based on cured                                                                                                       two working days following the intial APPA audit to
                                          re-audit results                                                                                                                      cure, correct, and repair defaults (Day 2 and Day
                                           2023 Target 95% based on cured                                                                                                       3). A Re-audit is done on the third working day
                                          re-audit results                                                                                                                      following the intial APPA audit (Day 4) and re-audit
                                           2024 Target 90% based on initial                                                                                                     results reflect the cured condition.
                                          APPA audit results

            Annual          Customer      District Satisfaction Survey         10       >50%=10                                                     10      10           10     Customer Satisfaction Metric from annual District
                           Satisfaction   Year 1 - 45%                                  45-50%=5                                                                                satisfaction survey
                                          Year 2 - 55%                                  <45%=0
                                          Year 3 - 65%
            Annual          Customer      Facilities Department Customer       30                                                                   30      30           30     Customer Satisfaction Metric from annual facilities
                           Satisfaction   Satisfaction                                  >75%=30                                                                                 department customer satisfaction survey
                                          Year 1 - 70%                                  70-75%=15
                                          Year 2 - 75%                                  <70%=0
                                          Year 3 - 80%

                                                         Total                 100                                                                                      100

        Incentive will be assessed annually based on the total annual score.
        The following example demonstrates the scoring and incentive allocation.
        Example: Incentive = $700,000                                                                                       800000
                                                                               Total
                                                                             Incentiv                                       700000            $700,000
        Rating              Rating Score           Incentive Earned              e
        Outstanding              100                      100%               $700,000                                       600000
        Improving                 50                       50%               $350,000
                                                                                                      Incentive Value ($)




        Performing                 0                        0%                 $0.00                                        500000

                                                                                                                            400000
                                                                                                                                                                                                         Rating Score
                                                                                                                                                                  $350,000
                                                                                                                            300000                                                                       Total Incentive

                                                                                                                            200000

                                                                                                                            100000

                                                                                                                                 0            100                 50                     0$0.00
                                                                                                                                          1                   2                      3
                                                                                                                                                         Rating Score
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                                                                                              Exhibit D-1
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                                                                                           SLA and KPI Matrix
                                                                                               Scorecard
        Scorecard Second Fiscal Year
                                                                                     Assessment                         YTD
         Period Scored Category                        Metric             Max Points Criteria     Q1   Q2   Q3   Q4   Average YTD Total               Data/Metric Source
         Semi-annually     Quality      APPA (2) Cleanliness - number of     60      >98%=64           30        30      30      60     Metric is based on independent APPA
          or annually                   schools audited that meet APPA               95-98%=32                                          cleanliness audits. An initial independent APPA
                                        level 2 standards                            <95%=0                                             auidt is performed on a specific day (Day 1).
                                         2022 Target 90% based on cured                                                                 Vendor has two working days following the
                                        re-audit results                                                                                intial APPA audit to cure, correct, and repair
                                         2023 Target 95% based on cured                                                                 defaults (Day 2 and Day 3). A Re-audit is done
                                        re-audit results                                                                                on the third working day following the intial
                                         2024 Target 90% based on initial                                                               APPA audit (Day 4) and re-audit results reflect
                                        APPA audit results                                                                              the cured condition.

            Annual        Customer      District Satisfaction Survey        10     >60%=10                       10     10         10     Customer Satisfaction Metric from annual
                         Satisfaction   Year 1 - 45%                               55-60%=5                                               District satisfaction survey
                                        Year 2 - 55%                               <55%=0
                                        Year 3 - 65%
            Annual        Customer      Facilities Department Customer      30                                   30     30         30     Customer Satisfaction Metric from annual
                         Satisfaction   Satisfaction                               >80%=30                                                facilities department customer satisfaction
                                        Year 1 - 70%                               75-80%=15                                              survey
                                        Year 2 - 75%                               <75%=0
                                        Year 3 - 80%

                                                       Total                100                                                   100
                                                             Exhibit D-1
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                                                      Response Time Matrix
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                                        CHICAGO PUBLIC SCHOOLS ▪ 42 West Madison Street – Garden ▪ Chicago, Illinois 60602


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                   PERFORMANCE EVALUATION GUIDELINES
                                                              FOR

               CHICAGO PUBLIC SCHOOLS PARAPROFESSIONALS AND NON-
                   CERTIFICATED EDUCATIONAL SUPPORT PERSONNEL

                                                      Rev. August 2019
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     I.        BACKGROUND

     During the 2013-14 school year, in collaboration with stakeholders including employees, labor organizations, principals
     and administrators, CPS created a PSRP/ESP evaluation process to support our core belief that every employee
     contributes to CPS students’ success. The evaluation plan launched in school year 2014-15 and will be in its 5th year
     for school year 2018-19. It is designed to do the following:

           ●   value and develop employees through specific, timely, and relevant feedback on ways to sharpen their
               skills and effectiveness;

           ●   transparently establish a process and set of performance expectations that are experienced as predictable,
               objective, and fair by employees;

           ●   set aspirational and inspirational goals for employee performance;

           ●   recognize success by helping us identify, celebrate, and retain our most effective employees in every part of
               CPS; and,

           ● create personal accountability in each employee for their contribution to CPS’s mission of preparing every
             CPS student for success in college, career, and life.

     II.       OVERVIEW

               A.      Evaluation Schedule and Feedback Process

     In the evaluation process, every employee will have the opportunity for at least four (4) yearly performance-related
     interactions with an evaluator throughout the year. Evaluators are principals, department heads or their respective
     designees (which may include Assistant Principals).

     The first interaction is an orientation meeting at the beginning of the school year, or over the summer for 52-week
     employees. At this orientation meeting, the principal, department head or their designees will meet with all
     ESPs/PSRPs as a group to establish work performance standards and expectations (upload sign-in sheets/handbook
     receipt).

     The second and third interactions occur between November 1st and February 15th in one and/or two ways:

           ●   First, all ESP/PSRP employees will be given an opportunity to submit a self-assessment to the evaluator
               between November 1st and November 30th.

           ●   Second, the evaluator (principal, department head or their designees) will give an interim evaluation to
               employees whose performance is less than proficient at that point in the school year. In that instance, the
               evaluator will provide written feedback to the employee and give him or her an opportunity to meet with their
               evaluator. This is a private meeting between the evaluator and the employee. The purpose of this meeting is
               to discuss demonstrated strengths and suggestions for improvement. If the evaluator does not provide an
               employee with a mid-year evaluation, the evaluator may not rate the employee unsatisfactory at the end of the
               year, unless the employee did not start working at the school or unit until after the first semester ended.
                                                                  1
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     The fourth and final interaction of the year is at the end of the school year (May-June). This meeting is between the
     evaluator and the employee. The purpose of this meeting is to provide the employee a draft annual, summative
     evaluation, give feedback to, and hear feedback from the employee. The draft annual summative evaluation may be
     modified after the meeting and, regardless, should be made final after the meeting with or without modifications.

     Principals will not conduct evaluations for all employees in their building but they will have the opportunity to provide
     input into the evaluation of every employee assigned to their building. With principal input,

         ●   Aramark and Sodexo will evaluate all lunchroom staff and custodians
         ●   Facilities Managers will evaluate all engineers
         ●   The Transportation Department will evaluate all bus aides
         ●   Safety and Security will evaluate security officers placed in schools by Central Office (principals will evaluate
             locally hired security officers).

             B.      Evaluation Rubric

     To make the evaluation system more useful, there is rating scale and an evaluation rubric (Appendix A) that describes
     performance in each of the 4 performance levels. This rubric should guide employees in better understanding
     performance expectations and guide evaluators in consistently rating performance levels.

     The evaluation system has three performance categories on which employees will be evaluated: Effectiveness,
     Dependability, and Professionalism. The evaluation system has four performance levels. These performance levels are
     (1) Unsatisfactory, (2) Developing, (3) Proficient, and (4) Excellent. Employees will receive a rating on a scale of 1-4 for
     each of the performance categories. The evaluator will include evidence and/or examples for the performance rating,
     e.g. Kronos for attendance.

             C.      Performance Factors

     Effectiveness – This addresses the employee’s skill level required for the work and whether that skill is used in
     completing assigned tasks. This also includes the quality of the work the employee performs, the extent to which it
     meets expectations, and the extent to which assigned tasks are completed. This factor will make up 50% of the
     employee’s overall rating.

     Dependability – This addresses the extent to which an employee completes tasks and how much supervision they
     require to do so. This includes being at an assigned work location, at the assigned time and ready to perform tasks.
     This includes punctuality and attendance, but not FMLA, Short Term Disability (STD), workers compensation, approved
     benefit days, if applicable, and/or suspension days. This factor will make up 30% of the employee’s overall rating.

     Professionalism – This addresses an employee’s demeanor, disposition, and behavior towards colleagues,
     students, and community members. This includes an employee’s demonstration of self- control and acceptance and
     implementation of suggestions for improvement. This also includes the manner in which an employee communicates
     with colleagues, students, and community members. This factor will make up 20% of the employee’s overall rating.

     Each employee will be rated on all three categories. Each employee’s performance will be rated based on the critical
     attributes associated with their job title. The critical attributes are the duties/tasks associated with their job. For
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     example, a school clerk’s critical attributes may include performing payroll functions, while a security officer’s critical
     attributes may include the ability to diffuse conflicts. The critical attributes for each job title are contained in
     Appendix C to the Handbook/Guidelines.

                D.     Simplified, Aligned Performance Levels and Numeric Rating System

     Excellent (4 points) – Performance that is far superior to the satisfactory standards and expectations established for
     the job. This rating should be used to recognize exceptional performance.

     Proficient (3 points) – Performance that is acceptable to meet the standards established for the job. Most capable and
     consistent employees will fall into this category.

     Developing (2 points) – Performance that is marginal, satisfying only the minimum requirements of the job and
     needing substantial improvement.

     Unsatisfactory (1 point) – Performance that is consistently well below requirements and expectations.
     Each of the three evaluation factors will be rated according to one of the four performance levels. These three ratings
     will be combined, using the designated weighting, to produce a combined, overall score between 1 and 4.

     III.       COMPLETING THE EVALUATION AND THE EVALUATION PROCESS

     Performance evaluations should be useful tools for both employees and managers to understand what is expected
     from employees, to celebrate employee success and efforts, to identify areas for growth and improvement, and to
     fairly, but directly and clearly, inform employees of their performance level and any potential adverse consequences
     stemming from a failure to improve.

     Evaluations must be based on observations of an employee’s performance that are regular and ongoing. There are no
     formal or informal “observations.” Based on the patterns observed and evidence gathered, the evaluator should
     use the rubric (Appendix A) and the appropriate Critical Attributes (Appendix C) or job description to assign a
     performance level (1, 2, 3, or 4) to each of the three performance factors. Evaluators should assign the numerical
     rating that best corresponds to their performance level. The numerical rating must be a whole number of 1
     (unsatisfactory), 2 (developing), 3 (proficient) or 4 (excellent).

     For each factor rated, evaluators must provide evidence/ cite examples to support the rating. Evidence cited should be
     relevant indicators of the employees’ performance and may include, among other things:

            ●   examples of work performance observed by the evaluators or others,
            ●   indicators of the employee’s impact on the school environment or on students,
            ●   discipline records, and
            ●   empirical data that is indicative of performance (e.g., Kronos records, payroll records, memoranda etc.)

     In addition to providing specific feedback, a completed evaluation must be used as a growth and development tool for
     the employee. The evaluation form (Appendix B) includes space to provide the employee with areas for growth and
     recommended strategies for development. Strategies for development may include mentoring by other employees,
     training, reflection, etc.

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     The annual evaluation form is not complete and final until the employee has had an opportunity to review and, if
     desired, gives feedback.

     A. The Performance Factors and Their Weights

     1.      Effectiveness (50%)

     The effectiveness factor evaluates the extent to which the employee fulfills the duties and expectations of their job
     and makes a productive contribution to the school or organization. For all employees, this factor looks at the skill level
     the employee brings to their work, the quality of their work product, and their ability to complete that work when due.
     Effectiveness is the most important factor in an employee’s evaluation, counting towards 50% of their overall score.

     The evaluation rubric is the base document to be used to assess effectiveness. As effectiveness must be considered in
     the context of the employee’s assigned job, evaluators must also consult the attached critical attributes or the official
     job description in assessing performance. For example, the particular skills, the typical work product, and the overall
     quality expectations will differ between a teacher’s assistant and a school security officer, and an evaluator should
     consult the critical attributes of each position to appropriately gauge performance against expectations. Effectiveness
     should be measured against job-specific duties and performance expectations that are clearly communicated to
     employees at the start of the year, using the critical attributes or job descriptions as a tool in that communication.

     The effectiveness rating should be objective and evidence-based. Although the particular evidence will differ across
     jobs (with some suggested evidence listed as part of the critical attributes in the Appendix), evaluators should cite
     specific performance examples that tie directly back to the duties and expectations of that job.

     2.      Dependability (30%)

     The dependability factor evaluates the extent to which the employee is on task, at their assigned location, and
     completing satisfactory work with minimal supervision. Attendance and punctuality are considered in the overall
     evaluation of an employee’s dependability, but are not the sole drivers of this factor. Dependability is the next most
     important factor in an employee’s evaluation, comprising 30% of their overall evaluation.

     The evaluation rubric is the base document that is to be used to assess dependability. Dependability should be
     considered in the context of the employee’s specific responsibilities. The specific tasks and location expectations of a
     lunchroom manager will differ from those of a bus aide, for example, but in both cases dependability looks at whether
     the employee can reliably be expected to be working towards their duties without the need for excessive supervision.

     Punctuality is a factor in determining dependability, and tardiness can be appropriately counted against an employee’s
     dependability rating. Attendance is an element of dependability, but employee benefit time, when properly approved,
     must not be counted against an employee’s dependability. Personal business days, sick days, Family Medical Leave,
     Short Term Disability, approved vacation, and other approved benefit time shall not be factored into an employee’s
     dependability rating. However, a lack of proper notification or, where applicable, a lack of planning for proper
     coverage of responsibilities can be counted against an employee’s dependability. Finally, evidence of a pattern of
     benefit time abuse – Fridays, Mondays, paydays, pre-identified special events, etc. – is a significant factor and can




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        lower of a rating to below proficient of an employee who is otherwise on task and on post. 1

        3.        Professionalism (20%)

        This factor evaluates an employee’s ability to maintain a service-oriented approach to the work and to treat all
        colleagues, students, and community members with respect. This factor focuses on the employee’s consistent
        courtesy, teamwork, and self-control. Professionalism is the third most important factor in an employee’s
        evaluation, comprising 20% of their overall rating.

        The evaluation rubric is the base document to be used to assess professionalism. Professionalism, like the other
        evaluation factors, should be considered in the context of the employee’s specific job requirements. Some jobs, such
        as lunchroom staff, may have additional, specific professionalism requirements, such as a uniform policy. The
        customer service expectations of a school clerk working the front office may appropriately differ from those of an
        engineer working mostly behind the scenes, for example. Nonetheless each employee will be expected to maintain a
        service-orientation in their work.

         Professionalism focuses on employee behaviors that contribute to their job duties and the overall mission of the
         organization. Professionalism is not intended to measure an employee’s likeability, friendliness, or the quality of
         their relationship with their supervisor.

         B.        Calculating the Total Weighted Evaluation Score, Cut Scores and Performance Levels

         The three performance factors are weighted differently to calculate an overall rating. An employee’s effectiveness
         accounts for 50% of the weighted score, while dependability accounts for 30% and professionalism accounts for 20%.
         To arrive at a total weighted score, multiply the rating of each category by the weight (expressed as a decimal) and
         total the resulting products, as indicated in the following example:

             Performance Factor                                Score                 Weight            Weighted Score


             Effectiveness                                        3                    0.5                    1.5

             Dependability                                        3                    0.3                    0.9

             Professionalism                                      4                    0.2                    0.8

             Total Weighted Evaluation Score                                                                  3.2


         The total weighted evaluation score will determine the employee’s overall performance level as set forth in the cut
         score table set forth below. In the example above, the employee’s overall performance level would be “Proficient”.




    1
     Note that attendance issues may result in discipline in accordance with the applicable discipline policy and may also be a factor in
    the evaluation.
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          Total Weighted Evaluation Score                      Evaluation Rating

          3.5 - 4.0                                            Excellent

          2.7 - 3.4                                            Proficient

          2.0 - 2.6                                            Developing

          1.0 - 1.9                                            Unsatisfactory



      If the evaluator does not provide an employee with a mid-year evaluation, the evaluator may not rate the
      employee unsatisfactory at the end of the year (unless the employee did not start working at the school or unit
      until after the first semester ended). In such cases, a total weighted evaluation score between 1.0 and 1.9 will be
      given a rating of “Developing.”

     C.        Process - Four Performance Interaction Opportunities Annually

     1.         Start of Year Orientation

     The purpose of the start of year orientation is to ensure that every employee being evaluated understands the factors
     by which they will be evaluated, the particular expectations for their job title, the process for conducting evaluations
     and providing feedback, and who will conduct the evaluation.

     When: Within 30 Days of the Start of the Evaluation Period

     The orientation should take place within 30 calendar days of the start of the work year. For 52-week employees, the
     orientation would occur during July or August. For school-based, 10-month employees, the orientation should occur
     within 30 days of the date employees report back for the school year. Ideally, the orientation should occur during an
     in-service day before students arrive. For employees who are hired or who transfer to a school or department after
     the group orientation, the principal, assistant principal or department manager should provide an in-person
     orientation as soon as possible after the hire or transfer. As a rule of thumb, providing the orientation within 10
     school days of hire or transfer is the best practice.

     Who: Conducted by Management for All Employees Being Evaluated

     All ESPs/ PSRPs shall be invited to and should attend a pre-scheduled evaluation orientation conducted by their
     evaluator or a member of the management team. For school-based sessions, the orientation may be conducted with
     all employees or may be conducted as a series of sessions for different job titles/ bargaining units.




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     The orientation shall be conducted by a member of the management team who has a clear understanding of the
     evaluation standards and process and who can articulate the particular expectations and standards for individual job
     titles/ bargaining units. Ideally, this is an individual or team who will be responsible for conducting evaluations. In
     schools, the Principal and/or Assistant Principal(s) should conduct the orientation, with assistance from Aramark or
     Sodexo for custodians and lunchroom staff.

     What: The Process, the Timing, the Standards, and the Scoring

     The content of the orientation should focus on 1) stating who will conduct evaluations; 2) briefing staff on the overall
     evaluation criteria, rating scale, and evaluation rubric; 3) explaining the critical attributes/ expectations of different job
     titles and clarifying how these will be used in conjunction with the rubric; 4) explaining the process for and role of the
     mid-year feedback opportunity; and 5) an explanation of the cut scores for the summative rating and how final ratings
     will be calculated. At a minimum, employees should conclude the orientation with an understanding of, and a copy in
     hand, of the evaluation tool.
     How: In Person, Pre-Scheduled Group Orientation

     At the start of the year Employees should attend an in-person, group orientation that covers at least the required
     content with time factored in for questions and clarifications. At a minimum, employees should receive a hard copy of
     the evaluation tool. Principals or Assistant Principals or department managers should provide an in-person
     orientation to employees who are hired or who transfer to their schools/departments as soon as possible (best
     practice is no later than ten days) after the employee’s start date.

     Why: Transparency & Productivity

     The purpose of the start of year orientation is to give every employee an understanding of the performance standards
     for their work so that that they have an opportunity to meet or exceed those standards. Moreover, by establishing an
     understood set of expectations at the outset, evaluation feedback can better focus on identifying strengths to build
     upon and opportunities for growth. Finally, the orientation period provides the overview of the standards and process
     necessary for employees to conduct a self-assessment as part of the mid-year feedback process.

     2.      Mid-Year Self-Assessments

     The purpose of mid-year self-assessments is to give all employees an opportunity to tell their evaluator how they see
     their own performance and to give evaluators an opportunity to correct employee misimpressions of their
     performance. Mid-year self-assessments are entirely voluntary; employees will not be required to submit them. But if
     employees do submit them, their evaluator will review the self- assessment and, if the employee is performing at less
     than a proficient level, the evaluator must provide mid-year feedback to the employee on the mid-year evaluation in
     accordance with paragraph 3 below. The evaluator is encouraged to provide feedback to employees at the mid-year
     who are performing at a proficient level or better.




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     When: November 1st to 30th (Employees)/December 1st to February 15th (Evaluators)

     Employees must submit their self-assessment between November 1st and November 30th. The evaluator’s feedback
     and/or mid-year evaluation (see below) is due between December 15th and February 15th. Note that if a mid-year
     evaluation is required (see below), no additional feedback is required.

     Who: Employees provide self-assessments/Evaluators provide feedback or mid-year evaluation

     Evaluators will provide written feedback to employees who submit a self-assessment who are performing at less
     than a proficient level in the form of a mid-year evaluation in accordance with paragraph 3. Evaluators should also
     provide mid-year feedback to all other employees who submitted a self-assessment in the form of a concurrence or
     other comments.
     What: Self-assessment and feedback provided on evaluation form.

     The employee self-assessment and/or the evaluator’s feedback will be provided using the attached ESP/PSRP
     evaluation form. The form should identify a performance level for each of the rating factors, reference examples/
     evidence of that performance, and identify strategies for improvement in areas of less than proficient performance.

     How: Comments, no particular form

     The evaluator shall provide written feedback in the form of a concurrence, additional comments, or an alternative
     assessment to employees who submitted a self-assessment and whose performance is proficient or better. No
     particular form is required for this feedback but it must be in writing and preserved as a personnel record. Employees
     who receive feedback will sign off on that feedback acknowledging receipt. The employee acknowledgement does
     not constitute agreement with the feedback.

     Why: Reflection on performance by employees and evaluators

     This process encourages all employees and their evaluators to reflect on the employee’s performance, to celebrate
     success, and to identify opportunities for growth.

     3.      Mid-Year Evaluations for Employees Whose Performance is Less than Proficient

     Evaluators must give employees who are not performing at a proficient level a mid-year evaluation with feedback and
     collaboratively identify how they may improve to proficiency during the remainder of the year. The purpose of the
     mid-year evaluation is to give fair notice to affected employees that they are on track for a less than proficient overall
     rating and to give them a fair opportunity to become proficient. Note that an evaluator may not rate an employee
     unsatisfactory at the end of the school year unless the employee has received a mid-year evaluation of less than
     proficient, or the employee began employment at or after the mid-year.




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     When: December 1st to February 15th

     The opportunity for mid-year feedback will occur between December 1st and February 15th of each school year. That
     is the same period that employees may submit self-assessments.

     Who: Evaluators and employees

     Evaluators will provide employees who receive mid-year evaluations in-person feedback, regardless of whether they
     conducted a self-assessment. All feedback will be provided by the employee’s evaluator.

     What: Evaluator's feedback and effort to develop employees who are struggling

     The mid-year evaluation and the evaluator’s feedback will be provided using the attached ESP/PSRP evaluation form.
     The form will identify a performance level for each of the rating factors, reference examples/evidence of that
     performance, and identify strategies for improvement in areas of less than proficient performance.

     How: Written evaluation form and opportunity for face-to-face discussion

     Employees who are on track for a less than proficient overall rating should receive written feedback as well as a
     scheduled opportunity to discuss the feedback in person. Employees who receive feedback will sign off on that
     feedback acknowledging receipt. The employee acknowledgement does not constitute agreement with the feedback.

     Why: Transparency to employees, fair notice and fair opportunity for employee to improve

     Employees on track for a less than proficient overall rating should be informed of their performance, counseled on
     strategies for improving their trajectory, and given time to put those strategies into action before the final evaluation.
     Employees who engage in the self-assessment process should receive feedback on the accuracy or completeness of
     that assessment.

     4.      Annual Summative Rating

     The purpose of the annual summative rating is to give all employees feedback on their work performance over
     the current performance period and, where necessary, strategies to improve that performance in the next
     performance period. All employees will receive a written, summative rating at the end of the school year. Employees
     rated developing will have an opportunity to discuss their rating and feedback in a meeting with the evaluator and
     ways to develop to proficiency and, if appropriate, mentoring and/or training opportunities. Employees rated
     unsatisfactory will be subject to dismissal.

     When: May 1st to June 30th

     The annual summative rating will be issued between May 1st and June 30th (not later than the end of the school year
     for 10-month employees).




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     Who: Evaluators and all school-based PSRP/ESP employees

     Evaluators must issue a summative rating to all ESP employees. For many school-based employees, the final
     evaluator will be the principal or designee. For a subset of school-based staff, including engineers, custodians, and
     lunchroom staff, evaluations will be conducted by that employee’s supervisor with input from the principal or
     designee.

     What: Summative Rating and Associated Feedback

     The summative rating and associated feedback will be provided using the attached ESP/PSRP evaluation form. The
     form will identify a performance level for each of the rating factors, reference examples/evidence of that performance,
     and identify, where necessary, strategies for improvement.

     How: Draft summative rating with opportunity to discuss, followed by final rating

     All employees will receive a draft written rating with feedback and be given the opportunity to discuss their rating with
     their evaluator during a designated period. The draft may be modified after the employee provides feedback or it
     may become final. Employees will sign off on their evaluation acknowledging receipt. The employee
     acknowledgement does not constitute agreement with the final rating or feedback.

     Why: Recognize performance, develop performance

     The annual summative rating is an opportunity to recognize outstanding performance, provide for constructive
     interactive feedback, and for the employee to receive feedback regarding their work product over the prior year.

     D.      Feedback and Employee Development

     1.      Feedback

     The evaluation process is designed so that employees receive specific feedback on the actions, behaviors, and
     results that led to their achieving a particular rating in any performance factor. This specific, external feedback will
     better allow employees to understand their performance and develop internal strategies for maintaining or improving
     performance.

     2.      Development Plans

     Evaluators must provide employees with suggested strategies/development activities for improving performance at
     the mid-term evaluation and at the final summative evaluation except where the annual evaluation is unsatisfactory.
     Evaluators should use the evaluation form and the feedback meetings to do so. In particular, employees whose overall
     performance, or whose performance in any of the three evaluation factors, is less than proficient should receive
     assistance in creating a development plan.




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     Where the area for development is behavioral, (e.g., punctuality) the evaluator is responsible for giving feedback and
     for re-stating or clarifying the expectation and standard of performance. The employee bears primary responsibility
     for developing and implementing the strategy to address the behavior. Where the area for development is primarily
     skill-based, the evaluator should take a more active role in working with the employee to draft a development
     strategy. That strategy could include tactics such as mentoring or coaching by a more experienced employee, central
     office or network level training, or using online resources such as the CPS Knowledge Center or Lynda.com. The
     evaluator and employee should then work together to ensure that a portion of designated professional development
     days are used to implement these strategies.

     Complete the Checklist for ESPs/PSRPs rated developing or unsatisfactory in Appendix C. Keep a copy with the
     employee’s rating documents.

     3.        Impact of Ratings on Order of Layoff

     Under Board policies, when layoffs in a particular job title occur, the order in which employees are laid off is
     determined first by performance rating. For specific information regarding how that is determined, please refer to
     applicable collective bargaining agreements and Board policies.

     4.        Other Consequences of an Unsatisfactory Annual Evaluation

     When an employee is rated unsatisfactory at the end of the year, the employee will be referred for dismissal using
     applicable dismissal procedures for the employee. No employee will have an unsatisfactory annual evaluation unless
     s/he has received a mid-year evaluation. That requirement ensures that employees who are performing less than
     proficiently will have an opportunity to demonstrate improvement over a period of at least 60 days.

     IV.       CONCLUSION

     The PSRP/ESP evaluation process supports our core belief that every employee contributes to CPS students’ success.
     The goal is to have a performance evaluation system that ensures that CPS is where the best talent works. It is
     designed to do the following:

           ●  value and develop employees through specific, timely, and relevant feedback on ways to sharpen their
              skills and effectiveness;
           ● transparently establish a process and set of performance expectations that are predictable, objective, and fair
              for employees;
           ● set aspirational and inspirational goals for employee performance;
           ● recognize success by helping us identify, celebrate, and retain our most effective employees in every part of
              CPS; and,
           ● create personal accountability in each employee for their contribution to CPS’s mission of preparing every
             CPS student for success in college, career, and life.




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                                                                                APPENDIX A
                                                            RUBRIC FOR PERFORMANCE LEVELS BY PERFORMANCE FACTOR




       RUBRIC FOR PERFORMANCE LEVELS BY PERFORMANCE FACTOR
       Effectiveness: Fulfilling the duties required of the job and making a productive contribution to the success of our schools
       1.   Unsatisfactory                     2.   Basic                               3.   Proficient                          4.   Excellent
        ▪    Employee does not have skill      ▪    Employee skill level is not quite   ▪    Employee skill level meets that     ▪    Employee skill level exceeds that
             level required for the work and        that required for the work but           required for the work and that           required for the work and that
             requires intensive training            with time and applied effort             skill is consistently employed in        skill is uniformly employed in
             to attain those skills;                employee may attain those                completing assigned tasks; and           completing assigned tasks; and
             and/or                                 skills; and/or
                                                                                        ▪    Quality of work consistently        ▪    Quality of work uniformly
        ▪    Employee has skills to do the     ▪    Employee has skills to do the            meets expectations; and                  exceeds expectations; and
             job but consistently does not          job but that skill is not
             apply that skill to assigned           consistently applied to             ▪    Employee consistently               ▪    Employee uniformly
             tasks; and/or                          assigned tasks; and/or                   completes assigned                       completes assigned
                                                                                             responsibilities when they are           responsibilities when or
        ▪    Quality of work usually does      ▪    Quality of work only                     due.                                     before they are due.
             not meet expectations;                 sometimes meets
             and/or                                 expectations; and/or


        ▪    Employee regularly does not       ▪    Employee does not regularly
             complete assigned                      complete assigned
             responsibilities when they are         responsibilities when they are
             due.                                   due.




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                                                                                 APPENDIX A
                                                             RUBRIC FOR PERFORMANCE LEVELS BY PERFORMANCE FACTOR



       Dependability: Reliably on task and on post, completing a satisfactory job, without continual instruction and supervision
            1.   Unsatisfactory                 2.   Basic                              3.   Proficient                          4.   Excellent
        ▪    Requires significant and            ▪    Requires regular supervision in   ▪    Consistently       completes         ▪    Exceptional at completing
             regular supervision in order             order to complete assigned             assigned tasks with moderate              assigned tasks with minimal
             to perform assigned tasks;               tasks; and/or                          supervision; and                          supervision; and
             and/or
                                                 ▪    Requires regular supervision      ▪    Consistently at assigned work        ▪    Exceptional in being at assigned
        ▪    Regularly not in place, on time,         and coaching to ensure                 location, during the assigned             work location, during the assigned
             or prepared to work; and/or              employee is at assigned                time period, prepared to                  time period, prepared to complete
                                                      location, on time and ready;           complete duties; and                      duties; and
        ▪    Frequently late or absent*,              and/or
             and rarely takes appropriate                                               ▪    Rarely late or absent*,              ▪    Exceptionally punctual and
             steps to notify supervisors         ▪    Occasionally late or absent*;          consistently making appropriate           present*, always making
             and ensure adequate                      inconsistently making                  notifications and coordination of         appropriate notifications and
             coverage; and/or                         appropriate notifications and          work duties.                              coordination of work duties.
                                                      coordination of work duties.
        ▪    Evidence of a pattern of
             abusive (Fridays, Mondays,
             holidays, etc.) or irresponsible
             (on days of special events, due
             dates etc.) tardiness or
             absence.
                                                      *does not include approved             *does not include approved                *does not include approved
             *does not include approved               benefit time such as FMLA,             benefit time such as FMLA,                benefit time such as FMLA, STD,
             benefit time such as FMLA,               STD, worker's comp, personal           STD, worker's comp, personal              worker's comp, personal
             STD, worker's comp, personal             business days, sick days, or           business days, sick days, or              business days, sick days, sick
             business days, sick days, or             vacation.                              vacation.                                 days, or vacation.
             vacation.




                                                                                             A-2
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                                                                                    APPENDIX A
                                                                RUBRIC FOR PERFORMANCE LEVELS BY PERFORMANCE FACTOR



       Professionalism: Maintaining a service-oriented approach to the work that treats all colleagues, students, and community with respect.
            1.   Unsatisfactory                2.       Basic                            3.   Proficient                        4.   Excellent
        ▪    Regularly lacks tact, courtesy,    ▪        Inconsistently service-         ▪    Consistently service-              ▪    Exceptionally service-oriented,
             and a service-orientation in                oriented, courteous, or              oriented, courteous, and                courteous, and supportive in
             dealings with colleagues,                   supportive in disposition to         supportive, in disposition              disposition to all colleagues,
             students, and community                     all colleagues, students, and        to all colleagues, students,            students, and community
             members; and/or                             community members;                   and community members;                  members; and
                                                         and/or                               and
        ▪    Often lacks self-control with                                                                                       ▪    Demonstrates exceptional
             colleagues and supervisors         ▪        Inconsistently demonstrates     ▪    Consistently demonstrates               self-control with colleagues
             and regularly resistant to                  self-control with colleagues         self-control with colleagues            and supervisors and in
             suggestions for improvement;                and supervisors and                  and supervisor and accepts              accepting & implementing
             and/or                                      sometimes resistant to               and implements suggestions              suggestions for
                                                         suggestions for improvement;         for improvement; and                    improvement; and
        ▪    Rarely communicates and                     and/ or
             coordinates with co-workers                                                 ▪    Consistently communicates and      ▪    Exceptional in communicating
             in a tactful and effective         ▪        Inconsistently communicates          coordinates with co-workers, in         and coordinating with co-
             manner, requiring consistent                and coordinates with co-             a tactful and effective manner,         workers, in a tactful and
             supervision; and/or                         workers in a tactful and             with moderate supervision;              effective manner, with minimal
                                                         effective manner, requiring          and                                     supervision; and
        ▪    Indifference to Board and                   regular supervision; and/or
             School policies.                                                            ▪    Consistent compliance with         ▪    Exceptional compliance with
                                                    ▪     Inconsistent compliance             Board and School policies.              Board and School policies.
                                                                 with
                                                            Board and School
                                                                policies.




                                                                                              A-3
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                                                                                              APPENDIX B
                                                                                           EVALUATION FORM
      ESP/ PSRP Employee Evaluation
      Employee:                                                           Review Date:
      Position:                                                           Department:
      Reviewer:

      Instructions: Evaluate the employee’s work using the following scale by checking the appropriate box for each standard of performance.
         1 – Unsatisfactory                       2 – Basic                                  3 – Proficient                              4 – Excellent
         Performance is consistently well         Performance marginal, satisfies only       Performance acceptable to meet              Performance far superior to the
         below requirements and                   the minimum requirements of the            the standard established for the            satisfactory standards and
         expectations                             job and needs significant                  job                                         expectations established for the job.
                                                  improvement



       Effectiveness: Fulfilling the duties required of the job and making a productive contribution to the success of our schools
            1.   Unsatisfactory                   2.   Basic                                 3.   Proficient                            4.   Excellent
        ▪    Employee does not have skill         ▪    Employee skill level is not quite      ▪   Employee skill level meets that       ▪    Employee skill level exceeds that
             level required for the work and           that required for the work but             required for the work and that             required for the work and that
             requires intensive training               with time and applied effort               skill is consistently employed in          skill is uniformly employed in
             to attain those skills;                   employee may attain those                  completing assigned tasks; and             completing assigned tasks; and
             and/or                                    skills; and/or                         ▪   Quality of work consistently          ▪    Quality of work uniformly
        ▪    Employee has skills to do the        ▪    Employee has skills to do the              meets expectations; and                    exceeds expectations; and
             job but consistently does not             job but that skill is not              ▪   Employee consistently                 ▪    Employee uniformly
             apply that skill to assigned              consistently applied to                    completes assigned                         completes assigned
             tasks; and/or                             assigned tasks; and/or                     responsibilities when they are             responsibilities when or
        ▪    Quality of work usually does         ▪    Quality of work only                       due.                                       before they are due.
             not meet expectations;                    sometimes meets
             and/or                                    expectations; and/or
        ▪    Employee regularly does not          ▪    Employee does not regularly
             complete assigned                         complete assigned
             responsibilities when they are            responsibilities when they are
             due.                                      due.


       Evidence: Describe evidence – provide examples – to justify the relevant rating
            ∙
            ∙
            ∙
            ∙
            ∙



                                                                                                   B-1
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                                                                                           APPENDIX B
                                                                                        EVALUATION FORM

       Dependability: Reliably on task and on post, completing a satisfactory job, without continual instruction and supervision
            1.     Unsatisfactory               2.   Basic                                3.   Proficient                          4.   Excellent
        ▪    Requires significant and            ▪    Requires regular supervision in     ▪    Consistently completes               ▪    Exceptional at completing
             regular supervision in order             order to complete assigned               assigned tasks with moderate              assigned tasks with minimal
             to perform assigned tasks;               tasks; and/or                            supervision; and                          supervision; and
             and/or
                                                 ▪    Requires regular supervision        ▪    Consistently at assigned work        ▪    Exceptional in being at assigned
        ▪    Regularly not in place, on time,         and coaching to ensure                   location, during the assigned             work location, during the assigned
             or prepared to work; and/or              employee is at assigned                  time period, prepared to                  time period, prepared to complete
                                                      location, on time and ready;             complete duties; and                      duties; and
        ▪    Frequently late or absent*,              and/or
             and rarely takes appropriate                                                 ▪    Rarely late or absent,*              ▪    Exceptionally punctual and
             steps to notify supervisors         ▪    Occasionally late or absent*;            consistently making appropriate           present*, always making
             and ensure adequate                      inconsistently making                    notifications and coordination of         appropriate notifications and
             coverage; and/or                         appropriate notifications and            work duties.                              coordination of work duties.
                                                      coordination of work duties.
        ▪    Evidence of a pattern of                                                          *does not include approved                *does not include approved
             abusive (Fridays, Mondays,                                                        benefit time such as FMLA,                benefit time such as FMLA, STD,
                                                      *does not include approved
             holidays, etc.) or irresponsible                                                  STD, worker's comp, personal              worker's comp, personal
                                                      benefit time such as FMLA,
             (on days of special events, due                                                   business days, sick days, or              business days, sick days, sick
                                                      STD, worker's comp, personal
             dates etc.) tardiness or                                                          vacation.                                 days, or vacation.
                                                      business days, sick days, or
             absence.
                                                      vacation.

                *does not include approved
                benefit time such as FMLA,
                STD, worker's comp, personal
                business days, sick days, or
                vacation.

       Evidence: Describe evidence – provide example – to justify the relevant rating
            ∙
            ∙
            ∙
            ∙
            ∙


                                                                                                B-2
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                                                                                     EVALUATION FORM

       Professionalism: Maintaining a service-oriented approach to the work that treats all colleagues, students, and community with respect.
            1.   Unsatisfactory                2.   Basic                              3.   Proficient                        4.   Excellent
        ▪    Regularly lacks tact, courtesy,    ▪    Inconsistently service-           ▪    Consistently service-              ▪    Exceptionally service-oriented,
             and a service-orientation in            oriented, courteous, or                oriented, courteous, and                courteous, and supportive in
             dealings with colleagues,               supportive in disposition to           supportive, in disposition              disposition to all colleagues,
             students, and community                 all colleagues, students, and          to all colleagues, students,            students, and community
             members; and/or                         community members;                     and community members;                  members; AND
                                                     and/or                                 and
        ▪    Often lacks self-control with                                                                                     ▪    Demonstrates exceptional
             colleagues and supervisors         ▪    Inconsistently demonstrates       ▪    Consistently demonstrates               self- control with colleagues
             and regularly resistant to              self- control with colleagues          self- control with colleagues           and supervisors and in
             suggestions for improvement;            and supervisors and                    and supervisor and accepts              accepting & implementing
             and/or                                  sometimes resistant to                 and implements suggestions              suggestions for
                                                     suggestions for improvement;           for improvement; and                    improvement; AND
        ▪    Rarely communicates and                 and/ or
             coordinates with co-workers                                               ▪    Consistently communicates and      ▪    Exceptional in communicating
             in a tactful and effective         ▪    Inconsistently communicates            coordinates with co-workers, in         and coordinating with co-
             manner, requiring consistent            and coordinates with co-               a tactful and effective manner,         workers, in a tactful and
             supervision; and/or                     workers in a tactful and               with moderate supervision;              effective manner, with minimal
                                                     effective manner, requiring            and                                     supervision; AND
        ▪    Indifference to Board and               regular supervision; and/or
             School policies.                                                          ▪    Consistent compliance with         ▪    Exceptional compliance with
                                                ▪   Inconsistent compliance                 Board and School policies.              Board and School policies.
                                                    with Board and School
                                                    policies.

       Evidence: Describe evidence – provide examples – to justify the relevant rating

            ∙
            ∙
            ∙
            ∙




                                                                                             B-3
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                                                                  EVALUATION FORM


     AREAS OF STRENGTH (please list at least 3)

     1.


     2.


     3.




     GOALS AND STRATEGIES FOR NEXT YEAR (please list at least 2)
                                Goal                                                          Strategies for meeting goals




                                                                         B-4
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                                                                             APPENDIX B
                                                                          EVALUATION FORM

       Final Summative Score


                                     Raw Score               Weight                             Weighted Score (= Raw Score x Weight)

        Effectiveness                                        50% (.5)

        Dependability                                        30% (.3)

        Professionalism                                      20% (.2)

                                                                        Final Combined Score
                                                              ( =sum of 3 weighted scores)

                                                                         Final Overall Rating




    ______________________________________________                            ______________________________________________
    Reviewer Signature                                                        Date


    Employee Acknowledgment
    I have reviewed this document and discussed the contents with my manager. My signature means that I have been advised of my performance
    status and does not indicate that I agree with the evaluation.

    ______________________________________________                            ______________________________________________
    Employee Signature                                                        Date




                                                                                 B-5
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                                                      APPENDIX C
                               ESPS/PSRPS RATED DEVELOPING OR UNSATISFACTORY - CHECKLIST

                           ESPs/PSRPS rated Developing or Unsatisfactory - Checklist
    (Please note that this checklist is only required for employees rated developing or unsatisfactory. Please print
     out, complete, and include with employee’s evaluation file when you upload the documents in PeopleSoft.)

            Employee received orientation on _____________________ (MM/DD/YYYY).
            Employee received a mid-year evaluation on _____________________ (MM/DD/YYYY).
            Employee received an opportunity to meet with administration/management to discuss how the
            employee can improve.
                    Meet was held on _____________________ (MM/DD/YYYY).
                    If no meeting, employee received opportunity to meet _____________________
                    (MM/DD/YYYY) (print e-mail where you informed employee of opportunity to meet and keep a
                    copy of the e-mail with employee’s rating documents).
            Employee was provided with support and resources to improve.
                    Employee duties and/or expectations were restated or clarified with employee.
                    A mentor was suggested to employee.
                    It was recommended that employee observe other employees in same job title.
                    Other employees familiar with employee’s work were asked to provide coaching.
                    Employee was provided with professional development opportunities.
                            Employee was directed to web-based resources for training webinars.
                            Employee was directed to attend training with a private or other government
                            organization and was given time to do so.
                            Employee was directed to attend training at Central Office and was given time to do so.
            A follow-up e-mail was sent to employee on _____________________ (MM/DD/YYYY) summarizing
            the supports discussed (print e-mail and keep a copy with employee’s rating documents).
            A draft final written rating with feedback was provided to the employee on _____________________
            (MM/DD/YYYY).
            Employee received an opportunity to meet with administration/management to discuss the draft final
            rating.
                    Meet was held on _____________________ (MM/DD/YYYY).
                    If no meeting, employee received opportunity to meet on _____________________
                    (MM/DD/YYYY) (print e-mail where you informed employee of opportunity to meet and keep a
                    copy of the e-mail with employee’s rating documents).
            Employee received final written rating with feedback on _____________________ (MM/DD/YYYY).




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                                                                        APPENDIX D
                                   CRITICAL ATTRIBUTES FOR PARAPROFESSIONALS AND NON-CERTIFICATED EDUCATION SUPPORT PERSONNEL


    The following job descriptions and critical attributes are found on the Knowledge Center here:
    https://sites.google.com/a/cps.edu/kc/leadership/esp-psrp-evaluation-handbook .




          ●   Associate Lunchroom Manager II                 ●   Head Start Ed Resources Assistant     ●   School Library Assistant
          ●   Associate Lunchroom Manager III                ●   Head Start Health Resources Asst      ●   School Library Assistant II
          ●   Bilingual Spec Ed Classroom Assistant          ●   Head Start Parent Resources Asst      ●   School Operations Manager
          ●   Bilingual Spec Ed Classroom Asst II            ●   Head Start Soc Serv Resources Asst    ●   School Security Officer
          ●   Bus Aide Critical Attributes                   ●   Instructor Assistant**                ●   Security Officer Critical Attributes
          ●   Climate Team Officer Critical Attributes       ●   Instructor Assistant II**             ●   Senior School Security Officer
          ●   Community Relations Representative I           ●   Interpreter Assistant                 ●   Special Ed Classroom Assist**
          ●   Computer Technician                            ●   Interpreter Clerk                     ●   Spec Ed Classroom Assistant II**
          ●   Cook I                                         ●   Lunchroom Attendant                   ●   Spec Ed Clrm Asst Crit Attributes
          ●   Cook II                                        ●   Lunchroom Manager                     ●   Substitute Bus Aide
          ●   Cook III                                       ●   Lunchroom Mnger Critical Attributes   ●   Substitute School Clerk
          ●   Cook Critical Attributes                       ●   Lunchroom Staff Critical Attributes   ●   Teacher Asst-Bilingual Spanish I
          ●   Custodial Worker                               ●   Parent Advocate                       ●   Teacher Asst-Bilingual Spanish II
          ●   Custodian Critical Attributes                  ●   Parent Advocate - Bilingual           ●   Teacher Asst-Bilingual I
          ●   Educational Sign Language Interpreter          ●   Porter                                ●   Teacher Asst-Bilingual II
          ●   Educational Sign Lang Interpreter II           ●   School Bus Aide                       ●   Teacher Asst-Montessori Program
          ●   Educational Sign Lang Interpreter III          ●   School Business Manager               ●   Teacher Asst-Montessori Prgm II
          ●   Elementary Lunchroom Manager                   ●   School Clerk I                        ●   Teacher Assistant**
          ●   Factor Custodian Critical Attributes           ●   School Clerk I (Bilingual-Spanish)    ●   Teacher Assistant II**
          ●   Guidance Counselor Aide                        ●   School Clerk Assistant                ●   Teacher/Inst Asst Crit Attributes
          ●   Guidance Cousnlr Aide Crit Attributes          ●   School Clerks Critical Attributes     ●   Technology Coordinator I
                                                             ●   School Community Representative       ●   Technology Coordinator II
                                                                                                       ●   Technology Coordinator III
                                                                                                       ●   Tech Coordinator Crit Attributes




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            Exhibit F: CPS FY-20 APPA Audit Flow Procedural Requirements Diagram
                                                                                                                                                           Exhibit G
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                                   SOI: CPS Daily Building Security Protocol for Building Level Custodians
                                   SOI#1.30 Rev. 1.0                                                                                   Effective 2/10/2021
                                   DEPARTMENT OF FACILITIES


        1. Purpose
                 Is to ensure all CPS owned, operated and leased facilities serviced by primary Custodial Vendor and its subcontracted vendors
                 managements/associates adhere and follow CPS Facilities policy, procedures, and protocols in a routine, effective and timely
                 manner.
        2. Scope
                 Applies to all CPS owned, operated and leased facilities serviced by primary Custodial Vendor and its subcontracted vendors
                 managements/associates
        3. Responsibility
                 It is the responsibility of primary custodial vendor and its subcontracted vendor provided custodians to ensure and carry out the
                 responsibility of CPS owned, operated and leased building doors, windows and all accesses are securely closed and appropriately
                 alarmed prior to leaving the building end of final working shift.

        4. Protocols:
           Opening the School
           Closing the School
           Alarm Codes
           Incident Response
           Opening the School
           Burglary Alarm Must be deactivated in a Timely Manner
                •    Disarm the alarm immediately upon entry to the building
                o    Disarm all alarm accounts (i.e., Annex, Modular, CPC, etc.)

            Closing Protocol
            Before Arming School
                •    Ensure that ALL doors and windows are closed and locked.
                •    As you are moving around the school you need to be checking doors and windows. i.e. push on exterior doors to ensure they are latched.
                •    Push/pull doors behind you as you exit to ensure it latches.
                •    Complete and interior walk of the building to ensure there are no other staff members inside.
                •    Immediately exit the building after alarming the alarm.

            Problems when closing protocols are not followed
                •    The school becomes susceptible to burglary and vandalism
                •    Waste valuable resources (CFD and CPD)
                •    Creates a dangerous situation

            Alarm Codes
            Who should have an alarm code?
                •    Anyone who has keys or is responsible for closing the building

            Who can authorize a new code?
                o    Principal or Vendor (named designee)

            When to share your alarm code
                o    Under no circumstances should you share your alarm code.
                o    Your alarm code should be protected like your ATM pin number.
                o    If we find that a code has been shared, we will immediately deactivate and refer to the law department for discipline

            How to Use Your Alarm Code
            To Disarm
            •   Enter your 4 digit code followed by the number 1.
                    o This should be repeated 3 times to clear all zones

            To Arm
            •   Enter your 4 digit code followed by the number 2.

            Auto-Arm
            The Burglary Auto-Arm is NOT a Reliable Feature
                     •   The auto-arm does not always work
                             o The panel from the school needs to dial into the safety center. If a busy signal is received than the alarm will fail to arm.
                     •   The auto-arm is scheduled several hours after the last employees has left.
                             o The school is left vulnerable until the building is armed
                     •   The only sure-fire way to ensure your school is armed is by entering a 4 digit code in the key pad.

            Incident Response
            Lack of Responsiveness from Managers
                     •   Unanswered phone calls
                     •   Updates/ETA’s are not provided
                     •   Manager is unsure of how they need to respond.
                            o For example, Managers often reply to a phone call with “What am I supposed to do about it?”

            Key Safety Contacts

                         Brian Bond, Deputy Chief of Network Safety                                        Chicago Police Department
                         (773) 230-5130, bbond1@cps.edu                                                    911
                         Jadine Chou, Chief Security Officer                                               Student Safety Center, 24/7 operations center
                         (773) 553-3030, jpchou@cps.edu                                                    (773) 553-3335
                         Ron Shabelski, Director of Safety Services
                         (773) 490-7193, reshableski@cps.edu

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                                                     SCHEDULE 1: APPA CLEANING STANDARD - LEVEL 2


                       APPA Cleaning Standards- Level 2.

                       A.   Floors and base moldings shine and/or are bright and clean. There is no buildup in corners or along
                            walls, but there can be up to two days’ worth of dust, dirt, stains or streaks.
                       B.   All vertical and horizontal surfaces are clean, but marks, dust, smudges, and fingerprints are
                            noticeable upon close observation. Light fixtures are clean.
                       C.   Washroom and shower fixtures and tile gleam and are odor-free. Supplies are adequate.
                       D.   Trash containers and pencil sharpeners hold only daily waste, are clean and odor-free.




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                                                       SCHEDULE 2: SERVICES AND FREQUENCIES


    A.   Base Custodial Services and Frequencies - GREEN Level
         a. The Vendor shall clean these areas, including but not limited to, as specified below. The numbers below represent the
             number of times (cleaning frequencies) per week that a service will be performed, during the regular school year, unless
             otherwise noted (AN - As Needed, S=Scheduled Basis, N/A - Not applicable, WC = Weekend Cleaning, ADD or DELETE
             NOTATIONS AS NECESSARY). This is not applicable to school breaks.
         b. These base values were generated by the Board to meet APPA level 2 cleaning standards. The Vendor can submit
             recommendations to the Board for approval, for service changes that would support and align with APPA Level 2 cleaning
             standards and that vary from the base values listed below. CPS may, from time to time, change services and frequencies as
             mutually agreed in writing.


                                  ENTRANCES, LOBBIES, RECEPTION , FOYER                                 FREQUENCY

                     Tiled and linoleum and other hard surface floors will be dust mopped and           5 days per wk
                     damp mopped/washed

                     Doormats will be lifted and vacuumed both sides.                                   5 days per wk

                     Carpeted areas will be vacuumed and spot cleaned.                                  5 days per wk

                     Waste and recycling receptacles will be emptied, cleaned, and sanitized.           5 days per wk

                     Door glass and partition glass will be cleaned both sides.                         1 days per wk

                     Door glass will be kept free (clean) of fingerprints, stains, etc.                 5 days per wk

                     Entrance doorframes, side glass panels and top glass panels will be                1 days per wk
                     cleaned.

                     Walls will be spot cleaned to 6FT high.                                            1 days per wk

                     Horizontal surfaces will be dusted, cleaned, sanitized, disinfected                1 days per wk

                     Stainless steel kick plates will be cleaned.                                       1 days per wk

                     Exterior garbage containers will be emptied, cleaned, damp wiped and               5 days per wk
                     sanitized.

                     Supplies will be replenished.                                                      5 days per wk


                                                  STAIRS, LANDINGS                                      FREQUENCY

                     Stairs and landings will be swept and damp mopped/washed                           5 days per wk

                     Doors will be kept free of finger marks                                            5 days per wk

                     Handrails will be dusted and damp wiped, cleaned, sanitized, disinfected           5 days per wk

                     Walls will be spot cleaned to 6FT high.                                            1 days per wk

                     Stainless steel kick plates will be cleaned                                        1 days per wk


                                              CORRIDORS, HALLWAYS                                       FREQUENCY

                     Tiled and linoleum and other hard surface floors will be dust mopped and           5 days per wk
                     damp mopped/washed



                                                                                 1
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                     Tiled and linoleum floors will be burnished/polished.                        1 days per wk

                     Carpeted areas will be vacuumed and spot cleaned.                            5 days per wk

                     Waste and recycling receptacles will be emptied, cleaned, and sanitized.     5 days per wk

                     Door glass and partition glass will be kept free (clean) of fingerprints,    5 days per wk
                     stains, etc. on both sides.

                     Walls will be spot cleaned to 6FT high.                                      1 days per wk

                     Horizontal surfaces will be dusted, cleaned, sanitized, disinfected          1 days per wk

                     Exterior garbage containers (within 5m) will be emptied, cleaned, damp       5 days per wk
                     wiped and sanitized.

                     Supplies will be replenished.                                                5 days per wk


                                                      ELEVATORS                                   FREQUENCY

                     Floors will be dust mopped and damp mopped/washed                            5 days per wk

                     Doors and wall will be kept free of marks                                    1 days per wk

                     Ceiling panels will be cleaned (free of debris and cobwebs)                 1 days per month

                     Stainless steel panels will be polished                                      1 days per wk




                                              LOUNGES, STAFF ROOMS                                FREQUENCY

                     Tiled and linoleum and other hard surface floors will be dust mopped and     5 days per wk
                     damp mopped/washed

                     Supplies will be replenished.                                                5 days per wk

                     Carpeted areas will be vacuumed and spot cleaned.                            5 days per wk

                     Waste and recycling receptacles will be emptied, cleaned, and sanitized.     5 days per wk

                     Tables and chairs will be damp wiped, cleaned, sanitized, disinfected.       5 days per wk

                     Walls will be spot cleaned to 6FT high.                                      1 days per wk

                     Horizontal surfaces will be dusted, cleaned, sanitized, disinfected          1 days per wk

                     Stainless steel sinks and counters will be cleaned.                          1 days per wk




                                                        OFFICES                                   FREQUENCY

                     Tiled and linoleum and other hard surface floors will be dust mopped and     5 days per wk
                     damp mopped/washed

                     Carpeted areas will be vacuumed and spot cleaned.                            5 days per wk

                     Waste and recycling receptacles will be emptied, cleaned, and sanitized.     5 days per wk

                     Walls will be spot cleaned to 6FT high.                                      1 days per wk


                                                                                2
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                     Furniture and horizontal surfaces will be dusted.                              2 days per wk

                     Desk telephones will be cleaned and disinfected.                               1 days per wk

                     Horizontal and vertical blinds dusted.                                        1 days per month


                                   WASHROOMS, SHOWERS, CHANGE ROOMS                                 FREQUENCY

                     All fixtures will be cleaned, i.e. bowls, urinals, basins, mirrors, chrome     5 days per wk
                     surfaces and interface.

                     Waste and recycling receptacles will be emptied, cleaned, and sanitized.       5 days per wk

                     Supplies will be replenished throughout the day as required.                   5 days per wk

                     Walls will be spot cleaned to 6FT high.                                        5 days per wk

                     Walls will be washed floor to ceiling.                                        1 day per month

                     Toilet partitions will be damp wiped, cleaned, sanitized, disinfected.         1 days per wk

                     Floors will be swept and washed.                                               5 days per wk

                     Floor drains will be primed.                                                   1 days per wk

                     Walls and toilet partitions will be kept free of graffiti.                     5 days per wk

                     Floor drains will be inspected and cleaned. Floor drain lids lifted and       1 days per month
                     cleaned (to be coordinated with building engineer).


                                                          LIBRARY                                   FREQUENCY

                     Tiled and linoleum and other hard surface floors will be dust mopped and       5 days per wk
                     damp mopped/washed

                     Carpeted areas will be vacuumed and spot cleaned.                              5 days per wk

                     Waste and recycling receptacles will be emptied, cleaned, and sanitized.       5 days per wk

                     Walls, stairwells, railings, landings will be spot cleaned to 6FT high.        1 days per wk

                     Furniture and horizontal surfaces will be dusted.                              3 days per wk

                     Doors, door glass and any partition glass cleaned.                             1 days per wk

                     Lighting fixtures dusted.                                                     1 days per month


                                         CAFETERIA, CIRCULATION AREAS                               FREQUENCY
                                     (To be coordinated with Kitchen Manager at each school)


                     Tiled and linoleum and other hard surface floors will be dust mopped and       5 days per wk
                     damp mopped/washed

                     Supplies will be replenished.                                                  5 days per wk

                     Doors will be cleaned.                                                         5 days per wk

                     Waste and recycling receptacles will be emptied, cleaned, and sanitized.       5 days per wk
                     Cleaning to include wiping of outside and washing inside with disinfectant.



                                                                                     3
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                     Chairs, tables and table legs will be damp wiped, cleaned, sanitized,          5 days per wk
                     disinfected.

                     Walk-off mats will be vacuumed.                                                5 days per wk

                     Walls will be spot cleaned to 6FT high.                                        1 days per wk

                     Horizontal surfaces will be dusted, cleaned, sanitized, disinfected            1 days per wk

                     Remove gum from all surfaces.                                                  1 days per wk




                     MEETING ROOMS, CONFERENCE ROOMS, MULTI-PURPOSE ROOMS                           FREQUENCY

                     Tiled and linoleum and other hard surface floors will be dust mopped and       5 days per wk
                     damp mopped/washed

                     Supplies will be replenished.                                                  5 days per wk

                     Carpeted areas will be vacuumed and spot cleaned.                              5 days per wk

                     Waste and recycling receptacles will be emptied, cleaned, and sanitized.       5 days per wk

                     Chairs and tables will be damp wiped, cleaned, sanitized, disinfected.         1 days per wk

                     Walls will be spot cleaned to 6FT high.                                        1 days per wk




                                         CLASSROOMS, LECTURE HALLS                                  FREQUENCY

                     Tiled and linoleum and other hard surface floors will be dust mopped and       5 days per wk
                     damp mopped/washed

                     Supplies will be replenished.                                                  5 days per wk

                     Carpeted areas will be vacuumed and spot cleaned.                              5 days per wk

                     Waste and recycling receptacles will be emptied, cleaned, and sanitized.       5 days per wk

                     Furniture and horizontal surfaces will be dusted.                              1 days per wk

                     Walls will be spot cleaned to 6FT high.                                        1 days per wk

                     Doors, door glass and any partition glass cleaned and free of fingerprints,    5 days per wk
                     stains, etc.

                     Horizontal and vertical blinds dusted.                                        1 days per month

                     All fixtures will be cleaned, i.e. bowls, urinals, basins, mirrors, chrome     5 days per wk
                     surfaces and interface.

                     Chalkboards will be completely cleaned and washed in coordination with        1 days per month
                     teachers

                     White boards will be completely cleaned and washed in coordination with       1 days per month
                     teachers




                                       LABORATORIES – Computer, Science                             FREQUENCY

                                                                                4
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                     Tiled and linoleum and other hard surface floors will be dust mopped and      5 days per wk
                     damp mopped/washed

                     Supplies will be replenished.                                                 5 days per wk

                     Carpeted areas will be vacuumed and spot cleaned.                             5 days per wk

                     Waste and recycling receptacles will be emptied, cleaned, and sanitized.      5 days per wk

                     Furniture and horizontal surfaces will be dusted.                             1 days per wk

                     Walls will be spot cleaned to 6FT high.                                       1 days per wk

                     Doors, door glass and any partition glass cleaned.                            1 days per wk

                     Horizontal and vertical blinds dusted.                                       1 days per month

                     Stainless steel sinks and counters will be cleaned (Containers left in the    2 days per wk
                     sink with substances in them should not be emptied. Hazardous materials
                     should be left alone.)

                     Eyewash stations will be cleaned                                              2 days per wk

                     Chalkboards will be completely cleaned and washed in coordination with       1 days per month
                     teachers

                     White boards will be completely cleaned and washed in coordination with      1 days per month
                     teachers


                         MEDICAL ROOMS (FIRST AID ROOMS, NURSE OFFICES, etc.)                      FREQUENCY

                     All fixtures will be completely cleaned, i.e. bowls, basins, mirrors and      5 days per wk
                     chrome surfaces.

                     Supplies will be replenished.                                                 5 days per wk



                     Waste and recycling receptacles will be emptied, cleaned, and sanitized.      5 days per wk

                     Walls will be spot cleaned to 6FT high.                                       5 days per wk

                     Floors will be swept and damp mopped/washed with germicide.                   5 days per wk

                     Floor drains will be primed.                                                  1 days per wk

                     Stainless steel sinks and counters will be cleaned                            5 days per wk

                     Floor drains will be inspected and cleaned. Floor drain lids lifted and      1 days per month
                     cleaned (to be coordinated with building engineer).




                                OTHER AREAS - GENERAL CLEANING SERVICES                            FREQUENCY

                     Furniture will be spot cleaned                                                    weekly

                     Microfibers, rags, mops to be cleaned/laundered to avoid odor                      daily

                     Dust exterior doors and frames of lockers, partitions, and ledges                 weekly

                     Floor drains will be inspected and cleaned. Floor drain lids lifted and      1 day per month

                                                                               5
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                      cleaned (to be coordinated with building engineer).

                      Finger marks and stains will be removed from glass desks, table tops, door            3 times per week
                      glass, and display cases

                      All graffiti shall be removed as it appears from the interior                                daily

                      Exterior sidewalk cleaning; all sidewalk extensions of buildings to be swept                 daily
                      and kept clean 8 meters on either side of & perpendicular to entrance

                      All outside garbage receptacles at building entrance to be                                   daily
                      emptied daily

                      Clean and sanitize all waste receptacles, sinks, tables and                                  daily
                      countertops

                      Window ledges and tracks will be dusted and wiped                                          monthly

                      All metal surfaces, including push plates and kick plates will be                          monthly
                      cleaned and polished

                      Spot cleaning of ceramic tile and grout                                                    monthly

                      Clean the interior of all paper towel and soap dispensers                                  monthly




                                              PROJECT/SEASONAL WORK                                           FREQUENCY
                                                                                                            (unless specified
                                                                                                               otherwise)

                      Wash all walls in entrances, hallways and classrooms                                   1 time per year

                      Hard surfaces scrubbed and recoated (two coats)                                        2 time per year

                      Hard surfaces burnished/polished                                                       2 time per year

                      Hard surfaces stripped and refinished                                                  1 time per year

                      Wash walls in offices                                                                  1 time per year

                      Extraction clean all carpets                                                           1 time per year

                      Wash all building outside perimeter windows on the first floor                         1 time per year

                      All interior glass unless otherwise specified                                          2 time per year

                      All supply, return and exhaust air diffuser grills will be vacuumed and                2 time per year
                      washed

                      Clean and sanitize tables and chairs including tops and underneath                     2 time per year
                      surfaces, legs and arms including removing gum, etc.

                      Service rooms: Boiler, Electrical, Mechanical, communications rooms to be              1 time per year
                      dusted, swept, and/or vacuumed.

                      Janitor closets                                                                            weekly


    *Note: Not all areas will receive floor care at the frequencies noted and reductions may be made for low traffic areas and increase for
    high traffic areas.

    B.    Elevated Custodial Services and Frequencies - YELLOW Level
         a. Vendor to provide for Board’s review and approval.
                                                                                 6
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    C.    Emergency Custodial Services and Frequencies - RED Level
         a. Vendor to provide for Board’s review and approval.
         b. Based upon Public Health Emergency, Communicable Disease Control Plan, and other urgent concerns.

    D.   Weekly Frequencies


             Area        Clean/     Spot    Dust    Clean/     Empty and     Dry     Spot     Damp     Vacuum    Burnish   Pick up loose
                        Sanitize/   Clean          Sanitize/     clean      mop     clean    mopped    carpets    floors       trash
                        Disinfect                  Disinfect    waste      floors   floors    floors
                                                   Surfaces

          Entrances        5         5       1        1           5          5        5        5         5         1            5

           Lobbies         5         5       1        1           5          5        5        5         5         1            5

          Reception        5         5       1        1           5          5        5        5         5         1            5

         Main Office       5         5       1        1           5          5        5        5         5         1            5

         Classrooms        5         5       1        5           5          5        5        5         5        N/A           5

            Offices        5         1       1        2           5          5        5        5         5        N/A           5

         Laboratories      5         5       1        5           5          5        5        5         5        N/A           5

          Art Rooms        5         5       1        5           5          5        5        5         5        N/A           5

            Library        5         5       3        5           5          5        5        5         5        N/A           5

          Auditorium       1         3       1        1           5          5        5        5         5         1            5

            Stage         AN         1       1        1           5          2        5        5        N/A        1            5

          Music Rm         5         3       1        3           5          5        5        5         5        N/A           5

          Custodian        1         1       1        1           5          2        1        5        N/A       N/A
           Closet                                                                                                               5

            Drink          5         5       1        5          N/A       N/A      N/A       N/A       N/A       N/A          N/A
          Fountains

           Kitchen       N/A        N/A     N/A      N/A         N/A       N/A      N/A       N/A       N/A       N/A          N/A

          Stairwells     N/A         5       5        5          N/A         5        5        5        N/A       N/A           5

          Corridors      N/A         1       1        1           5          5        5        5         5         1            5

           Cafeteria     N/A         5       1        1           5          5        5        5         5         1            5

          Cafeteria        5         5       1        5          N/A       N/A      N/A       N/A       N/A       N/A          N/A
           Tables

          Cafeteria        5         5       1        5          N/A       N/A      N/A       N/A       N/A       N/A          N/A
           Chairs

          Restrooms        5         5       1        5           5          5        5        5        N/A       N/A           5

           Locker          5         5       1        5           5          5        5        5        N/A       N/A           5
         Rooms and
          Showers

             Gym         N/A         1       1        1           5          5        5        5        N/A       N/A           5


                                                                                      7
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          Wrestling         5       N/A       1       5         5         5       5         5       N/A        N/A           5
           Room

            Gym            N/A        1       1       1        N/A       N/A      5       N/A       N/A        N/A           5
          Bleachers

          Shop Area        N/A        1     N/A      N/A        5         5       5         5       N/A        N/A           2

            Maint          N/A        1     N/A      N/A        1         1       1       N/A       N/A        N/A           1
           Closets

          Boiler Rm.       N/A      N/A     N/A      N/A       N/A       N/A     N/A      N/A       N/A        N/A          N/A

           Elevator         1         1       1       1        N/A        5       5         5       N/A        N/A           5

          Lounges,          5         5       1       1         5         5       5         5         5          1           5
         Staff Rooms

           Medical          5         5       1       5         5         5       5         5       N/A          1           5
           Rooms


   For entities (spaces, areas, rooms, fixtures, surfaces, or other items) where frequencies are not specified in Sections A, B, C, or D
   above, Vendor shall recommend a cleaning plan for CPS’s approval to include the type and frequency of services.

    E.   Description of General Tasks and Expectation

           Below the Board highlights general cleaning tasks including but not limited to all those that may be applicable to the scope in
           each facility.

           Sweeping/Dust Mopping
           Remove all loose, dry particulate matter including litter, dirt, sand, grit, dust and soil from hard floor surfaces.

           Floor surface should be free from all traces of litter, dirt, sand, grit, dust and soil. Pay special attention to corners and edges,
           behind doors, under furniture and ensure that tailings are removed completely. Relocate any furniture or other items that were
           moved to accomplish this task.

           Damp Mopping and Rinsing
           Apply clean neutral cleaning solution to floor surface, using microfiber pad on pad holder, wipe floor with moistened pad, and
           allow to dry. If required floors should be rinsed using clean cold water, in certain clinical situations if instructed to do so rinse
           floors with disinfectant.

           Floor surfaces should be clean, free from dirt, streaks, swirls and loose mop strands. All excess cleaning solution or rinse water
           removed completely. Walls, baseboards and other surfaces should be free from water marks and splashing.

           Machine Scrubbing
           Apply clean neutral cleaning solution to floor surface; agitate solution with appropriate pads or brushes, remove soiled solution. If
           required floors should be rinsed using clean cold water, in certain clinical situations if instructed to do so rinse floors with
           disinfectant.

           Floor surfaces should be clean, free from dirt, streaks, swirls and tailings. All excess cleaning solution or rinse water removed
           completely. Walls, baseboards and other surfaces should be free from water marks, splashing and equipment scars.

           Burnishing
           A restorative technique employed to maintain hard floor surfaces using high speed burnishing machines. Ensure the floor
           surface has been thoroughly cleaned to remove all loose, dry particulate matter. Loaded pads should be flipped over or replaced.
           Continue procedure to ensure all irregularities are removed and appropriate depth of shine restored.

           Corridor floors and public floors, where accessible and applicable, are to be burnished one (1) to two (2) times per month.


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          Floor surfaces, baseboards and furniture should be thoroughly wiped, and dust mopped to remove all dust and particulate matter
          produced by burnishing procedure. Floor surfaces should have a clean, streak-free, consistent and shiny appearance.

          Restorative/Deep Scrub
          A major restorative technique designed to remove a significant layer of old, soiled floor finish prior to re- coating. Apply a mild
          stripping solution to floor surfaces, avoid splashing stripping solution onto walls, baseboards and furniture. Allow a few minutes
          dwell time then using a floor machine equipped with an appropriate dark colored pad agitate solution aggressively. Remove all
          soiled solution immediately, apply a neutral rinse and allow the floor surface to dry thoroughly. Apply 1-2 thin coats of floor finish
          and allow the floor surface to dry thoroughly.

          Floor scrubbing and refinishing must occur during school breaks such as Spring, Christmas and Summer, where needed to
          maintain an APPA 2 program. Floor scrubbing and refinishing must be done to floor or floors on a needed basis as well.

          Walls, baseboards, kick-plates, and furniture should be thoroughly cleaned to remove any evidence of stripping solution. Floor
          surfaces should have a clean, streak-free, consistent, and shiny appearance.

          Floor Stripping
          An aggressive technique designed to remove all existing finishes and sealers to expose the original floor surface. Apply an
          appropriately mixed stripping solution to floor surfaces, avoid splashing stripping solution onto walls, baseboards, and furniture.
          Allow a few minutes dwell time then using a floor machine equipped with an appropriate dark colored pad agitate solution
          aggressively. Remove all soiled solution immediately, apply a neutral rinse and allow the floor surface to dry thoroughly.

          Floor Stripping must occur throughout the school building during summer break.

          Walls, baseboards, kick-plates, and furniture should be thoroughly cleaned to remove any evidence of stripping solution. Floor
          surfaces should have a clean, streak-free, consistent, and dull appearance.

          Finishing
          A technique designed to apply fresh coats of floor finish to a new or recently prepared floor. Floor surface should be completely
          dry, free from any loose dry particulate matter including dirt, grit, dust and soil. Using a synthetic mop or applicator carefully
          apply successive thin coats of floor finish in a crosshatch pattern. Avoid splashing floor finish against walls, baseboards, kick-
          plates and furniture. Ensure each coat is thoroughly dry before applying the next and that all but the final coat is applied
          approximately 50cm short of the baseboards.

          Vendor shall refrain from using Floor Finish any terrazzo floors in schools. Vendor must apply terrazzo seal on terrazzo floors in
          schools. A terrazzo seal should be applied.

          Walls, baseboards, kick-plates and furniture should be thoroughly cleaned to remove any evidence of floor finish. Floor surfaces
          should have a clean, streak-free, consistent, and shiny appearance free from loose mop strands, bubbles, swirls and other
          evidence suggesting an improper application.

          High and Low Dusting
          A simple technique designed to remove loose, dry particulate matter from horizontal and vertical surfaces by employing either a
          micro-fiber system or a vacuum equipped with the appropriate attachments.

          All surfaces including, desks, furniture, glass table tops, picture frames, plaques, chairs and chair legs cabinets, file holders,
          work surfaces, telephones, counter tops, sills, doors, door frames, hardware, louvers, baseboards, partitions, sonic dividers,
          clocks, ceiling ventilators, fans, cold air return grills, overhead pipes and ducts, will be free from loose, dry particulate matter,
          dust and debris.

          A simple technique designed to remove loose, dry particulate matter from horizontal and vertical blinds by employing either a
          micro-fiber system or a vacuum equipped

          Dusting/Vacuuming Horizontal and Vertical Blinds
          with the appropriate attachments.

          Both sides of individual slats to be visible clean and free from dust. Window frames and adjoining areas to be free from dust and
          debris.
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          Vacuuming Acoustic Ceiling Tiles
          A technique to remove dirt, dust and cobwebs using a vacuum equipped with the appropriate attachments.

          Ceiling tiles will be free from dirt, dust, and cobwebs after this procedure.

          Cleaning Grills and Air Diffusers
          A technique designed to remove dust, dirt and cobwebs using a vacuum equipped with the appropriate attachments, or a damp
          cloth and a mild detergent solution. Remove most of the dust, dirt and cobwebs mechanically and finish by wiping first with a
          clean damp cloth and polishing surfaces with a clean dry cloth.

          All surfaces should be clean streak-free and free from dust, dirt, and cobwebs.

          Patrol Cleaning

          A system used to pick up litter, caring for spills, cleaning desks, tables, counter tops, all washroom fixtures; polishing mirrors,
          emptying waste containers in designated areas and restocking supplies as required. These tasks are to be performed in addition
          to any regular routines.

          All floor surfaces should be clean, free from dirt, streaks, swirls, and loose mop strands. All desks, tables, counter tops,
          washroom fixtures and mirrors should be clean and free from dust, dirt, or stains. Entryway matting to be vacuumed as needed.
          Exterior building grounds free of litter. Waste container should be clean, and dispensers stocked. Refill soap, hand towel toilet
          tissue and other dispensers as required.

          Cleaning-Washrooms
          A system intended to remove finger marks, smudges, stains, and graffiti, using a moistened microfiber cloth, followed by a dry
          microfiber cloth.

          All dispensers, shelves, brackets, ledges, countertops, walls, stall partitions and doors should be free of finger marks,
          accumulated dust, dirt, and stains. Refill soap, hand towel toilet tissue and other dispensers as required.

          Cleaning Washroom Fixtures
          A procedure designed to wash and clean with appropriate products all fixtures, including, taps, basins, exposed piping,
          brightwork, tanks, toilet seats, toilet bowls and urinals. No powder cleaners shall be used in or on washbasins, toilet bowls or
          urinals. A touchless cleaning system may be used to spray and disinfect these surfaces where applicable and agreed by CPS.

          All surfaces should be sanitized and free from dust, dirt, soap build up and stains. Always use different cloths for toilets and
          urinals than for other surfaces. Clean minor mold and mildew in bathroom, locker room and shower areas; provided that, the
          Vendor shall not be liable for the investigation, remediation or abatement.

          Cleaning & Servicing Sanitary Receptacles
          A procedure intended to remove, clean and re-stock sanitary receptacles. After removing used sanitary bags, ensure all surfaces
          are thoroughly cleaned using an appropriate disinfectant. Complete task by installing a clean, new sanitary bag.

          All sanitary receptacles should have new replacement bags and be free from odor, spots, stains, and finger marks.

          Emptying Waste Containers
          A written procedure with visual illustrations must be used to demonstrate how to correctly remove waste and replace plastic
          liners, when necessary to communicate the proper procedure. Ensure all trash is removed and deposited in designated areas for
          disposal.

          All trash containers will be emptied, plastic liners replaced as necessary, exterior, and interior surfaces wiped and cleaned as
          required.

          Elevator Cleaning
          A procedure designed to clean all interior surfaces, including floors, handrails, doors, control panels, tracks, thresholds, walls,
          mirrors, and other surfaces.

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          All floor surfaces including thresholds, tracks, corners, and edges should be thoroughly cleaned. Walk off mats and carpeted
          areas should be cleaned and vacuumed. Walls, handrails, doors, control panels and other surfaces should be free from dust,
          dirt, and finger marks. All touchpoints should be sanitized.

          Compactor/Garbage Collection Areas
          A procedure designed to clean and maintain all surfaces, including floors, walls, and other surfaces.

          All floor surfaces should be free from debris, litter and trash. All trash to be stored in appropriate manner and all receptacles
          cleaned and odor free and lids should be kept closed when not in use.

          Janitor Rooms
          A procedure designed to clean and maintain all surfaces, including floors, walls, and other surfaces.

          All floor surfaces should be clean and free from accumulated trash and litter. All fixtures and walls should be free from dust and
          dirt. Sinks should be empty, dirt and litter free: drains clean, brightwork dust and dirt free with no buildup. All equipment, products
          and cleaning materials should be cleaned appropriately and stored neatly.

          Exterior and Entrances
          A procedure designed to monitor and maintain the entrance ways and other outside grounds including the parking lot.

          All entrance ways and sidewalks to the street should be clean and free from accumulated trash, litter, dirt, and snow. As needed,
          removal of snow and the application of snow melt will be conducted to establish clear and safe entry to the Board property. The
          entire grounds and parking lot should be policed and free of trash and litter.




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                                                             Equipment List

        EQUIPMENT                                                       QTY
        AutoScrubber - T1                                                       32
        AutoScrubber - T3                                                      241
        AutoScrubber - T300                                                      2
        AutoScrubber - T5                                                       97
        AutoScrubber - T500                                                      1
        AutoScrubber - T7                                                       22
        AutoScruber - T3                                                         1
        AutoScruber - T300                                                       1
        Burnisher                                                                1
        Burnisher - B10                                                          9
        Burnisher - B5                                                          99
        Burnisher - B7                                                          42
        Burnisher - BR2000                                                     204
        Extractor - 1610                                                        28
        Extractor - E5                                                         157
        Extractor - R3                                                           4
        EXTRACTOR E5                                                             1
        Hawk Roto                                                               11
        Kaivac - 1750                                                          148
        Kaivac - Omniflex                                                      357
        Orbio - OS3                                                              9
        Square Scrub - 20"                                                       1
        SquareScrub - 20"                                                      155
        SquareScrub - 28"                                                       37
        Sweeper - 6100                                                           8
        Sweeper - S5                                                             2
        Sweeper - S9                                                           113
        Vacuum - Backpack                                                      285
        Vacuum - Upright                                                       503
        Karcher Upright Vacuum - Sensor 15                                     530
        Tennant Auto Scrubber T300                                             137
        20" Pacific Auto Scrubber                                                3
        Tennant AS T500                                                         65
        28" Pacific Auto Scrubber                                                1
        Tennant T7                                                              17
        No elevator Imop                                                         0
        Tennant 1200 RPM Cord Buffer 20 in electric high speed                 104
        Pacific 20" Electric High Speed                                          5
        Tennant 2000 rpm Buffer 24”                                             98
        Pacific 20" Battery Burnisher                                            3
        Tennant Ride on Buffer                                                  10
        Tennant Carpet Extractor E5                                            146
        Tennant Obital Square Scrubber cord                                    180
        Tennant Wet/DryVac                                                     173
        Tennnant 1600 ride on Carpet extractor                                   1

                       *pending validation at Facility transition, and revision, if required
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                                                                                  Schedule 4
                                                                                List of Facilities
                                                                                Campus Level


                    CPS                                      Main        Co-locating
        Quality     Maintenance Co-            Property      Facility    School      Main       Branch                SQFT (Non- SQFT       Total Campus
        Region      Program     Locating?      Use           Name        Short Name Address     Address   # Buildings Branch)    (Branch)   SQFT
                                                                                     3148 S
                                                                                     Kedzie
                                               Vacant        3148 S                  Chicago IL
        QS-5A       CPS            No          Land          Kedzie                  60623                    0          488459                    488459
                                                                                     6428 S
                                                                                     Minerva
                                                                                     AVENUE,
                                               Vacant        6428                    Chicago IL
        QS-8B       CPS            No          Land          Minerva                 60637                    0             5942                     5942
                                                                                     9100 S
                                                                                     Vanderpoel
                                                                                     AVENUE,
                                               Vacant        9100-9300 S             Chicago IL
        QS-7B       CPS            No          Land          Triangular              60643                    0           55524                     55524

                                                                                      9345 S
                                                                                      Burnside
                                               Vacant                                 Ave, Chicago
        QS-9B       CPS            No          Land          9318 S                   IL 60619                0           14273                     14273
                                                                                      5410 S State
                                                                                      STREET,
                                                                                      Chicago IL
        QS-8A       Closed         No          Closed        Ace Tech HS              60609                   1           68331                     68331
                                                                                      10810 S
                                                                                      Avenue H
                                               Active                                 Chicago IL
        QS-9B       CPS            No          School        ADDAMS                   60617                   6           62043                     62043
                                                                                      110 N
                                                             Admin                    Paulina
                                                             Office Near              STREET,
                                               Admin         West @                   Chicago IL
        QS-4B       CPS            No          Building      Rudolph                  60612                   1           25690                     25690
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                                                                                     Schedule 4
                                                                                   List of Facilities
                                                                                   Campus Level
                                                                                         501 W 35th
                                                             Admin                       STREET,
                                               Admin         Offices @                   Chicago IL
        QS-4B       CPS            No          Building      Bridgeport                  60616          1   41441    41441

                                                                                         4655 S
                                                             Admin                       Dearborn
                                               Admin         Offices @                   Ave, Chicago
        QS-8A       CPS            No          Building      Colman                      IL 60609       1   99100    99100

                                                             Admin                       2651 W
                                                             Offices @                   Washington
                                                             Dodge-                      BOULEVARD
                                               Admin         Garfield                    , Chicago IL
        QS-2B       CPS            No          Building      Park                        60612          1   72340    72340
                                                                                         3113 S
                                                             Admin                       Rhodes
                                                             Offices @                   AVENUE,
                                               Admin         Pershing                    Chicago IL
        QS-8B       CPS            No          Building      East                        60616          1   26200    26200
                                                                                         2851 N
                                                                                         Seminary
                                                                                         AVENUE
                                               Active                                    Chicago IL
        QS-3B       CPS            No          School        AGASSIZ                     60657          1   57743    57743

                                                                                         3630 S Wells
                                                                                         STREET
                                               Active        AIR FORCE                   Chicago IL
        QS-4B       CPS            No          School        HS                          60609          3   68306    68306
                                                                                         4929 N
                                                                                         Sawyer
                                                                                         AVENUE
                                               Active        ALBANY                      Chicago IL
        QS-1A       CPS            Yes         School        PARK         EDISON         60625          1   104203   104203
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                                                                                      Schedule 4
                                                                                    List of Facilities
                                                                                    Campus Level
                                                                                          2625 N
                                                                                          Orchard
                                                                                          STREET
                                               Active                                     Chicago IL
        QS-3B       CPS            No          School        ALCOTT ES                    60614                       4   70993    13200   84193
                                                                                          2957 N
                                                                                          Hoyne
                                                                                          AVENUE
                                               Active                                     Chicago IL
        QS-3B       CPS            No          School        ALCOTT HS                    60618                       1   51852            51852
                                                                                          630 E 131st
                                                                                          STREET
                                               Active                                     Chicago IL
        QS-9A       CPS            No          School        ALDRIDGE                     60827                       1   45589            45589
                                                                                          5110 N
                                                                                          Damen
                                                                                          AVENUE
                                               Active        AMUNDSEN                     Chicago IL
        QS-9A       CPS            No          School        HS                           60625                       1   218950           218950
                                                                                          1119 E 46th
                                                                                          STREET
                                               Active                    U OF C -         Chicago IL
        QS-9A       CPS            Yes         School        ARIEL       NKO              60653                       3   147109           147109
                                                                                                         911 W
                                                                                          950 W 33rd     32nd
                                                                                          PLACE          PLACE
                                               Active                                     Chicago IL     Chicago IL
        QS-9A       CPS            No          School        ARMOUR                       60608          60608        2   51568    31274   82842
                                                                                          2110 W
                                                                                          Greenleaf
                                                                                          AVENUE
                                               Active        ARMSTRON                     Chicago IL
        QS-9A       CPS            No          School        GG                           60645                       4   147016           147016
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                                                                            Schedule 4
                                                                          List of Facilities
                                                                          Campus Level
                                                                                5345 W
                                                                                Congress
                                                                                PARKWAYS,
                                                             ARMSTRON           Chicago IL
        QS-3A       CPS            No          Closed        GL                 60644           1         14750      14750
                                                                                8300 S St
                                                                                Louis
                                                                                AVENUE
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        ASHBURN            60652           1         58580      58580
                                                                                8505 S
                                                                                Ingleside
                                                                                AVENUE
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        ASHE               60619           1         55335      55335

                                                                                3813 S
                                                                                Dearborn
                                                                                ave, Chicago
        QS-8A       CPS            No          Closed        Attucks            IL 60609        1             0          0
                                                                                3500 N
                                                                                Hoyne
                                                                                AVENUE
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        AUDUBON            60618           4         72489      72489
                                                                                231 N Pine
                                                                                AVENUE
                                               Active        AUSTIN CCA         Chicago IL
        QS-9A       CPS            No          School        HS                 60644           1         397258     397258
                                                                                8045 S
                                                                                Kenwood
                                                                                AVENUE
                                               Active        AVALON             Chicago IL
        QS-9A       CPS            No          School        PARK               60619           3         87101      87101
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                                                                           Schedule 4
                                                                         List of Facilities
                                                                         Campus Level
                                                                               3212 W
                                                                               George
                                                                               STREET
                                               Active        AVONDALE-         Chicago IL
        QS-9A       CPS            No          School        LOGANDALE         60618            2         138900     138900
                                                                               4707 W
                                                                               Marquette
                                                                               ROAD
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        AZUELA            60629            1         94600      94600
                                                                               2111 W 47
                                                             BACK OF           STREET
                                               Active        THE YARDS         Chicago IL
        QS-9A       CPS            No          School        HS                60609            1         212285     212285
                                                                               10354 S
                                                                               Charles
                                                                               STREET
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        BARNARD           60643            1         47741      47741
                                                                               2828 N
                                                                               Kilbourn
                                                                               AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        BARRY             60641            2         78700      78700
                                                                               7650 S
                                                                               Wolcott
                                                                               AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        BARTON            60620            2         82203      82203
                                                                               1140 W 66th
                                                                               STREET
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        BASS              60621            3         85881      85881
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                                                                           Schedule 4
                                                                         List of Facilities
                                                                         Campus Level
                                                                               4220 N
                                                                               Richmond
                                                                               STREET
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        BATEMAN           60618                      2   151694           151694
                                                                               6445 W
                                                                               Strong
                                                                               STREET
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        BEARD             60656                      3   58224            58224
                                                                                            5165 S
                                                                               5255 S State State
                                                                               STREET       STREET
                                               Active                          Chicago IL Chicago IL
        QS-9A       CPS            No          School        BEASLEY           60609        60609         2   140200   14784   154984
                                                                               5025 N
                                                                               Laramie
                                                                               AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        BEAUBIEN          60630                      3   117451           117451
                                                                               25 W 47th
                                                                               STREET
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        BEETHOVEN         60609                      2   92185            92185
                                                                               3151 W
                                                                               Walnut
                                                                               STREET
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        BEIDLER           60612                      2   86770            86770
                                                                                            4207 W
                                                                               4257 N Tripp Irving Park
                                                                               AVENUE       ROAD
                                               Active                          Chicago IL Chicago IL
        QS-9A       CPS            No          School        BELDING           60641        60641         3   69480    4360    73840
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                                                                                 Schedule 4
                                                                               List of Facilities
                                                                               Campus Level
                                                                                 3730 N
                                                                                 Oakley
                                                                                 AVENUE
                                               Active                            Chicago IL
        QS-9A       CPS            No          School        BELL                60618                   2   112084           112084
                                                                                 5252 W      6041 W
                                                                                 Palmer      Diversey
                                                                                 STREET      AVENUE
                                               Active        BELMONT-   NORTHWES Chicago IL Chicago IL
        QS-9A       CPS            Yes         School        CRAGIN     T        60639       60639       3   118211   33635   151846
                                                                                 10115 S
                                                                                 Prairie
                                                                                 AVENUE
                                               Active                            Chicago IL
        QS-9A       CPS            No          School        BENNETT             60628                   1   67595            67595
                                                                                 9101 S      7133 S
                                                                                 Euclid      Coles
                                                                                 AVENUE      AVENUE
                                               Active                            Chicago IL Chicago IL
        QS-9A       CPS            No          School        BLACK               60617       60649       3   36050    34329   70379
                                                                                 1420 W
                                                                                 Grace
                                                                                 STREET
                                               Active                            Chicago IL
        QS-9A       CPS            No          School        BLAINE              60613                   3   98646            98646
                                                                                 6751 W 63rd
                                                                                 PLACE
                                               Active                            Chicago IL
        QS-9A       CPS            No          School        BLAIR               60638                   2   37948            37948
                                                                                 3939 W 79th
                                                                                 STREET
                                               Active                            Chicago IL
        QS-9A       CPS            No          School        BOGAN HS            60652                   2   185411           185411
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                                                                               Schedule 4
                                                                             List of Facilities
                                                                             Campus Level
                                                                                   7050 S May
                                                                                   STREET
                                               Active                              Chicago IL
        QS-9A       CPS            No          School        BOND                  60621          2       104126     104126

                                                                                   1241 W 58th
                                                                                   STREET,
                                                                                   Chicago IL
        QS-7A       CPS            No          Closed        Bontemps              60636          1       53600      53600
                                                                                   6710 N
                                                                                   Washtenaw
                                                                                   AVENUE
                                               Active                              Chicago IL
        QS-9A       CPS            No          School        BOONE                 60645          3       92344      92344
                                                                                   7355 S
                                                                                   Jeffery
                                                                                   BOULEVARD
                                               Active                              Chicago IL
        QS-9A       CPS            No          School        BOUCHET               60649          5       141329     141329
                                                                                   2710 E 89th
                                                                                   STREET
                                               Active                 NOBLE -      Chicago IL
        QS-9A       CPS            Yes         School        BOWEN HS BAKER HS     60617          5       296441     296441
                                                                                   7736 S
                                                                                   Burnham
                                                                                   AVENUE
                                               Active                              Chicago IL
        QS-9A       CPS            No          School        BRADWELL              60649          4       143266     143266
                                                                                   4251 N
                                                                                   Clarendon
                                                                                   AVENUE
                                               Active        BRENNEMA              Chicago IL
        QS-9A       CPS            No          School        NN                    60613          2       53422      53422
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                                                                                 Schedule 4
                                                                               List of Facilities
                                                                               Campus Level
                                                                                     2723 N
                                                                                     Fairfield
                                                                                     AVENUE
                                               Active                                Chicago IL
        QS-9A       CPS            No          School        BRENTANO                60647                   1   117104           117104
                                                                                     3800 N New 7001 W
                                                                                     England     Addison
                                                                                     AVENUE      AVENUE
                                               Active                                Chicago IL Chicago IL
        QS-9A       CPS            No          School        BRIDGE                  60634       60634       4   89454    37480   126934
                                                                                     10740 S
                                                                                     Calhoun
                                                                                     AVENUE
                                               Active                                Chicago IL
        QS-9A       CPS            No          School        BRIGHT                  60617                   2   90919            90919
                                                                                     3825 S
                                                                                     Washtenaw
                                                                                     AVENUE
                                               Active        BRIGHTON                Chicago IL
        QS-9A       CPS            No          School        PARK                    60632                   3   80730            80730
                                                                                     8 W Root
                                                                                     STREET
                                               Active        BRONZEVILL              Chicago IL
        QS-9A       CPS            No          School        E CLASSICAL             60609                   1   63929            63929
                                                                                     4934 S
                                                                                     Wabash
                                                                                     AVENUE
                                               Active        BRONZEVILL WILLIAMS     Chicago IL
        QS-9A       CPS            Yes         School        E HS       HS           60615                   2   410375           410375
                                                                                     250 E 111th
                                                                                     STREET
                                               Active                                Chicago IL
        QS-9A       CPS            No          School        BROOKS HS               60628                   5   264710           264710
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                                                                            Schedule 4
                                                                          List of Facilities
                                                                          Campus Level
                                                                                12607 S
                                                                                Union
                                                                                AVENUE
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        BROWN R            60628           1         36229      36229
                                                                                54 N
                                                                                Hermitage
                                                                                AVENUE
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        BROWN W            60612           2         63290      63290
                                                                                6741 S
                                                                                Michigan
                                                                                AVENUE
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        BROWNELL           60637           1         42620      42620
                                                                                932 N
                                                                                Central
                                                                                AVENUE
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        BRUNSON            60651           1         102700     102700

                                                                                9207 S
                                                                                Phillips AVE,
                                                                                Chicago IL
        QS-9B       CPS            No          Closed        Buckingham         60617           1         14272      14272
                                                                                2701 W
                                                                                Foster
                                                                                AVENUE
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        BUDLONG            60625           4         102352     102352
                                                                                2035 N
                                                                                Mobile
                                                                                AVENUE
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        BURBANK            60639           2         165364     165364
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                                                                          Schedule 4
                                                                        List of Facilities
                                                                        Campus Level
                                                                              5356 S King
                                                                              DRIVE
                                               Active                         Chicago IL
        QS-9A       CPS            No          School        BURKE            60615             2         73963      73963
                                                                              1630 W
                                                                              Barry
                                                                              AVENUE
                                               Active                         Chicago IL
        QS-9A       CPS            No          School        BURLEY           60657             2         58527      58527
                                                                              13311 S
                                                                              Burley
                                                                              AVENUE,
                                               Vacant                         Chicago IL
        QS-9B       CPS            No          Land          Burley           60633             0          2807       2807
                                                                              9928 S
                                                                              Crandon
                                                                              AVENUE
                                               Active                         Chicago IL
        QS-9A       CPS            No          School        BURNHAM          60617             4         82156      82156
                                                                              9800 S
                                                                              Torrence
                                                             Burnham          AVENUE,
                                                             Anthony          Chicago IL
        QS-9B       CPS            No          Closed        Branch           60617             1         15103      15103
                                                                              650 E 91st
                                                                              PLACE
                                               Active                         Chicago IL
        QS-9A       CPS            No          School        BURNSIDE         60619             3         122945     122945
                                                                              1621 W
                                                                              Wabansia
                                                                              AVENUE
                                               Active                         Chicago IL
        QS-9A       CPS            No          School        BURR             60622             1         60929      60929
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                                                                           Schedule 4
                                                                         List of Facilities
                                                                         Campus Level
                                                                               3542 S
                                                                               Washtenaw
                                                                               AVENUE
                                               Active        BURROUGH          Chicago IL
        QS-9A       CPS            No          School        S                 60632            2         53251      53251
                                                                               5329 S Oak
                                                                               Park
                                                                               AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        BYRNE             60638            4         78340      78340
                                                                               8546 S
                                                                               Cregier
                                                                               AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        CALDWELL          60617            4         64483      64483
                                                                               2833 W
                                                                               Adams ST,
                                                                               Chicago IL
        QS-2B       CPS            No          Closed        Calhoun           60612            1         76400      76400
                                                                               3456 W 38th
                                                                               STREET
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        CALMECA           60632            1         108624     108624

                                                                               7530 S
                                                             CAMELOT -         South Shore
                                                             EXCEL             DRIVE
                                               Active        SOUTHSHO          Chicago IL
        QS-9A       Opt-in         No          School        RE HS             60649            1         42300      42300
                                                                               1234 N
                                                                               Monticello
                                                                               AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        CAMERON           60651            2         137334     137334
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                                                                          Schedule 4
                                                                        List of Facilities
                                                                        Campus Level
                                                                              3000 N
                                                                              Mango
                                                                              AVENUE
                                               Active                         Chicago IL
        QS-9A       CPS            No          School        CAMRAS           60634                       2   125430           125430
                                                                              3740 N
                                                                              Panama
                                                                              AVENUE
                                               Active                         Chicago IL
        QS-9A       CPS            No          School        CANTY            60634                       4   103578           103578
                                                                                             2524 S
                                                                              2345 S         Central
                                                                              Millard        Park
                                                                              AVENUE         AVENUE
                                               Active                         Chicago IL     Chicago IL
        QS-9A       CPS            No          School        CARDENAS         60623          60623        4   65670    84116   149786
                                                                              1414 E 61st
                                                                              PLACE
                                               Active                         Chicago IL
        QS-9A       CPS            No          School        CARNEGIE         60637                       3   63979            63979
                                                                                          2601 W
                                                                              2929 W 83rd 80th
                                                                              STREET      STREET
                                               Active                         Chicago IL Chicago IL
        QS-9A       CPS            No          School        CARROLL          60652       60652           3   26642    58992   85634
                                                                              5516 S
                                                                              Maplewood
                                                                              AVENUE
                                               Active                         Chicago IL
        QS-9A       CPS            No          School        CARSON           60629                       2   138015           138015
                                                                              5740 S
                                                                              Michigan
                                                                              AVENUE
                                               Active                         Chicago IL
        QS-9A       CPS            No          School        CARTER           60637                       3   86910            86910
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                                                                          Schedule 4
                                                                        List of Facilities
                                                                        Campus Level
                                                                              901 E 133rd
                                                                              PLACE
                                               Active                         Chicago IL
        QS-9A       CPS            No          School        CARVER G         60827             5         110606     110606
                                                                              13100 S
                                                                              Doty
                                                             CARVER           AVENUE
                                               Active        MILITARY         Chicago IL
        QS-9A       CPS            No          School        HS               60627             1         298689     298689
                                                                              3501 W
                                                                              Potomac
                                                                              AVENUE
                                               Active                         Chicago IL
        QS-9A       CPS            No          School        CASALS           60651             1         66550      66550
                                                                              11314 S
                                                                              Spaulding
                                                                              AVENUE
                                               Active                         Chicago IL
        QS-9A       CPS            No          School        CASSELL          60655             3         41100      41100

                                                                              2908 W
                                                                              Washington
                                                                              BOULEVARD
                                               Active                         Chicago IL
        QS-9A       CPS            No          School        CATHER           60612             1         52579      52579
                                                                              2745 W
                                                                              Roosevelt
                                                                              ROAD
                                               Active                         Chicago IL
        QS-9A       CPS            No          School        CHALMERS         60608             2         68184      68184
                                                                              2131 W
                                                                              Foster
                                                                              AVENUE
                                               Active                         Chicago IL
        QS-9A       CPS            No          School        CHAPPELL         60625             3         87149      87149
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                                                                                  Schedule 4
                                                                                List of Facilities
                                                                                Campus Level
                                                                                      2021 N
                                                                                      Point
                                                                                      STREET
                                               Active                                 Chicago IL
        QS-9A       CPS            No          School        CHASE                    60647                   2   84715            84715
                                                                                      4747 S       4831 S
                                                                                      Marshfield Hermitage
                                                                                      AVENUE       AVENUE
                                               Active                                 Chicago IL Chicago IL
        QS-9A       CPS            No          School        CHAVEZ                   60609        60609      3   68408    29072   97480
                                                                                      2714 W
                                                                                      Augusta
                                                                                      BOULEVARD
                                               Active                                 Chicago IL
        QS-9A       Opt-in         No          School        CHIARTS HS               60622                   3   171400           171400
                                                                                      3400 N
                                                                                      Austin
                                                             CHICAGO      CHICAGO     AVENUE
                                               Active        ACADEMY      ACADEMY     Chicago IL
        QS-9A       CPS            Yes         School        ES           HS          60634                   2   250844           250844
                                                                                      3857 W
                                                                                      111th
                                                             CHICAGO                  STREET
                                               Active        AGRICULTU                Chicago IL
        QS-9A       CPS            No          School        RE HS                    60655                   3   192250           192250
                                                                                      3533 S Giles
                                                             CHICAGO                  AVENUE
                                               Active        MILITARY                 Chicago IL
        QS-9A       CPS            No          School        HS                       60653                   2   121900           121900
                                                                                      1301 W 14th
                                                                                      STREET
                                               Active        CHICAGO                  Chicago IL
        QS-9A       Opt-in         No          School        TECH HS                  60608                   1   48600            48600
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                                                                           Schedule 4
                                                                         List of Facilities
                                                                         Campus Level
                                                                               2100 E 87th
                                                             CHICAGO           STREET
                                               Active        VOCATIONA         Chicago IL
        QS-9A       CPS            No          School        L HS              60617                   4   684248           684248
                                                                               2450 W Rice
                                                                               STREET
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        CHOPIN            60622                   1   96895            96895
                                                                               5042 S
                                                                               Artesian
                                                                               AVENUE
                                               Active        CHRISTOPH         Chicago IL
        QS-9A       CPS            No          School        ER                60632                   3   76800            76800
                                                                               801 E 133rd
                                                                               PLACE,
                                                             CICS-             Chicago IL
        QS-9B       CPS            No          Closed        HAWKINS           60827                   1   144504           144504
                                                                               2300 W 64th
                                                                               STREET
                                               Active        CLAREMON          Chicago IL
        QS-9A       CPS            No          School        T                 60636                   1   112806           112806
                                                                               1045 S
                                                                               Monitor
                                                                               AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        CLARK ES          60644                   2   43600            43600
                                                                               5101 W
                                                                               Harrison
                                                                               STREET
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        CLARK HS          60644                   1   150700           150700
                                                                               13231 S     3340 E
                                                                               Burley      134th
                                                                               AVENUE      STREET
                                               Active                          Chicago IL Chicago IL
        QS-9A       CPS            No          School        CLAY              60633       60633       3   81950     9820   91770
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                                                                                 Schedule 4
                                                                               List of Facilities
                                                                               Campus Level
                                                                                     1147 N
                                                                                     Western
                                                                                     AVENUE
                                               Active        CLEMENTE                Chicago IL
        QS-9A       CPS            No          School        HS                      60622          2     433342     433342
                                                                                     3121 W
                                                                                     Byron
                                                                                     STREET
                                               Active                                Chicago IL
        QS-9A       CPS            No          School        CLEVELAND               60618          2     97461      97461
                                                                                     6110 N
                                                                                     Fairfield
                                                                                     AVENUE
                                               Active                                Chicago IL
        QS-9A       CPS            No          School        CLINTON                 60659          3     136047     136047

                                                                                   2350 W
                                                                                   110th PLACE
                                               Active                              Chicago IL
        QS-9A       CPS            No          School        CLISSOLD              60643            2     63257      63257
                                                                                   1441 W
                                                                                   119th
                                                                                   STREET
                                               Active                              Chicago IL
        QS-9A       CPS            No          School        COLEMON               60643            1     34600      34600
                                                                                   8442 S
                                                                                   Phillips
                                                                                   AVENUE
                                               Active                              Chicago IL
        QS-9A       CPS            No          School        COLES                 60617            6     94614      94614
                                                                                   1313 S
                                                                                   Sacramento
                                                                        NORTH      DRIVE
                                               Active                   LAWNDALE - Chicago IL
        QS-9A       CPS            Yes         School        COLLINS HS COLLINS HS 60623            3     206018     206018
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                                                                                 Schedule 4
                                                                               List of Facilities
                                                                               Campus Level
                                                                                     4520 S      4628 S
                                                                                     Kedzie      Kedzie
                                                                                     AVENUE      AVENUE
                                               Active        COLUMBIA                Chicago IL Chicago IL
        QS-9A       CPS            No          School        EXPLORERS               60632       60632       4   90500    17552   108052
                                                                                     1003 N
                                                                                     Leavitt
                                                                                     STREET
                                               Active                                Chicago IL
        QS-9A       CPS            No          School        COLUMBUS                60622                   2   39036            39036
                                                                                     8150 S
                                                                                     Bishop
                                                                                     STREET
                                               Active                                Chicago IL
        QS-9A       CPS            No          School        COOK                    60620                   2   98500            98500
                                                                                     4046 N
                                                                                     Leavitt
                                                                                     STREET
                                               Active                                Chicago IL
        QS-9A       CPS            No          School        COONLEY                 60618                   4   107635           107635
                                                                                     1624 W 19th
                                                                                     STREET
                                               Active                                Chicago IL
        QS-9A       CPS            No          School        COOPER                  60608                   2   131200           131200
                                                                                     2510 S
                                                                                     Kildare
                                                                                     AVENUE
                                               Active                                Chicago IL
        QS-9A       CPS            No          School        CORKERY                 60623                   2   71668            71668
                                                                                     821 E 103rd
                                                                                     STREET
                                               Active                   NOBLE -      Chicago IL
        QS-9A       CPS            Yes         School        CORLISS HS BUTLER HS    60628                   2   272651           272651
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                                                                            Schedule 4
                                                                          List of Facilities
                                                                          Campus Level
                                                                                4420 N
                                                                                Beacon
                                                                                STREET
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        COURTENAY          60640           2         112070     112070

                                                                                4425 N
                                                             Courtenay          Magnolia
                                                             CPC @              Ave, Chicago
        QS-2A       CPS            No          Closed        Stockton           IL 60640        1          7700       7700
                                                                                4720 S St.
                                                                                Louis
                                                                                AVENUE,
                                               Warehous CPS                     Chicago IL
        QS-5B       CPS            No          e        Warehouse               60632           2         249000     249000
                                                                                2245 W
                                                                                Jackson
                                                                                BOULEVARD
                                               Active        CRANE              Chicago IL
        QS-9A       CPS            No          School        MEDICAL HS         60612           2         419415     419415
                                                                                2128 S Saint
                                                                                Louis
                                                                                AVENUE
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        CROWN              60623           1         63352      63352
                                                                                8324 S
                                                                                Racine
                                                                                AVENUE
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        CUFFE              60620           1         82120      82120
                                                                                10650 S
                                                                                Eberhart
                                                                                AVENUE
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        CULLEN             60628           1         25927      25927
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                                                                          Schedule 4
                                                                        List of Facilities
                                                                        Campus Level
                                                                              4959 S
                                                                              Archer
                                                                              AVENUE
                                               Active                         Chicago IL
        QS-9A       CPS            No          School        CURIE HS         60632             2         415577     415577
                                                                              11445 S
                                                                              State
                                                                              STREET
                                               Active                         Chicago IL
        QS-9A       CPS            No          School        CURTIS           60628             2         103610     103610
                                                                              5024 S
                                                                              Wolcott
                                                                              AVENUE
                                               Active                         Chicago IL
        QS-9A       CPS            No          School        DALEY            60609             1         73350      73350
                                                                              3116 W
                                                                              Belden
                                                                              AVENUE
                                               Active                         Chicago IL
        QS-9A       CPS            No          School        DARWIN           60647             3         121241     121241
                                                                              6740 S
                                                                              Paulina
                                                                              STREET
                                               Active                         Chicago IL
        QS-9A       CPS            No          School        DAVIS M          60636             1         104200     104200
                                                                              3014 W 39th
                                                                              PLACE
                                               Active                         Chicago IL
        QS-9A       CPS            No          School        DAVIS N          60632             4         121557     121557
                                                                              3810 W 81st
                                                                              PLACE
                                               Active                         Chicago IL
        QS-9A       CPS            No          School        DAWES            60652             3         90061      90061
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                                                                              Schedule 4
                                                                            List of Facilities
                                                                            Campus Level
                                                                                  1313 N
                                                                                  Claremont
                                                                                  AVENUE
                                               Active                             Chicago IL
        QS-9A       CPS            No          School        DE DIEGO             60622          2        238557     238557
                                                                                  7030 N
                                                                                  Sacramento
                                                                                  AVENUE
                                               Active                             Chicago IL
        QS-9A       CPS            No          School        DECATUR              60645          2        42434      42434
                                                                                  7240 S
                                                                                  Wabash
                                                                                  AVENUE
                                               Active                             Chicago IL
        QS-9A       CPS            No          School        DENEEN               60619          4        87736      87736
                                                                                  139 S
                                                                                  Parkside
                                                                                  AVENUE
                                               Active                             Chicago IL
        QS-9A       CPS            No          School        DEPRIEST             60644          1        106650     106650
                                                                                  138 South
                                                                                  Parkside
                                                                                  Avenue,
                                               Vacant                             Chicago IL
        QS-3A       CPS            No          Land          Depriest Lot         60644          0         8845       8845
                                                                                  2131 W
                                                                                  Monroe
                                                                                  STREET
                                               Active                             Chicago IL
        QS-9A       CPS            No          School        DETT                 60612          1        70600      70600
                                                                                  2306 W
                                                                                  Maypole
                                                                                  AVE,
                                                                                  Chicago IL
        QS-2B       CPS            No          Closed        Dett                 60612          1        68494      68494
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                                                                              Schedule 4
                                                                            List of Facilities
                                                                            Campus Level
                                                                                  3436 N
                                                                                  Osceola
                                                                                  AVENUE
                                               Active                             Chicago IL
        QS-9A       CPS            No          School        DEVER                60634                       4   66250           66250
                                                                                  5415 S
                                                                                  Union
                                                                                  AVENUE
                                               Active                             Chicago IL
        QS-9A       CPS            No          School        DEWEY                60609                       2   86191           86191
                                                                                  8601 W         8300 W
                                                                                  Foster         Addison
                                                                                  AVENUE         STREET
                                               Active                             Chicago IL     Chicago IL
        QS-9A       CPS            No          School        DIRKSEN              60656          60634        6   122839   4712   127551
                                                                                  4140 N
                                                                                  Marine
                                                                                  DRIVE
                                               Active                             Chicago IL
        QS-9A       CPS            No          School        DISNEY               60613                       2   260140          260140
                                                                                  3815 N
                                                                                  Kedvale
                                                                                  AVENUE
                                               Active                             Chicago IL
        QS-9A       CPS            No          School        DISNEY II ES         60641                       1   50560           50560

                                                                                  3900 N
                                                                                  LAWNDALE
                                               Active                             AVE Chicago
        QS-9A       CPS            No          School        DISNEY II HS         IL 60618                    3   181923          181923
                                                                                  8306 S Saint
                                                                                  Lawrence
                                                                                  AVENUE
                                               Active                             Chicago IL
        QS-9A       CPS            No          School        DIXON                60619                       1   101627          101627
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                                                                                Schedule 4
                                                                              List of Facilities
                                                                              Campus Level
                                                                                    535 E 35th
                                                                                    STREET
                                               Active                               Chicago IL
        QS-9A       CPS            No          School        DOOLITTLE              60616               2   112296           112296
                                                                                            6108 S
                                                                                7134 W 65th Natoma
                                                                                STREET      AVENUE
                                               Active                           Chicago IL Chicago IL
        QS-9A       CPS            No          School        DORE               60638       60638       3   113000   20216   133216
                                                                                543 N
                                                                                Waller
                                                                                AVENUE
                                               Active        DOUGLASS           Chicago IL
        QS-9A       CPS            No          School        HS                 60644                   1   135210           135210
                                                                                2710 S
                                                                                Dearborn
                                                                                STREET
                                               Active                 SOUTHSIDE Chicago IL
        QS-9A       CPS            Yes         School        DRAKE    HS        60616                   2   148150           148150
                                                                                1845 W
                                                                                Cortland
                                                                                STREET
                                               Active        DRUMMON            Chicago IL
        QS-9A       CPS            No          School        D                  60622                   1   47500            47500
                                                                                330 E 133rd
                                                                                STREET
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        DUBOIS             60827                   1   27248            27248
                                                                                6311 S
                                                                                Calumet
                                                                                AVENUE
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        DULLES             60637                   1   70786            70786
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                                                                            Schedule 4
                                                                          List of Facilities
                                                                          Campus Level
                                                                                3000 S King
                                                                                DRIVE
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        DUNBAR HS          60616           1         319937     319937
                                                                                10845 S
                                                                                Union
                                                                                AVENUE
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        DUNNE              60628           2         34038      34038
                                                                                8445 S Kolin
                                                                                AVENUE
                                               Active        DURKIN             Chicago IL
        QS-9A       CPS            No          School        PARK               60652           5         86520      86520
                                                                                3615 W 16th
                                                                                STREET
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        DVORAK             60623           1         69287      69287
                                                                                555 E 51st
                                                                                STREET
                                               Active        DYETT ARTS         Chicago IL
        QS-9A       CPS            No          School        HS                 60615           2         162840     162840
                                                                                1710 E 93rd
                                                                                STREET
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        EARHART            60617           3         28152      28152

                                                                                2040 W
                                                                                62nd STREET
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        EARLE              60636           1         67506      67506
                                                                                6121 S
                                                                                Hermitage
                                                                                AVENUE,
                                                                                Chicago IL
        QS-7A       CPS            No          Closed        Earle              60636           3         86390      86390
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                                                                           Schedule 4
                                                                         List of Facilities
                                                                         Campus Level
                                                                               3400 W 65th
                                                                               PLACE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        EBERHART          60629                   3   164398            164398
                                                                               7350 W
                                                                               Pratt
                                                                               AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        EBINGER           60631                   2   93518             93518
                                                                               2426 E 82nd
                                                                               STREET,
                                                             Eckersall         Chicago IL
        QS-8B       CPS            No          Stadium       Stadium           60617                   1    6500              6500
                                                                               6525 N
                                                                               Hiawatha
                                                                               AVENUE
                                               Active        EDGEBROO          Chicago IL
        QS-9A       CPS            No          School        K                 60646                   4   65590             65590
                                                                               6220 N
                                                                               Olcott
                                                                               AVENUE
                                               Active        EDISON            Chicago IL
        QS-9A       CPS            No          School        PARK              60631                   2   60475             60475
                                                                               4815 S      4950 S
                                                                               Karlov      LaPorte
                                                                               AVENUE      AVENUE
                                               Active                          Chicago IL Chicago IL
        QS-9A       CPS            No          School        EDWARDS           60632       60638       5   159369    15774   175143
                                                                               243 N
                                                                               Parkside
                                                                               AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        ELLINGTON         60644                   1   112380            112380
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                                                                           Schedule 4
                                                                         List of Facilities
                                                                         Campus Level
                                                                               6835 S
                                                                               NORMAL
                                               Active        Englewood         Chicago IL
        QS-9A       CPS            No          School        STEM              60621-2535       1         160000     160000
                                                                               3600 W 5th
                                                                               AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        ERICSON           60624            1         74410      74410
                                                                               1865 W
                                                                               Montvale
                                                                               AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        ESMOND            60643            3         53700      53700
                                                                               3419 S Bell
                                                                               AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        EVERETT           60608            2         53495      53495
                                                                               3537 S
                                                                               Paulina
                                                                               STREET
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        EVERGREEN         60609            1         50060      50060

                                                                               9811 S Lowe
                                                                               AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        EVERS             60628            1         52968      52968
                                                                               6201 S
                                                                               Fairfield
                                                                               AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        FAIRFIELD         60629            1         79926      79926
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                                                                           Schedule 4
                                                                         List of Facilities
                                                                         Campus Level
                                                                               3020 N
                                                                               Lamon
                                                                               AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        FALCONER          60641            2         165513     165513
                                                                               3250 W
                                                                               Monroe
                                                                               STREET
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        FARADAY           60624            1         61645      61645
                                                                               5414 N
                                                                               Linder
                                                                               AVENUE
                                               Active        FARNSWOR          Chicago IL
        QS-9A       CPS            No          School        TH                60630            2         81712      81712
                                                                               2345 S
                                                                               Christiana
                                                                               AVENUE
                                               Active        FARRAGUT          Chicago IL
        QS-9A       CPS            No          School        HS                60623            2         359255     359255
                                                                               11220 S
                                                                               Wallace
                                                                               STREET
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        FENGER HS         60628            1         341000     341000
                                                                               10041 S
                                                                               Union
                                                                               AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        FERNWOOD          60628            2         67170      67170
                                                                               7019 N
                                                                               Ashland
                                                                               AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        FIELD             60626            3         104418     104418
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                                                                             Schedule 4
                                                                           List of Facilities
                                                                           Campus Level
                                                                                 2332 S
                                                                                 Western
                                                                                 AVENUE
                                               Active                            Chicago IL
        QS-9A       CPS            No          School        FINKL               60608          1         71980      71980
                                                                                 6020 S
                                                                                 Langley
                                                                                 AVENUE
                                               Active                            Chicago IL
        QS-9A       CPS            No          School        FISKE               60637          2         105274     105274
                                                                                 6145 S
                                                                                 Ingleside
                                                                                 AVENUE,
                                                                                 Chicago IL
        QS-8A       CPS            No          Closed        Fiske               60637          1         73930      73930
                                                                                 3235 N
                                                                                 LeClaire
                                                                                 AVENUE
                                               Active        FOREMAN             Chicago IL
        QS-9A       CPS            No          School        HS                  60641          2         234393     234393
                                                                                 6717 S
                                                                                 Wood
                                                                                 STREET,
                                               Vacant        Formerly            Chicago IL
        QS-7A       CPS            No          Land          Miles Davis         60636          0         55240      55240
                                                                                 9025 S
                                                                                 Throop
                                                                                 STREET
                                               Active        FORT                Chicago IL
        QS-9A       CPS            No          School        DEARBORN            60620          3         106624     106624
                                                                                 8530 S
                                                                                 Wood
                                                                                 STREET
                                               Active        FOSTER              Chicago IL
        QS-9A       CPS            No          School        PARK                60620          3         68005      68005
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                                                                            Schedule 4
                                                                          List of Facilities
                                                                          Campus Level
                                                                                225 W
                                                                                Evergreen
                                                                                AVENUE
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        FRANKLIN           60610           1         53097      53097
                                                                                4027 W
                                                                                Grenshaw
                                                             FRAZIER            STREET
                                               Active        PROSPECTIV         Chicago IL
        QS-9A       CPS            No          School        E                  60624           1         72000      72000
                                                                                4214 S St
                                                                                Lawrence
                                                                                AVENUE
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        FULLER             60653           1         91800      91800
                                                                                5300 S
                                                                                Hermitage
                                                                                AVENUE
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        FULTON             60609           2         96598      96598

                                                                                2010 N
                                                                                Central Park
                                                                                AVENUE
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        FUNSTON            60647           3         107729     107729
                                                                                5630 S
                                                                                Rockwell
                                                                                STREET
                                               Active        GAGE PARK          Chicago IL
        QS-9A       CPS            No          School        HS                 60629           1         219411     219411
                                                                                1631 W
                                                                                Jonquil
                                                                                TERRACE
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        GALE               60626           3         157816     157816
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                                                                             Schedule 4
                                                                           List of Facilities
                                                                           Campus Level
                                                                                 820 S
                                                                                 Carpenter
                                                                                 STREET
                                               Active                            Chicago IL
        QS-9A       CPS            No          School        GALILEO             60607          2         102703     102703
                                                                                 10347 S
                                                                                 Ewing
                                                                                 AVENUE
                                               Active                            Chicago IL
        QS-9A       CPS            No          School        GALLISTEL           60617          4         94577      94577
                                                                                 10309 S
                                                                                 Morgan
                                                                                 STREET
                                               Active                            Chicago IL
        QS-9A       CPS            No          School        GARVEY              60643          1         55354      55354
                                                                                 5225 N Oak
                                                                                 Park
                                                                                 AVENUE
                                               Active                            Chicago IL
        QS-9A       CPS            No          School        GARVY               60656          3         79665      79665
                                                                                 3740 W 31st
                                                                                 STREET
                                               Active                            Chicago IL
        QS-9A       CPS            No          School        GARY                60623          3         132193     132193
                                                                                 810 E 103rd
                                                                                 STREET,
                                                             Gately              Chicago IL
        QS-9A       CPS            No          Stadium       Stadium             60628          1          7200       7200
                                                                                 9301 S State
                                                                                 STREET
                                               Active                            Chicago IL
        QS-9A       CPS            No          School        GILLESPIE           60619          2         91300      91300
                                                                                 4941 W 46th
                                                                                 STREET
                                               Active        GLOBAL              Chicago IL
        QS-9A       Opt-in         No          School        CITIZENSHIP         60638          1         29461      29461
DocuSign Envelope ID: 8A8FC2E7-17BC-412D-A83A-6961D0918A3B
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                                                                           Schedule 4
                                                                         List of Facilities
                                                                         Campus Level
                                                                               2236 N
                                                                               Rockwell
                                                                               STREET
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        GOETHE            60647                       2   80028            80028
                                                                               4257 W
                                                                               Adams
                                                                               STREET,
                                                                               Chicago IL
        QS-4A       CPS            No          Closed        Goldblatt         60624                       2   61378            61378
                                                                               10211 S
                                                                               Crandon
                                                                               AVENUE,
                                                                               Chicago IL
        QS-9B       CPS            No          Closed        Goldsmith         60617                       1   14559            14559
                                                                               7651 S
                                                                               Homan
                                                                               AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        GOODE HS          60652                       1   208200           208200
                                                                               5120 N
                                                                               Winthrop
                                                                               AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        GOUDY             60640                       3   98019            98019
                                                                               4436 S         745 W
                                                                               Union          45th
                                                                               AVENUE         STREET
                                               Active                          Chicago IL     Chicago IL
        QS-9A       CPS            No          School        GRAHAM ES         60609          60609        2   73500    43000   116500
                                                                               2347 S
                                                                               Wabash
                                                                               AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        GRAHAM HS         60616                       2   23403            23403
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                                                                         Schedule 4
                                                                       List of Facilities
                                                                       Campus Level
                                                                             3730 N
                                                                             Laramie
                                                                             AVENUE
                                               Active                        Chicago IL
        QS-9A       CPS            No          School        GRAY            60641                   3    129990             129990
                                                                             832 W
                                                                             Sheridan
                                                                             ROAD
                                               Active                        Chicago IL
        QS-9A       CPS            No          School        GREELEY         60613                   1    60718              60718
                                                                             1150 W 96th
                                                                             STREET
                                               Active                        Chicago IL
        QS-9A       CPS            No          School        GREEN           60643                   1    40088              40088
                                                                             3525 S
                                                                             Honore
                                                                             STREET
                                               Active                        Chicago IL
        QS-9A       CPS            No          School        GREENE          60609                   1    82455              82455
                                                                             3715 W Polk
                                                                             STREET
                                               Active                        Chicago IL
        QS-9A       CPS            No          School        GREGORY         60624                   3    109900             109900
                                                                             8524 S
                                                                             Green
                                                                             STREET
                                               Active                        Chicago IL
        QS-9A       CPS            No          School        GRESHAM         60620                   3    113339             113339
                                                                                         4918 W
                                                                             5450 W 64th 64th
                                                                             PLACE       STREET
                                               Active                        Chicago IL Chicago IL
        QS-9A       CPS            No          School        GRIMES          60638       60638       4    26907      13953   40860
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                                                                          Schedule 4
                                                                        List of Facilities
                                                                        Campus Level
                                                                              12810 S
                                                                              Escanaba
                                                                              AVENUE
                                               Active                         Chicago IL
        QS-9A       CPS            No          School        GRISSOM          60633                   2   31615              31615
                                                                              4420 S
                                                                              Sacramento
                                                                              AVENUE
                                               Active        GUNSAULU         Chicago IL
        QS-9A       CPS            No          School        S                60632                   1   106519             106519
                                                                              247 W 23rd
                                                                              PLACE
                                               Active                         Chicago IL
        QS-9A       CPS            No          School        HAINES           60616                   1   75558              75558
                                                                              6140 S
                                                                              Melvina
                                                                              AVENUE
                                               Active                         Chicago IL
        QS-9A       CPS            No          School        HALE             60638                   2   99233              99233
                                                                              11411 S
                                                                              Eggleston
                                                                              AVENUE
                                               Active                         Chicago IL
        QS-9A       CPS            No          School        HALEY            60628                   2   101294             101294
                                                                              1650 W
                                                                              Cornelia
                                                                              AVENUE
                                               Active                         Chicago IL
        QS-9A       CPS            No          School        HAMILTON         60657                   1   74643              74643
                                                                              4747 S     1548 W
                                                                              Bishop     48th
                                                                              STREET     STREET
                                               Active                         Chicago IL Chicago IL
        QS-9A       CPS            No          School        HAMLINE          60609      60609        3   79511      37552   117063
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                                                                           Schedule 4
                                                                         List of Facilities
                                                                         Campus Level
                                                                               2819 W 21st
                                                                               PLACE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        HAMMOND           60623                   2   59692             59692
                                                                               2869 West
                                                                               21st Place,
                                               Vacant        Hammond           Chicago IL
        QS-5A       CPS            No          Land          Lot               60623                   0    9500              9500
                                                                               3434 W 77th
                                                                               STREET
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        HAMPTON           60652                   1   98776             98776
                                                                               4034 W 56th
                                                                               STREET
                                                             HANCOCK           Chicago IL
        QS-6A       CPS            No          Closed        HS                60629                   1   169086            169086
                                                                               5423 W 64th
                                                                               PLACE
                                               Active        HANCOCK           Chicago IL
        QS-6A       CPS            No          School        HS                60638                   1   179600            179600
                                                                               5411 W      2318 N
                                                                               Fullerton   Lorel
                                                                               AVENUE      AVENUE
                                               Active        HANSON            Chicago IL Chicago IL
        QS-9A       CPS            No          School        PARK              60639       60639       4   100340    32476   132816
                                                                               5501 W
                                                                               Fullerton
                                                             Hanson            AVENUE,
                                                             Park              Chicago IL
        QS-3A       CPS            No          Stadium       Stadium           60639                   1   10000             10000
                                                                               9652 S
                                                                               Michigan
                                                                               AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        HARLAN HS         60628                   3   169730            169730
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                                                                           Schedule 4
                                                                         List of Facilities
                                                                         Campus Level
                                                                               6520 S
                                                                               Wood
                                                                               STREET
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        HARPER HS         60636            2         220787     220787
                                                                               1556 E 56th
                                                                               STREET
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        HARTE             60637            3         34281      34281
                                                                               7527 S
                                                                               Harvard
                                                                               AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        HARVARD           60620            2         80584      80584
                                                                               4540 N
                                                                               Hamlin
                                                                               AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        HAUGAN            60625            2         137971     137971
                                                                               3319 N
                                                                               Clifton
                                                                               AVENUE
                                               Active        HAWTHORN          Chicago IL
        QS-9A       CPS            No          School        E                 60657            3         71199      71199
                                                                               1018 N
                                                                               Laramie
                                                                               AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        HAY               60651            1         94900      94900
                                                                               1518 W
                                                                               Granville
                                                                               AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        HAYT              60660            3         118800     118800
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                                                                           Schedule 4
                                                                         List of Facilities
                                                                         Campus Level
                                                                               3010 S
                                                                               Parnell
                                                                               AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        HEALY             60616            2         114704     114704
                                                                               4640 S
                                                                               Lamon
                                                                               AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        HEARST            60638            2         84178      84178
                                                                               4747 S
                                                                               Winchester
                                                                               AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        HEDGES            60609            2         101940     101940
                                                                               4409 W
                                                                               Wilcox
                                                                               STREET
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        HEFFERAN          60624            1         60934      60934
                                                                               5650 S
                                                                               Wolcott
                                                                               AVENUE
                                               Active        HENDERSO          Chicago IL
        QS-9A       CPS            No          School        N                 60636            1         81110      81110
                                                                               4316 S
                                                                               Princeton
                                                                               AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        HENDRICKS         60609            1         56857      56857
                                                                               4250 N Saint
                                                                               Louis
                                                                               AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        HENRY             60618            2         90100      90100
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                                                                                  Schedule 4
                                                                                List of Facilities
                                                                                Campus Level


                                                                                      1326 S Avers
                                                                                      Avenue,
                                                                                      Chicago IL
        QS-4A       CPS            No          Closed        Henson                   60623          1    64300      64300

                                                                                      1334 S Avers
                                                                                      Avenue,
                                               Vacant                                 Chicago IL
        QS-4A       CPS            No          Land          Henson Lot               60623          0     2978       2978
                                                                                      3510 W 55th
                                                                                      STREET
                                               Active                                 Chicago IL
        QS-9A       CPS            No          School        HERNANDEZ                60632          1    127162     127162
                                                                                      3711 W
                                                                                      Douglas
                                                                                      BOULEVARD
                                               Active                     FRAZIER     Chicago IL
        QS-9A       Opt-in         Yes         School        HERZL        CHARTER     60623          2    151436     151436
                                                                                      3244 W
                                                                                      Ainslie
                                                                                      STREET
                                               Active                                 Chicago IL
        QS-9A       CPS            No          School        HIBBARD                  60625          2    169900     169900
                                                                                      11710 S
                                                                                      Morgan
                                                                                      STREET
                                               Active                                 Chicago IL
        QS-9A       CPS            No          School        HIGGINS                  60643          2    51303      51303
                                                                                      7740 S
                                                                                      Ingleside
                                                                                      AVENUE
                                               Active                                 Chicago IL
        QS-9A       CPS            No          School        HIRSCH HS                60619          1    217770     217770
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                                                                                   Schedule 4
                                                                                 List of Facilities
                                                                                 Campus Level
                                                                                       5625 N
                                                                                       McVicker
                                                                                       AVENUE
                                               Active                                  Chicago IL
        QS-9A       CPS            No          School        HITCH                     60646          2   82050      82050
                                                                                       1104 W 31st
                                                                                       STREET
                                               Active                                  Chicago IL
        QS-9A       CPS            No          School        HOLDEN                    60608          3   99762      99762
                                                                                       955 W
                                                                                       Garfield
                                                                                       BOULEVARD
                                               Active                                  Chicago IL
        QS-9A       CPS            No          School        HOLMES                    60621          3   67141      67141

                                                                                       5515 S Lowe
                                                                                       AVENUE
                                               Active                   KIPP -         Chicago IL
        QS-9A       CPS            Yes         School        HOPE HS    BLOOM          60621          1   159500     159500

                                                                                       1628 W
                                                                                       Washington
                                                             HOPE                      BOULEVARD
                                               Active        LEARNING                  Chicago IL
        QS-9A       Opt-in         Yes         School        ACADEMY    RUDOLPH        60612          2   263250     263250
                                                                                       720 N Lorel
                                                                                       AVENUE
                                               Active                                  Chicago IL
        QS-9A       CPS            No          School        HOWE                      60644          2   69535      69535
                                                                                       8905 S
                                                                                       Crandon
                                                                                       AVENUE
                                               Active                                  Chicago IL
        QS-9A       CPS            No          School        HOYNE                     60617          2   27984      27984
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                                                                                   Schedule 4
                                                                                 List of Facilities
                                                                                 Campus Level
                                                                                       6200 S
                                                                                       Hamlin
                                                                                       AVENUE
                                               Active        HUBBARD                   Chicago IL
        QS-9A       CPS            No          School        HS                        60629          3   218200     218200
                                                                                       4247 W 15th
                                                                                       STREET
                                               Active                                  Chicago IL
        QS-9A       CPS            No          School        HUGHES C                  60623          1   49043      49043

                                                                                       240 W 104th
                                                                                       STREET
                                               Active                                  Chicago IL
        QS-9A       CPS            No          School        HUGHES L                  60628          1   100000     100000
                                                                                       3849 W 69th
                                                                                       PLACE
                                               Active                                  Chicago IL
        QS-9A       CPS            No          School        HURLEY                    60629          5   55250      55250

                                                                                       6220 S Stony
                                                                                       Island
                                                                                       AVENUE
                                               Active        HYDE PARK                 Chicago IL
        QS-9A       CPS            No          School        HS                        60637          4   324961     324961
                                                                         MULTICULT
                                                                         URAL HS,
                                                                         SOCIAL        3120 S
                                                                         JUSTICE HS,   Kostner
                                                                         WORLD         AVENUE
                                               Active                    LANGUAGE      Chicago IL
        QS-9A       CPS            No          School        INFINITY HS HS            60623          1   290134     290134
                                                                                       851 W
                                                                                       Waveland
                                                                                       AVENUE
                                               Active        INTER-                    Chicago IL
        QS-9A       CPS            No          School        AMERICAN                  60613          2   110443     110443
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                                                                           Schedule 4
                                                                         List of Facilities
                                                                         Campus Level


                                                                               749 S Oakley
                                                                               BOULEVARD
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        IRVING            60612            1         55148      55148
                                                                               1340 W
                                                                               Harrison
                                                                               STREET
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        JACKSON A         60607            1         74135      74135
                                                                               917 W 88th
                                                                               STREET
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        JACKSON M         60620            1         74586      74586
                                                                               3149 N
                                                                               Wolcott
                                                                               AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        JAHN              60657            1         83029      83029
                                                                               5650 N
                                                                               Mozart
                                                                               STREET
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        JAMIESON          60659            4         111599     111599
                                                                               3030 W
                                                                               Harrison
                                                                               STREET
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        JENSEN            60612            2         64440      64440
                                                                               1420 S
                                                                               Albany
                                                                               AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        JOHNSON           60623            2         71422      71422
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                                                                           Schedule 4
                                                                         List of Facilities
                                                                         Campus Level
                                                                               700 S State
                                                                               STREET
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        JONES HS          60605            5         383631     383631
                                                                               7931 S
                                                                               Honore
                                                                               STREET
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        JOPLIN            60620            1         77483      77483
                                                                               7414 N
                                                                               Wolcott
                                                                               AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        JORDAN            60626            1         66950      66950
                                                                               1510 W
                                                                               Cermak
                                                                               ROAD
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        JUAREZ HS         60608            3         256400     256400
                                                                               10330 S
                                                                               Elizabeth
                                                                               STREET
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        JULIAN HS         60643            3         266404     266404
                                                                               1746 S
                                                                               Miller
                                                                               STREET
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        JUNGMAN           60608            2         69850      69850
                                                                               2233 S
                                                                               Kedzie
                                                                               AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        KANOON            60623            1         67900      67900
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                                                                          Schedule 4
                                                                        List of Facilities
                                                                        Campus Level
                                                                              3020 W
                                                                              108th
                                                                              STREET
                                               Active                         Chicago IL
        QS-9A       CPS            No          School        KELLER           60655                   1   36864              36864
                                                                              3030 W
                                                                              Arthington
                                                                              STREET
                                               Active                         Chicago IL
        QS-9A       CPS            No          School        KELLMAN          60612                   1   75510              75510
                                                                              9241 S
                                                                              Leavitt
                                                                              STREET
                                               Active                         Chicago IL
        QS-9A       CPS            No          School        KELLOGG          60620                   3   30843              30843
                                                                              4136 S
                                                                              California
                                                                              AVENUE
                                               Active                         Chicago IL
        QS-9A       CPS            No          School        KELLY HS         60632                   2   298432             298432

                                                                              4343 W
                                                                              Wrightwood
                                               Active        KELVYN           AVE Chicago
        QS-9A       CPS            No          School        PARK HS          IL 60639                2   188084             188084
                                                                              6325 W 56th
                                                                              STREET
                                               Active        KENNEDY          Chicago IL
        QS-9A       CPS            No          School        HS               60638                   1   233791             233791
                                                                              5015 S      4959 S
                                                                              Blackstone Blackstone
                                                                              AVENUE      AVENUE
                                               Active        KENWOOD          Chicago IL Chicago IL
        QS-9A       CPS            No          School        HS               60615       60615       5   272432     41382   313814
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                                                                         Schedule 4
                                                                       List of Facilities
                                                                       Campus Level


                                                                             6450 S Lowe
                                                                             AVENUE
                                               Active                        Chicago IL
        QS-9A       CPS            No          School        KERSHAW         60621              1         51900      51900
                                                                             6700 N
                                                                             Greenview
                                                                             AVENUE
                                               Active                        Chicago IL
        QS-9A       CPS            No          School        KILMER          60626              2         106366     106366
                                                                             644 W 71st
                                                                             STREET
                                               Active                        Chicago IL
        QS-9A       CPS            No          School        KING ES         60621              1         71892      71892
                                                                             4445 S
                                                                             Drexel
                                                                             BOULEVARD
                                               Active                        Chicago IL
        QS-9A       CPS            No          School        KING HS         60653              1         310545     310545
                                                                             5625 S
                                                                             Mobile
                                                                             AVENUE
                                               Active                        Chicago IL
        QS-9A       CPS            No          School        KINZIE          60638              1         111615     111615
                                                                             9351 S
                                                                             Wallace
                                                                             STREET
                                               Active                        Chicago IL
        QS-9A       CPS            No          School        KIPLING         60620              3         34919      34919

                                                                             4818 W
                                                                             Ohio STREET
                                               Active        KIPP -          Chicago IL
        QS-9A       Opt-in         No          School        ACADEMY         60644              1         35633      35633
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                                                                             Schedule 4
                                                                           List of Facilities
                                                                           Campus Level
                                                                                 10414 S
                                                                                 State
                                                                                 STREET,
                                                                                 Chicago IL
        QS-9A       CPS            No          Closed        KOHN                60628          1         60624      60624
                                                                                 936 E 54th
                                                                                 STREET
                                               Active                            Chicago IL
        QS-9A       CPS            No          School        KOZMINSKI           60615          2         100709     100709
                                                                                 4015 N
                                                                                 Ashland
                                                                                 AVENUE
                                               Active        LAKE VIEW           Chicago IL
        QS-9A       CPS            No          School        HS                  60613          3         266099     266099
                                                                                 2501 W
                                                                                 Addison
                                                                                 STREET,
                                                             Lane                Chicago IL
        QS-3B       CPS            No          Stadium       Stadium             60618          1         20000      20000
                                                                                 2501 W
                                                                                 Addison
                                                                                 STREET
                                               Active        LANE TECH           Chicago IL
        QS-9A       CPS            No          School        HS                  60618          2         713935     713935
                                                                                 6010 S
                                                                                 Throop
                                                                                 STREET
                                               Active                            Chicago IL
        QS-9A       CPS            No          School        LANGFORD            60636          1         78575      78575
                                                                                 6523-5
                                                                                 South
                                                                                 Langley
                                                                                 Avenue,
                                               Vacant        Langley Lot         Chicago IL
        QS-8B       CPS            No          Land          (Till Lot)          60637          0          5788       5788
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                                                                            Schedule 4
                                                                          List of Facilities
                                                                          Campus Level
                                                                                4619 S
                                                                                Wolcott
                                                                                AVENUE
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        LARA               60609           1         67964      67964
                                                                                1734 N
                                                                                Orleans
                                                                                STREET
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        LASALLE            60614           1         47156      47156
                                                                                1148 N
                                                                                Honore
                                                                                STREET
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        LASALLE II         60622           2         92173      92173

                                                                                138 W 109th
                                                                                STREET
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        LAVIZZO            60628           1         83900      83900
                                                                                3500 W
                                                                                Douglas
                                                                                BOULEVARD
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        LAWNDALE           60623           2         116650     116650
                                                                                6448 S Tripp
                                                                                AVENUE
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        LEE                60629           5         56882      56882
                                                                                512 S
                                                                                Lavergne
                                                                                AVENUE
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        LELAND             60644           4         109407     109407
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                                                                          Schedule 4
                                                                        List of Facilities
                                                                        Campus Level
                                                                              8101 S
                                                                              LaSalle
                                                                              STREET
                                               Active                         Chicago IL
        QS-9A       CPS            No          School        LENART           60620             1         60474      60474
                                                                              1431 N
                                                                              Leamington
                                                                              AVENUE
                                               Active                         Chicago IL
        QS-9A       CPS            No          School        LEWIS            60651             2         128953     128953
                                                                              5300 S
                                                                              Loomis
                                                                              BOULEVARD
                                               Active                         Chicago IL
        QS-9A       CPS            No          School        LIBBY            60609             2         115600     115600
                                                                              615 W
                                                                              Kemper
                                                                              PLACE
                                               Active                         Chicago IL
        QS-9A       CPS            No          School        LINCOLN          60614             3         115536     115536
                                                                              2001 N
                                                                              Orchard
                                                                              STREET
                                               Active        LINCOLN          Chicago IL
        QS-9A       CPS            No          School        PARK HS          60614             4         341821     341821
                                                                              6130 S
                                                                              Wolcott
                                                                              AVENUE
                                               Active        LINDBLOM         Chicago IL
        QS-9A       CPS            No          School        HS               60636             1         305788     305788
                                                                              2620 S
                                                                              Lawndale
                                                                              AVENUE
                                               Active        LITTLE           Chicago IL
        QS-9A       CPS            No          School        VILLAGE          60623             2         73770      73770
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                                                                         Schedule 4
                                                                       List of Facilities
                                                                       Campus Level
                                                                             2103 N
                                                                             Lamon
                                                                             AVENUE
                                               Active                        Chicago IL
        QS-9A       CPS            No          School        LLOYD           60639              5         150436     150436
                                                                             2845 N
                                                                             Newcastle
                                                                             AVENUE
                                               Active                        Chicago IL
        QS-9A       CPS            No          School        LOCKE J         60634              4         117116     117116
                                                                             3231 N
                                                                             Springfield
                                                                             AVENUE
                                               Active                        Chicago IL
        QS-9A       CPS            No          School        LORCA           60618              1         105599     105599
                                                                             6333 W
                                                                             Bloomingdal
                                                                             e AVENUE
                                               Active                        Chicago IL
        QS-9A       CPS            No          School        LOVETT          60639              2         85200      85200
                                                                             3320 W
                                                                             Hirsch
                                                                             STREET
                                               Active                        Chicago IL
        QS-9A       CPS            No          School        LOWELL          60651              4         136125     136125
                                                                             1501 N
                                                                             Greenview
                                                                             AVENUE
                                               Active                        Chicago IL
        QS-9A       CPS            No          School        LOZANO          60642              1         57885      57885
                                                                             2941 N
                                                                             McVicker
                                                                             AVENUE
                                               Active                        Chicago IL
        QS-9A       CPS            No          School        LYON            60634              3         117576     117576
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                                                                            Schedule 4
                                                                          List of Facilities
                                                                          Campus Level
                                                                                3202 W 28th
                                                                                STREET
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        MADERO             60623           1         62071      62071
                                                                                7433 S
                                                                                Dorchester
                                                                                AVENUE
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        MADISON            60619           2         67700      67700
                                                                                6400 South
                                                                                Major
                                                                                Avenue,
                                                                                Chicago IL
        QS-6A       CPS            No          Parking Lot Major Lot            60638           0         48500      48500
                                                                                1420 N
                                                                                Hudson
                                                                                AVENUE
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        MANIERRE           60610           4         87876      87876
                                                                                2935 W Polk
                                                                                STREET
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        MANLEY HS          60612           1         213820     213820
                                                                                8050 S
                                                                                Chappel
                                                                                AVENUE
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        MANN               60617           2         106355     106355
                                                                                1920 N
                                                                                Hamlin
                                                             MARINE             AVENUE
                                               Active        LEADERSHIP         Chicago IL
        QS-9A       CPS            No          School        AT AMES HS         60647           1         126540     126540
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                                                                                    Schedule 4
                                                                                  List of Facilities
                                                                                  Campus Level
                                                                                        6550 S
                                                                                        Richmond
                                                                                        STREET
                                               Active        MARQUETT                   Chicago IL
        QS-9A       CPS            No          School        E                          60629          2   172688    172688
                                                                                        9822 S
                                                                                        Exchange
                                                                                        AVENUE
                                               Active                                   Chicago IL
        QS-9A       CPS            No          School        MARSH                      60617          2   140770    140770
                                                                                        3250 W
                                                                                        Adams
                                                                                        STREET
                                               Active        MARSHALL                   Chicago IL
        QS-9A       CPS            No          School        HS                         60624          2   366981    366981
                                                                                        4217 W 18th
                                                                                        STREET
                                               Active                                   Chicago IL
        QS-9A       CPS            Yes         School        MASON       LEGACY         60623          3   208829    208829
                                                                                        5835 N
                                                                                        Lincoln
                                                                                        AVENUE
                                               Active                                   Chicago IL
        QS-9A       CPS            No          School        MATHER HS                  60659          2   185689    185689
                                                                                        5733 South
                                                                                        May Street,
                                               Vacant                                   Chicago IL
        QS-7A       CPS            No          Land          May Lot                    60621          0    6752      6752
                                                                                        2250 N
                                                                                        Clifton
                                                                                        AVENUE
                                               Active                                   Chicago IL
        QS-9A       CPS            No          School        MAYER                      60614          1   73514     73514
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                                                                           Schedule 4
                                                                         List of Facilities
                                                                         Campus Level
                                                                               6656 S
                                                                               Normal
                                                                               BOULEVARD
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        MAYS              60621                   1   65017             65017
                                                                               1841 N
                                                                               Springfield
                                                                               AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        MCAULIFFE         60647                   1   90799             90799
                                                                               3527 S
                                                                               Wallace
                                                                               STREET
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        MCCLELLAN         60609                   1   58108             58108
                                                                               620 West
                                                                               35th Street,
                                                             McClellan         Chicago IL
        QS-4B       CPS            No          Parking Lot Parking Lot         60616                   0    7845              7845
                                                                               2712 S
                                                                               Sawyer
                                                                               AVENUE
                                               Active        MCCORMIC          Chicago IL
        QS-9A       CPS            No          School        K                 60623                   3   100260            100260
                                                                               4865 N       4850 N
                                                                               Sheridan     Kenmore
                                                                               ROAD         AVENUE
                                               Active        MCCUTCHE          Chicago IL Chicago IL
        QS-9A       CPS            No          School        ON                60640        60640      3   34000     15500   49500
                                                                               8801 S
                                                                               Indiana
                                                                               AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        MCDADE            60619                   3   41812             41812
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                                                                          Schedule 4
                                                                        List of Facilities
                                                                        Campus Level
                                                                              1419 E 89th
                                                                              STREET
                                               Active                         Chicago IL
        QS-9A       CPS            No          School        MCDOWELL         60619             3         17586      17586
                                                                              6901 S
                                                                              Fairfield
                                                                              AVENUE
                                               Active                         Chicago IL
        QS-9A       CPS            No          School        MCKAY            60629             2         128128     128128
                                                                              4820 W
                                                                              Walton
                                                                              STREET
                                               Active                         Chicago IL
        QS-9A       CPS            No          School        MCNAIR           60651             1         98596      98596
                                                                              4728 N
                                                                              Wolcott
                                                                              AVENUE
                                               Active        MCPHERSO         Chicago IL
        QS-9A       CPS            No          School        N                60640             4         155337     155337
                                                                              1326 W 14th
                                                                              PLACE
                                               Active                         Chicago IL
        QS-4B       Opt-in         No          School        Medill           60608             1         110540     110540
                                                                              3937 W
                                                                              Wilcox
                                                                              STREET
                                               Active                         Chicago IL
        QS-9A       CPS            No          School        MELODY           60624             3         99420      99420
                                                                              12339 S
                                                                              Normal
                                                                              AVENUE
                                               Active                         Chicago IL
        QS-9A       CPS            No          School        METCALFE         60628             2         81370      81370
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                                                                          Schedule 4
                                                                        List of Facilities
                                                                        Campus Level


                                                                              12423 S
                                                                              Eggleston
                                               Vacant        Metcalfe         Ave, Chicago
        QS-9A       CPS            No          Land          Lot              IL 60628          0          4124       4124
                                                                              9000 S
                                                                              Exchange
                                                                              AVENUE
                                               Active                         Chicago IL
        QS-9A       CPS            No          School        MIRELES          60617             4         144246     144246

                                                                              2233 W
                                                                              Ohio STREET
                                               Active                         Chicago IL
        QS-9A       CPS            No          School        MITCHELL         60612             2         56385      56385
                                                                              4415 S King
                                                                              DRIVE
                                               Active                         Chicago IL
        QS-9A       CPS            No          School        MOLLISON         60653             1         43300      43300
                                                                              3651 W
                                                                              Schubert
                                                                              AVENUE
                                               Active                         Chicago IL
        QS-9A       CPS            No          School        MONROE           60647             3         123430     123430
                                                                              1711 N
                                                                              California
                                                                              AVENUE
                                               Active                         Chicago IL
        QS-9A       CPS            No          School        MOOS             60647             2         139709     139709
                                                                              1700 North
                                                                              Fairfield
                                                                              Avenue,
                                               Vacant                         Chicago IL
        QS-2B       CPS            No          Land          Moos             60647             0          2290       2290
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                                                                            Schedule 4
                                                                          List of Facilities
                                                                          Campus Level


                                                                                8407 S
                                                                                Kerfoot AVE,
                                                                                Chicago IL
        QS-7B       CPS            No          Closed        Morgan             60620           1         80640      80640
                                                                                8363 S
                                                                                Kerfoot
                                                                                Avenue,
                                               Vacant                           Chicago IL
        QS-7B       CPS            No          Land          Morgan Lot         60620           0          2372       2372
                                                                                1744 W
                                                                                Pryor
                                                                                AVENUE
                                               Active        MORGAN             Chicago IL
        QS-9A       CPS            No          School        PARK HS            60643           2         269480     269480
                                                                                6011 S
                                                                                Rockwell
                                                                                STREET
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        MORRILL            60629           3         99200      99200
                                                                                431 N Troy
                                                                                STREET
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        MORTON             60612           1         71504      71504
                                                                                10841 S
                                                                                Homan
                                                             MOUNT              AVENUE
                                               Active        GREENWOO           Chicago IL
        QS-9A       CPS            No          School        D                  60655           4         111660     111660
                                                                                10540 S
                                                                                Morgan
                                                                                STREET
                                               Active        MOUNT              Chicago IL
        QS-9A       CPS            No          School        VERNON             60643           1         82650      82650
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                                                                           Schedule 4
                                                                         List of Facilities
                                                                         Campus Level
                                                                               2200 N
                                                                               Hamlin
                                                                               AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        MOZART            60647            2         92365      92365
                                                                               3539 W
                                                                               Grace
                                                                               STREET
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        MURPHY            60618            1         85287      85287
                                                                               5335 S
                                                                               Kenwood
                                                                               AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        MURRAY            60615            3         73984      73984
                                                                               4837 W Erie
                                                                               STREET
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        NASH              60644            2         105956     105956
                                                                               55 W
                                                                               Cermak
                                                                               ROAD
                                               Active        NATIONAL          Chicago IL
        QS-9A       CPS            No          School        TEACHERS          60616            2         156400     156400
                                                                               8555 S
                                                                               Michigan
                                                                               AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        NEIL              60619            4         71870      71870
                                                                               3252 N
                                                                               Broadway
                                                                               STREET
                                               Active        NETTELHOR         Chicago IL
        QS-9A       CPS            No          School        ST                60657            4         104490     104490
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                                                                           Schedule 4
                                                                         List of Facilities
                                                                         Campus Level
                                                                               1707 W
                                                                               Morse
                                                                               AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        NEW FIELD         60626            1         85500      85500
                                                                               8331 S
                                                                               Mackinaw
                                                                               AVENUE
                                               Active        NEW               Chicago IL
        QS-9A       CPS            No          School        SULLIVAN          60617            1         218126     218126
                                                                               700 W
                                                                               Willow
                                                                               STREET
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        NEWBERRY          60614            2         75176      75176
                                                                               6006 S
                                                                               Peoria
                                                                               STREET
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        NICHOLSON         60621            2         71602      71602
                                                                               5250 S
                                                                               Rockwell
                                                                               STREET
                                               Active        NIGHTINGA         Chicago IL
        QS-9A       CPS            No          School        LE                60632            5         140838     140838
                                                                               8344 S
                                                                               Commercial
                                                                               AVENUE
                                               Active        NINOS             Chicago IL
        QS-9A       CPS            No          School        HEROES            60617            1         73518      73518
                                                                               2121 N
                                                                               Keeler
                                                                               AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        NIXON             60639            2         130113     130113
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                                                                            Schedule 4
                                                                          List of Facilities
                                                                          Campus Level
                                                                                4127 W
                                                                                Hirsch
                                                                                STREET
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        NOBEL              60651           1         75800      75800
                                                                                1616 S
                                                             NORTH              Spaulding
                                                             LAWNDALE -         AVENUE
                                               Active        CHRISTIANA         Chicago IL
        QS-9A       Opt-in         No          School        HS                 60623           3         138936     138936
                                                                                4416 N Troy
                                                                                STREET
                                               Active        NORTH              Chicago IL
        QS-9A       CPS            No          School        RIVER              60625           1         42197      42197
                                                                                4338 W
                                                                                Wabansia
                                                                                AVENUE
                                               Active        NORTH-             Chicago IL
        QS-9A       CPS            No          School        GRAND HS           60639           1         205094     205094
                                                                                3730 W Bryn
                                                                                Mawr
                                                             NORTHSIDE          AVENUE
                                               Active        LEARNING           Chicago IL
        QS-9A       CPS            No          School        HS                 60659           2         44150      44150
                                                                                5501 N
                                                                                Kedzie
                                                                                AVENUE
                                               Active        NORTHSIDE          Chicago IL
        QS-9A       CPS            No          School        PREP HS            60625           1         222600     222600
                                                                                5900 N Nina
                                                                                AVENUE
                                               Active        NORWOOD            Chicago IL
        QS-9A       CPS            No          School        PARK               60631           1         56330      56330
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                                                                              Schedule 4
                                                                            List of Facilities
                                                                            Campus Level
                                                                                  24 W          1119 N
                                                                                  Walton        Cleveland
                                                                                  STREET        AVENUE
                                               Active                             Chicago IL Chicago IL
        QS-9A       CPS            No          School        OGDEN ES             60610         60610       2   132724   90164   222888
                                                                                  1250 W ERIE
                                               Active                             ST Chicago
        QS-9A       CPS            No          School        OGDEN HS             IL 60642                  1   93355            93355
                                                                                  7646 S
                                                                                  Green
                                                                                  STREET
                                               Active                             Chicago IL
        QS-9A       CPS            No          School        OGLESBY              60620                     1   77140            77140
                                                                                  6940 S
                                                                                  Merrill
                                                                                  AVENUE
                                               Active                             Chicago IL
        QS-9A       CPS            No          School        OKEEFFE              60649                     3   95310            95310
                                                                                  6634 W
                                                                                  Raven
                                                                                  STREET
                                               Active                             Chicago IL
        QS-9A       CPS            No          School        ONAHAN               60631                     3   90969            90969
                                                                                  30 E 61st ST,
                                                             Oneida               Chicago IL
        QS-8B       CPS            No          Active        Cockrell CPC         60637                     1   14500            14500
                                                                                  5424 N
                                                                                  Oketo
                                                                                  AVENUE
                                               Active        ORIOLE               Chicago IL
        QS-9A       CPS            No          School        PARK                 60656                     2   76476            76476
                                                                                  1940 W 18th
                                                                                  STREET
                                               Active                             Chicago IL
        QS-9A       CPS            No          School        OROZCO               60608                     1   107722           107722
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                                                                                    Schedule 4
                                                                                  List of Facilities
                                                                                  Campus Level
                                                                                        730 N
                                                                                        Pulaski
                                                                                        ROAD
                                               Active                                   Chicago IL
        QS-9A       Opt-in         Yes         School        ORR HS       KIPP - ONE    60624                      2   303310           303310
                                                                                        3000 S
                                                                                        Lawndale
                                                             ORTIZ DE                   AVENUE
                                               Active        DOMINGUE                   Chicago IL
        QS-9A       CPS            No          School        Z                          60623                      1   63900            63900
                                                                                        525 N
                                                                                        Armour
                                                                                        STREET
                                               Active                                   Chicago IL
        QS-9A       CPS            No          School        OTIS                       60642                      4   94414            94414
                                                                                        6550 S
                                                                                        Seeley
                                                                                        AVENUE
                                               Active                                   Chicago IL
        QS-9A       CPS            No          School        OTOOLE                     60636                      2   96700            96700
                                                                                        5044 S
                                                                                        Wabash
                                                                                        Ave,
                                                             Ounce of                   Chicago, IL
        QS-8A       Opt-in         No          Active        Prevention                 60615                      1   24000            24000
                                                                                        8247 S
                                                                                        Christiana
                                                                                        AVENUE
                                               Active                                   Chicago IL
        QS-9A       CPS            No          School        OWEN                       60652                      2   33218            33218
                                                                                                      12450 S
                                                                                        12302 S State State St
                                               Active                                   St Chicago IL Chicago IL
        QS-9A       CPS            No          School        OWENS                      60628         60628        3   75744    51532   127276
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                                                                           Schedule 4
                                                                         List of Facilities
                                                                         Campus Level
                                                                               2221 South
                                                                               Lawndale
                                                                               Avenue ,
                                                             PADEREWSK         Chicago IL
        QS-5A       CPS            No          Closed        I                 60623                       1   56100            56100
                                                                               5051 N
                                                                               Kenneth
                                                                               AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        PALMER            60630                       4   126342           126342
                                                                               7037 S
                                                                               Rhodes
                                                                               AVENUE
                                               Active        PARK              Chicago IL
        QS-9A       CPS            No          School        MANOR             60637                       1   62706            62706
                                                                               6800 S         328 W
                                                                               Stewart        69th
                                                                               AVENUE         STREET
                                               Active                          Chicago IL     Chicago IL
        QS-9A       CPS            No          School        PARKER            60621          60621        2   265000   14300   279300
                                                                               245 W 51st
                                                                               ST, Chicago
        QS-7A       CPS            No          Closed        Parkman           IL 60609                    2   61109            61109

                                                                               6938 S East
                                                                               End AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        PARKSIDE          60649                       1   75104            75104
                                                                               5825 S
                                                                               Kostner
                                                                               AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        PASTEUR           60629                       6   98900            98900
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                                                                                    Schedule 4
                                                                                  List of Facilities
                                                                                  Campus Level
                                                                                        1034 N
                                                                                        Wells
                                                                                        STREET
                                               Active                                   Chicago IL
        QS-9A       CPS            No          School        PAYTON HS                  60610                    2   216475             216475
                                                                                        4946 S      5114 S
                                                                                        Paulina     Elizabeth
                                                             PEACE AND                  STREET      STREET
                                               Active        EDUCATION                  Chicago IL  Chicago IL
        QS-9A       CPS            No          School        HS                         60609       60609        2   20650      22322   42972
                                                                                                    4024 W
                                                                                        3826 W 58th 59th
                                                                                        STREET      STREET
                                               Active                                   Chicago IL Chicago IL
        QS-9A       CPS            No          School        PECK                       60629       60629        6   110691      7930   118621
                                                                                        1423 W Bryn
                                                                                        Mawr
                                                                                        AVENUE                                8,350
                                               Active                                   Chicago IL 5300 N
        QS-9A       CPS            No          School        PEIRCE                     60660       Broadway     4   133238             141588

                                                                                        1616 S Avers
                                                                                        AVENUE
                                               Active                    KIPP -         Chicago IL
        QS-9A       Opt-in         Yes         School        PENN        ASCEND         60623                    1   158325             158325
                                                                                        1241 W 19th
                                                                                        STREET
                                               Active                                   Chicago IL
        QS-9A       CPS            No          School        PEREZ                      60608                    2   103392             103392
                                                                                        3200 S
                                                                                        Calumet
                                                                                        AVENUE
                                               Active                                   Chicago IL
        QS-9A       CPS            No          School        PERSHING                   60616                    2   128716             128716
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                                                                              Schedule 4
                                                                            List of Facilities
                                                                            Campus Level
                                                                                  8131 S May
                                                                                  STREET
                                                             Perspectives         Chicago IL
        QS-7B       CPS            No          Closed        @ Calumet            60620          1        324446     324446
                                                                                  5510 N
                                                                                  Christiana
                                                                                  AVENUE
                                               Active                             Chicago IL
        QS-9A       CPS            No          School        PETERSON             60625          3        97862      97862
                                                                                  244 E
                                                                                  Pershing
                                                                                  ROAD
                                               Active                             Chicago IL
        QS-9A       CPS            No          School        PHILLIPS HS          60653          2        287721     287721
                                                                                  145 S
                                                                                  Campbell
                                                             PHOENIX              AVENUE
                                               Active        MILITARY             Chicago IL
        QS-9A       CPS            No          School        HS                   60612          4        160945     160945
                                                                                  1040 N
                                                                                  Keeler
                                                                                  AVENUE
                                               Active                             Chicago IL
        QS-9A       CPS            No          School        PICCOLO              60651          2        218899     218899
                                                                                  2301 W 21st
                                                                                  PLACE
                                               Active                             Chicago IL
        QS-9A       CPS            No          School        PICKARD              60608          2        116245     116245
                                                                                  1420 W 17th
                                                                                  STREET
                                               Active                             Chicago IL
        QS-9A       CPS            No          School        PILSEN               60608          1        61287      61287
                                                                                  650 E 85th
                                                                                  STREET
                                               Active                             Chicago IL
        QS-9A       CPS            No          School        PIRIE                60619          2        48010      48010
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                                                                          Schedule 4
                                                                        List of Facilities
                                                                        Campus Level
                                                                              2642 W 15th
                                                                              PLACE
                                               Active        PLAMONDO         Chicago IL
        QS-9A       CPS            No          School        N                60608             1         38751      38751
                                                                              10538 S
                                                                              Langley
                                                                              AVENUE
                                               Active                         Chicago IL
        QS-9A       CPS            No          School        POE              60628             2         57432      57432
                                                                              5330 W
                                                                              Berteau
                                                                              AVENUE
                                               Active        PORTAGE          Chicago IL
        QS-9A       CPS            No          School        PARK             60641             2         145775     145775

                                                                              7511 S
                                                                              South Shore
                                                                              DRIVE
                                               Active                         Chicago IL
        QS-9A       CPS            No          School        POWELL           60649             1         113516     113516
                                                                              1632 W
                                                                              Wrightwood
                                                                              AVENUE
                                               Active                         Chicago IL
        QS-9A       CPS            No          School        PRESCOTT         60614             2         49663      49663
                                                                              4351 S
                                                                              Drexel ST,
                                                                              Chicago IL
        QS-8B       CPS            No          Closed        Price            60653             1         62000      62000
                                                                              2231 N
                                                                              Central
                                                                              AVENUE
                                               Active                         Chicago IL
        QS-9A       CPS            No          School        PRIETO           60639             2         115458     115458
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                                    Case: 1:25-cv-00597 Document #: 1 Filed: 01/17/25 Page 239 of 286 PageID #:239
                                                                            Schedule 4
                                                                          List of Facilities
                                                                          Campus Level
                                                                                5125 S
                                                                                Princeton
                                                                                AVENUE,
                                                             Princeton          Chicago IL
        QS-7A       CPS            No          Active        Eye Clinic         60609           1         21300      21300
                                                                                2009 W
                                                                                Schiller
                                                                                STREET
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        PRITZKER           60622           1         66300      66300
                                                                                2148 N Long
                                                                                AVENUE
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        PROSSER HS         60639           3         209971     209971
                                                                                4650 N
                                                                                Menard
                                                                                AVENUE
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        PRUSSING           60630           3         96493      96493
                                                                                2230 W
                                                                                McLean
                                                                                AVENUE
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        PULASKI            60647           2         103904     103904
                                                                                11311 S
                                                                                Forrestville
                                                                                AVENUE
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        PULLMAN            60628           1         80075      80075
                                                                                3545 W
                                                                                Fulton
                                                                                BOULEVARD
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        RABY HS            60624           1         156248     156248
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                                                                                    Schedule 4
                                                                                  List of Facilities
                                                                                  Campus Level
                                                                                        7316 S
                                                                                        Hoyne
                                                                                        AVENUE
                                               Active                                   Chicago IL
        QS-9A       CPS            No          School        RANDOLPH                   60636          1   78450     78450
                                                                                        4332 N
                                                                                        Paulina
                                                                                        STREET
                                               Active        RAVENSWO                   Chicago IL
        QS-9A       CPS            No          School        OD                         60613          3   76423     76423
                                                                                        5631 S
                                                                                        Kimbark
                                                                                        AVENUE
                                               Active                                   Chicago IL
        QS-9A       CPS            No          School        RAY                        60637          3   115306    115306
                                                                                        834 E 50th
                                                                                        STREET
                                               Active                                   Chicago IL
        QS-9A       CPS            No          School        REAVIS                     60615          2   57507     57507
                                                                                        3650 W
                                                                                        School
                                                                                        STREET
                                               Active                                   Chicago IL
        QS-9A       CPS            No          School        REILLY                     60618          4   113870    113870
                                                                                        3425 N
                                                                                        Major
                                                                                        AVENUE
                                               Active                                   Chicago IL
        QS-9A       CPS            No          School        REINBERG                   60634          4   90955     90955
                                                                                        1010 E 72nd
                                                                                        STREET
                                               Active                   NOBLE -         Chicago IL
        QS-9A       CPS            Yes         School        REVERE     COMER           60619          3   81610     81610
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                                                                             Schedule 4
                                                                           List of Facilities
                                                                           Campus Level


                                                                                 5009 S Laflin
                                                                                 STREET
                                               Active        RICHARDS            Chicago IL
        QS-9A       CPS            No          School        HS                  60609           4        103015     103015
                                                                                 4957-59
                                                                                 South Laflin
                                                                                 Street,
                                               Vacant        Richards HS         Chicago IL
        QS-5B       CPS            No          Land          Lot                 60609           0         6130       6130
                                                                                 6018 S
                                                                                 Karlov
                                                                                 AVENUE
                                               Active        RICHARDSO           Chicago IL
        QS-9A       CPS            No          School        N                   60629           1        135212     135212
                                                                                 5700 W
                                                                                 Berteau
                                                             RICKOVER            AVENUE,
                                               Active        MILITARY            Chicago IL
        QS-9A       CPS            No          School        HS                  60634           1        117000     117000
                                                                                 4225 S Lake
                                                                                 Park
                                                                                 AVENUE
                                               Active                            Chicago IL
        QS-9A       CPS            No          School        ROBINSON            60653           1        41784      41784
                                                                                 1117 S
                                                                                 Central
                                                                                 AVENUE,
                                                             Rockne              Chicago IL
        QS-3A       CPS            No          Stadium       Stadium             60644           1         8200       8200
                                                                                 7345 N
                                                                                 Washtenaw
                                                                                 AVENUE
                                               Active                            Chicago IL
        QS-9A       CPS            No          School        ROGERS              60645           5        89910      89910
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                                                                           Schedule 4
                                                                         List of Facilities
                                                                         Campus Level
                                                                               3436 W
                                                                               Wilson
                                                                               AVENUE
                                               Active        ROOSEVELT         Chicago IL
        QS-9A       CPS            No          School        HS                60625            1         319900     319900
                                                                               6059 S
                                                                               Wabash
                                                                               AVE,
                                                                               Chicago IL
        QS-8B       CPS            No          Closed        Ross              60637            3         94200      94200
                                                                               7831 S
                                                                               Prairie
                                                                               AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        RUGGLES           60619            2         99710      99710
                                                                               2410 S
                                                                               Leavitt
                                                                               STREET
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        RUIZ              60608            2         80217      80217
                                                                               8716 S
                                                                               Wallace
                                                                               STREET
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        RYDER             60620            2         73326      73326
                                                                               2216 W
                                                                               Hirsch
                                                                               STREET
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        SABIN             60622            1         95219      95219
                                                                               160 W
                                                                               Wendell
                                                                               STREET
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        SALAZAR           60610            1         45084      45084
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                                                                               Schedule 4
                                                                             List of Facilities
                                                                             Campus Level
                                                                                   5534 S Saint
                                                                                   Louis
                                                                                   AVENUE
                                               Active                              Chicago IL
        QS-9A       CPS            No          School        SANDOVAL              60629          1       108534     108534

                                                                                2850 W 24th
                                                                                BOULEVARD
                                               Active                 TELPOCHCA Chicago IL
        QS-9A       CPS            Yes         School        SAUCEDO LLI        60623             2       292121     292121
                                                                                6040 N
                                                                                Kilpatrick
                                                                                AVENUE
                                               Active        SAUGANAS           Chicago IL
        QS-9A       CPS            No          School        H                  60646             3       68612      68612
                                                                                5242 S
                                                                                Sawyer
                                                                                AVENUE
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        SAWYER             60632             3       163308     163308
                                                                                1850 N
                                                                                Newland
                                                                                AVENUE
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        SAYRE              60707             1       79775      79775
                                                                                4201 W
                                                                                Henderson
                                                                                STREET
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        SCAMMON            60641             5       85474      85474
                                                                                9755 S
                                                                                Greenwood
                                                                                AVENUE
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        SCHMID             60628             2       36938      36938
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                                                                             Schedule 4
                                                                           List of Facilities
                                                                           Campus Level
                                                                                 2727 N Long
                                                                                 AVENUE
                                               Active                            Chicago IL
        QS-9A       CPS            No          School        SCHUBERT            60639                   4   101364           101364
                                                                                 3601 N
                                                                                 Milwaukee
                                                                                 AVENUE
                                               Active                            Chicago IL
        QS-9A       CPS            No          School        SCHURZ HS           60641                   1   455800           455800
                                                                                 5900 N
                                                                                 Glenwood
                                                                                 AVENUE
                                               Active                            Chicago IL
        QS-9A       CPS            No          School        SENN HS             60660                   3   291204           291204
                                                                                 4600 S      4551 S
                                                                                 Hermitage Wood
                                                                                 AVENUE      STREET
                                               Active                            Chicago IL Chicago IL
        QS-9A       CPS            No          School        SEWARD              60609       60609       3   75886    22489   98375
                                                             SHEDD               200 E 99th
                                                             (BENNETT) -         ST, Chicago
        QS-9B       CPS            No          Closed        CLOSED              IL 60628                1   14150            14150
                                                                                 533 W 27th
                                                                                 STREET
                                               Active                            Chicago IL
        QS-9A       CPS            No          School        SHERIDAN            60616                   2   77706            77706

                                                                                 1000 W
                                                                                 52nd STREET
                                               Active                            Chicago IL
        QS-9A       CPS            No          School        SHERMAN             60609                   3   58451            58451
                                                                                 245 W 57th
                                                                                 STREET
                                               Active                            Chicago IL
        QS-9A       CPS            No          School        SHERWOOD            60621                   2   52237            52237
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                                                                           Schedule 4
                                                                         List of Facilities
                                                                         Campus Level
                                                                               4250 S
                                                                               Rockwell
                                                                               STREET
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        SHIELDS           60632                   5   128230            128230
                                                                               2611 W 48th
                                                                               STREET
                                               Active        SHIELDS           Chicago IL
        QS-9A       CPS            No          School        MIDDLE            60632                   1   95265             95265
                                                                               1330 E 50th
                                                                               STREET
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        SHOESMITH         60615                   2   38987             38987
                                                                               11140 S
                                                                               Bishop
                                                                               STREET
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        SHOOP             60643                   2   124553            124553
                                                                               8147 S
                                                                               Vincennes
                                                                               AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        SIMEON HS         60620                   2   284691            284691
                                                                               1321 S
                                                                               Paulina
                                                                               STREET
                                               Active        SIMPSON           Chicago IL
        QS-9A       CPS            No          School        HS                60608                   2   33493             33493
                                                                               1260 W      225 S
                                                                               Adams       Aberdeen
                                                                               STREET      STREET
                                               Active                          Chicago IL Chicago IL
        QS-9A       CPS            No          School        SKINNER           60607       60607       3   138055    12639   150694
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                                                                            Schedule 4
                                                                          List of Facilities
                                                                          Campus Level
                                                                                640 W Scott
                                                                                STREET
                                               Active        SKINNER            Chicago IL
        QS-9A       CPS            No          School        NORTH              60610                   1   68922            68922
                                                                                744 E 103rd
                                                                                STREET
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        SMITH              60628                   1   76920            76920
                                                                                4310 N      6200 W
                                                                                Melvina     Patterson
                                                                                AVENUE      AVENUE
                                               Active                           Chicago IL Chicago IL
        QS-9A       CPS            No          School        SMYSER             60634       60634       3   78111    33570   111681
                                                                                1059 W 13th
                                                                                STREET
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        SMYTH              60608                   3   121566           121566
                                                                                6206 N
                                                                                Hamlin
                                                                                AVENUE
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        SOLOMON            60659                   2   40333            40333
                                                                                5400 S St
                                                                                Louis
                                                                                AVENUE
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        SOLORIO HS         60632                   1   213710           213710
                                                                                4120 W 57th
                                                                                STREET
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        SOR JUANA          60629                   1   38389            38389
                                                                                1212 S      1915 S
                                                                                Plymouth    Federal
                                                                                COURT       STREET
                                               Active        SOUTH              Chicago IL Chicago IL
        QS-9A       CPS            No          School        LOOP               60605       60616       3   120000   71255   191255
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                                                                                       Schedule 4
                                                                                     List of Facilities
                                                                                     Campus Level
                                                                                           1415 E 70th
                                                                                           STREET
                                               Active        SOUTH                         Chicago IL
        QS-9A       CPS            No          School        SHORE ES                      60637                   1   76945            76945
                                                                                           1955 E 75th
                                                             SOUTH                         STREET
                                               Active        SHORE INTL                    Chicago IL
        QS-9A       CPS            No          School        HS                            60649                   1   213710           213710

                                                                                           7627 S
                                                             South Shore                   Constance
                                                             South                         AVE,
                                                             (School of                    Chicago IL
        QS-8B       CPS            No          Closed        Leadership)                   60649                   2   139560           139560
                                                                                           3930 E
                                                                                           105th
                                                                                           STREET
                                               Active                                      Chicago IL
        QS-9A       CPS            No          School        SOUTHEAST                     60617                   1   111081           111081
                                                                                           7342 S     7316 S
                                                                                           Hoyne      Hoyne
                                                                                           AVENUE     AVENUE
                                               Active        SOUTHSIDE                     Chicago IL Chicago IL
        QS-9A       CPS            No          School        HS                            60636      60636        2   36840    17900   54740
                                                                                           214 N
                                                                                           Lavergne
                                                                                           AVENUE
                                               Active                                      Chicago IL
        QS-9A       CPS            No          School        SPENCER                       60644                   4   122935           122935
                                                                                           2400 S     2950 W
                                                                                           Marshall   25th
                                                                                           BOULEVARD STREET
                                               Active                                      Chicago IL Chicago IL
        QS-9A       CPS            Yes         School        SPRY ES       SPRY HS         60623      60623        3   106010   39050   145060
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                                                                           Schedule 4
                                                                         List of Facilities
                                                                         Campus Level
                                                                               7424 S
                                                                               Morgan
                                                                               STREET
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        STAGG             60621                   1   68227             68227

                                                                               1035 W 74th
                                                                               STREET,
                                                             Stagg             Chicago IL
        QS-7B       CPS            No          Stadium       Stadium           60621                   1    3325              3325
                                                                               3030 N
                                                                               Mobile
                                                                               AVENUE
                                               Active        STEINMETZ         Chicago IL
        QS-9A       CPS            No          School        HS                60634                   3   398320            398320
                                                                               1522 W
                                                                               Fillmore
                                                                               STREET
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        STEM              60607                   2   69329             69329
                                                                               8010 S      4350 W
                                                                               Kostner     79th
                                                                               AVENUE      STREET
                                               Active                          Chicago IL Chicago IL
        QS-9A       CPS            No          School        STEVENSON         60652       60652       8   126845    23063   149908
                                                                               7507 W
                                                                               Birchwood
                                                                               AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        STOCK             60631                   2   18360             18360
                                                                               6239 N
                                                                               Leavitt
                                                                               STREET
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        STONE             60659                   2   70601             70601
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                                                                           Schedule 4
                                                                         List of Facilities
                                                                         Campus Level
                                                                               3444 W
                                                                               Wabansia
                                                                               AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        STOWE             60647                   2   133900             133900

                                                                               2022 W
                                                                               Washington
                                                                               BOULEVARD
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        SUDER             60612                   1   71500              71500
                                                                               6631 N
                                                                               Bosworth
                                                                               AVENUE
                                               Active        SULLIVAN          Chicago IL
        QS-9A       CPS            No          School        HS                60626                   1   218067             218067
                                                                               715 S
                                                                               Kildare
                                                                               AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        SUMNER            60624                   3   159555             159555
                                                                               10015 S
                                                                               Leavitt
                                                                               STREET
                                               Active        SUTHERLAN         Chicago IL
        QS-9A       CPS            No          School        D                 60643                   2   80219              80219
                                                                               5900 N
                                                                               Winthrop
                                                                               AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        SWIFT             60660                   2   109399             109399
                                                                               6530 W Bryn 4071 N
                                                                               Mawr        Oak Park
                                                                               AVENUE      AVENUE
                                               Active                          Chicago IL Chicago IL
        QS-9A       CPS            No          School        TAFT HS           60631       60634       4   388970    135000   523970
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                                                                                 Schedule 4
                                                                               List of Facilities
                                                                               Campus Level


                                                                                     1840 W
                                                                                     Ohio STREET
                                               Active                                Chicago IL
        QS-9A       CPS            No          School        TALCOTT                 60622          2     127371     127371
                                                                                     5450 S
                                                                                     Talman
                                                                                     AVENUE
                                               Active                                Chicago IL
        QS-9A       CPS            No          School        TALMAN                  60632          2     36898      36898
                                                                                     7350 S
                                                                                     Evans
                                                                                     AVENUE
                                               Active                                Chicago IL
        QS-9A       CPS            No          School        TANNER                  60619          1     52920      52920
                                                                                     3300 W 71st
                                                                                     STREET
                                               Active        TARKINGTO               Chicago IL
        QS-9A       CPS            No          School        N                       60629          1     136289     136289
                                                                                     9912 S
                                                                                     Avenue H
                                                                                     AVENUE
                                               Active                                Chicago IL
        QS-9A       CPS            No          School        TAYLOR                  60617          2     87628      87628
                                                                                     3625 S
                                                                                     Hoyne
                                                                                     AVENUE
                                               Active                                Chicago IL
        QS-9A       CPS            No          School        THOMAS                  60609          1     16056      16056
                                                                                     8914 S
                                                                                     Buffalo
                                                                         LEARN -     AVENUE
                                               Active                    SOUTH       Chicago IL
        QS-9A       Opt-in         Yes         School        THORP J     CHICAGO     60617          3     135638     135638
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                                                                           Schedule 4
                                                                         List of Facilities
                                                                         Campus Level
                                                                               6024 W
                                                                               Warwick
                                                                               AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        THORP O           60634            1         93200      93200
                                                                               4747 S
                                                                               Union
                                                                               AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        TILDEN HS         60609            2         332514     332514
                                                                               6543 S
                                                                               Champlain
                                                                               AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        TILL              60637            3         134618     134618

                                                                               223 N Keeler
                                                                               AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        TILTON            60624            2         104888     104888
                                                                               5815 S
                                                                               Homan
                                                                               AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        TONTI             60629            3         89103      89103
                                                                               25 W 113th
                                                                               PLACE,
                                               Vacant                          Chicago IL
        QS-9A       CPS            No          Land          Tuner-Lot         60628            0         22174      22174
                                                                               9300 S
                                                                               Princeton
                                                                               AVENUE
                                               Active        TURNER-           Chicago IL
        QS-9A       CPS            No          School        DREW              60620            1         39077      39077
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                                                                            Schedule 4
                                                                          List of Facilities
                                                                          Campus Level


                                                                                5134 S Lotus
                                                                                AVENUE
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        TWAIN              60638           2         140166     140166
                                                                                707 E 37th
                                                                                STREET
                                               Active        U OF C -           Chicago IL
        QS-9A       Opt-in         No          School        DONOGHUE           60653           1         74828      74828

                                                             UC                 6420 S
                                                             Woodlawn           University
                                                             at                 Ave, Chicago
        QS-8B       CPS            No          Closed        Wadsworth          IL 60637        3         122095     122095
                                                                                900 W
                                                                                Wilson
                                                                                AVENUE
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        UPLIFT HS          60640           2         149312     149312
                                                             URBAN              521 E 35th
                                                             PREP -             STREET
                                               Active        BRONZEVILL         Chicago IL
        QS-9A       Opt-in         No          School        E HS               60616           1         74152      74152
                                                                                6201 S
                                                             URBAN              Stewart
                                                             PREP -             AVENUE
                                               Active        ENGLEWOO           Chicago IL
        QS-9A       Opt-in         No          School        D HS               60621           1         188800     188800
                                                                                9510 S
                                                                                Prospect
                                                                                AVENUE
                                               Active        VANDERPOE          Chicago IL
        QS-9A       CPS            No          School        L                  60643           2         38981      38981
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                                                                            Schedule 4
                                                                          List of Facilities
                                                                          Campus Level
                                                                                4355 N
                                                                                Linder
                                                                                AVENUE
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        VAUGHN HS          60641                     1   50289            50289
                                                                                2554 W
                                                                                113th
                                                                                STREET                                 9,566
                                               Active                           Chicago IL 6601 S
        QS-9A       CPS            No          School        VICK               60655        Kedzie Ave   3   21779            31345
                                                                                4950 N
                                                                                Avers
                                                                                AVENUE
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        VOLTA              60625                     3   86480            86480
                                                                                3221 N
                                                                                Sacramento
                                                                                AVENUE
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        VON LINNE          60618                     3   105920           105920
                                                                                5039 N
                                                                                Kimball
                                                                                AVENUE
                                               Active        VON                Chicago IL
        QS-9A       CPS            No          School        STEUBEN HS         60625                     1   248453           248453
                                                                                9746 S
                                                                                Morgan
                                                                                STREET
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        WACKER             60643                     1   27552            27552
                                                                                6650 S Ellis
                                                                                AVENUE
                                               Active        WADSWOR            Chicago IL
        QS-9A       CPS            No          School        TH                 60637                     1   64558            64558
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                                                                          Schedule 4
                                                                        List of Facilities
                                                                        Campus Level
                                                                              2015 S
                                                                              Peoria
                                                                              STREET
                                               Active                         Chicago IL
        QS-9A       CPS            No          School        WALSH            60608             2         73288      73288
                                                                              2701 S
                                                                              Shields
                                                                              AVENUE
                                               Active                         Chicago IL
        QS-9A       CPS            No          School        WARD J           60616             3         85194      85194
                                                                              646 N
                                                                              Lawndale
                                                                              AVENUE
                                               Active                         Chicago IL
        QS-9A       CPS            No          School        WARD L           60624             3         114019     114019
                                                                              9239 S
                                                                              Jeffery
                                                                              BOULEVARD
                                               Active                         Chicago IL
        QS-9A       CPS            No          School        WARREN           60617             2         40255      40255
                                                                              3611 E
                                                                              114th
                                                                              STREET
                                               Active        WASHINGT         Chicago IL
        QS-9A       CPS            No          School        ON G ES          60617             2         75112      75112
                                                                              9130 S
                                                                              University
                                                                              AVENUE
                                               Active        WASHINGT         Chicago IL
        QS-9A       CPS            No          School        ON H ES          60619             1         77300      77300
                                                                              3535 E
                                                                              114th
                                                                              STREET
                                               Active        WASHINGT         Chicago IL
        QS-9A       CPS            No          School        ON HS            60617             2         214541     214541
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                                                                           Schedule 4
                                                                         List of Facilities
                                                                         Campus Level
                                                                               4540 N
                                                                               Campbell
                                                                               AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        WATERS            60625            3         93947      93947
                                                                               4055 W
                                                                               Arthington
                                                                               STREET
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        WEBSTER           60624            1         60295      60295
                                                                               249 E 37th
                                                                               STREET
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        WELLS ES          60653            1         62750      62750
                                                                               936 N
                                                                               Ashland
                                                                               AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        WELLS HS          60622            1         264101     264101
                                                                               1340 W 71st
                                                                               STREET
                                               Active        WENTWORT          Chicago IL
        QS-9A       CPS            No          School        H                 60636            2         102616     102616
                                                                               6950 S
                                                                               Sangamon
                                                                               STREET,
                                                                               Chicago IL
        QS-7A       CPS            No          Closed        Wentworth         60621            2         124980     124980

                                                                               1425 N Tripp
                                                                               AVENUE
                                               Active                          Chicago IL
        QS-9A       CPS            No          School        WEST PARK         60651            1         81350      81350
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                                                                            Schedule 4
                                                                          List of Facilities
                                                                          Campus Level
                                                                                6700 N
                                                                                Whipple
                                                                                STREET
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        WEST RIDGE         60645           1         100107     100107
                                                                                409 W 80th
                                                                                STREET
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        WESTCOTT           60620           2         46480      46480
                                                                                3223 W
                                                                                Franklin
                                                                                BOULEVARD
                                               Active        WESTINGH           Chicago IL
        QS-9A       CPS            No          School        OUSE HS            60624           1         224604     224604
                                                                                11533 S Ada
                                                                                STREET
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        WHISTLER           60643           3         88230      88230
                                                                                1136 W
                                                                                122nd
                                                                                STREET
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        WHITE              60643           2         23635      23635
                                                                                2815 S
                                                                                Komensky
                                                                                AVENUE
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        WHITNEY            60623           4         108653     108653
                                                                                1900 W 23rd
                                                                                STREET
                                               Active                           Chicago IL
        QS-9A       CPS            No          School        WHITTIER           60608           1         49232      49232
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                                                                          Schedule 4
                                                                        List of Facilities
                                                                        Campus Level
                                                                              6950 N
                                                                              Hiawatha
                                                                              AVENUE
                                               Active                         Chicago IL
        QS-9A       CPS            No          School        WILDWOOD         60646                       2   60018           60018
                                                                              5101 N
                                                                              Leavitt
                                                                              STREET,
                                                             Winnemac         Chicago IL
        QS-2A       CPS            No          Stadium       Stadium          60625                       1   13080           13080
                                                                              6657 S
                                                                              Kimbark
                                                                              AVENUE
                                               Active        WOODLAW          Chicago IL
        QS-9A       CPS            No          School        N                60637                       1   30193           30193
                                                                              6206 S
                                                                              Racine AVE,
                                                                              Chicago IL
        QS-7A       CPS            No          Closed        Woods            60636                       1   69497           69497
                                                                              4414 S
                                                                              Evans          4511 S
                                                                              AVENUE         Evans Ave
                                               Active                         Chicago IL     Chicago IL
        QS-9A       CPS            No          School        WOODSON          60653          60653        4   130697   7657   138354
                                                                              1839 N
                                                                              Richmond
                                                                              STREET
                                               Active                         Chicago IL
        QS-9A       CPS            No          School        YATES            60647                       3   145300          145300
                                                                              1434 N
                                                                              Parkside
                                                                              AVENUE
                                               Active                         Chicago IL
        QS-9A       CPS            No          School        YOUNG ES         60651                       2   177004          177004
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                                                                                 Schedule 4
                                                                               List of Facilities
                                                                               Campus Level
                                                                                     211 S Laflin
                                                                                     STREET
                                               Active                                Chicago IL
        QS-9A       CPS            No          School        YOUNG HS                60607                3   430443   430443
                                                                                     2641 S
                                                             Young                   Calumet
                                                             Womens HS               AVENUE
                                                             @                       Chicago IL
        QS-8B       CPS            No          Closed        Sengstake               60616                1   50500    50500
                                                                                     2728 S
                                                                                     Kostner
                                                                                     AVENUE
                                               Active                                Chicago IL
        QS-9A       CPS            No          School        ZAPATA                  60623                2   108845   108845
                                                                                     11424 S
                                                                                     Western
                                                             Admin                   Avenue,
                                               Admin         Offices @               Chicago IL
        QS-6B       TBD            No          Building      Western Ave             60643                1   19000    19000
        QS-8B       CPS            No          Parking LotRevere Parking Lot         7146 S Ellis Ave
                                               Vacant     Metcalfe
        QS-9A       CPS            No          Land       Lot 2                      12401 S Normal Ave
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                                                                          List of Facilities
                                                                                                            Building Data


         Funding Unit   SCID    Quality Region   Facility Number   Building Number              Facility Name                     Building Name          Building Use               Location                SQFT
                                                                                     069 - Ounce of Prevention Fund -                                                    5044 S Wabash Ave, Chicago, IL
                                                     54418            54418-1                                                         Main                  Active                                          24,000
                99074          QS-8A                                                 Early Childhood Educare Center                                                      60615
                                                                                     Academy of Global Citizenship @
                                                     51297            51297-1                                                         Annex              Active School                                      29,461
                63011    400009 QS-9A                                                Hearst                                                                              northwest
                11880           QS-8A                51670            51670-1        CLOSED - Ace Tech HS                             Main                 CLOSED        5410 S STATE                       68,331
                22021    609772 QS-9B                51495            51495-1        Addams                                           Main               Active School   NE                                 31,543
                22021    609772 QS-9B                51495            51495-2        Addams                                         Addition             Active School   NW                                 3,959
                22021    609772 QS-9B                52383            52383-1        Addams Annex                                    Annex               Active School   W                                  13,143
                22021    609772 QS-9B                53752            53752-1        Addams Modular 1                        Modular 2 (2-Classroom )    Active School   South Modular                      1,779
                22021    609772 QS-9B                53753            53753-1        Addams Modular 2                        Modular 1 (2-Classroom )    Active School   North Modular                      1,779
                22021    609772 QS-9B                55941            55941-1        Addams Modular 3                        Modular 3 (8-Classroom )    Active School   Southeast Corner                   9,840
                                                                                                                                                                         11424 S Western Avenue, Chicago
                                                     62240            62240-1                                                         Main                  Admin                                           19,000
                11957          QS-6B                                                 Admin Offices @ Western Ave                                                         IL 60643
                                                                                     Admin Office Near West @
                                                     51196            51196-1                                                         Main                  Admin                                           25,690
                11880          QS-4B                                                 Rudolph                                                                             East
                                                                                                                                                                         501 W 35th STREET, Chicago IL
                                                     54788            54788-1                                                           1                   Admin                                           41,441
                11956          QS-4B                                                 Admin Offices @ Bridgeport                                                          60616
                                                                                                                                                                         4655 S Dearborn Ave, Chicago IL
                                                     54785            54785-1                                                         Main                  Admin                                           99,100
                11955          QS-8A                                                 Admin Offices @ Colman                                                              60609
                                                                                     Admin Offices @ Dodge-Garfield
                                                     51183            51183-1                                                         Main                  Admin                                           72,340
                11951           QS-2B                                                Park                                                                                2651 W WASHINGTON
                22031    609773 QS-3B                51156            51156-1        Agassiz                                          Main               Active School   2851 N SEMINARY AVE                57,743
                45231    610513 QS-4B                51230            51230-3        Air Force Academy                              Addition 1           Active School   Middle - East side                 11,792
                45231    610513 QS-4B                51230            51230-2        Air Force Academy                              Addition 2           Active School   Northeast                          38,154
                45231    610513 QS-4B                51230            51230-1        Air Force Academy                                Main               Active School   3630 S Wells St                    18,360
                                                                                                                                                                         4929 N Sawyer AVENUE Chicago IL
                                                     54187            54187-1                                                         Main               Active School                                      104,203
                32011    610212 QS-1A                                                Albany Park                                                                         60625
                22041    609774 QS-3B                51157            51157-1        Alcott                                           Main               Active School   Southwest                          51,310
                22041    609774 QS-3B                51157            51157-2        Alcott                                         Addition 1           Active School   North                              16,809
                22041    609774 QS-3B                51157            51157-3        Alcott                                         Addition 2           Active School   Southeast corner                   2,874
                70241    610524 QS-3B                51175            51175-1        Alcott HS @ Schneider                            Main               Active School   2957 N Hoyne Ave                   51,852
                                                                                                                                                                         610 W Schubert Ave, Chicago, IL
                                                     50620            50620-1                                                      Pre-K Branch          Active School                                      13,200
                22041    609774 QS-3B                                                Alcott Pre-K                                                                        60614
                22641    609848 QS-9A                51501            51501-1        Aldridge                                            Main            Active School   Chicago, IL 60614                   45,589
                46031    609695 QS-9A                51531            51531-1        Amundsen HS                                         Main            Active School   5110 N Damen Ave                   218,950
                23421    609951 QS-9A                51401            51401-2        Ariel                                            Addition 1         Active School   Northeast                           59,963
                23421    609951 QS-9A                51401            51401-3        Ariel                                            Addition 2         Active School   Southeast                           38,561
                23421    609951 QS-9A                51401            51401-1        Ariel                                               Main            Active School   Northwest                           48,585
                22061    609777 QS-9A                51231            51231-1        Armour                                              Main            Active School   950 W. 33rd Place                   51,568
                22061    609777 QS-9A                51259            51259-1        Armour Branch                                      Branch           Active School   911 W 32nd Pl                       31,274
                22081    609779 QS-9A                51044            51044-3        Armstrong G                                      Addition 2         Active School   Southwest                           70,296
                22081    609779 QS-9A                51044            51044-1        Armstrong G                                         Main            Active School   2111 Estes Ave.                     61,724
                22081    609779 QS-9A                51044            51044-4        Armstrong G                            Addition-Lunchroom/Kitchen   Active School   Northeast                           9,359
                22081    609779 QS-9A                51044            51044-2        Armstrong G                               Addition-Gymnasium        Active School   Southeast                           5,637
                32081    610287 QS-9A                51450            51450-1        Ashburn                                        Leased-Main          Active School   8300 S St Louis Ave                 58,580
                26191    610268 QS-9A                51483            51483-1        Ashe                                                Main            Active School   8505 S. Ingleside                   55,335
                22091    609782 QS-9A                51045            51045-1        Audubon                                             Main            Active School   3500 N HOYNE                        47,449
                22091    609782 QS-9A                51045            51045-2        Audubon                                           Addition          Active School   3500 N HOYNE                        22,620
                22091    609782 QS-9A                58612            58612-1        Audubon Annex                                      Annex            Active School   Northwest                            750
                22091    609782 QS-9A                50225            50225-1        Audubon Fieldhouse                              Field House         Active School   North                               1,670
                46621    610518 QS-9A                51675            51675-1        Austin CCA HS @ Austin HS                           Main            Active School   231 N PINE                         397,258
                22101    609786 QS-9A                51458            51458-1        Avalon Park                                         Main            Active School   8045 S Kenwood Ave                  38,816
                22101    609786 QS-9A                51458            51458-2        Avalon Park                                       Addition          Active School   Northwest                           30,689
                22101    609786 QS-9A                58541            58541-1        Avalon Park Annex                                  Annex            Active School   southeast                           17,596
                                                                                                                                                                         4707 W Marquette Rd, Chicago, IL
                                                     54768            54768-1                                                         Main               Active School                                      94,600
                22921    610544 QS-9A                                                Azuela                                                                              60629
                46551    610563 QS-9A                59215            59215-1        Back of the Yards HS                             Main               Active School   2111 W 47th St                     212,285
                22131    609788 QS-9A                51423            51423-1        Barnard                                          Main               Active School   10354 S CHARLES ST                  47,741
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                                                                         List of Facilities
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              22141     609789 QS-9A           51000         51000-1   Barry                                    Main            Active School   Northeast                          64,300
                                                                                                                                                2828 N Kilbourn Ave, Chicago, IL
                                               52388         52388-1                                            Annex           Active School                                      14,400
              22141     609789 QS-9A                                   Barry Annex                                                              60641
              22151     609790 QS-9A           51372         51372-1   Barton                                   Main            Active School   South                               53,503
              22151     609790 QS-9A           51372         51372-2   Barton                                  Addition         Active School   North                               28,700
              22161     609791 QS-9A           51373         51373-1   Bass                                     Main            Active School   1140 W 66th St                      55,478
              22161     609791 QS-9A           51373         51373-2   Bass                                   Addition 2        Active School   West                                23,394
              22161     609791 QS-9A           51373         51373-3   Bass                                   Addition 1        Active School   Northeast                           7,009
              22171     609792 QS-9A           51046         51046-1   Bateman                                  Main            Active School   North                               92,937
              22171     609792 QS-9A           51046         51046-2   Bateman                                 Addition         Active School   South                               58,757
              30051     610083 QS-9A           51021         51021-1   Beard                                    Main            Active School   6445 W. Strong St                   16,847
              30051     610083 QS-9A           52010         52010-1   Beard Annex                              Annex           Active School   4846 N Natchez                      17,656
              30051     610083 QS-9A           52519         52519-1   Beard Linked Addition               Linked Addition      Active School   West                                23,721
              29321     610246 QS-9A           51361         51361-1   Beasley                                  Main            Active School   5255 S State St                    140,200
              29321     610246 QS-9A           51368         51368-1   Beasley CPC                           Branch-CPC         Active School   5165 S State St                     14,784
              22201     609796 QS-9A           51002         51002-1   Beaubien                                 Main            Active School   West                                80,395
              22201     609796 QS-9A           51002         51002-2   Beaubien                                Addition         Active School   North                               18,856
              22201     609796 QS-9A           52392         52392-1   Beaubien Linked Addition            Linked Addition      Active School   Northeast                           18,200
              25931     610237 QS-9A           51360         51360-2   Beethoven                            Addition-Gym        Active School   East                                7,435
              25931     610237 QS-9A           51360         51360-1   Beethoven                                Main            Active School   West                                84,750
              22211     609797 QS-9A           51180         51180-1   Beidler                                  Main            Active School   East                                47,320
              22211     609797 QS-9A           51180         51180-2   Beidler                                 Addition         Active School   West                                39,450
              22221     609798 QS-9A           51003         51003-1   Belding                                  Main            Active School   North                               61,160
              22221     609798 QS-9A           51003         51003-2   Belding                                 Addition         Active School   South adjacent to the Main          8,320
              22221     609798 QS-9A           52393         52393-1   Belding Branch                       Leased-Pre-K        Active School   4207-09 W Irving Park               4,360
              22231     609799 QS-9A           51047         51047-1   Bell                                     Main            Active School   3730 N Oakley Ave                   93,084
              22231     609799 QS-9A           51047         51047-2   Bell                                    Addition         Active School   South                               19,000
                                                                       Belmont-Cragin Early Childhood
                                               51131         51131-1                                         Leased-Pre-K       Active School                                      33,635
              26771     609922 QS-9A                                   Center                                                                   6041 W Diversey Ave
              22241     609800 QS-9A           51424         51424-1   Bennett                                   Main           Active School   10115 S Prairie Ave.                67,595
              29381     610350 QS-9A           51491         51491-2   Black                              Addition-Building B   Active School   South                               4,290
              29381     610350 QS-9A           51491         51491-1   Black                                     Main           Active School   9101 S EUCLID AVE                   31,760
              29381     610350 QS-9A           51493         51493-1   Black Branch                             Branch          Active School   7133 S COLES AVE                    34,329
              22261     609803 QS-9A           51048         51048-2   Blaine                                 Addition 1        Active School   Southeast                           35,208
              22261     609803 QS-9A           51048         51048-1   Blaine                                    Main           Active School   Southwest                           50,090
              22261     609803 QS-9A           52394         52394-1   Blaine Linked Addition              Linked Addition      Active School   Northwest                           13,348
              30071     610087 QS-9A           51304         51304-2   Blair                                   Addition         Active School   East                                23,160
              30071     610087 QS-9A           51304         51304-1   Blair                                     Main           Active School   West                                14,788
              46041     609698 QS-9A           52953         52953-1   Bogan Driver Ed Modular            Driver Ed Modular     Active School   3939 W 79TH ST                       800
              46041     609698 QS-9A           51606         51606-1   Bogan HS                                  Main           Active School   3939 W 79TH ST                     184,611
              25941     610238 QS-9A           51387         51387-1   Bond                                      Main           Active School   7050 S MAY ST                       32,730
              25941     610238 QS-9A           57831         57831-1   Bond Linked Addition                Linked Addition      Active School   7050 S MAY                          71,396
              22271     609804 QS-9A           51049         51049-1   Boone                                     Main           Active School   6710 N Washtenaw Ave                61,749
              22271     609804 QS-9A           51049         51049-2   Boone                                  Addition 2        Active School   North                               5,923
              22271     609804 QS-9A           51049         51049-3   Boone                                  Addition 1        Active School   Northwest                           24,672
              22371     609815 QS-9A           51460         51460-3   Bouchet                                Addition 1        Active School   east                                55,927
              22371     609815 QS-9A           51460         51460-2   Bouchet                                Addition 2        Active School   northwest                           21,852
              22371     609815 QS-9A           51460         51460-1   Bouchet                                   Main           Active School   Southwest                           16,964
              22371     609815 QS-9A           55024         55024-1   Bouchet Annex                          Annex-CPC         Active School   northeast                           6,087
              22371     609815 QS-9A           52403         52403-1   Bouchet Annex (CPC)                      Annex           Active School   Northwest - 2001 E.73rd St.         40,499
              46491     610323 QS-9A           51627         51627-1   Bowen HS                                  Main           Active School   Southwest                          158,545
              46491     610323 QS-9A           51627         51627-4   Bowen HS                               Addition 3        Active School   Northwest                           10,816
                                                                                                                                                West between 1908 Main and the
                                               51627         51627-2                                          Addition 1        Active School                                      40,692
              46491     610323 QS-9A                                   Bowen HS                                                                 Northwest 1968 Addition
              46491     610323 QS-9A           51627         51627-3   Bowen HS                               Addition 2        Active School   East of 1939 Addtion 1             4,238
              46491     610323 QS-9A           51627         51627-5   Bowen HS                               Addition 4        Active School   Southeast                          82,150
              22291     609806 QS-9A           51459         51459-1   Bradwell                                 Main            Active School   Northeast                          41,483
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                                                                                                                                                              Between the Main Building and
                                               51459         51459-2                                                  Addition 2              Active School                                      28,236
              22291     609806 QS-9A                                    Bradwell                                                                              Addition #1
              22291     609806 QS-9A           51459         51459-3    Bradwell                                      Addition 3              Active School   Southwest                           17,041
              22291     609806 QS-9A           51459         51459-4    Bradwell                                      Addition 1              Active School   Southeast                           56,506
              25991     610242 QS-9A           51078         51078-1    Brennemann                                      Main                  Active School   4251 N Clarendon Ave                48,994
              25991     610242 QS-9A           52599         52599-1    Brennemann Linked Addition                 Linked Addition            Active School   East                                4,428
              22311     609809 QS-9A           51159         51159-1    Brentano                                        Main                  Active School   West                               117,104
              22321     609810 QS-9A           51004         51004-1    Bridge                                          Main                  Active School   3800 N.New England Ave.             74,754
                                                                                                                                                              7001 W. Addison - St. Priscillla
                                               54722         54722-1                                                Leased-Branch             Active School                                      37,480
              22321     609810 QS-9A                                    Bridge Branch @ St. Priscilla                                                         south side of Addison St.
              22321     609810 QS-9A           53763         53763-1    Bridge Modular 1                      Modular 1 (4-Classroom )        Active School   North Building                     4,900
              22321     609810 QS-9A           58494         58494-1    Bridge Modular 2                      Modular 2 (8-Classroom )        Active School   North of original modular          9,800
              22331     609811 QS-9A           51497         51497-1    Bright                                           Main                 Active School   10740 S Calhoun Ave                76,354
              22331     609811 QS-9A           52402         52402-1    Bright Annex                                    Annex                 Active School   10740 S Calhoun Ave                14,565
              26451     610317 QS-9A           51285         51285-1    Brighton Park                                    Main                 Active School   Center - 3825 S WASHTENAW AVE      24,650
              26451     610317 QS-9A           51285         51285-2.   Brighton Park                                 Addition 1              Active School   South                              3,080
              26451     610317 QS-9A           51285         51285-3    Brighton Park                                 Addition 2              Active School   North                              53,000
              26181     610590 QS-9A           51685         51685-1    Bronzeville Classical @ Hartigan                 Main                 Active School   8 W Root St.                       63,929
              47051     609726 QS-9A           51632         51632-1    Brooks HS                                        Main                 Active School   250 E 111th St                     53,111
              47051     609726 QS-9A           51632         51632-2    Brooks HS                                     Addition 1              Active School   east of main building              50,957
              47051     609726 QS-9A           51632         51632-3    Brooks HS                            Addition 3 (Athletic Building)   Active School   West                               58,615
                                                                                                             Addition 4 (Performing Arts
                                               51632         51632-4                                                                          Active School                                      55,202
              47051     609726 QS-9A                                    Brooks HS                                      Building)                              East
              47051     609726 QS-9A           51632         51632-5    Brooks HS                                     Addition 2              Active School   West of main building               46,825
              24631     610091 QS-9A           51512         51512-1    Brown R                                          Main                 Active School   North                               36,229
              22351     609812 QS-9A           51181         51181-2    Brown W                                        Addition               Active School   Southwest                           13,630
              22351     609812 QS-9A           51181         51181-1    Brown W                                          Main                 Active School   54 N Hermitage Av                   49,660
              22361     609813 QS-9A           51376         51376-1    Brownell                                         Main                 Active School   6741 S MICHIGAN AVE                 42,620
              22491     609830 QS-9A           51088         51088-1    Brunson                                          Main                 Active School   932 N CENTRAL AVE                  102,700
              22391     609817 QS-9A           51050         51050-2    Budlong                                        Addition               Active School   Northwest                           8,704
              22391     609817 QS-9A           51050         51050-1    Budlong                                          Main                 Active School   2701 W. Foster Avenue               75,773
              22391     609817 QS-9A           52405         52405-1    Budlong Annex                                   Annex                 Active School   West                                14,508
              22391     609817 QS-9A           50501         50501-1    Budlong Fieldhouse                           Field House              Active School   Northeast                           3,367
              22401     609818 QS-9A           51087         51087-1    Burbank                                          Main                 Active School   2035 N MOBILE AVE                   90,517
              22401     609818 QS-9A           51087         51087-2    Burbank                                        Addition               Active School   2035 N MOBILE                       74,847
              22411     609819 QS-9A           51347         51347-1    Burke                                            Main                 Active School   North                               47,913
              22411     609819 QS-9A           51347         51347-2    Burke                                          Addition               Active School   South                               26,050
              22421     609820 QS-9A           51160         51160-1    Burley                                           Main                 Active School   160 W BARRY                         55,812
              22421     609820 QS-9A           50611         50611-1    Burley Fieldhouse                            Field House              Active School   North Courtyard                     2,715
              22431     609821 QS-9A           51510         51510-1    Burnham                                          Main                 Active School   9928 S Crandon Ave                  25,233
              22431     609821 QS-9A           51510         51510-4    Burnham                                       Addition 1              Active School   Northeast                           11,526
              22431     609821 QS-9A           51510         51510-2    Burnham                                       Addition 2              Active School   Northwest                           16,169
              22431     609821 QS-9A           51510         51510-3    Burnham                                       Addition 3              Active School   South                               29,228
              29021     609827 QS-9A           51461         51461-3    Burnside                                      Addition 1              Active School   west                                27,918
              29021     609827 QS-9A           51461         51461-2    Burnside                                         Main                 Active School   center                              56,755
              29021     609827 QS-9A           51461         51461-1    Burnside                                      Addition 2              Active School   east                                38,272
              22471     609828 QS-9A           51133         51133-1    Burr                                             Main                 Active School   1621 W Wabansia Ave                 60,929
              22481     609829 QS-9A           51263         51263-1    Burroughs                                        Main                 Active School   3542 South Washtenaw Avenue         49,191
              22481     609829 QS-9A           53767         53767-1    Burroughs Modular 1                   Modular 1 (4-Classroom )        Active School   Southeast corner                    4,060
              22501     609832 QS-9A           51289         51289-3    Byrne                                         Addition 2              Active School   north                               8,320
              22501     609832 QS-9A           51289         51289-2    Byrne                                         Addition 1              Active School   south                               17,326
              22501     609832 QS-9A           51289         51289-1    Byrne                                            Main                 Active School   5329 S Oak Park Ave                 15,864
              22501     609832 QS-9A           51289         51289-4    Byrne                                         Addition 3              Active School   5329 S Oak Park Ave                 36,830
              22511     609833 QS-9A           51462         51462-2    Caldwell                                      Addition 1              Active School   Southeast                           13,355
              22511     609833 QS-9A           51462         51462-3    Caldwell                                      Addition 2              Active School   Northeast                           9,684
              22511     609833 QS-9A           51462         51462-1    Caldwell                                         Main                 Active School   East, central                       19,933
              22511     609833 QS-9A           52408         52408-1    Caldwell Annex                                  Annex                 Active School   Southwest                           21,511
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              26821     610353 QS-9A           51286         51286-1   Calmeca                                        Main                  Active School   3456 W. 38th Street                   108,624
                                                                       Camelot Excel Academy @ Former
                                               50716         50716-1                                                  Main                  Active School                                         42,300
              63143     400175 QS-9A                                   Powell                                                                               7530 S South Shore DRIVE
              22531     609835 QS-9A           51110         51110-1   Cameron                                        Main                  Active School   1234 N MONTICELLO                     120,281
              22531     609835 QS-9A           52409         52409-1   Cameron Annex                                  Annex                 Active School   1234 N MONTICELLO                      17,053
              22691     610539 QS-9A           54764         54764-1   Camras                                         Main                  Active School   3000 N Mango Ave                       98,604
              22691     610539 QS-9A           54764         54764-2   Camras                                        Addition               Active School   North                                  26,826
              22541     609836 QS-9A           51005         51005-2   Canty                                        Addition 2              Active School   northwest                              15,986
              22541     609836 QS-9A           51005         51005-1   Canty                                          Main                  Active School   3740 N Panama Ave                      41,329
              22541     609836 QS-9A           51005         51005-3   Canty                                        Addition 1              Active School   south                                  6,788
              22541     609836 QS-9A           51005         51005-4   Canty                                        Addition 3              Active School   3740 N Panama Ave                      39,475
              24051     610024 QS-9A           51287         51287-1   Cardenas Central                               Annex                 Active School   2406 S. Central Park Ave               20,400
              24051     610024 QS-9A           51276         51276-1   Cardenas North                                 Main                  Active School   2345 S. Millard Ave                    45,270
              24051     610024 QS-9A           51262         51262-1   Cardenas South @ Castellanos           Branch-Cardenas South         Active School   South                                  60,348
                                               51262         51262-2                                     Branch-Cardenas South (Addition)   Active School                                         23,768
              24051     610024 QS-9A                                   Cardenas South @ Castellanos                                                         North
              22551     609837 QS-9A           51397         51397-2   Carnegie                                     Addition 1              Active School   Northwest                             3,264
              22551     609837 QS-9A           51397         51397-1   Carnegie                                       Main                  Active School   South                                 42,735
              22551     609837 QS-9A           51397         51397-3   Carnegie                                     Addition 2              Active School   northwest                             17,980
              22571     609839 QS-9A           51425         51425-1   Carroll                                        Main                  Active School   2929 W. 83rd St.                      26,642
                                                                                                                                                            2541 W. 80th St. Chicago, IL East
                                               53771         53771-1                                           Branch 1_Rosenwald           Active School                                         11,838
              22571     609839 QS-9A                                   Carroll @ Rosenwald Annex                                                            side of site
                                                                                                                                                            2601 W. 80th St. Chicago, IL - West
                                               51456         51456-1                                       Branch 2_Rosenwald Carroll       Active School                                         47,154
              22571     609839 QS-9A                                   Carroll @ Rosenwald Branch                                                           side
              22601     609842 QS-9A           51317         51317-1   Carson                                        Main                   Active School   5516 S MAPLEWOOD                       62,635
              22601     609842 QS-9A           52327         52327-1   Carson Annex                                  Annex                  Active School   5516 S MAPLEWOOD                       75,380
              22611     609844 QS-9A           51348         51348-3   Carter                                      Addition 2               Active School   5740 S MICHIGAN AVE                    7,975
              22611     609844 QS-9A           51348         51348-2   Carter                                      Addition 1               Active School   5740 S MICHIGAN AVE                    18,580
              22611     609844 QS-9A           51348         51348-1   Carter                                        Main                   Active School   5740 S MICHIGAN AVE                    60,355
              22621     609845 QS-9A           51499         51499-1   Carver                                     Main-Bldg F               Active School   South                                  40,250
              22621     609845 QS-9A           51499         51499-2   Carver                                 Annex-Bldg C (Closed)         Active School   Closed Building                        19,750
              22621     609845 QS-9A           52411         52411-1   Carver Building A                         Annex-Bldg A               Active School   Middle East                            16,156
              22621     609845 QS-9A           52412         52412-1   Carver Building B                         Annex-Bldg B               Active School   NE                                     14,725
              46381     609760 QS-9A           51635         51635-1   Carver Military HS                            Main                   Active School   13100 S DOTY AVE                      298,689
                                                                                                                                                            3501 W Potomac AVENUE Chicago
                                               51117         51117-1                                                  Main                  Active School                                         66,550
              24011     610021 QS-9A                                   Casals                                                                               IL 60651
              22651     609849 QS-9A           51426         51426-2   Cassell                                      Addition                Active School   Southwest                             14,700
              22651     609849 QS-9A           51426         51426-1   Cassell                                        Main                  Active School   11314 S Spaulding Ave                 16,600
              22651     609849 QS-9A           56241         56241-1   Cassell Modular 1                     Modular 1 (8-Classroom )       Active School   Northwest                             9,800
              26021     610251 QS-9A           51194         51194-1   Cather                                         Main                  Active School   2908 W Washington Blvd                52,579
              22671     609851 QS-9A           51199         51199-1   Chalmers                                       Main                  Active School   2745 W Roosevelt Rd                   56,732
              22671     609851 QS-9A           51199         51199-2   Chalmers                                     Addition                Active School   Northeast                             11,452
              22681     609852 QS-9A           51052         51052-2   Chappell                                     Addition                Active School   North                                 17,498
              22681     609852 QS-9A           51052         51052-1   Chappell                                       Main                  Active School   2135 W Foster Ave                     21,292
              22681     609852 QS-9A           52414         52414-1   Chappell Linked Addition                 Linked Addition             Active School   South                                 48,359
              22701     609853 QS-9A           51111         51111-1   Chase                                          Main                  Active School   northwest                             41,959
              22701     609853 QS-9A           52415         52415-1   Chase Linked Addition                    Linked Addition             Active School   southeast                             42,756
              25151     610148 QS-9A           51330         51330-1   Chavez                                         Main                  Active School   4747 S MARSHFIELD AVE                 68,408
              25151     610148 QS-9A           54704         54704-1   Chavez Branch                             Leased-Branch              Active School   4821 S Hermitage St                   23,372
              25151     610148 QS-9A           59885         59885-1   Chavez Pre-K Branch                        Leased-Pre-K              Active School   4749 S Damen Ave                      5,700
              63051     400022 QS-9A           51139         51139-2   Chi Arts @Lafayette                         Addition 1               Active School   Southwest                             26,000
              63051     400022 QS-9A           51139         51139-3   Chi Arts @Lafayette                         Addition 2               Active School   Northeast                             61,000
              63051     400022 QS-9A           51139         51139-1   Chi Arts @Lafayette                            Main                  Active School   Southeast                             84,400
                                                                       Chicago Academy School @ Wright
                                               51041         51041-1                                              Leased-Main               Active School                                         231,712
              45211     610248 QS-9A                                   College                                                                              3400 N Austin Ave
                                                                       Chicago Academy School @ Wright
                                               51041         51041-2                                             Leased-Addition            Active School                                         19,132
              45211     610248 QS-9A                                   College                                                                              Southwest
              47091     609753 QS-9A           51634         51634-1   Chicago Ag HS                                  Main                  Active School   3857 W 111th St                       17,250
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              47091     609753 QS-9A           51634         51634-2   Chicago Ag HS                                  Addition          Active School   East                                 15,000
              47091     609753 QS-9A           54361         54361-1   Chicago Ag HS Linked Addition              Linked Addition       Active School   West                                160,000
              70070     609754 QS-9A           51589         51589-1   Chicago Military HS                             Main             Active School   3519 S Giles Ave                     68,096
              70070     609754 QS-9A           51589         51589-2   Chicago Military HS                            Addition          Active School   North                                53,804
                                                                       Chicago Vocational Career
                                               51625         51625-1                                                   Main             Active School                                       521,300
              53011     609674 QS-9A                                   Academy HS                                                                       South - Along 87th St.
                                                                       Chicago Vocational Career
                                               51625         51625-2                                                Addition 1          Active School                                       64,000
              53011     609674 QS-9A                                   Academy HS                                                                       West side along Chappel Ave.
                                                                       Chicago Vocational Career
                                               51625         51625-3                                         Addition 2-Anthony Wing    Active School                                       72,628
              53011     609674 QS-9A                                   Academy HS                                                                       Northeast side along Anthony Ave
              53011     609674 QS-9A           52343         52343-1   Chicago Vocational Hangar              Annex-Hangar Building     Active School   North side                          26,320
                                                                                                             Annex (Chicago Academy
                                               51245         51245-1                                                                    Active School                                       48,600
              63091     400091 QS-9A                                   ChiTech @ Medill                          Advanced Tech)                         1301 W 14TH ST
              22721     609854 QS-9A           51135         51135-1   Chopin                                         Main              Active School   2450 W Rice St                      96,895
                                                                                                                                                        5042 S Artesian AVENUE Chicago
                                               51290         51290-1                                                   Main             Active School                                       54,500
              30031     609855 QS-9A                                   Christopher                                                                      IL 60632
              30031     609855 QS-9A           51290         51290-2   Christopher                                  Addition            Active School   Southeast Corner                     17,400
              30031     609855 QS-9A           53778         53778-1   Christopher Modular 1                 Modular 1 (4-Classroom )   Active School   Southwest corner                     4,900
              31301     610347 QS-9A           51341         51341-1   Claremont                                      Main              Active School   2300 West 64th Street               112,806
              22191     609795 QS-9A           51086         51086-1   Clark G                                        Main              Active School   1045 S Monitor Ave                   10,900
              22191     609795 QS-9A           51086         51086-2   Clark G                                      Addition            Active School   1045 S Monitor Ave                   32,700
              41051     610244 QS-9A           51573         51573-1   Clark HS                                       Main              Active School   5101 W Harrison St                  150,700
              22731     609856 QS-9A           51502         51502-2   Clay                                         Addition            Active School   North                                27,360
              22731     609856 QS-9A           51502         51502-1   Clay                                           Main              Active School   13231 S Burley Ave.                  54,590
              22731     609856 QS-9A           52420         52420-1   Clay Branch @ St. Columba pre-K          Leased- Branch          Active School   3340 E 134th St (St. Columbia)       9,820
                                                                                                                                                        South of Division St. & East of
                                               51556         51556-1                                                   Main             Active School                                       354,518
              51091     609759 QS-9A                                   Clemente HS                                                                      Western Ave
                                                                                                                                                        North of Division St. and East of
                                               51556         51556-2                                               Main Athletic        Active School                                       78,824
              51091     609759 QS-9A                                   Clemente HS                                                                      Western Ave.
              22741     609857 QS-9A           51006         51006-1   Cleveland                                      Main              Active School   3121 W BRYON ST                     93,450
              22741     609857 QS-9A           53779         53779-1   Cleveland Modular 1                   Modular 1 (4-Classroom )   Active School   Southeast Corner                    4,011
              22751     609859 QS-9A           51053         51053-2   Clinton                                     Addition 1           Active School   Southwest                           22,527
              22751     609859 QS-9A           51053         51053-1   Clinton                                        Main              Active School   East                                79,104
              22751     609859 QS-9A           51053         51053-3   Clinton                                     Addition 2           Active School   North                               34,416
              22761     609861 QS-9A           51427         51427-1   Clissold                                       Main              Active School   2350 W 110TH                        59,069
              22761     609861 QS-9A           53780         53780-1   Clissold Modular 1                    Modular 1 (4-Classroom )   Active School   North Corner                        4,188
                                                                                                                                                        1241 W 58th STREET, Chicago IL
                                               51331         51331-1                                                   Main               CLOSED                                            53,600
              11880           QS-7A                                    CLOSED - Bontemps                                                                60636
              11880           QS-9B            51485         51485-1   CLOSED - Buckingham                             Main               CLOSED        North                               14,272
                                                                                                                                                        2833 W Adams ST, Chicago IL
                                               51193         51193-1                                                   Main               CLOSED                                            76,400
              11880           QS-2B                                    CLOSED - Calhoun                                                                 60612
                                                                       CLOSED - CICS Larry
                                               51500         51500-1                                             Middle - Charter         CLOSED                                            144,504
              11880           QS-9B                                    Hawkins/Carver E Bldg                                                            Southwest
                                                                       Closed - Courtenay CPC @
                                               51084         51084-1                                         Courtenay CPC @ Stockton     CLOSED                                             7,700
              11880           QS-2A                                    Stockton                                                                         4425 N. Magnolia Ave
                                                                                                                                                        2306 W Maypole AVE, Chicago IL
                                               51195         51195-1                                                   Main               CLOSED                                            68,494
              11880           QS-2B                                    Closed - Dett                                                                    60612
              11880           QS-7A            51319         51319-1   CLOSED - Earle                                 Main                CLOSED        6121 S HERMITAGE                    50,020
              11880           QS-7A            51319         51319-3   CLOSED - Earle                                Modular              CLOSED        6121 S HERMITAGE                    18,788
              11880           QS-7A            51319         51319-2   CLOSED - Earle                                Addition             CLOSED        6121 S HERMITAGE AVE                17,582
              11880           QS-8A            51400         51400-1   CLOSED - Fiske                                 Main                CLOSED        6145 S INGLESIDE AVE                73,930
              11880           QS-4A            51197         51197-1   CLOSED - Goldblatt                             Main                CLOSED        west                                30,873
              11880           QS-4A            51197         51197-2   CLOSED - Goldblatt                             Annex               CLOSED        east                                30,505
                                                                                                                                                        10211 S Crandon AVENUE, Chicago
                                               51911         51911-1                                                   Main               CLOSED                                            14,559
              11880           QS-9B                                    CLOSED - Goldsmith                                                               IL 60617
                                                                                                                                                        1326 S Avers Avenue, Chicago IL
                                               51216         51216-1                                                   Main               CLOSED                                            64,300
              11880           QS-4A                                    CLOSED - Henson                                                                  60623
              11880           QS-9A            51438         51438-1   CLOSED - Kohn                                   Main               CLOSED        west                                60,624
              11880           QS-7B            51440         51440-1   CLOSED - Morgan                                 Main               CLOSED        8407 S KERFOOT AVE                  80,640
                                                                                                                                                        3813 S Dearborn ave, Chicago IL
                                               51346         51346-1                                                    1               Vacant Land                                           0
              11880           QS-8A                                    DEMOLISHED - Old Attucks                                                         60609
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                                                                                                                                                               2221 South Lawndale Avenue ,
                                               51283         51283-1                                                      Main                   CLOSED                                           56,100
              11880           QS-5A                                    CLOSED - Paderewski                                                                     Chicago IL 60623
              11880           QS-7A            51356         51356-1   CLOSED - Parkman                                   Main                   CLOSED        245 W 51ST                         61,109
              11880           QS-8B            51357         51357-3   CLOSED - Ross                                   Cockrell CPC              CLOSED        30 E 61st St (across the street)   15,000
              11880           QS-8B            51357         51357-1   CLOSED - Ross                                      Main                   CLOSED        South                              40,200
              11880           QS-8B            51357         51357-2   CLOSED - Ross                                     Addition                CLOSED        North                              39,000
              11880           QS-8B            51620         51620-2   Closed - School of Leadership                Elevator Addition            CLOSED        7627 S CONSTANCE AVE                810
              11880           QS-9B            51455         51455-1   CLOSED - Shedd Annex                               Main                   CLOSED        200 E 99th ST, Chicago IL 60628    14,150
              11880           QS-7A            51385         51385-2   CLOSED - Wentworth                              (1893/1925)               CLOSED        6950 S SANGAMON                    62,350
              11880           QS-7A            51385         51385-1   CLOSED - Wentworth                                 Main                   CLOSED        6950 S SANGAMON ST                 62,630
                                                                                                                                                               6206 S Racine AVE, Chicago IL
                                               51391         51391-1                                                      Main                   CLOSED                                           69,497
              11880           QS-7A                                    CLOSED - Woods                                                                          60636
                                                                       CLOSED & FORMER UC Woodlawn
                                               51414         51414-3                                                   Addition 2                CLOSED                                           27,300
              11880           QS-8B                                    at Wadsworth                                                                            south
                                                                       CLOSED & FORMER UC Woodlawn
                                               51414         51414-1                                                      Main                   CLOSED                                           74,125
              11880           QS-8B                                    at Wadsworth                                                                            north
                                                                       CLOSED & FORMER UC Woodlawn
                                               51414         51414-2                                                   Addition 1                CLOSED                                           20,670
              11880           QS-8B                                    at Wadsworth                                                                            middle
                                                                       CLOSED- Burnham Anthony Branch-
                                               51527         51527-1                                                      Main                   CLOSED                                           15,103
              11880           QS-9B                                    closed                                                                                  9800 S TORRENCE AVE
                                                                       CLOSED Young Womens HS @
                                               51652         51652-1                                                      Main                   CLOSED                                           50,500
              11880            QS-8B                                   Sengstake                                                                               2641 S CALUMET AVE
              11880            QS-3A           51100         51100-1   CLOSED-Armstrong L                                Main                    CLOSED        5345 W CONGRESS PKWY                14,750
              11880            QS-8B           51671         51671-1   Cockrell CPC                                      Main                      Active      30 E 61st ST, Chicago IL 60637      14,500
              26751     610199 QS-9A           51519         51519-1   Colemon                                           Main                  Active School   1441 W. 119th St.                   34,600
              22771     609862 QS-9A           51463         51463-1   Coles                                             Main                  Active School   8441 S Yates Blvd                   66,649
              22771     609862 QS-9A           52423         52423-1   Coles Annex                                      Annex                  Active School   North                               21,061
              22771     609862 QS-9A           53781         53781-1   Coles Modular 1                         Modular 1 (2-Classroom )        Active School   North Modular                       1,726
              22771     609862 QS-9A           53782         53782-1   Coles Modular 2                         Modular 2 (2-Classroom )        Active School   North Middle Modular                1,726
              22771     609862 QS-9A           53641         53641-1   Coles Modular 3                         Modular 3 (2-Classroom )        Active School   South Middle Modular                1,726
              22771     609862 QS-9A           53642         53642-1   Coles Modular 4                         Modular 4 (2-Classroom )        Active School   South Modular                       1,726
              49131     610499 QS-9A           51569         51569-1   Collins HS                                        Main                  Active School   1313 S Sacramento Dr               102,060
                                                                                                          Linked Addition-Physical Education
                                               59561         59561-1                                                                           Active School                                      37,803
              49131     610499 QS-9A                                   Collins HS Fine Arts                            Building                                Northeast
                                                                                                           Linked Addition-Fine Arts & Tech
                                               59651         59651-1                                                                           Active School                                      66,155
              49131     610499 QS-9A                                   Collins HS Physical Ed                          Building                                South of the Main
              20071     610170 QS-9A           59886         59886-1   Colombia Explorers Branch                   Leased-Branch               Active School   4600 S Kedzie                      11,700
              20071     610170 QS-9A           51279         51279-1   Columbia Explorers                                Main                  Active School   4520 S KEDZIE                      83,500
                                                                                                                                                               4520 S Kedzie Ave, Chicago, IL
                                               55945         55945-1                                            Modular 1 (6-Classroom )       Active School                                       7,000
              51279     610170 QS-9A                                   Columbia Explorers Modular                                                              60632
                                                                       Columbia Explorers-Branch
                                               55259         55259-1                                             Leased-Branch (Pre-K)         Active School                                       5,852
              20071     610170 QS-9A                                   Kindergarten                                                                            4628 S. Kedzie
              22791     609863 QS-9A           51136         51136-1   Columbus                                           Main                 Active School   1003 N Leavitt St                   31,872
              22791     609863 QS-9A           51136         51136-2   Columbus                                          Addition              Active School   1003 N Leavitt                      7,164
              22801     609864 QS-9A           51428         51428-1   Cook                                               Main                 Active School   8150 S Bishop St                    66,070
              22801     609864 QS-9A           58241         58241-1   Cook Linked Addition                          Linked Addition           Active School   north                               32,430
              22821     609866 QS-9A           51055         51055-1   Coonley                                            Main                 Active School   Northeast                           66,959
              22821     609866 QS-9A           51055         51055-2   Coonley                                           Addition              Active School   Southeast                           5,345
              22821     609866 QS-9A           51594         51594-1   Coonley - Annex                                    Annex                Active School   Southwest                           35,331
              22831     609867 QS-9A           51232         51232-1   Cooper                                             Main                 Active School   1624 W. 19th St                     59,400
              22831     609867 QS-9A           50008         50008-1   Cooper Annex                                       Annex                Active School   1645 W. 18th Place                  71,800
              22851     609870 QS-9A           51265         51265-2   Corkery                                           Addition              Active School   2510 S KILDARE AVE                  4,548
              22851     609870 QS-9A           51265         51265-1   Corkery                                            Main                 Active School   2510 S KILDARE AVE                  67,120
              46391     609761 QS-9A           51636         51636-1   Corliss HS                                         Main                 Active School   821 E 103rd St                     218,350
              46391     609761 QS-9A           56361         56361-1   Corliss HS Linked Addition             Linked Addition-Main Athletic    Active School   East of the Main building           54,301
              30141     610355 QS-9A           51073         51073-1   Courtenay @ Stockton                               Main                 Active School   East                                92,490
              30141     610355 QS-9A           51073         51073-2   Courtenay @ Stockton                              Addition              Active School   Southwest                           19,580
                                                                                                                                                               4720 S St. Louis AVENUE, Chicago
              11890           QS-5B            54791         54791-1   CPS Warehouse                                      east                 Warehouse       IL 60632                           165,000
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                                                                                                                                                             3532 W 47th PLACE, Chicago IL
              11890           QS-5B            57492         57492-1   CPS Warehouse Annex                           Annex                   Warehouse       60632                             84,000

              46641     610561 QS-9A           51564         51564-1   Crane HS                                     Main                     Active School   2245 W JACKSON BLVD               371,560
              46641     610561 QS-9A           51564         51564-2   Crane HS                                    Addition                  Active School   2245 W JACKSON BLVD                47,855
              31041     609873 QS-9A           51200         51200-1   Crown                                        Main                     Active School   2128 S St Louis Ave                63,352
              23881     610003 QS-9A           51436         51436-1   Cuffe                                        Main                     Active School   8324 S RACINE AVE                  82,120
              23891     610004 QS-9A           51509         51509-1   Cullen                                       Main                     Active School   10650 S Eberhart Ave               25,927
              53101     609756 QS-9A           51590         51590-1   Curie HS                                 Main-Building A              Active School   4959 S Archer Ave                 245,084
                                               50951         50951-1                                   Linked Addition-Athletic Building B   Active School                                     170,493
              53101     609756 QS-9A                                   Curie HS Linked Addition                                                              Northeast
              23061     609900 QS-9A           51430         51430-1   Curtis                                       Main                     Active School   32 E 115th St                      61,030
              23061     609900 QS-9A           50341         50341-1   Curtis Annex                                Annex                     Active School   East                               42,580
              25951     610239 QS-9A           51334         51334-1   Daley                                        Main                     Active School   5024 S WOLCOTT                     73,350
              22881     609875 QS-9A           51112         51112-3   Darwin                                     Addition                   Active School   West                               38,126
              22881     609875 QS-9A           51112         51112-1   Darwin                                       Main                     Active School   3116 W BELDEN                      61,807
              22881     609875 QS-9A           52429         52429-1   Darwin Annex                                Annex                     Active School   Northwest                          21,308
              29391     610521 QS-9A           54217         54217-1   Davis                                        Main                     Active School   6730 S PAULINA                    104,200
              22891     609876 QS-9A           51266         51266-3   Davis N                                   Addition 2                  Active School   West                               26,452
              22891     609876 QS-9A           51266         51266-1   Davis N                                      Main                     Active School   3014 W 39TH PL                     45,675
              22891     609876 QS-9A           51266         51266-2   Davis N                                   Addition 1                  Active School   East                               15,412
              22891     609876 QS-9A           53959         53959-1   Davis N Annex                               Annex                     Active School   3050 W. 39th Place                 34,018
              22901     609879 QS-9A           51291         51291-1   Dawes                                        Main                     Active School   3810 W 81st Pl                     70,461
              22901     609879 QS-9A           53785         53785-1   Dawes New Modular 1                 Modular 1 (8-Classroom )          Active School   Northwest Modular                  9,800
              22901     609879 QS-9A           53786         53786-1   Dawes New Modular 2                 Modular 2 (8-Classroom )          Active School   Southwest Modular                  9,800
              31261     610313 QS-9A           51151         51151-2   De Diego                                   Addition                   Active School   Southwest                          62,986
              31261     610313 QS-9A           51151         51151-1   De Diego                                     Main                     Active School   1313 N Claremont Ave              175,571
              23411     609950 QS-9A           51271         51271-1   De Dominguez                                 Main                     Active School   3000 S. Lawndale                   63,900
              29031     609880 QS-9A           51056         51056-1   Decatur                                      Main                     Active School   East                               23,834
              29031     609880 QS-9A           52001         52001-1   Decatur Annex                               Annex                     Active School   7030 N Sacramento Ave              18,600
              22931     609883 QS-9A           51377         51377-1   Deneen                                       Main                     Active School   7240 S Wabash Ave                  33,076
              22931     609883 QS-9A           51377         51377-2   Deneen                                    Addition 3                  Active School   West                               32,350
              22931     609883 QS-9A           51377         51377-3   Deneen                                    Addition 1                  Active School   Southeast                          8,920
              22931     609883 QS-9A           51377         51377-4   Deneen                                    Addition 2                  Active School   South                              13,390
              26631     610367 QS-9A           51107         51107-1   Depriest                                     Main                     Active School   139 S. Parkside Ave.              106,650
                                                                                                                                                             2131 W Monroe STREET Chicago IL
                                               51187         51187-1                                                 Main                    Active School                                     70,600
              26031     610252 QS-9A                                   Dett @ Herbert                                                                        60612
              22941     609884 QS-9A           51008         51008-1   Dever                                        Main                     Active School   3436 N OSCEOLA AVE                 38,530
              22941     609884 QS-9A           51008         51008-2   Dever                                      Addition                   Active School   West                               6,255
              22941     609884 QS-9A           52008         52008-1   Dever Annex                                 Annex                     Active School   3418 N Osceola Ave                 17,340
              22941     609884 QS-9A           53787         53787-1   Dever Modular 1                     Modular 1 (4-Classroom )          Active School   Southwest Corner                   4,125
              22951     609885 QS-9A           51349         51349-1   Dewey                                        Main                     Active School   5415 S UNION AVE                   71,361
              22951     609885 QS-9A           51367         51367-1   Dewey CPC                                   Annex                     Active School   638 W 54th Pl                      14,830
              22871     609874 QS-9A           51007         51007-1   Dirksen                                      Main                     Active School   8601 W Foster Ave                  33,824
              22871     609874 QS-9A           51007         51007-2   Dirksen                                    Addition                   Active School   South                              13,915
              22871     609874 QS-9A           52002         52002-1   Dirksen Annex                               Annex                     Active School   8601 W Foster Ave                  65,300
              22871     609874 QS-9A           54784         54784-1   Dirksen Branch                          Leased-Branch                 Active School   8300 W. Addison St                 4,712
              22871     609874 QS-9A           53788         53788-1   Dirksen Modular 1                   Modular 1 (4-Classroom )          Active School   North Modular                      4,900
              22871     609874 QS-9A           53000         53000-1   Dirksen Modular 2                   Modular 2 (4-Classroom )          Active School   South Modular                      4,900
              29401     610363 QS-9A           51082         51082-1   Disney                                       Main                     Active School   4140 N MARINE DR                  215,990
              29401     610363 QS-9A           52609         52609-1   Disney Art Building                    Linked Addition                Active School   4140 N MARINE DR                   44,150
              26921     610515 QS-9A           51019         51019-1   Disney II                                    Main                     Active School   3815 N KEDVALE AVE                 50,560
              26921     610564 QS-9A           51042         51042-1   Disney II @ Marshall Middle                  Main                     Active School   3900 N Lawndale Ave               125,776
              26921     610564 QS-9A           51042         51042-3   Disney II @ Marshall Middle               Addition 2                  Active School   3900 N Lawndale Ave                31,184
              26921     610564 QS-9A           51042         51042-2   Disney II @ Marshall Middle               Addition 1                  Active School   North                              24,963
                                                                                                                                                             8306 S Saint Lawrence AVENUE
                                               51464         51464-1                                                 Main                    Active School                                     101,627
              22971     609887 QS-9A                                   Dixon                                                                                 Chicago IL 60619
              22991     609891 QS-9A           51398         51398-1   Doolittle East                                Main                    Active School   535 E 35TH ST                     66,148
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              22991     609891 QS-9A           51398         51398-2   Doolittle East                               Addition             Active School   East                                46,148
                                                                                                                                                         7134 W 65th STREET Chicago IL
                                               58212         58212-1                                                  Main               Active School                                       113,000
              23001     609893 QS-9A                                   Dore                                                                              60638
              23001     609893 QS-9A           51292         51292-3   Dore Pre-K                           Branch-Old Main (Addition)   Active School   Center                               6,847
              23001     609893 QS-9A           51292         51292-1   Dore Pre-K                                Branch-Old Main         Active School   6108 S Natoma Ave                    13,369
              41061     610245 QS-9A           51104         51104-1   Douglass HS                                    Main               Active School   543 N WALLER                        135,210
                                                                       Dr. Martin L. King Jr. Academy of
                                               51393         51393-1                                                  Main               Active School                                       71,892
              26371     610299 QS-9A                                   Social Justice @ Hinton                                                           644 W. 71st St.
              23011     609894 QS-9A           51255         51255-1   Drake @ Williams                              Main                Active School   Middle-South                        141,400
              23011     609894 QS-9A           51255         51255-2   Drake @ Williams                             Addition             Active School   North                                6,750
              23021     609896 QS-9A           51137         51137-1   Drummond                                      Main                Active School   1845 W Cortland St                   47,500
              26601     610364 QS-9A           51526         51526-1   Dubois                                        Main                Active School   330 E 133RD ST                       27,248
              26141     610263 QS-9A           51417         51417-1   Dulles                                        Main                Active School   220 E 63rd St.                       70,786
                                                                                                                                                         3000 S King DRIVE Chicago IL
                                               51578         51578-1                                                  Main               Active School                                       319,937
              53021     609676 QS-9A                                   Dunbar HS                                                                         60616
              25491     610188 QS-9A           51446         51446-2   Dunne                                         Main                Active School   west                                 23,372
              25491     610188 QS-9A           56441         56441-1   Dunne Linked Addition                   Linked Addition           Active School   10845 S Union Ave                    10,666
              26831     610352 QS-9A           51314         51314-1   Durkin Park                                   Main                Active School   8445 S Kolin Ave                     39,928
              26831     610352 QS-9A           52009         52009-1   Durkin Park Annex                            Annex                Active School   8445 S Kolin Ave                     6,798
              26831     610352 QS-9A           54131         54131-1   Durkin Park Linked Addition            Linked Addition 2          Active School   Northwest                            28,328
              26831     610352 QS-9A           57390         57390-1   Durkin Park Linked Addition 2          Linked Addition 1          Active School   Northeast                            7,406
              26831     610352 QS-9A           53790         53790-1   Durkin Park Modular 1                Modular 1 (4-Classroom )     Active School   East                                 4,060
              26051     610254 QS-9A           51218         51218-1   Dvorak                                        Main                Active School   3615 W 16TH                          69,287
              46681     610587 QS-9A           51585         51585-1   Dyett HS                                      Main                Active School   East                                120,706
              66021     610587 QS-9A           52367         52367-1   Dyett HS Rec Building                Annex-Athletic Building      Active School   West                                 42,134
              26441     610316 QS-9A           51490         51490-1   Earhart                                       Main                Active School   1710 E 93rd St                       13,080
              26441     610316 QS-9A           51490         51490-2   Earhart                                    Addition 2             Active School   West                                 11,635
              26441     610316 QS-9A           51490         51490-3   Earhart                                    Addition 1             Active School   Center                               3,437
                                                                                                                                                         2040 W 62nd STREET Chicago IL
                                               51320         51320-1                                                  Main               Active School                                       67,506
              23031     609897 QS-9A                                   Earle @ Goodlow                                                                   60636
              23041     609898 QS-9A           51293         51293-1   Eberhart                                      Main                Active School   3400 W 65th Pl                      78,703
              23041     609898 QS-9A           51293         51293-2   Eberhart                                    Addition              Active School   West                                81,635
              23041     609898 QS-9A           53791         53791-1   Eberhart Modular 1                   Modular 1 (4-Classroom )     Active School   northwest of the Addition           4,060
              23051     609899 QS-9A           51009         51009-1   Ebinger                                       Main                Active School   South                               61,518
              23051     609899 QS-9A           51009         51009-2   Ebinger                                    Addition 1             Active School   7350 W Pratt Ave                    32,000
                                               50444         50444-1                                                    1                  Stadium                                            6,500
              68010            QS-8B                                   Eckersall Stadium                                                                 2423 E 82nd St, Chicago, IL 60617
              23071     609901 QS-9A           51010         51010-4   Edgebrook                                    Addition 3           Active School   Northeast                            35,298
              23071     609901 QS-9A           51010         51010-1   Edgebrook                                       Main              Active School   6525 N Hiawatha Ave                  18,347
              23071     609901 QS-9A           51010         51010-3   Edgebrook                                    Addition 2           Active School   Southeast                            7,661
              23071     609901 QS-9A           51010         51010-2   Edgebrook                                    Addition 1           Active School   Northwest                            4,284
              28081     610523 QS-9A           51001         51001-1   Edison Park                                     Main              Active School   6220 N Olcott                        34,423
              28081     610523 QS-9A           51001         51001-2   Edison Park                                   Addition            Active School   Northwest                            26,052
              23081     609903 QS-9A           51294         51294-2   Edwards                                      Addition 1           Active School   Northeast                            11,090
              23081     609903 QS-9A           51294         51294-1   Edwards                                         Main              Active School   4815 S Karlov Ave                    81,150
              23081     609903 QS-9A           51294         51294-3   Edwards                                      Addition 2           Active School   4815 S Karlov Ave                    50,193
              23081     609903 QS-9A           52440         52440-1   Edwards Annex                                  Annex              Active School   South                                16,936
              23081     609903 QS-9A           51316         51316-1   Edwards Branch                                 Branch             Active School   4950 S. LaPorte Ave.                 15,774
              23101     609904 QS-9A           54725         54725-1   Ellington                                       Main              Active School   243 N Parkside Ave                  112,380
                                                                                                                                                         6835 S NORMAL Chicago IL 60621-
                                               56691         56691-1                                                  main               Active School                                       160,000
              46691     610592 QS-9A                                   Englewood STEM                                                                    2535
                                               51201         51201-1                                                  Main               Active School                                       74,410
              29051     609907 QS-9A                                   Ericson                                                                           3600 W 5th Ave Chicago, IL 60624
              23131     609908 QS-9A           51431         51431-2   Esmond                                     Addition 1             Active School   Northeast                           17,400
              23131     609908 QS-9A           51431         51431-1   Esmond                                        Main                Active School   Northwest                           16,300
              23131     609908 QS-9A           51431         51431-3   Esmond                                       Annex                Active School   1865 W Montvale Ave                 20,000
              23141     609909 QS-9A           51267         51267-1   Everett                                       Main                Active School   3419 S Bell Ave                     47,850
              23141     609909 QS-9A           53799         53799-1   Everett Modular 1                    Modular 1 (6-Classroom )     Active School   South                               5,645
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              26461     610319 QS-9A           51340         51340-1   Evergreen                                    Main               Active School   3537 S PAULINA                    50,060
              26591     610362 QS-9A           51451         51451-1   Evers                                        Main               Active School   9811 S LOWE ST                    52,968
              26701     610057 QS-9A           51301         51301-1   Fairfield                                 Leased-Main           Active School   6201 S. Fairfield Ave.            79,926
                                                                                                                                                       3020 N Lamon Ave Chicago, IL
                                               51011         51011-1                                                 Main              Active School                                     82,716
              23151     609910 QS-9A                                   Falconer                                                                        60641
                                                                                                                                                       3020 N Lamon Ave Chicago, IL
                                               51011         51011-2                                               Addition            Active School                                     82,797
              23151     609910 QS-9A                                   Falconer                                                                        60641
                                                                                                                                                       3250 W Monroe St Chicago, IL
                                               51189         51189-1                                                 Main              Active School                                     61,645
              24371     610055 QS-9A                                   Faraday                                                                         60624
              23161     609912 QS-9A           51012         51012-1   Farnsworth                                   Main               Active School   5414 N LINDER AVE                  76,762
              23161     609912 QS-9A           53803         53803-1   Farnsworth Modular 1                Modular 1 (4-Classroom )    Active School   Southwest Corner                   4,950
              53091     609704 QS-9A           51581         51581-1   Farragut HS                                  Main               Active School   South                             136,264
              53091     609704 QS-9A           51581         51581-2   Farragut HS                                Addition             Active School   North Side                        222,991
              46111     609705 QS-9A           51628         51628-1   Fenger HS                                    Main               Active School   11220 S WALLACE                   341,000
              23201     609917 QS-9A           51432         51432-2   Fernwood                                   Addition             Active School   10041 S UNION AVE                  35,990
              23201     609917 QS-9A           51432         51432-1   Fernwood                                     Main               Active School   10041 S UNION AVE                  31,180
              23211     609918 QS-9A           51057         51057-1   Field                                        Main               Active School   7019 N Ashland Ave                 37,830
              23211     609918 QS-9A           51057         51057-2   Field                                     Addition 1            Active School   7019 N Ashland Ave                 49,713
              23211     609918 QS-9A           51057         51057-3   Field                                     Addition 2            Active School   7019 N Ashland Ave                 16,875
              23541     609967 QS-9A           51273         51273-1   Finkl                                        Main               Active School   2332 S WESTERN AVE                 71,980
              23221     609919 QS-9A           51412         51412-1   Fiske @ Sexton                               Main               Active School   North                              70,878
              23221     609919 QS-9A           51412         51412-2   Fiske @ Sexton                             Addition             Active School   South                              34,396
                                                                                                                                                       3235 N LeClaire AVENUE Chicago
                                               51532         51532-1                                                 Main              Active School                                     221,236
              46131     609708 QS-9A                                   Foreman HS                                                                      IL 60641
              46131     609708 QS-9A           53806         53806-1   Foreman HS Modular 1                Modular 1 (10-Classroom )   Active School   Site East                         13,157
              23241     609924 QS-9A           51433         51433-1   Fort Dearborn                                 Main              Active School   West - North end                  65,765
              23241     609924 QS-9A           51433         51433-2   Fort Dearborn                               Addition            Active School   Northeast                         17,659
                                                                                                                                                       9025 S Throop STREET Chicago IL
                                               51433         51433-3                                              Addition 2           Active School                                     23,200
              23241     609924 QS-9A                                   Fort Dearborn                                                                   60620
              23261     609927 QS-9A           51434         51434-2   Foster Park                                 Addition            Active School   north                             14,235
              23261     609927 QS-9A           51434         51434-1   Foster Park                                  Main               Active School   8530 S Wood St                    17,910
              23261     609927 QS-9A           52445         52445-1   Foster Park Annex                            Annex              Active School   North                             35,860
              29081     609926 QS-9A           51161         51161-1   Franklin                                     Main               Active School   North                             53,097
              29411     610503 QS-9A           51222         51222-1   Frazier                                      Main               Active School   4027 W GREENSHAW                  72,000
                                                                                                                                                       4214 South Saint Lawrence
                                               51351         51351-1                                                 Main              Active School                                     91,800
              23271     609928 QS-9A                                   Fuller                                                                          Avenue
              23281     609929 QS-9A           51321         51321-1   Fulton                                       Main               Active School   5330 S Hermitage Ave.              75,628
              23281     609929 QS-9A           52446         52446-1   Fulton Annex                                Annex               Active School   North                              20,970
              23291     609930 QS-9A           51114         51114-1   Funston                                      Main               Active School   2010 N Central Park                53,265
              23291     609930 QS-9A           51114         51114-2   Funston                                    Addition             Active School   South                              19,725
              23291     609930 QS-9A           54119         54119-1   Funston Linked Addition                Linked Addition          Active School   West                               34,739
              46141     609709 QS-9A           51609         51609-1   Gage Park HS                                 Main               Active School   5630 S ROCKWELL ST                219,411
              31081     609933 QS-9A           51058         51058-1   Gale                                         Main               Active School   East                               91,665
              31081     609933 QS-9A           51058         51058-2   Gale                                       Addition             Active School   South                              9,165
              31081     609933 QS-9A           52447         52447-1   Gale Annex                                  Annex               Active School   West                               56,986
              29141     610009 QS-9A           51240         51240-2   Galileo                                    Addition             Active School   South                              60,234
              29141     610009 QS-9A           51240         51240-1   Galileo                                      Main               Active School   North                              42,469
              29091     609935 QS-9A           51505         51505-1   Gallistel                                    Main               Active School   Southwest                          48,896
              29091     609935 QS-9A           51505         51505-2   Gallistel                                  Addition             Active School   Northwest                          36,905
              29091     609935 QS-9A           53812         53812-1   Gallistel Modular 1                 Modular 1 (6-Classroom )    Active School   North Modular                      6,676
              29091     609935 QS-9A           53914         53914-1   Gallistel Modular 2                 Modular 2 (2-Classroom )    Active School   Southeast Corner                   2,100
              24951     610128 QS-9A           51445         51445-1   Garvey M                                     Main               Active School   10309 S. Morgan                    55,354
              23301     609937 QS-9A           51013         51013-2   Garvy J                                   Addition 2            Active School   Southeast                          33,345
              23301     609937 QS-9A           51013         51013-1   Garvy J                                      Main               Active School   5225 N OAK PARK AVE                26,875
              23301     609937 QS-9A           51013         51013-3   Garvy J                                   Addition 1            Active School   North                              19,445
              23311     609938 QS-9A           51270         51270-1   Gary                                         Main               Active School   Middle - West                      92,770
              23311     609938 QS-9A           52450         52450-1   Gary Annex 1                               Annex 1              Active School   Northwest                          16,285
              23311     609938 QS-9A           50721         50721-1   Gary Annex 2                               Annex 2              Active School   Northeast                          23,138
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                                                                                                                                                        810 E 103rd STREET, Chicago IL
                                               53900         53900-1                                               Leased                 Stadium                                         7,200
              68100            QS-9A                                   Gately Stadium                                                                   60628
              23321     609939 QS-9A           51466         51466-1   Gillespie                                    Main                Active School   9301 S. State Street              60,700
              23321     609939 QS-9A           51466         51466-2   Gillespie                                  Addition              Active School   9301 S. State Street              30,600
              23341     609942 QS-9A           51115         51115-1   Goethe                                       Main                Active School   north                             57,508
              23341     609942 QS-9A           51115         51115-2   Goethe                                     Addition              Active School   southwest                         22,520
              46611     610558 QS-9A           54793         54793-1   Goode HS                                     Main                Active School   7651 S. Homan Ave.               208,200
              23371     609945 QS-9A           51059         51059-1   Goudy                                        Main                Active School   North                             48,127
              23371     609945 QS-9A           51059         51059-2   Goudy                                     Addition 2             Active School   South                             42,116
              23371     609945 QS-9A           51059         51059-3   Goudy                                     Addition 1             Active School   middle                            7,776
              23391     609947 QS-9A           51352         51352-1   Graham                                       Main                Active School   4436 S Union Ave                  73,500
              23391     609947 QS-9A           53814         53814-1   Graham Branch                               Branch               Active School   745 W. 45th St                    43,000
              49101     609769 QS-9A           51591         51591-1   Graham HS                                    Main                Active School   Southwest                         19,415
              49101     609769 QS-9A           53815         53815-1   Graham HS Modular 1                 Modular 1 (4-Classroom )     Active School   East of main building             3,988
              23401     609949 QS-9A           51014         51014-1   Gray                                         Main                Active School   3730 N LARAMIE AVE                67,435
              23401     609949 QS-9A           54101         54101-1   Gray Annex                                  Annex                Active School   West                              57,255
              23401     609949 QS-9A           53816         53816-1   Gray Modular 1                      Modular 1 (4-Classroom )     Active School   South                             5,300
              22661     609850 QS-9A           51051         51051-1   Greeley                                      Main                Active School   East                              60,718
              24131     610032 QS-9A           51439         51439-1   Green W                                      Main                Active School   1150 W 96th St                    40,088
              23431     609952 QS-9A           51323         51323-1   Greene N                                     Main                Active School   3525 S. Honore St.                82,455
              23441     609954 QS-9A           51203         51203-1   Gregory                                      Main                Active School   3715 W Polk St                    85,100
              23441     609954 QS-9A           51203         51203-2   Gregory                                   Addition 1             Active School   Northeast                         12,400
              23441     609954 QS-9A           51203         51203-3   Gregory                                   Addition 2             Active School   Northwest                         12,400
              23451     609955 QS-9A           51435         51435-3   Gresham                                   Addition 2             Active School   south                             48,387
              23451     609955 QS-9A           51435         51435-1   Gresham                                      Main                Active School   8524 S. Green St.                 41,588
              23451     609955 QS-9A           51435         51435-2   Gresham                                   Addition 1             Active School   north                             23,364
              23461     609956 QS-9A           51295         51295-1   Grimes                                       Main                Active School   5450 West 64th Place              12,302
              23461     609956 QS-9A           51295         51295-2   Grimes                                     Addition              Active School   East                              4,945
                                               51315         51315-1                                           Branch-Fleming           Active School                                    13,953
              23461     609956 QS-9A                                   Grimes Branch @ Fleming Branch                                                   4918 W. 64th St
                                                                                                       Modular 1 @ Fleming Branch (8-
                                               58102         58102-1                                                                    Active School                                     9,660
              23461     609956 QS-9A                                   Grimes Modular @ Fleming Branch          Classroom )                             at the Fleming Branch
              23361     609944 QS-9A           51507         51507-1   Grissom                                      Main                Active School   12810 S Escanaba AVE              29,878
              23361     609944 QS-9A           53817         53817-1   Grissom Modular 1                 Modular 1 (2-Classroom )       Active School   Southwest end of the Main         1,737
              29121     609958 QS-9A           51272         51272-1   Gunsaulus                                    Main                Active School   4420 S Sacramento Ave            106,519
              23481     609959 QS-9A           51236         51236-1   Haines                                       Main                Active School   247 W 23RD PL                     75,558
              23491     609960 QS-9A           51296         51296-1   Hale                                         Main                Active School   6140 S Melvina Ave                63,323
              23491     609960 QS-9A           51296         51296-2   Hale                                       Addition              Active School   North                             35,910
              22301     609808 QS-9A           51496         51496-1   Haley                                        Main                Active School   11411 S Eggleston Ave             64,306
              22301     609808 QS-9A           56941         56941-1   Haley Annex                                 Annex                Active School   East                              36,988
              23501     609963 QS-9A           51060         51060-1   Hamilton                                     Main                Active School   150 W CORNELIA                    74,643
              23511     609964 QS-9A           51324         51324-1   Hamline                                      Main                Active School   4747 S BISHOP - Main Campus       43,990
              23511     609964 QS-9A           51324         51324-2   Hamline                                    Addition              Active School   North - Main Campus               35,521
              23511     609964 QS-9A           51343         51343-1   Hamline Branch                              Branch               Active School   1548 W 48TH ST                    37,552
              23531     609966 QS-9A           51204         51204-1   Hammond                                      Main                Active School   2819 W. 21st Pl                   38,104
              23531     609966 QS-9A           51204         51204-2   Hammond                                    Addition              Active School   Northwest                         21,588
              32021     609807 QS-9A           51288         51288-1   Hampton                                      Main                Active School   3434 W 77th St                    98,776
              46021            QS-6A           51605         51605-1   CLOSED - Hancock HS                          Main                  CLOSED        4034 W 56TH ST                   169,086
              24461     610068 QS-9A           51121         51121-1   Hanson Park                                  Main                Active School   5411 W Fullerton Ave              74,400
                                                                       Hanson Park Branch @ St
                                               53425         53425-1                                           Leased-Branch            Active School                                    32,476
              24461     610068 QS-9A                                   Stanislaus                                                                       2318 N Lorel Ave
              24461     610068 QS-9A           52508         52508-1   Hanson Park Linked Addition            Linked Addition           Active School   South                            18,989
              24461     610068 QS-9A           52212         52212-1   Hanson Park Modular1              Modular 1 (6-Classroom )       Active School   Southeast Corner                 6,951
                                                                                                                                                        5501 W Fullerton AVENUE,
                                               53897         53897-1                                                Main                  Stadium                                        10,000
              68020            QS-3A                                   Hanson Park Stadium                                                              Chicago IL 60639
              51021     609710 QS-9A           51630         51630-1   Harlan HS                                   Main                 Active School   9652 S Michigan Ave              152,196
              51021     609710 QS-9A           51630         51630-2   Harlan HS                                  Addition              Active School   Northeast                         6,134
              51021     609710 QS-9A           50361         50361-1   Harlan HS Linked Addition                   Annex                Active School   Southwest                         11,400
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              46151     609711 QS-9A           51610         51610-1   Harper HS                                       Main              Active School   6520 South Wood Street   174,822
              46151     609711 QS-9A           51610         51610-2   Harper HS                                     Addition            Active School   6520 South Wood Street    45,965
              23561     609969 QS-9A           51402         51402-3   Harte                                        Addition 1           Active School   West                      15,537
              23561     609969 QS-9A           51402         51402-2   Harte                                        Addition 2           Active School   East                      6,162
              23561     609969 QS-9A           51402         51402-1   Harte                                           Main              Active School   center                    12,582
              23581     609971 QS-9A           51378         51378-1   Harvard                                         Main              Active School   7525 S. Harvard Ave       54,868
              23581     609971 QS-9A           52463         52463-1   Harvard Annex                                  Annex              Active School   North                     25,716
              23591     609972 QS-9A           51015         51015-2   Haugan                                        Addition            Active School   East                      7,809
              23591     609972 QS-9A           51015         51015-1   Haugan                                          Main              Active School   West                     130,162
              29131     609974 QS-9A           51162         51162-1   Hawthorne                                       Main              Active School   3319 N CLIFTON            11,242
              29131     609974 QS-9A           51162         51162-2   Hawthorne                                    Addition 1           Active School   Middle                    44,969
              29131     609974 QS-9A           51162         51162-3   Hawthorne                                    Addition 2           Active School   North                     14,988
              31111     609975 QS-9A           51091         51091-1   Hay                                             Main              Active School   1018 N Laramie Ave.       94,900
              23621     609976 QS-9A           51061         51061-2   Hayt                                          Addition            Active School   East                      5,700
              23621     609976 QS-9A           51061         51061-1   Hayt                                            Main              Active School   1518 W GRANVILLE AVE      78,600
              23621     609976 QS-9A           52465         52465-1   Hayt Linked Addition                      Linked Addition         Active School   West                      34,500
              23651     609979 QS-9A           51237         51237-1   Healy                                           Main              Active School   North                     68,618
              23651     609979 QS-9A           51260         51260-1   Healy Annex                                    Annex              Active School   South                     46,086
              23671     609981 QS-9A           52467         52467-1   Hearst                                          Main              Active School   southeast                 66,730
              23671     609981 QS-9A           52467         52467-2   Hearst                                        Addition            Active School   northeast                 17,448
              23681     609983 QS-9A           51325         51325-1   Hedges                                          Main              Active School   4747 S WINCHESTER AVE     50,925
              23681     609983 QS-9A           51325         51325-2   Hedges                                        Addition            Active School   4747 S WINCHESTER AVE     51,015
              23711     609985 QS-9A           51186         51186-1   Hefferan                                        Main              Active School   4409 W Wilcox S           60,934
              23721     609986 QS-9A           51326         51326-1   Henderson                                       Main              Active School   5650 S Wolcott Ave        81,110
              31121     609987 QS-9A           51353         51353-1   Hendricks                                       Main              Active School   4316 S PRINCETON AVE      56,857
              23731     609988 QS-9A           51016         51016-1   Henry                                           Main              Active School   4250 N. St. Louis Ave.    75,700
              23731     609988 QS-9A           52469         52469-1   Henry Annex                                    Annex              Active School   West                      14,400
              22441     610532 QS-9A           54697         54697-1   Hernandez                                       Main              Active School   Main                     127,162
              23771     609991 QS-9A           51205         51205-1   Herzl                                           Main              Active School   3711 W. Douglas Blvd.    142,911
              23771     609991 QS-9A           51224         51224-1   Herzl CPC                                   Branch-CPC            Active School   1401 S. Hamlin Ave        8,525
              23801     609994 QS-9A           51017         51017-1   Hibbard                                         Main              Active School   3244 W AINSLIE            97,100
              23801     609994 QS-9A           51017         51017-2   Hibbard                                       Addition            Active School   3244 W AINSLIE            72,800
              31251     610295 QS-9A           51524         51524-1   Higgins                                         Main              Active School   Southeast                 30,500
              31251     610295 QS-9A           51524         51524-2   Higgins                                       Addition            Active School   Northeast                 20,803
              47031     609712 QS-9A           51611         51611-1   Hirsch HS                                       Main              Active School   7740 S Ingleside Ave     217,770
              23811     609995 QS-9A           51018         51018-1   Hitch                                           Main              Active School   5625 N. McVicker Ave.     72,250
              23811     609995 QS-9A           58101         58101-1   Hitch Modular 1                        Modular 1 (8-Classroom )   Active School   Southeast                 9,800
              23821     609996 QS-9A           51239         51239-2   Holden                                        Addition            Active School   Northwest                 37,802
              23821     609996 QS-9A           51239         51239-1   Holden                                          Main              Active School   1104 W 31st St            57,060
              23821     609996 QS-9A           53823         53823-1   Holden Modular 1                       Modular 1 (4-Classroom )   Active School   North Corner              4,900
              23831     609997 QS-9A           51354         51354-3   Holmes                                       Addition 2           Active School   South                     4,722
              23831     609997 QS-9A           51354         51354-1   Holmes                                          Main              Active School   North                     41,857
              23831     609997 QS-9A           51354         51354-2   Holmes                                       Addition 1           Active School   Center                    20,562
              63031     400043 QS-9A           52307         52307-1   Hope Institute                                  Main              Active School   East                     208,370
              63031     400043 QS-9A           52307         52307-2   Hope Institute                                Addition            Active School   Southwest                 54,880
              23851     610000 QS-9A           51092         51092-2   Howe                                          Addition            Active School   720 N. LOREL AVE          42,777
              23851     610000 QS-9A           51092         51092-1   Howe                                            Main              Active School   720 N LOREL AVE           26,758
              23871     610002 QS-9A           51468         51468-2   Hoyne                                         Addition            Active School   Southeast                 10,125
              23871     610002 QS-9A           51468         51468-1   Hoyne                                           Main              Active School   8905 S Crandon Ave        17,859
              46341     609741 QS-9A           51616         51616-1   Hubbard HS                                      Main              Active School   6200 S HAMLIN            106,900
              46341     609741 QS-9A           51616         51616-2   Hubbard HS                                   Addition 1           Active School   6200 S HAMLIN             73,900
              46341     609741 QS-9A           51616         51616-3   Hubbard HS                                   Addition 2           Active School   6200 S HAMLIN             37,400
              23901     610005 QS-9A           51207         51207-1   Hughes C                                        Main              Active School   4247 W 15th St            49,043
              22451     610368 QS-9A           54705         54705-1   Hughes L                                        Main              Active School   South                    100,000
              23911     610006 QS-9A           51298         51298-1   Hurley                                          Main              Active School   3849 W 69th Pl            35,666
              23911     610006 QS-9A           52476         52476-1   Hurley Annex                                   Annex              Active School   Southwest                 14,544
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              23911     610006 QS-9A           53825         53825-1   Hurley Modular 1                        Modular 1 (2-Classroom )       Active School   Middle Modular                          1,680
              23911     610006 QS-9A           59821         59821-1   Hurley Modular 2                        Modular 2 (2-Classroom )       Active School   West Modular                            1,680
              23911     610006 QS-9A           59824         59824-1   Hurley Modular 3                        Modular 3 (2-Classroom )       Active School   East Modular                            1,680
              46171     609713 QS-9A           51612         51612-1   Hyde Park HS                                     Main                  Active School   north                                  252,761
              46171     609713 QS-9A           51612         51612-3   Hyde Park HS                                   Addition 1              Active School   SW                                      23,690
              46171     609713 QS-9A           51612         51612-4   Hyde Park HS                                   Addition 2              Active School   south, central                          22,050
              46171     609713 QS-9A           51612         51612-2   Hyde Park HS                                   Addition 3              Active School   SE                                      26,460
              29191     610078 QS-9A           51065         51065-2   Inter-American at Lemoyne                       Addition               Active School   851 W WAVELAND AVE                      19,579
              29191     610078 QS-9A           51065         51065-1   Inter-American at Lemoyne                        Main                  Active School   851 W WAVELAND                          90,864
              24881     610121 QS-9A           51211         51211-1   Irving Elementary                                Main                  Active School   749 S OAKLEY BLVD                       55,148
              29171     610060 QS-9A           51243         51243-1   Jackson A                                        Main                  Active School   1340 W HARRISON                         74,135
              26651     610369 QS-9A           51454         51454-1   Jackson M.                                       Main                  Active School   917 W. 88th St.                         74,586
              23921     610010 QS-9A           51062         51062-1   Jahn                                             Main                  Active School   East                                    83,029
              23931     610011 QS-9A           51063         51063-2   Jamieson                                       Addition 1              Active School   Northwest                               13,300
              23931     610011 QS-9A           51063         51063-3   Jamieson                                Addition-Elevator Tower        Active School   Southwest                               2,780
              23931     610011 QS-9A           51063         51063-1   Jamieson                                         Main                  Active School   5650 N Mozart St                        57,758
              23931     610011 QS-9A           51063         51063-4   Jamieson                                       Addition 2              Active School   5650 N Mozart St                        37,761
              29341     610271 QS-9A           51219         51219-2   Jensen                                          Addition               Active School   3030 W HARRISON                         8,167
              29341     610271 QS-9A           51219         51219-1   Jensen                                           Main                  Active School   3030 W HARRISON                         56,273
              26231     610274 QS-9A           51220         51220-1   Johnson                                          Main                  Active School   1420 S. Albany                          56,581
              26231     610274 QS-9A           51227         51227-1   Johnson CPC                                    Annex-CPC               Active School   1420 S. Albany                          14,841
                                                                                                                                                              700 S State STREET Chicago IL
                                               59884         59884-1                                                 Main (New)               Active School                                          240,289
              47021     609678 QS-9A                                   Jones HS                                                                               60605
                                               51563         51563-1                                     Linked Addition-Bldg A (Old Main)    Active School                                          87,212
              47021     609678 QS-9A                                   Jones HS Annex                                                                         606 S STATE
              47021     609678 QS-9A           51563         51563-2   Jones HS Annex                             Addition-Bldg B             Active School   606 S STATE                             24,294
              47021     609678 QS-9A           51563         51563-4   Jones HS Annex                             Addition-Bldg D             Active School   606 S STATE                             25,764
              47021     609678 QS-9A           51563         51563-3   Jones HS Annex                    Addition-Bldg C (Connecting Link)    Active School   606 S STATE                             6,072
              22281     609805 QS-9A           51375         51375-1   Joplin                                          Main                   Active School   South                                   77,483
              22811     609865 QS-9A           51054         51054-1   Jordan                                          Main                   Active School   Entire site                             66,950
              46421     609764 QS-9A           51570         51570-1   Juarez HS                                 Main-Building C              Active School   2150 S Laflin                          158,600
                                                                       Juarez HS Building A/B Linked
                                               50751         50751-1                                         Linked Addition-Building A/B     Active School                                          58,600
              46421     609764 QS-9A                                   Addition                                                                               East
                                                                       Juarez HS Building D Linked
                                               50551         50551-1                                          Linked Addition-Building D      Active School                                          39,200
              46421     609764 QS-9A                                   Addition                                                                               North
              46401     609762 QS-9A           51637         51637-1   Julian HS                                        Main                  Active School   Northeast                              186,327
                                               52380         52380-1                                     Linked Addition-Fine Arts Building   Active School                                          27,456
              46401     609762 QS-9A                                   Julian HS Art Building                                                                 Northwest
              46401     609762 QS-9A           52381         52381-1   Julian HS Athletic Building       Linked Addition-Athletic Building    Active School   South                                  52,621
                                               51242         51242-2                                     Addition-Gymnasium/auditorium        Active School                                           7,750
              23961     610015 QS-9A                                   Jungman                                                                                North
              23961     610015 QS-9A           51242         51242-1   Jungman                                          Main                  Active School   south                                  62,100
              29071     609920 QS-9A           51268         51268-1   Kanoon                                           Main                  Active School   2233 S Kedzie                          67,900
              29211     610084 QS-9A           51442         51442-1   Keller                                           Main                  Active School   3020 W 108TH ST                        36,864
              23251     609925 QS-9A           51223         51223-1   Kellman @ Bethune                                Main                  Active School   3030 W ARTHINGTON                      75,510
              23971     610016 QS-9A           51437         51437-2   Kellogg                                        Addition                Active School   South                                  8,328
              23971     610016 QS-9A           51437         51437-1   Kellogg                                          Main                  Active School   9241 S Leavitt St                      18,315
              23971     610016 QS-9A           53830         53830-1   Kellogg Modular 1                       Modular 1 (4-Classroom )       Active School   East of the Main                       4,200
                                                                                                                                                              4136 S. California Ave, Chicago, IL.
                                               51582         51582-1                                                    Main                  Active School                                          224,663
              46181     609715 QS-9A                                   Kelly HS                                                                               60632
              46181     609715 QS-9A           51582         51582-2   Kelly HS                                         Addition              Active School   North                                   73,769
              46191     609716 QS-9A           51552         51552-1   Kelvyn Park HS                                    Main                 Active School   4343 West Wrightwood Avenue             98,284
              46191     609716 QS-9A           51552         51552-2   Kelvyn Park HS                                   Addition              Active School   East                                    89,800
              46201     609718 QS-9A           51677         51677-1   Kennedy HS                            Linked Addition (Kennedy HS)     Active School   North                                  233,791
              46361     609746 QS-9A           51586         51586-1   Kenwood HS                                Main-Academic_Unit B         Active School   B - Middle                             105,996
              46361     609746 QS-9A           51586         51586-2   Kenwood HS                             Addition-Lunchroom_Unit D       Active School   D - Middle east                         36,736
              46361     609746 QS-9A           52369         52369-1   Kenwood HS Arts                        Linked Addition-Arts_Unit A     Active School   A - Southwest                           63,520
                                                                                                                Linked Addition-Athletic
                                               52370         52370-1                                                                          Active School                                          66,180
              46361     609746 QS-9A                                   Kenwood HS Athletic                          Building_Unit C                           C - Northwest
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              46361     609746 QS-9A           51404         51404-1   Kenwood HS Branch @ Canter            Branch @ Old Canter      Active School   4959 S BLACKSTONE                  41,382
              23991     610019 QS-9A           51379         51379-1   Kershaw                                      Main              Active School   East                               51,900
              24021     610022 QS-9A           51064         51064-1   Kilmer                                       Main              Active School   South                              71,342
              24021     610022 QS-9A           58049         58049-1   Kilmer Linked Addition                  Linked Addition        Active School   North                              35,024
                                                                                                                                                      4445 S Drexel BOULEVARD
                                               51588         51588-1                                                Main              Active School                                      310,545
              46371     609751 QS-9A                                   King HS                                                                        Chicago IL 60653
              24071     610026 QS-9A           51299         51299-1   Kinzie                                  Main (Kinzie)          Active School   East                               111,615
              24081     610027 QS-9A           51469         51469-1   Kipling                                      Main              Active School   9351 S Lowe Ave                     31,653
              24081     610027 QS-9A           53833         53833-1   Kipling Modular 1                   Modular 1 (2-Classroom )   Active School   West Modular                        1,633
              24081     610027 QS-9A           59641         59641-1   Kipling Modular 2                   Modular 2 (2-Classroom )   Active School   East Modular                        1,633
                                                                       KIPP Academy Chicago Campus@
                                               59789         59789-1                                             Annex-Kipp           Active School                                      35,633
              66031     400146 QS-9A                                   Nash                                                                           Southeast
              66931     609768 QS-9A           51618         51618-1   Kipp Bloom @ Hope HS                        Main               Active School   5515 S LOWE                        159,500
              31151     610030 QS-9A           51405         51405-2   Kozminski                                  Addition            Active School   2620 W HIRSCH                       37,364
              31151     610030 QS-9A           51405         51405-1   Kozminski                                   Main               Active School   936 E 54TH ST                       63,345
              46211     609719 QS-9A           51533         51533-1   Lakeview HS                                 Main               Active School   Middle West side of the property    81,386
                                                                                                                                                      North & South of the Main
                                               51533         51533-2                                              Addition 1          Active School   Building - West side of the        111,018
              46211     609719 QS-9A                                   Lakeview HS                                                                    property
                                                                                                                                                      North end - West side of the
                                               51533         51533-3                                              Addition 2          Active School                                      73,695
              46211     609719 QS-9A                                   Lakeview HS                                                                    property
                                                                                                                                                      2501 W Addison STREET, Chicago
                                               53899         53899-1                                                Main                Stadium                                          20,000
              68040            QS-3B                                   Lane Stadium                                                                   IL 60618
              46221     609720 QS-9A           51534         51534-1   Lane Tech HS                                 Main              Active School   2501 W ADDISON                     707,164
              46221     609720 QS-9A           54351         54351-1   Lane Tech HS Annex                          Annex              Active School   2501 W ADDISON                      6,771
              22841     609869 QS-9A           51318         51318-1   Langford @ Copernicus                        Main              Active School   6010 S. Throop St.                  78,575
              23791     609993 QS-9A           51327         51327-1   Lara                                         Main              Active School   4619 S WOLCOTT                      67,964
              29161     610033 QS-9A           52615         52615-1   Lasalle                                      Main              Active School   1734 N. Orleans                     47,156
              29101     610520 QS-9A           51132         51132-1   LaSalle II @ Andersen                        Main              Active School   1148 N Honore St                    33,297
              29101     610520 QS-9A           51132         51132-2   LaSalle II @ Andersen                      Addition            Active School   East                                58,876
              25671     610208 QS-9A           51449         51449-1   Lavizzo                                      Main              Active School   North - 138 W. 109th St             83,900
              31161     610034 QS-9A           51209         51209-1   Lawndale                                     Main              Active School   3500 W DOUGLAS AVE                  77,725
              31161     610034 QS-9A           54718         54718-1   Lawndale Annex                              Branch             Active School   3442 W Douglas Blvd                 38,925
              26331     610291 QS-9A           51313         51313-2   Lee                                        Addition            Active School   Southeast                           17,704
              26331     610291 QS-9A           51313         51313-1   Lee                                          Main              Active School   Southwest                           10,687
              26331     610291 QS-9A           52604         52604-1   Lee Annex                                   Annex              Active School   Northeast                           15,191
              26331     610291 QS-9A           53834         53834-1   Lee Modular 1                       Modular 1 (8-Classroom )   Active School   West of Annex                       8,400
              26331     610291 QS-9A           53835         53835-1   Lee Modular 2                       Modular 2 (4-Classroom )   Active School   North of the Annex                  4,900
              26391     610305 QS-9A           51098         51098-3   Leland @ May                              Addition 2           Active School   West                                29,287
              26391     610305 QS-9A           51098         51098-1   Leland @ May                                 Main              Active School   South                               50,050
              26391     610305 QS-9A           51098         51098-2   Leland @ May                              Addition 1           Active School   North                               18,144
              26391     610305 QS-9A           52502         52502-1   Leland @ May                                Annex              Active School   Southwest                           11,926
              29361     610298 QS-9A           51392         51392-1   Lenart                                       Main              Active School   8101 S LASALLE ST                   60,474
              24151     610036 QS-9A           51094         51094-2   Lewis                                      Addition            Active School   Southeast                           65,153
              24151     610036 QS-9A           51094         51094-1   Lewis                                        Main              Active School   Northwest                           63,800
              24171     610037 QS-9A           51328         51328-1   Libby                                        Main              Active School   5300 S LOOMIS                       69,500
              24171     610037 QS-9A           54685         54685-1   Libby Annex                                 Annex              Active School   5300 S LOOMIS AVE                   46,100
              24191     610038 QS-9A           51165         51165-2   Lincoln                                   Addition 1           Active School   East                                35,899
              24191     610038 QS-9A           51165         51165-1   Lincoln                                      Main              Active School   615 W Kemper Pl                     31,633
                                                                                                                                                      615 W Kemper PLACE Chicago IL
                                               51165         51165-3                                              Addition 2          Active School                                      48,004
              24191     610038 QS-9A                                   Lincoln                                                                        60614
              46321     609738 QS-9A           51554         51554-1   Lincoln Park HS                              Main              Active School   East                               113,640
              46321     609738 QS-9A           51554         51554-2   Lincoln Park HS                            Addition 1          Active School   East                               119,754
              46321     609738 QS-9A           51554         51554-3   Lincoln Park HS                            Addition 2          Active School   Northeast                           35,451
              46321     609738 QS-9A           54551         54551-1   Lincoln Park HS Annex                       Annex              Active School   West                                72,976
                                                                                                                                                      6130 S Wolcott Avenue, Chicago,
                                               52292         52292-1                                                Main              Active School                                      305,788
              46511     610391 QS-9A                                   Lindblom HS                                                                    IL 60636
              24201     610039 QS-9A           52616         52616-2   Linne                                      Addition 1          Active School   North                              50,650
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              24201     610039 QS-9A           52616         52616-1   Linne                                         Main             Active School   South                            22,440
              24201     610039 QS-9A           52616         52616-3   Linne                                      Addition 2          Active School   East                             32,830
              22521     609834 QS-9A           51264         51264-1   Little Village                                Main             Active School   2620 S Lawndale                  68,870
              22521     609834 QS-9A           54621         54621-1   Little Village Modular 1            Modular 1 (4-Classroom )   Active School   North                            4,900
              49121     610384 QS-9A           51638         51638-1   Little Village Multiplex                      Main             Active School   Northwest                       290,134
              24221     610040 QS-9A           51118         51118-3   Lloyd                                      Addition 2          Active School   South                            11,488
              24221     610040 QS-9A           51118         51118-4   Lloyd                                      Addition 3          Active School   West                             56,323
              24221     610040 QS-9A           51118         51118-5   Lloyd                                      Addition 4          Active School   East                             17,483
              24221     610040 QS-9A           51118         51118-1   Lloyd                                         Main             Active School   2103 N Lamon Ave                 53,654
              24221     610040 QS-9A           51118         51118-2   Lloyd                                      Addition 1          Active School   North                            11,488
              24231     610041 QS-9A           51697         51697-1   Locke J                                       Main             Active School   East                             63,252
              24231     610041 QS-9A           52012         52012-1   Locke J Annex                                Annex             Active School   6818 W Diversey Ave              8,716
              24231     610041 QS-9A           51095         51095-1   Locke J Linked Addition                 Linked Addition        Active School   East - North end of site         40,248
              24231     610041 QS-9A           56497         56497-1   Locke J Modular 3                   Modular 3 (4-Classroom )   Active School   Southeast                        4,900
              41091     610325 QS-9A           52618         52618-1   Logandale                                     Main             Active School   South                            77,900
              41091     610325 QS-9A           51158         51158-1   Logandale Annex                              Annex             Active School   3212 W George St                 61,000
              22341     610541 QS-9A           54765         54765-1   Lorca                                         Main             Active School   3231 N Springfield Ave          105,599
              24241     610043 QS-9A           51096         51096-1   Lovett                                        Main             Active School   6333 W BLOOMINGDALE AVE          68,400
              24241     610043 QS-9A           52490         52490-1   Lovett Annex                                 Annex             Active School   6333 W BLOOMINGDALE              16,800
              24251     610044 QS-9A           51119         51119-1   Lowell                                        Main             Active School   3320 W Hirsch St                 49,900
              24251     610044 QS-9A           51119         51119-3   Lowell                                     Addition 2          Active School   West                             39,545
              24251     610044 QS-9A           51119         51119-2   Lowell                                     Addition 1          Active School   Middle                           32,355
              24251     610044 QS-9A           52316         52316-1   Lowell Pre-K @ Marin                         Branch            Active School   3320 W. Evergreen                14,325
              24101     610029 QS-9A           51686         51686-1   Lozano                                  Annex (Lozano)         Active School   North                            57,885
              24281     610046 QS-9A           52617         52617-1   Lyon                                          Main             Active School   2941 N McVicker Ave              60,092
              24281     610046 QS-9A           52617         52617-2   Lyon                                        Addition           Active School   south                            53,326
              24281     610046 QS-9A           55617         55617-1   Lyon Modular 1                      Modular 1 (4-Classroom )   Active School   Southeast Corner                 4,158
              41041     610215 QS-9A           51281         51281-1   Madero                                        Main             Active School   3202 W. 28th St.                 62,071
              24301     610047 QS-9A           51470         51470-1   Madison                                       Main             Active School   Northwest                        47,500
              24301     610047 QS-9A           52493         52493-1   Madison Annex                                Annex             Active School   Southeast                        20,200
              24311     610048 QS-9A           51167         51167-3   Manierre                                   Addition 2          Active School   West end of the Main building    27,878
              24311     610048 QS-9A           51167         51167-2   Manierre                                   Addition 1          Active School   Southeast                        10,720
              24311     610048 QS-9A           51167         51167-4   Manierre                            Addition 3_Ferguson CPC    Active School   South of Addtion #1              24,110
              24311     610048 QS-9A           51167         51167-1   Manierre                                      Main             Active School   1420 N Hudson Ave                25,168
              53111     609722 QS-9A           51565         51565-1   Manley HS                                     Main             Active School   2935 W POLK ST                  213,820
              24331     610052 QS-9A           51471         51471-1   Mann                                          Main             Active School   8050 S CHAPPEL AVE               82,739
              24331     610052 QS-9A           52496         52496-1   Mann Annex                                   Annex             Active School   8050 S CHAPPEL AVE               23,616
              41111     609780 QS-9A           51109         51109-1   Marine Military @ Ames                        Main             Active School   1920 N. Hamlin Ave              126,540
              24341     610053 QS-9A           51300         51300-1   Marquette                                     Main             Active School   South                            95,744
              24341     610053 QS-9A           52497         52497-1   Marquette Annex                         Linked Addition        Active School   North                            76,944
              24361     610054 QS-9A           54222         54222-1   Marsh                                         Main             Active School   9822 S EXHANGE AVE               57,470
              24361     610054 QS-9A           54222         54222-2   Marsh                                       Addition           Active School   9822 S EXCHANGE AVE              83,300
              47041     609723 QS-9A           51566         51566-1   Marshall HS                                   Main             Active School   west                             80,659
              47041     609723 QS-9A           51566         51566-2   Marshall HS                                 Addition           Active School   East                            286,322
              24381     610056 QS-9A           51210         51210-2   Mason                                      Addition 1          Active School   4217 W 18TH ST                   58,257
              24381     610056 QS-9A           51210         51210-1   Mason                                         Main             Active School   4217 W 18th St                   86,897
              24381     610056 QS-9A           51210         51210-3   Mason                                      Addition 2          Active School   4217 W 18TH ST                   63,675
              46241     609724 QS-9A           51535         51535-2   Mather HS                                   Addition           Active School   West                             15,880
              46241     609724 QS-9A           51535         51535-1   Mather HS                                     Main             Active School   South                           169,809
              24401     610059 QS-9A           51168         51168-1   Mayer                                         Main             Active School   2250 N. Clifton                  73,514
              26321     610290 QS-9A           51389         51389-1   Mays @ Banneker                               Main             Active School   6656 S. Normal                   65,017
              23551     609968 QS-9A           51116         51116-1   McAuliffe                                     Main             Active School   1841 N Springfield Ave           90,799
              24421     610062 QS-9A           51244         51244-1   McClellan                                     Main             Active School   3527 S Wallace                   58,108
              24431     610063 QS-9A           51277         51277-1   McCormick                                     Main             Active School   2712 S Sawyer Ave                77,900
              24431     610063 QS-9A           52503         52503-1   McCormick Annex                              Annex             Active School   South of the Main                20,400
              24431     610063 QS-9A           54092         54092-1   McCormick Modular 1                 Modular 1 (2-Classroom )   Active School   North of the Main                1,960
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              26201     610269 QS-9A           51079         51079-1   McCutcheon                                  Main              Active School   4865 N Sheridan Rd                   25,250
              26201     610269 QS-9A           51079         51079-2   McCutcheon                                Addition            Active School   East                                 8,750
              26201     610269 QS-9A           51085         51085-1   McCutcheon Branch                          Branch             Active School   4850 N Kenmore Ave                   15,500
              29181     610066 QS-9A           51472         51472-1   McDade                                      Main              Active School   8801 S INDIANA AVE                   22,579
              29181     610066 QS-9A           51472         51472-2   McDade                                    Addition            Active School   Site - North East                    9,633
              29181     610066 QS-9A           52003         52003-1   McDade Annex                               Annex              Active School   8801 S INDIANA AVE                   9,600
              26421     610312 QS-9A           51488         51488-1   McDowell                                    Main              Active School   1419 East 89th Street                12,300
              26421     610312 QS-9A           51488         51488-2   McDowell                                  Addition            Active School   Southeast                            3,100
              26421     610312 QS-9A           53841         53841-1   McDowell School Modular 1          Modular 1 (2-Classroom )   Active School   Southwest                            2,186
              24451     610067 QS-9A           52507         52507-1   McKay                                       Main              Active School   6901 S. Fairfield                    55,088
                                                                                                                                                     6901 S Fairfield AVENUE Chicago IL
                                               52507         52507-2                                             Addition            Active School                                        73,040
              24451     610067 QS-9A                                   McKay                                                                         60629
              26301     610282 QS-9A           51105         51105-1   McNair                                      Main              Active School   4820 W WALTON                        98,596
              24471     610070 QS-9A           51067         51067-3   McPherson                                 Addition 2          Active School   North & South ends                   44,199
              24471     610070 QS-9A           51067         51067-2   McPherson                                 Addition 3          Active School   West                                 69,623
              24471     610070 QS-9A           51067         51067-1   McPherson                                   Main              Active School   4728 N Wolcott Ave                   14,018
                                                                                                                                                     On the north and south side of the
                                               51067         51067-4                                             Addition 1          Active School                                        27,497
              24471     610070 QS-9A                                   McPherson                                                                     Main Buildiing
              63091     610402 QS-4B           51688         51688-1   Medill                               Main (Urban Prep)        Active School   1301 W 14TH ST                       110,540
              26351     610293 QS-9A           51182         51182-1   Melody @ Delano                             Main              Active School   3937 W Wilcox St                      60,600
              26351     610293 QS-9A           51182         51182-2   Melody @ Delano                           Addition            Active School   Southeast                             26,320
              26351     610293 QS-9A           51198         51198-1   Melody CPC @ Delano                  Annex-Delano CPC         Active School   East                                  12,500
              31061     609902 QS-9A           51503         51503-1   Metcalfe                                    Main              Active School   South                                 76,400
              31061     609902 QS-9A           53842         53842-1   Metcalfe Modular 1                 Modular 1 (4-Classroom )   Active School   North                                 4,970
              25331     610171 QS-9A           51480         51480-2   Mireles                                  Addition 2           Active School   North                                 73,500
              25331     610171 QS-9A           51480         51480-1   Mireles                                     Main              Active School   9000 S Exchange Ave                   39,375
              25331     610171 QS-9A           51480         51480-3   Mireles                                  Addition 1           Active School   South                                 28,125
              25331     610171 QS-9A           53843         53843-1   Mireles Academy Modular 1          Modular 1 (2-Classroom )   Active School   East                                  3,246
              24511     610073 QS-9A           51140         51140-1   Mitchell                                    Main              Active School   2233 W OHIO                           50,700
              24511     610073 QS-9A           51140         51140-2   Mitchell                                  Addition            Active School   West                                  5,685
              26251     610276 QS-9A           51363         51363-1   Mollison                                    Main              Active School   4415 S Dr. Martin L King Jr Dr.       43,300
              24531     610074 QS-9A           51020         51020-1   Monroe                                      Main              Active School   North                                 77,064
              24531     610074 QS-9A           52514         52514-1   Monroe Linked Addition                Linked Addition         Active School   South                                 43,135
              24531     610074 QS-9A           50201         50201-1   Monroe Modular 1                   Modular 1 (4-Classroom )   Active School   North of the Main                     3,231
              24551     610076 QS-9A           51122         51122-2   Moos                                      Addition            Active School   1711 N. California Ave                57,687
              24551     610076 QS-9A           51122         51122-1   Moos                                        Main              Active School   1711 N. California Ave                82,022
              46251     609725 QS-9A           51631         51631-2   Morgan Park HS                            Addition            Active School   1744 W PRYOR                         101,977
              46251     609725 QS-9A           51631         51631-1   Morgan Park HS                              Main              Active School   1744 W PRYOR                         167,503
              24571     610077 QS-9A           51303         51303-1   Morrill                                     Main              Active School   6011 S Rockwell St                    77,600
              24571     610077 QS-9A           51303         51303-2   Morrill                                   Addition            Active School   Southeast                             19,700
              24571     610077 QS-9A           53031         53031-1   Morrill Fieldhouse                      Field House           Active School   South Courtyard                       1,900
              26091     610257 QS-9A           51150         51150-1   Morton                                      Main              Active School   431 N TROY ST                         71,504
              24591     610082 QS-9A           51441         51441-2   Mount Greenwood                          Addition 1           Active School   South                                 21,870
              24591     610082 QS-9A           51441         51441-3   Mount Greenwood                          Addition 2           Active School   North                                 26,190
              24591     610082 QS-9A           51441         51441-1   Mount Greenwood                             Main              Active School   10841 S Homan Ave                     36,600
                                                                                                                                                     10841 S Homan AVENUE Chicago
                                               51441         51441-4                                             Addition 3          Active School                                        27,000
              24591     610082 QS-9A                                   Mount Greenwood                                                               IL 60655
              24601     610086 QS-9A           51443         51443-1   Mount Vernon                                Main              Active School   10540 S Morgan St                    82,650
              24611     610088 QS-9A           51123         51123-1   Mozart                                      Main              Active School   2200 N Hamlin Ave                    56,765
              24611     610088 QS-9A           52522         52522-1   Mozart Linked Addition                 Linked Addition        Active School   North                                35,600
              24621     610089 QS-9A           51022         51022-1   Murphy                                      Main              Active School   3539 W. Grace                        85,287
              29221     610090 QS-9A           51355         51355-1   Murray                                      Main              Active School   Middle                               29,338
              29221     610090 QS-9A           51355         51355-2   Murray                                    Addition 1          Active School   North                                16,760
              29221     610090 QS-9A           51355         51355-3   Murray                                    Addition 2          Active School   Southeast                            27,886
              24641     610092 QS-9A           51099         51099-2   Nash                                       Addition           Active School   Northeast                            52,744
              24641     610092 QS-9A           51099         51099-1   Nash                                        Main              Active School   Northwest                            53,212
              24651     610093 QS-9A           51473         51473-1   Neil                                        Main              Active School   8555 S Michigan Ave                  57,071
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              24651     610093 QS-9A           51473         51473-3   Neil                                          Addition 1          Active School   Northeast                           5,328
              24651     610093 QS-9A           51473         51473-2   Neil                                          Addition 2          Active School   middle                              3,652
              24651     610093 QS-9A           51473         51473-4   Neil                                          Addition 3          Active School   Northwest                           5,819
              24661     610094 QS-9A           51068         51068-1   Nettelhorst                                     Main              Active School   3252 N BROADWAY                     46,576
              24661     610094 QS-9A           51068         51068-2   Nettelhorst                                   Addition 2          Active School   South                               19,638
              24661     610094 QS-9A           51068         51068-3   Nettelhorst                                   Addition 1          Active School   West                                25,793
              24661     610094 QS-9A           51068         51068-4   Nettelhorst                                   Addition 3          Active School   Southwest                           12,483
              22071     610284 QS-9A           51080         51080-1   New Field                                       Main              Active School   1707 W Morse Ave                    85,500
              46025     609694 QS-6A           50211         50211-1   Hancock HS                                      Main              Active School   5423 W 64th PLACE                  179,600
                                                                                                                                                         1212 S Plymouth COURT Chicago IL
                                               58744         58744-1                                                Main (New)           Active School                                      120,000
              23751     609990 QS-9A                                   New South Loop                                                                    60605
                                                                       New Vick Village/Catholic Charities
                                               55055         55055-1                                                  Branch             Active School                                       9,566
              26731     609871 QS-9A                                   - Chicago Lawn 374                                                                3001 W 59th St
              29231     610095 QS-9A           51170         51170-2   Newberry                                      Addition            Active School   northeast                          30,232
              29231     610095 QS-9A           51170         51170-1   Newberry                                        Main              Active School   700 W Willow St                    44,944
              22181     609793 QS-9A           51374         51374-1   Nicholson                                       Main              Active School   North                              47,960
              22181     609793 QS-9A           51374         51374-2   Nicholson                                     Addition            Active School   South                              23,642
              24671     610096 QS-9A           51305         51305-1   Nightingale                                     Main              Active School   5250 S Rockwell                    71,880
              24671     610096 QS-9A           51305         51305-2   Nightingale                                   Addition            Active School   Northwest                          56,750
              24671     610096 QS-9A           53846         53846-1   Nightingale Modular 1                  Modular 1 (2-Classroom )   Active School   SW                                 3,166
              24671     610096 QS-9A           52213         52213-1   Nightingale Modular 2                  Modular 2 (4-Classroom )   Active School   NE                                 4,942
              24671     610096 QS-9A           52214         52214-1   Nightingale Modular 3                  Modular 3 (4-Classroom )   Active School   NW                                 4,100
              31101     609961 QS-9A           51467         51467-1   Ninos Heroes                                    Main              Active School   8344 S Commercial Ave              73,518
              24681     610097 QS-9A           51124         51124-1   Nixon                                           Main              Active School   2121 N Keeler Ave                  94,016
              24681     610097 QS-9A           54211         54211-1   Nixon Linked Addition                     Linked Addition         Active School   East                               36,097
              24691     610098 QS-9A           51125         51125-1   Nobel                                           Main              Active School   4127 W HIRSCH ST                   75,800
                                                                       North Lawndale Charter @                                                          1615 S. Christiana Ave. -
                                               51206         51206-3                                                 Addition 2          Active School                                      43,225
              66091     400058 QS-9A                                   Howland                                                                           Northwest
                                                                       North Lawndale Charter @
                                               51206         51206-2                                                 Addition 1          Active School                                      49,685
              66091     400058 QS-9A                                   Howland                                                                           Southeast
                                                                       North Lawndale Charter @
                                               51206         51206-1                                                   Main              Active School                                      46,026
              66091     400058 QS-9A                                   Howland                                                                           1616 S. Spaulding Ave.
              26841     610354 QS-9A           51043         51043-1   North River                                 Leased-Main           Active School   4416 N. Troy Street                 42,197
              46431     609691 QS-9A           51550         51550-1   North-Grand HS                                 Main               Active School   West site                          205,094
                                                                                                                                                         5501 N Kedzie AVENUE Chicago IL
                                               51543         51543-1                                                   Main              Active School                                      222,600
              46061     609749 QS-9A                                   Northside College Prep HS                                                         60625
              49021     609744 QS-9A           51542         51542-1   Northside Learning Center HS                    Main              Active School   3730 W Bryn Mawr Ave               39,950
                                                                       Northside Learning Center HS
                                               52459         52459-1                                          Modular 1 (4-Classroom )   Active School                                       4,200
              49021     609744 QS-9A                                   Modular 1                                                                         West
              41121     609922 QS-9A           51120         51120-2   Northwest                                      Addition           Active School   east                                48,594
              41121     609922 QS-9A           51120         51120-1   Northwest                                       Main              Active School   5252 W Palmer St                    69,617
              24711     610099 QS-9A           51023         51023-1   Norwood Park                                    Main              Active School   5900 N Nina                         56,330
              32031     610231 QS-9A           51254         51254-1   NTA                                             Main              Active School   55 W Cermak Rd                      92,500
              32031     610231 QS-9A           54521         54521-1   NTA Linked Addition                    Linked Addition-Athletic   Active School   South                               63,900
              24731     610101 QS-9A           51171         51171-1   Ogden                                           Main              Active School   24 W Walton St                     132,724
              24731     610101 QS-9A           51163         51163-1   Ogden Branch @ Jenner                 Ogden Branch @ Old Jenner   Active School   1119 N Cleveland Ave                90,164
              24731     610529 QS-9A           51134         51134-1   Ogden HS                                        Main              Active School   1250 W ERIE                         93,355
              24741     610102 QS-9A           51380         51380-1   Oglesby                                         Main              Active School   7646 S. Green St                    77,140
              24751     610103 QS-9A           51474         51474-1   OKeeffe                                         Main              Active School   East                                66,238
              24751     610103 QS-9A           51474         51474-2   OKeeffe                                        Addition           Active School   North                               9,872
              24751     610103 QS-9A           52531         52531-1   O'Keeffe Annex                                  Annex             Active School   Northwest                           19,200
              24761     610104 QS-9A           51024         51024-2   Onahan                                        Addition 1          Active School   Northeast                           5,401
              24761     610104 QS-9A           51024         51024-1   Onahan                                          Main              Active School   6634 W RAVEN ST                     61,130
              24761     610104 QS-9A           55947         55947-1   Onahan Linked Addtion                      Linked Addition        Active School   Northwest                           24,438
              24771     610105 QS-9A           51025         51025-1   Oriole Park                                     Main              Active School   5424 N Oketo Ave                    38,534
              24771     610105 QS-9A           51025         51025-2   Oriole Park                                    Addition           Active School   West                                37,942
              31281     610329 QS-9A           51256         51256-1   Orozco                                          Main              Active School   1940 W 18th St                     107,722
              28151     610389 QS-9A           51558         51558-1   Orr HS                                          Main              Active School   South                              248,200
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              28151     610389 QS-9A           52378         52378-1   Orr HS Athletic Building           Annex-Athletic Building    Active School   North                                   55,110
              24791     610107 QS-9A           51143         51143-2   Otis                                     Addition 1           Active School   Middle                                  12,280
              24791     610107 QS-9A           51143         51143-3   Otis                                     Addition 2           Active School   South                                   43,957
              24791     610107 QS-9A           51143         51143-1   Otis                                        Main              Active School   525 N Armour St                         35,677
              24791     610107 QS-9A           54311         54311-1   Otis Fieldhouse                         Field House           Active School                                       0   2,500
              24801     610108 QS-9A           51329         51329-1   O'Toole                                     Main              Active School   6550 South Seeley Ave.                  78,700
              24801     610108 QS-9A           52536         52536-1   O'Toole Annex                              Annex              Active School   Northwest                               18,000
              29241     610109 QS-9A           51444         51444-2   Owen                                      Addition            Active School   South                                   15,101
              29241     610109 QS-9A           51444         51444-1   Owen                                        Main              Active School   North                                   18,117
              23351     609943 QS-9A           51506         51506-2   Owens North @ Gompers               Addition-Lunchroom        Active School   Middle - East                           5,844
                                               51506         51506-1                                               Main              Active School                                           69,900
              23351     609943 QS-9A                                   Owens North @ Gompers                                                         12302 S State St Chicago IL 60628
                                               51504         51504-1                                        Branch-Owens South       Active School                                           51,532
              23351     609943 QS-9A                                   Owens South                                                                   12450 S State St Chicago IL 60628
              24821     610111 QS-9A           51026         51026-1   Palmer                                      Main              Active School   5051 N Kenneth Ave                       68,290
              24821     610111 QS-9A           52537         52537-1   Palmer Annex                               Annex              Active School   Southeast                                14,992
              24821     610111 QS-9A           52004         52004-1   Palmer Annex 2020                         Annex 2             Active School   5051 N Kenneth Ave                       35,000
              24821     610111 QS-9A           53850         53850-1   Palmer Modular 1                   Modular 1 (8-Classroom )   Active School   West of the Annex                        8,060
              24841     610115 QS-9A           51382         51382-1   Park Manor                                  Main              Active School   7037 S Rhodes Ave                        62,706
              31181     610112 QS-9A           51381         51381-1   Parker                                      Main              Active School   6800 S. Stewart                         265,000
              31181     610112 QS-9A           51396         51396-2   Parker CPC                               Annex-CPC            Active School   323 W. 69th St                           14,300
              31201     610116 QS-9A           51475         51475-1   Parkside                                    Main              Active School   6938 S East End Ave                      75,104
              24851     610117 QS-9A           51306         51306-1   Pasteur                                     Main              Active School   5825 S Kostner Ave                       77,900
              24851     610117 QS-9A           52539         52539-1   Pasteur Annex                              Annex              Active School   Southeast of the Main                    14,000
              24851     610117 QS-9A           53852         53852-1   Pasteur Modular 1                  Modular 1 (2-Classroom )   Active School   North Modular                            1,750
              24851     610117 QS-9A           53853         53853-1   Pasteur Modular 2                  Modular 2 (2-Classroom )   Active School   Middle North Modular                     1,750
              24851     610117 QS-9A           56031         56031-1   Pasteur Modular 3                  Modular 3 (2-Classroom )   Active School   Middle South                             1,750
              24851     610117 QS-9A           56032         56032-1   Pasteur Modular 4                  Modular 4 (2-Classroom )   Active School   South Modular                            1,750
              70020     609680 QS-9A           51549         51549-1   Payton HS                                   Main              Active School   1034 N. Wells St                        167,870
              70020     609680 QS-9A           51549         51549-2   Payton HS                                 Addition            Active School   West                                     48,605
              67021     610386 QS-9A           51345         51345-1   Peace & Ed Coalition                        Main              Active School   4946 South Paulina                       20,650
                                                                       Peace and Education Second
                                               59881         59881-1                                           Leased-Branch         Active School                                           22,322
              67021     610386 QS-9A                                   Chance                                                                        5115 South Elizabeth
              24871     610120 QS-9A           51307         51307-1   Peck                                        Main              Active School   3826 W 58th St                           76,131
              24871     610120 QS-9A           52541         52541-1   Peck Annex                                 Annex              Active School   Northeast                                16,560
              24871     610120 QS-9A           53854         53854-1   Peck Modular 1                     Modular 1 (6-Classroom )   Active School   East of the main                         6,000
              24871     610120 QS-9A           53855         53855-1   Peck Modular 2                     Modular 2 (6-Classroom )   Active School   Southeast Corner                         6,000
              24871     610120 QS-9A           59310         59310-1   Peck Modular 3                     Modular 3 (6-Classroom )   Active School   Northwest Corner                         6,000
              24871     610120 QS-9A           54667         54667-1   Peck Pre-K                             Leased-Pre-K           Active School   4026 W. 59th St.                         7,930
              24891     610122 QS-9A           51069         51069-1   Peirce                                      Main              Active School   South                                    59,563
              24891     610122 QS-9A           51069         51069-2   Peirce                                    Addition            Active School   Northeast                                71,850
              24891     610122 QS-9A           59601         59601-1   Peirce ECE                                   ECE              Active School   5300 N Broadway                          8,350
              24891     610122 QS-9A           53857         53857-1   Peirce Field House                      Field House           Active School                                       0    1,825
              24911     610123 QS-9A           51212         51212-1   Penn                                        Main              Active School   1616 S AVERS                            158,325
              22861     609872 QS-9A           52428         52428-1   Perez                                       Main              Active School   North                                    65,134
              22861     609872 QS-9A           51233         51233-1   Perez Annex                                Annex              Active School   South                                    38,258
              29251     610126 QS-9A           51682         51682-1   Pershing East @ Pershing West               Main              Active School   3200 S Calumet Ave                       71,688
              29251     610126 QS-9A           51682         51682-2   Pershing East @ Pershing West            Addition 1           Active School   south                                    57,028
              24941     610127 QS-9A           51027         51027-1   Peterson                                    Main              Active School   East                                     65,087
              24941     610127 QS-9A           51027         51027-2   Peterson                                 Addition 1           Active School   Southwest                                7,060
              24941     610127 QS-9A           51027         51027-3   Peterson                                 Addition 2           Active School   Northwest                                25,715
              46261     609727 QS-9A           51408         51408-2   Phillips HS                               Addition            Active School   244 E PERSHING RD                       140,962
              46261     609727 QS-9A           51408         51408-1   Phillips HS                                 Main              Active School   244 E PERSHING RD                       146,759
              55011     610304 QS-9A           51185         51185-2   Phoenix Military Academy HS              Addition 3           Active School   Northeast                                27,310
                                                                                                                                                     145 S Campbell Ave Chicago, IL
                                               51185         51185-1                                               Main              Active School                                           52,028
              55011     610304 QS-9A                                   Phoenix Military Academy HS                                                   60612
              55011     610304 QS-9A           51185         51185-3   Phoenix Military Academy HS               Addition 2          Active School   North                                   42,453
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              55011     610304 QS-9A           51185         51185-4   Phoenix Military Academy HS                    Addition 1              Active School   South                                 39,154
              24781     610106 QS-9A           51127         51127-1   Piccolo                                           Main                 Active School   1040 N KEELER                        106,755
              24781     610106 QS-9A           51127         51127-2   Piccolo                                         Addition               Active School   1040 N KEELER                        112,144
              24961     610129 QS-9A           51248         51248-1   Pickard                                           Main                 Active School   2301 W 21ST PL                        69,555
              24961     610129 QS-9A           51248         51248-2   Pickard                                         Addition               Active School   2301 W 21ST                           46,690
              31141     610013 QS-9A           51241         51241-1   Pilsen                                            Main                 Active School   1420 W 17th St                        61,287
              24971     610130 QS-9A           51477         51477-1   Pirie                                             Main                 Active School   SE                                    43,063
              24971     610130 QS-9A           53861         53861-1   Pirie Modular 1                          Modular 1 (4-Classroom )      Active School   West                                  4,947
              24981     610131 QS-9A           51213         51213-1   Plamondon                                         Main                 Active School   2642 West 15th Place                  38,751
              29261     610132 QS-9A           51513         51513-1   Poe                                               Main                 Active School   10538 S LANGLEY AVE                   38,332
              29261     610132 QS-9A           52005         52005-1   Poe Annex                                        Annex                 Active School   10538 S LANGLEY AVE                   19,100
              25011     610135 QS-9A           51028         51028-2   Portage Park                                    Addition               Active School   5330 W BERTEAU AVE                    43,890
              25011     610135 QS-9A           51028         51028-1   Portage Park                                      Main                 Active School   5330 W BERTEAU AVE                   101,885
              26291     610281 QS-9A           54776         54776-1   Powell                                            Main                 Active School   7511 S South Shore Dr                113,516
              25021     610136 QS-9A           51173         51173-1   Prescott                                          Main                 Active School   North and West                        33,794
              25021     610136 QS-9A           51173         51173-2   Prescott                                        Addition               Active School   East                                  15,869
                                               51416         51416-1                                                      Main                  CLOSED                                             62,000
              11880           QS-8B                                    Price                                                                                  4351 S Drexel ST, Chicago IL 60653
                                                                                                                                                              2231 N Central AVENUE Chicago IL
                                               54698         54698-1                                                      Main                Active School                                        106,218
              22581     610533 QS-9A                                   Prieto                                                                                 60639
              22581     610533 QS-9A           58964         58964-1   Prieto Modular 1                         Modular 1 (8-Classroom )      Active School   South                                 9,240
                                                                                                                                                              5125 S Princeton AVENUE, Chicago
                                               51366         51366-1                                                     Annex                   Active                                            21,300
              26851           QS-7A                                    Princeton Eye Clinic                                                                   IL 60609
                                                                                                                                                              2009 W Schiller STREET Chicago IL
                                               51149         51149-1                                                      Main                Active School                                        66,300
              25871     610229 QS-9A                                   Pritzker                                                                               60622
              53041     609679 QS-9A           51548         51548-3   Prosser HS                                        Addition 1           Active School   East and West                         87,699
              53041     609679 QS-9A           51548         51548-1   Prosser HS                                          Main               Active School   Northeast                             68,059
              53041     609679 QS-9A           51548         51548-2   Prosser HS                             Addition 2-Gym & Loading Dock   Active School   Southeast                             54,213
              25031     610137 QS-9A           51029         51029-1   Prussing                                            Main               Active School   4650 N MENARD AVE                     66,493
              25031     610137 QS-9A           51029         51029-2   Prussing                                           Addition            Active School   7530 S South Shore DRIVE              23,000
              25031     610137 QS-9A           59162         59162-1   Prussing Modular 1                       Modular 1 (6-Classroom )      Active School   South Modular                         7,000
              31211     610138 QS-9A           51145         51145-1   Pulaski                                             Main               Active School   Main                                  76,304
              31211     610138 QS-9A           52549         52549-1   Pulaski Annex                                       Annex              Active School   Annex                                 27,600
              25041     610139 QS-9A           51514         51514-1   Pullman                                             Main               Active School   11311 S FORRESTVILLE AVE              80,075
              46471     610334 QS-9A           51574         51574-1   Raby HS                                             Main               Active School   3545 W Fulton Blvd                   156,248
              29111     609941 QS-9A           51322         51322-1   Randolph                                            Main               Active School   central                               78,450
              25061     610141 QS-9A           51070         51070-1   Ravenswood                                          Main               Active School   center, between additions             40,510
              25061     610141 QS-9A           51070         51070-2   Ravenswood                                        Addition 1           Active School   South                                 11,971
              25061     610141 QS-9A           51070         51070-3   Ravenswood                                        Addition 2           Active School   North                                 23,942
              25071     610142 QS-9A           51410         51410-2   Ray                                               Addition 1           Active School   North                                 6,930
              25071     610142 QS-9A           51410         51410-3   Ray                                               Addition 2           Active School   South                                 23,876
              25071     610142 QS-9A           51410         51410-1   Ray                                                 Main               Active School   Middle                                84,500
              25091     610143 QS-9A           51411         51411-1   Reavis                                              Main               Active School   South                                 25,067
              25091     610143 QS-9A           51411         51411-2   Reavis                                             Addition            Active School   Northwest                             32,440
              25101     610144 QS-9A           51030         51030-1   Reilly                                              Main               Active School   3650 W School St                      75,830
              25101     610144 QS-9A           53001         53001-1   Reilly Linked Addition                         Linked Addition         Active School   South                                 34,776
              25101     610144 QS-9A           53865         53865-1   Reilly Modular 1                         Modular 1 (2-Classroom )      Active School   North                                 1,632
              25101     610144 QS-9A           50301         50301-1   Reilly Modular 2                         Modular 2 (2-Classroom )      Active School   South                                 1,632
              25111     610145 QS-9A           51031         51031-1   Reinberg                                            Main               Active School   3425 N Major Ave                      60,570
              25111     610145 QS-9A           52011         52011-1   Reinberg Annex                                      Annex              Active School   5615 W Newport                        8,700
              25111     610145 QS-9A           55031         55031-1   Reinberg Linked Addition                       Linked Addition         Active School   East of the Main                      17,550
              25111     610145 QS-9A           53866         53866-1   Reinberg Modular 1                       Modular 1 (4-Classroom )      Active School   West of the Annex                     4,135
              25121     610146 QS-9A           51478         51478-3   Revere                                    Addition 1 (Auditorium)      Active School   South                                 8,072
              25121     610146 QS-9A           51478         51478-2   Revere                                            Addition 2           Active School   East                                  34,328
              25121     610146 QS-9A           51478         51478-1   Revere                                              Main               Active School   1010 E 72ND ST                        39,210
              53051     609682 QS-9A           51579         51579-1   Richards HS                                         Main               Active School   5009 S LAFLIN ST                      49,376
              53051     609682 QS-9A           52349         52349-1   Richards HS Building 2                        Linked Addition 1        Active School   Southeast Corner                      11,035
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              53051     609682 QS-9A           52350         52350-1   Richards HS Building 3                   Linked Addition 2              Active School           South                                 24,156
              53051     609682 QS-9A           52351         52351-1   Richards HS Building 4               Linked Addition_Athletic           Active School           East Building                         18,448
                                                                                                                                                                       6018 S Karlov AVENUE Chicago IL
                                               53606         53606-1                                                 Main                      Active School                                                 135,212
              23381     610588 QS-9A                                   Richardson                                                                                      60629
                                                                       Rickover Naval Academy HS @                                                                     5700 W Berteau AVENUE, Chicago
                                               50122         50122-1                                                 Main                      Active School                                                 117,000
              45221     610390 QS-9A                                   Luther North                                                                                    IL 60634
              26061     610256 QS-9A           51415         51415-1   Robinson                                      Main                      Active School           South                                  41,784
              68050            QS-3A           50446         50446-1   Rockne Stadium                          Rockne Stadium                    Stadium               Corner of Central and Roosevelt        8,200
              25141     610147 QS-9A           51071         51071-1   Rogers                                        Main                      Active School           7345 N. Washtenaw Ave.                 16,000
              25141     610147 QS-9A           51071         51071-3   Rogers                                     Addition 2                   Active School           Southwest                              15,000
              25141     610147 QS-9A           51071         51071-2   Rogers                                     Addition 1                   Active School           North                                  13,630
              25141     610147 QS-9A           51071         51071-4   Rogers                                     Addition 3                   Active School           Southeast                              15,180
              25141     610147 QS-9A           52006         52006-1   Rogers Annex                                 Annex                      Active School           7345 N. Washtenaw Ave.                 30,100
              46271     609728 QS-9A           51536         51536-1   Roosevelt HS                                  Main                      Active School           3436 W WILSON                         319,900
              25181     610152 QS-9A           51384         51384-2   Ruggles                                     Addition                    Active School           7831 S. Prairie Ave                    11,500
              25181     610152 QS-9A           51384         51384-1   Ruggles                                       Main                      Active School           7831 S. Prairie                        88,210
              24931     610125 QS-9A           51278         51278-1   Ruiz                                          Main                      Active School           2410 S Leavitt St                      73,217
              24931     610125 QS-9A           53869         53869-1   Ruiz Modular 1                       Modular 1 (6-Classroom )           Active School           Northwest                              7,000
              25191     610153 QS-9A           51479         51479-2   Ryder                                       Addition                    Active School           North                                  35,326
              25191     610153 QS-9A           51479         51479-1   Ryder                                         Main                      Active School           8716 S Wallace St                      38,000
              29371     610342 QS-9A           51153         51153-1   Sabin                                         Main                      Active School           2216 W Hirsch                          95,219
                                                                                                                                                                       3930 E 105th STREET Chicago IL
                                               53605         53605-1                                                 Main                      Active School                                                 111,081
              22631     610586 QS-9A                                   Sadlowski ES                                                                                    60617
              30101     610250 QS-9A           51176         51176-1   Salazar                                       Main                      Active School           160 W Wendell St                       45,084
              26721     610226 QS-9A           51312         51312-1   Sandoval                                      Main                      Active School           5534 S Saint Louis Ave                108,534
              29151     610017 QS-9A           51275         51275-2   Saucedo                               Addition (Telpochcalli)           Active School           South                                  40,822
              29151     610017 QS-9A           51275         51275-1   Saucedo                                       Main                      Active School           2850 W. 24th Blvd.                    251,299
              25211     610155 QS-9A           51032         51032-3   Sauganash                                   Addition 2                  Active School           south                                  41,498
                                                                                                                                       Under Construction - November
                                               52506         52506-1                                                 Annex                                                                                   41,000
              25211     610155 QS-9A                                   Sauganash                                                                   2022
              25211     610155 QS-9A           51032         51032-1   Sauganash                                     Main                      Active School           Central                                18,818
              25211     610155 QS-9A           51032         51032-2   Sauganash                                  Addition 1                   Active School           North                                  8,296
              25231     610157 QS-9A           51308         51308-1   Sawyer                                        Main                      Active School           5248 S Sawyer Ave                      79,788
              25231     610157 QS-9A           52559         52559-1   Sawyer Annex                                 Annex                      Active School           Southeast of the main                  76,800
              25231     610157 QS-9A           50210         50210-1   Sawyer Modular 1                     Modular 1 (6-Classroom )           Active School           Northeast of the main                  6,720
              29271     610158 QS-9A           51101         51101-1   Sayre                                         Main                      Active School           1850 N Newland Ave                     79,775
              25241     610159 QS-9A           51033         51033-1   Scammon                                       Main                      Active School           4201 W Henderson St                    63,802
              25241     610159 QS-9A           53301         53301-1   Scammon Annex                                Annex                      Active School           West                                   17,022
              25241     610159 QS-9A           53873         53873-1   Scammon Modular 1                    Modular 1 (2-Classroom )           Active School           East Modular                           1,600
              25241     610159 QS-9A           53874         53874-1   Scammon Modular 2                    Modular 2 (2-Classroom )           Active School           Middle                                 1,450
              25241     610159 QS-9A           58337         58337-1   Scammon Modular 3                    Modular 3 (2-Classroom )           Active School           West Modular                           1,600
              25391     610178 QS-9A           51517         51517-1   Schmid                                        Main                      Active School           South                                  18,020
              25391     610178 QS-9A           52568         52568-1   Schmid Annex                                 Annex                      Active School           North                                  18,918
              25291     610165 QS-9A           51128         51128-1   Schubert                                      Main                      Active School           2727 N LONG AVE                        78,000
              25291     610165 QS-9A           52563         52563-1   Schubert Annex                               Annex                      Active School           Northeast of the main                  14,400
              25291     610165 QS-9A           53876         53876-1   Schubert Modular 1                   Modular 1 (4-Classroom )           Active School           West Modular                           4,064
              25291     610165 QS-9A           53875         53875-1   Schubert Modular 2                   Modular 2 (4-Classroom )           Active School           East Modular                           4,900
              46281     609729 QS-9A           51537         51537-1   Schurz HS                                     Main                      Active School           3601 N. Milwaukee Ave                 455,800
              47061     609730 QS-9A           51538         51538-1   Senn HS                                       Main                      Active School           5900 N Glenwood Ave                   219,500
              47061     609730 QS-9A           51538         51538-2   Senn HS                                    Addition 1                   Active School           North                                  33,906
              47061     609730 QS-9A           51538         51538-3   Senn HS                                    Addition 2                   Active School           South                                  37,798
              25301     610167 QS-9A           51332         51332-1   Seward                                        Main                      Active School           Northeast - 4600 S. Hermitage          46,265
                                                                                                                                                                       Northwest - 4600 S. Hermitage
                                               51332         51332-2                                                Addition                   Active School                                                 29,621
              25301     610167 QS-9A                                   Seward                                                                                          Ave.
                                                                                                                                                                       Southwest - 4541 S. Wood St - First
                                               50260         50260-1                                             Leased-Branch                 Active School                                                 22,489
              25301     610167 QS-9A                                   Seward Branch @ Holy Cross                                                                      Floor only
              29201     610081 QS-9A           51247         51247-1   Sheridan                                      Main                      Active School           533 W 27TH ST                         68,750
              29201     610081 QS-9A           51249         51249-1   Sheridan Annex                           Linked Addition                Active School           533 W 27TH ST                         8,956
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              25341     610172 QS-9A           51358         51358-2   Sherman                                     Addition            Active School   North                               2,832
              25341     610172 QS-9A           51358         51358-1   Sherman                                       Main              Active School   1000 W 52ND ST                      18,423
              25341     610172 QS-9A           52566         52566-1   Sherman Annex                                Annex              Active School   South                               37,196
              25351     610173 QS-9A           51359         51359-2   Sherwood                                    Addition            Active School   East                                19,885
              25351     610173 QS-9A           51359         51359-1   Sherwood                                      Main              Active School   Northwest                           32,352
              25361     610174 QS-9A           51333         51333-1   Shields                                       Main              Active School   4250 S Rockwell                     41,030
              25361     610174 QS-9A           51333         51333-2   Shields                                     Addition            Active School   East and West                       41,300
              25361     610174 QS-9A           53894         53894-1   Shields Annex                                Annex              Active School   North                               36,100
              27091     610559 QS-9A           55216         55216-1   Shields Middle                                Main              Active School   2611 W 48TH ST                      95,265
              25361     610174 QS-9A           53111         53111-1   Shields Modular 1                    Modular 1 (4-Classroom )   Active School   East Modular                        4,900
              25361     610174 QS-9A           53112         53112-1   Shields Modular 2                    Modular 2 (4-Classroom )   Active School   West Modular                        4,900
              25371     610175 QS-9A           51413         51413-1   Shoesmith                                     Main              Active School   1330 E 50th St                      36,887
              25371     610175 QS-9A           53877         53877-1   Shoesmith Modular 1                  Modular 1 (2-Classroom )   Active School   North                               2,100
              25381     610176 QS-9A           51516         51516-1   Shoop                                         Main              Active School   11140 S Bishop St                   88,546
              25381     610176 QS-9A           51516         51516-2   Shoop                                       Addition            Active School   Northeast                           36,007
              53061     609692 QS-9A           51604         51604-1   Simeon HS                                     Main              Active School   8147 S VINCENNES AVE               210,316
              53061     609692 QS-9A           52352         52352-1   Simeon HS Annex                         Linked Addition         Active School   8147 S VINCENNES                    74,375
              49051     609750 QS-9A           51567         51567-1   Simpson HS                                    Main              Active School   1321 S Paulina St                   18,593
              49051     609750 QS-9A           51567         51567-2   Simpson HS                                  Addition            Active School   Southeast                           14,900
              22591     610534 QS-9A           51174         51174-1   Skinner North @ Schiller                      Main              Active School   640 W Scott St                      68,922
              29281     610177 QS-9A           54719         54719-1   Skinner West                                  Main              Active School   1260 W Adams St                    102,055
                                                                                                                                                       1260 W Adams STREET Chicago IL
                                               54719         54719-2                                               Addition 1          Active School                                      36,000
              29281     610177 QS-9A                                   Skinner West                                                                    60607
              29281     610177 QS-9A           52315         52315-1   Skinner West Branch                           Branch            Active School   225 S Aberdeen St                   12,639
              23641     609978 QS-9A           51508         51508-1   Smith                                          Main             Active School   Southeast                           76,920
              25401     610179 QS-9A           51035         51035-1   Smyser                                         Main             Active School   4310 N MELVINA AVE                  60,861
              25401     610179 QS-9A           52570         52570-1   Smyser @ Messiah Lutheran                 Leased-Branch         Active School   6200 W. Patterson Ave               33,570
              25401     610179 QS-9A           55301         55301-1   Smyser Annex                                  Annex             Active School   South                               17,250
              25411     610180 QS-9A           51250         51250-2   Smyth                                       Addition 1          Active School   1059 W 13ST                         39,611
              25411     610180 QS-9A           51250         51250-3   Smyth                                       Addition 2          Active School   1059 W 13ST                         28,381
              25411     610180 QS-9A           51250         51250-1   Smyth                                          Main             Active School   1059 W 13TH                         53,574
              25431     610182 QS-9A           51036         51036-1   Solomon                                        Main             Active School   6206 N Hamlin Ave                   18,083
              25431     610182 QS-9A           51036         51036-2   Solomon                                      Addition           Active School   West                                22,250
              46101     610543 QS-9A           54767         54767-1   Solorio HS                                     Main             Active School   5400 S ST LOUIS                    213,710
                                                                       Sor Juana Ines de las Cruz @ St.                                                4120 W 57th STREET Chicago IL
                                               58215         58215-1                                             Leased-Main           Active School                                      38,389
              23521     610589 QS-9A                                   Turbius                                                                         60629
              23751     609990 QS-9A           51238         51238-1   South Loop Branch                     Branch @ Plymouth Ct      Active School   1212 S.Plymouth Ct. Chicago, IL     57,995
              23751     609990 QS-9A           51690         51690-1   South Loop Pre-K Branch                Branch @ Federal St      Active School   1915 S. Federal St. Chicago, IL     13,260
              22251     610530 QS-9A           51399         51399-1   South Shore Fine Arts @ Fermi                 Main              Active School   1415 E 70TH ST                      76,945
              46631     610547 QS-9A           54787         54787-1   South Shore International HS                  Main              Active School   1955 E 75TH ST                     213,710
              49031     609745 QS-9A           51617         51617-1   Southside Occ HS                              Main              Active School   Southeast                           36,840
              49031     609745 QS-9A           57161         57161-1   Southside Occ HS Annex                       Annex              Active School   Northwest                           17,900
              25441     610183 QS-9A           51102         51102-1   Spencer                                       Main              Active School   East - Middle                       39,496
                                                                                                                                                       East - North & South of the Main
                                               51102         51102-2                                               Addition 1          Active School                                      33,579
              25441     610183 QS-9A                                   Spencer                                                                         Building
              25441     610183 QS-9A           51102         51102-3   Spencer                                    Addition 2           Active School   North                              27,360
              25441     610183 QS-9A           52573         52573-1   Spencer Annex                                Annex              Active School   Southwest                          22,500
              25451     610184 QS-9A           51280         51280-2   Spry                                        Addition            Active School   2400 S MARSHALL BLVD               43,640
              25451     610184 QS-9A           51280         51280-1   Spry                                          Main              Active School   2400 S MARSHALL BLVD               62,370
              25451     610184 QS-9A           59879         59879-1   Spry Branch                          Leased-Branch (Spry HS)    Active School   2950 W 25th STREET                 39,050
              26521     610339 QS-9A           51395         51395-1   Stagg                                         Main              Active School   7424 S MORGAN                      68,227
                                                                                                                                                       1035 W 74th STREET, Chicago IL
                                               53902         53902-1                                                 Main                Stadium                                           3,325
              68060            QS-7B                                   Stagg Stadium                                                                   60621
              46291     609732 QS-9A           51553         51553-1   Steinmetz HS                                  Main              Active School   3030 North Mobile Avenue           384,200
              46291     609732 QS-9A           53879         53879-1   Steinmetz HS Modular 1               Modular 1 (6-Classroom )   Active School   S                                   7,060
              46291     609732 QS-9A           53551         53551-1   Steinmetz HS Modular 2               Modular 2 (6-Classroom )   Active School   SW                                  7,060
              22711     610548 QS-9A           52340         52340-1   STEM Magnet @ Jefferson                       Main              Active School   East                                37,216
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              22711     610548 QS-9A           52340         52340-2   STEM Magnet @ Jefferson                    Addition            Active School   West                              32,113
              25471     610185 QS-9A           51309         51309-2   Stevenson                                  Addition            Active School   Southwest                         30,426
              25471     610185 QS-9A           51309         51309-1   Stevenson                                    Main              Active School   8010 S. Kostner Ave.              72,903
              25471     610185 QS-9A           58309         58309-1   Stevenson Annex                             Annex              Active School   8040 S Kostner                    15,036
              25471     610185 QS-9A           52301         52301-1   Stevenson Branch                            Branch             Active School   4350 W. 79th St. Chicago, IL      23,063
              25471     610185 QS-9A           53880         53880-1   Stevenson Modular 1                 Modular 1 (4-Classroom )   Active School   North Site                        3,380
              25471     610185 QS-9A           50004         50004-1   Stevenson Modular 2                 Modular 2 (2-Classroom )   Active School   North Modular (West Main)         1,700
              25471     610185 QS-9A           50005         50005-1   Stevenson Modular 3                 Modular 3 (2-Classroom )   Active School   South Modular (West Main)         1,700
              25471     610185 QS-9A           50006         50006-1   Stevenson Modular 4                 Modular 4 (2-Classroom )   Active School   Middle Modular (West Main)        1,700
              30081     610163 QS-9A           51034         51034-1   Stock                                        Main              Active School   7507 W BIRCHWOOD                  17,355
              30081     610163 QS-9A           53881         53881-1   Stock Modular 1                     Modular 1 (2-Classroom )   Active School   Southwest                         1,005
              29291     610191 QS-9A           51074         51074-1   Stone                                        Main              Active School   West                              65,617
              29291     610191 QS-9A           51074         51074-2   Stone                                      Addition            Active School   southeast                         4,984
              25521     610192 QS-9A           51129         51129-1   Stowe                                        Main              Active School   3444 West Wabansia Avenue        113,500
              25521     610192 QS-9A           52576         52576-1   Stowe Annex                                 Annex              Active School   3444 West Wabansia Avenue         20,400
              26881     610405 QS-9A           52294         52294-1   Suder                                        Main              Active School   2022 W WASHINGTON                 71,500
              25541     610193 QS-9A           51481         51481-1   Sullivan                                     Main              Active School   8331 S. Mackinaw                 218,126
              46301     609733 QS-9A           51539         51539-1   Sullivan HS                                  Main              Active School   6631 N BOSWORTH AVE              218,067
              31221     610194 QS-9A           51190         51190-1   Sumner                                       Main              Active School   715 S. Kildare Ave.               47,020
              31221     610194 QS-9A           51190         51190-2   Sumner                                     Addition            Active School   715 S. Kildare Ave., South        38,400
              31221     610194 QS-9A           52577         52577-1   Sumner Annex                                Annex              Active School   4320 W 5th Ave                    74,135
              25561     610195 QS-9A           51447         51447-1   Sutherland                                   Main              Active School   10015 S Leavitt St                69,781
              25561     610195 QS-9A           52578         52578-1   Sutherland Annex                            Annex              Active School   Middle/East                       10,438
              25571     610196 QS-9A           51075         51075-2   Swift                                     Addition 1           Active School   South of Addition 1               42,691
              25571     610196 QS-9A           51075         51075-1   Swift                                        Main              Active School   East                              66,708
                                                                                                                                                      4071 N Oak Park AVENUE Chicago
                                               56204         56204-1                                               Branch             Active School                                    135,000
              46311     609734 QS-9A                                   Taft Freshman Academy                                                          IL 60634
              46311     609734 QS-9A           51540         51540-1   Taft HS                                      Main              Active School   6530 W BRYN MAWR AVE             175,896
              46311     609734 QS-9A           51540         51540-2   Taft HS                                   Addition 1           Active School   South                             78,034
              46311     609734 QS-9A           51540         51540-3   Taft HS                                   Addition 2           Active School   North                            135,040
              25581     610197 QS-9A           51147         51147-2   Talcott                                    Addition            Active School   North                             35,426
              25581     610197 QS-9A           51147         51147-1   Talcott                                      Main              Active School   1840 W Ohio St.                   91,945
              26781     610249 QS-9A           51335         51335-1   Talman                                   Leased-Main           Active School   5450 S Talman Ave                 14,318
              26781     610249 QS-9A           52602         52602-1   Talman Branch @ St. Clair               Leased-Annex           Active School   West                              22,580
              26281     610279 QS-9A           51484         51484-1   Tanner                                       Main              Active School   7350 S. Evans                     52,920
              26791     610396 QS-9A           51679         51679-1   Tarkington                                   Main              Active School   3330 W 71ST ST                   136,289
              25591     610198 QS-9A           51518         51518-1   Taylor                                       Main              Active School   9912 S Avenue H                   75,318
              25591     610198 QS-9A           52582         52582-1   Taylor Annex                                Annex              Active School   SW                                12,310
              26891     610504 QS-9A           51342         51342-1   Thomas                                   Leased-Main           Active School   3625 S Hoyne Ave                  16,056
              25601     610200 QS-9A           51520         51520-2   Thorp J                                   Addition 1           Active School   8914 S BUFFALO                    44,037
              25601     610200 QS-9A           51520         51520-3   Thorp J                                   Addition 2           Active School   8914 S BUFFALO AVE                47,014
              25601     610200 QS-9A           51520         51520-1   Thorp J                                      Main              Active School   8914 S BUFFALO AVE                44,587
              29301     610201 QS-9A           51037         51037-1   Thorp O                                      Main              Active School   6024 W Warwick Ave                93,200
              53121     609735 QS-9A           51584         51584-1   Tilden HS                                    Main              Active School   4747 S UNION                     328,514
              53121     609735 QS-9A           51593         51593-1   Tilden HS - Annex                           Annex              Active School   East                              4,000
              24441     610065 QS-9A           51407         51407-2   Till                                       Addition            Active School   Southwest and Southeast           48,630
              24441     610065 QS-9A           51407         51407-1   Till                                         Main              Active School   South - Middle                    47,220
              24441     610065 QS-9A           52505         52505-1   Till Annex                                  Annex              Active School   Northwest                         38,768
              25621     610202 QS-9A           51191         51191-2   Tilton                                     Addition            Active School   North                             27,218
              25621     610202 QS-9A           51191         51191-1   Tilton                                       Main              Active School   223 N Keeler Ave                  77,670
              25631     610203 QS-9A           51310         51310-1   Tonti                                        Main              Active School   Northwest                         62,367
              25631     610203 QS-9A           50131         50131-1   Tonti Annex                                 Annex              Active School   Southeast                         16,936
              25631     610203 QS-9A           54257         54257-1   Tonti Modular 1                     Modular 1 (8-Classroom )   Active School   Southwest                         9,800
              29041     609895 QS-9A           51465         51465-1   Turner-Drew                                  Main              Active School   9300 S PRINCETON                  39,077
              25661     610206 QS-9A           54221         54221-1   Twain                                        Main              Active School   Northwest                         75,820
              25661     610206 QS-9A           54221         54221-2   Twain                                      Addition            Active School   Southeast                         64,346
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              66321     400075 QS-9A            51613        51613-1   U of C - Donoghue                                Main                  Active School   North                              74,828
                                                                                                          Linked Addition-Woodson South
                                                51365        51365-2                                                                          Active School                                      58,859
              26541     610345 QS-9A                                   Woodson ES South Tower                          Tower                                  4444 S Evans Ave
              26861     610394 QS-9A            51066        51066-1   Uplift HS                                        Main                  Active School   South                              105,665
              26861     610394 QS-9A            52495        52495-1   Uplift HS Linked Addition          Linked Addition-Athletic Building   Active School   North                               43,647
              66442     400105 QS-9A            52300        52300-1   Urban Prep @ Doolittle West              Annex (Urban Prep)            Active School   525 East 35th street                74,152
                                                                                                                                                              6201 S Stewart AVENUE Chicago IL
                                                51615        51615-1                                                   Main                   Active School                                      188,800
              46351     400086 QS-9A                                   Urban Prep Englewood                                                                   60621
              29311     610207 QS-9A            51448        51448-2   Vanderpoel                                   Addition                  Active School   North                               6,419
              29311     610207 QS-9A            51448        51448-1   Vanderpoel                                     Main                    Active School   9510 S PROSPECT AVE                 32,562
              49081     609766 QS-9A            51544        51544-1   Vaughn Occ                                     Main                    Active School   4355 N. Linder Ave                  50,289
              26731     609871 QS-9A            51429        51429-1   Vick                                           Main                    Active School   2554 W 113th St                     12,479
              26731     609871 QS-9A            52310        52310-1   Vick Village @ Beth Shalom                Leased-Branch                Active School   6601 S Kedzie Ave                   9,300
              25681     610209 QS-9A            51038        51038-1   Volta                                          Main                    Active School   East                                67,204
              25681     610209 QS-9A            52587        52587-1   Volta Annex                                   Annex                    Active School   Southwest                           17,176
              25681     610209 QS-9A            50007        50007-1   Volta Modular 1                       Modular 1 (2-Classroom )         Active School   North of the Annex                  2,100
              47081     609737 QS-9A            51541        51541-1   Von Steuben HS                                 Main                    Active School   5039 N Kimball Ave                 248,453
              26621     610366 QS-9A            51452        51452-1   Wacker                                         Main                    Active School   9746 S MORGAN                       27,552
              25711     610213 QS-9A            51418        51418-1   Wadsworth @ Dumas                              Main                    Active School   South                               64,558
              25731     610216 QS-9A            51251        51251-2   Walsh                                        Addition                  Active School   North                               23,182
              25731     610216 QS-9A            51251        51251-1   Walsh                                          Main                    Active School   South                               50,106
              25751     610217 QS-9A            51252        51252-1   Ward J                                         Main                    Active School   North                               24,724
              25751     610217 QS-9A            51252        51252-2   Ward J                                      Addition 1                 Active School   Middle                              22,436
                                                                                                                                                              South - educational - East-
                                                51252        51252-3                                                 Addition 2               Active School                                      38,034
              25751     610217 QS-9A                                   Ward J                                                                                 Mechanical
              24991     610133 QS-9A            51146        51146-3   Ward, L. @ Ryerson                          Addition 1                 Active School   Southeast                           52,202
              24991     610133 QS-9A            51146        51146-2   Ward, L. @ Ryerson                          Addition 2                 Active School   West                                12,112
              24991     610133 QS-9A            51146        51146-1   Ward, L. @ Ryerson                             Main                    Active School   Northeast                           49,705
              25761     610218 QS-9A            51482        51482-1   Warren                                         Main                    Active School   Southwest                           27,715
              25761     610218 QS-9A            52590        52590-1   Warren Annex                                  Annex                    Active School   North                               12,540
              25771     610219 QS-9A            51521        51521-1   Washington G                                   Main                    Active School   North                               54,934
              25771     610219 QS-9A            52591        52591-1   Washington G Annex                            Annex                    Active School   Southwest                           15,428
              46331     609739 QS-9A            51633        51633-1   Washington G HS                                Main                    Active School   3535 E 114TH ST                    214,541
              25771      610219 QS-9A           53887        53887-1   Washington G Modular 1                Modular 1 (4-Classroom )         Active School   East                                4,750
              24921     610124 QS-9A            51476        51476-1   Washington Harold                              Main                    Active School   Main Building                       77,300
              25781     610220 QS-9A            51077        51077-1   Waters                                         Main                    Active School   4540 N Campbell Ave                 58,148
              25781     610220 QS-9A            52007        52007-1   Waters Annex                                  Annex                    Active School   4540 N Campbell Ave                 31,100
              25781     610220 QS-9A            57701        57701-1   Waters Linked Addition                   Linked Addition               Active School   South                               4,699
              25791     610221 QS-9A            51215        51215-1   Webster                                        Main                    Active School   4055 W. Arthington                  60,295
              51071     609740 QS-9A            51555        51555-1   Wells HS                                       Main                    Active School   East                               264,101
              24811     610110 QS-9A            51406        51406-1   Wells Prep @ Mayo                              Main                    Active School   249 E 37TH ST                       62,750
              25811     610223 QS-9A            51371        51371-1   Wentworth @ Altgeld                            Main                    Active School   South end of the property.          69,366
              25811     610223 QS-9A            52384        52384-1   Wentworth @ Altgeld Annex                     Annex                    Active School   Northwest corner of the property    33,250
              24721     610100 QS-9A            51126        51126-1   West Park                                      Main                    Active School   1425 N TRIPP                        81,350
                                                                                                                                                              6700 N Whipple St Chicago, IL
                                                54766        54766-1                                                   Main                   Active School                                      100,107
              22381     610542 QS-9A                                   West Ridge                                                                             60645
              26381     610300 QS-9A            51394        51394-1   Westcott                                        Main                   Active School   409 W 80th St                       38,482
              26381     610300 QS-9A            53889        53889-1   Westcott Linked Addition                   Linked Addition             Active School   Southwest                           7,998
              53071     609693 QS-9A            54663        54663-1   Westinghouse HS                                 Main                   Active School   3223 W FRANKLIN BLVD               224,604
                                                51529        51529-1                                               Annex-Bldg D               Active School                                      19,725
              22621     609845 QS-9A                                   Wheatley CPC @ Carver Building D                                                       SW
              25831     610225 QS-9A            51523        51523-1   Whistler                                        Main                   Active School   North                              42,600
              25831     610225 QS-9A            51523        51523-3   Whistler                                      Addition 1               Active School   South/west                         12,680
              25831     610225 QS-9A            51523        51523-2   Whistler                                      Addition 2               Active School   East                               32,950
              26431     610315 QS-9A            51525        51525-1   White Elementary                                Main                   Active School   122nd St / Racine                  17,235
              26431     610315 QS-9A            55125        55125-1   White Linked Addition                      Linked Addition             Active School   East                               6,400
              25841     610227 QS-9A            51282        51282-1   Whitney                                         Main                   Active School   2815 S Komensky Ave                73,614
              25841     610227 QS-9A            59845        59845-1   Whitney Annex                                   Annex                  Active School   South                              28,039
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              25841     610227 QS-9A           53890         53890-1   Whitney Modular 1                           Modular 1 (2-Classroom )       Active School   North of the Main                   2,100
              25841     610227 QS-9A           50002         50002-1   Whitney Modular 2                           Modular 2 (2-Classroom )       Active School   South of the Main                   4,900
              25861     610228 QS-9A           51253         51253-1   Whittier                                             Main                  Active School   1900 W. 23rd St.                    49,232
              25881     610230 QS-9A           51040         51040-1   Wildwood                                             Main                  Active School   6950 N Hiawatha Ave                 24,950
              25881     610230 QS-9A           51040         51040-2   Wildwood                                           Addition                Active School   South Corner                        35,068
                                                                       Williams & Bronzevillle @ DuSable
                                               51580         51580-2                                                       Addition               Active School                                       36,750
              55191     610381 QS-9A                                   HS                                                                                         Southeast
                                                                       Williams & Bronzevillle @ DuSable
                                               51580         51580-1                                                        Main                  Active School                                       373,625
              55191     610381 QS-9A                                   HS                                                                                         4934 S. Wabash Ave.
                                                                                                                                                                  5101 N Leavitt STREET, Chicago IL
                                               50445         50445-1                                                          1                     Stadium                                           13,080
              68030            QS-2A                                   Winnemac Park Stadium                                                                      60625
              23631     609977 QS-9A           51403         51403-1   Woodlawn                                              Main                 Active School   6657 S KIMBARK                      30,193
              26541     610345 QS-9A           53744         53744-1   Woodson ES                                 Main-Woodson North Tower        Active School   4414 S Evans AVENUE                 58,859
                                                                                                                Linked Addition-Center building
                                               53477         53477-1                                                                              Active School                                       12,979
              26541     610345 QS-9A                                   Woodson South (center building)                       Gym                                  4414 S Evans AVENUE
              26541     610345 QS-9A           51370         51370-2   Woodson South CPC                                  Branch-CPC              Active School   4511 S Evans Ave                     7,657
              25911     610234 QS-9A           51130         51130-1   Yates                                                 Main                 Active School   1839 North Richmond St.              68,500
              25911     610234 QS-9A           51130         51130-2   Yates                                                Addition              Active School   East                                 58,800
              25911     610234 QS-9A           53892         53892-1   Yates Linked Addition                            Linked Addition           Active School   Southeast                            18,000
              25921     610235 QS-9A           51103         51103-1   Young                                                 Main                 Active School   1434 N Parkside Ave                 107,359
              25921     610235 QS-9A           51103         51103-2   Young                                                Addition              Active School   south                                69,645
              47101     609755 QS-9A           51568         51568-1   Young HS - Building A                            Main-Building A           Active School   211 S Laflin St                     251,542
                                                                                                                                                                  Northeast-between Adams and
                                               52376         52376-1                                        Linked Addition-Athletic Building B   Active School                                       93,727
              47101     609755 QS-9A                                   Young HS - Building B                                                                      Jackson
                                                                                                                                                                  South of Jackson St. South of the
                                               52377         52377-1                                            Linked Addition-Arts Building C   Active School                                       85,174
              47101     609755 QS-9A                                   Young HS - Building C                                                                      Main & Main Athletic
              23611     609973 QS-9A           51274         51274-1   Zapata                                               Main                  Active School   2728 S. Kostner                     73,845
                                                                                                                                                                  2728 S Kostner AVENUE Chicago IL
                                               51274         51274-2                                                      Addition 1              Active School                                       35,000
              23611     609973 QS-9A                                   Zapata                                                                                     60623
              11880            QS-5A           59989                   3148 S Kedzie                                                              Vacant Land     3148 S Kedzie Chicago IL 60623      488,459
                                                                                                                                                                  6428 S Minerva AVENUE, Chicago
                                               52219                                                                                              Vacant Land                                          5,942
              11880           QS-8B                                    6428 Minerva                                                                               IL 60637
                                                                                                                                                                  9100 S Vanderpoel AVENUE,
                                               54111                                                                                              Vacant Land                                         55,524
              11880           QS-7B                                    9100-9300 S Triangular                                                                     Chicago IL 60643
                                                                                                                                                                  9345 S Burnside Ave, Chicago IL
                                               50125                                                                                              Vacant Land                                         14,273
              11880           QS-9B                                    9345 S Champlain                                                                           60619
                                                                                                                                                                  13311 S Burley AVENUE, Chicago IL
                                               59987                                                                                              Vacant Land                                          2,807
              11880           QS-9B                                    Burley                                                                                     60633
                                                                                                                                                                  138 South Parkside Avenue,
                                               51108                                                                                              Vacant Land                                          8,845
              11880           QS-3A                                    Depriest Lot                                                                               Chicago IL 60644
                                                                                                                                                                  6717 S Wood STREET, Chicago IL
                                               53211                                                                                              Vacant Land                                         55,240
              11880           QS-7A                                    Formerly Miles Davis                                                                       60636
                                                                                                                                                                  2869 West 21st Place, Chicago IL
                                               56155                                                                                              Vacant Land                                          9,500
              11880           QS-5A                                    Hammond Lot                                                                                60623
                                                                                                                                                                  1334 S Avers Avenue, Chicago IL
                                               57884                                                                                              Vacant Land                                          2,978
              11880           QS-4A                                    Henson Lot                                                                                 60623
                                                                                                                                                                  6523-5 South Langley Avenue,
                                               59591                                                                                              Vacant Land                                          5,788
              11880           QS-8B                                    Langley Lot (Till Lot)                                                                     Chicago IL 60637
                                                                                                                                                                  6400 South Major Avenue, Chicago
                                               59948                                                                                               Parking Lot                                        48,500
              11880           QS-6A                                    Major Lot                                                                                  IL 60638
                                                                                                                                                                  5733 South May Street, Chicago IL
                                               59991                   May Lot                                                                    Vacant Land     60621                                6,752
              11880           QS-7A
                                                                                                                                                                  620 West 35th Street, Chicago IL
              24421           QS-9A            59945                   McClellan Parking Lot                                                       Parking Lot    60616                                7,845
                                                                                                                                                                  12423 S Eggleston Ave, Chicago IL
                                               59943                                                                                              Vacant Land                                          4,124
              11880           QS-9A                                    Metcalfe Lot                                                                               60628
              11880           QS-2B            58666                   Moos                                                                       Vacant Land     1700 N Fairfield                     2,290
                                                                                                                                                                  8363 S Kerfoot Avenue, Chicago IL
                                               55454                                                                                              Vacant Land                                          2,372
              11880           QS-7B                                    Morgan Lot                                                                                 60620
                                                                                                                                                                  4957-59 South Laflin Street,
                                               52500                                                                                              Vacant Land                                          6,130
              11880           QS-5B                                    Richards HS Lot                                                                            Chicago IL 60609
                                                                                                                                                                  25 W 113th PLACE, Chicago IL
                                               58654                                                                                              Vacant Land                                         22,174
              11880           QS-9A                                    Tuner-Lot                                                                                  60628
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                                                                                                                                                 3113 S Rhodes AVENUE, Chicago IL
                                              51409                                                                                  Admin                                           26,200
              11952           QS-8B                                    Admin Offices @ Pershing East                                             60616
                                                                                                                                                 8131 S May STREET Chicago IL
                                              51607                                                                                 CLOSED                                           324,446
              11880           QS-7B                                    CLOSED - Former Calumet                                                   60620
                              QS-8B           51620          51620-1   Closed - School of Leadership        School of Leadership    CLOSED       7627 S CONSTANCE AVE                138,750
                                              48845                                                                                Parking Lot
              25121           QS-8B                                    Revere Parking Lot                                                        7146 S Ellis Ave Chicago IL 60619
                                                                                                                                                 12401 S Normal Ave Chicago IL
                                              59946                                                                                Vacant Land
              11880           QS-9A                                    Metcalfe Lot 2                                                            60628
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                                                                                      Changes
                                                                               REMOVALS

        Property Use   Main Campus                           Main Address                             Total Campus SQFT                       Reason
        Admin Building Admin Offices @ Avondale              6325 N Avondale Avenue, Chicago IL 60631             13469             No custodial services needed
        Admin Building Admin Office @ Northside Garage       5200 W Monroe Street, Chicago IL 60644                3419             No custodial services needed
        Admin Building Admin Office @ 42 Madison             42 W Madison Avenue, Chicago IL 60602              204000              No custodial services needed
        Admin Building CPS Warehouse Annex                   3532 W 47th PLACE, Chicago IL 60632                165000           Listed under main CPS Warehouse




                                                                  ADDITIONS/RECLASSIFICATIONS

        Property Use    Main Facility Name                   Main Address                                Total Campus SQFT                    Reason
        Active School   ALCOTT HS                            2957 N Hoyne AVENUE Chicago IL 60618                       51852 Not co-located with Alcott ES
        Active School   HANCOCK HS                           5423 W 64th PLACE Chicago IL 60638                        179600 New building coming online
        Closed School   HANCOCK HS                           4034 W 56th STREET Chicago IL 60629                      169086 This building is closing
        Parking Lot     Revere Parking Lot                   7146 S Ellis Ave Chicago IL 60619                                 This was transferred to CPS recently
        Vacant Land     Metcalfe Lot 2                       12401 S Normal Ave Chicago IL 60628                               This was missing from our database




                                                                DIFFERENCES IN SQUAREFOOTAGE
        Property Use    Main Facility Name                   Main Address                                Total Campus SQFT                    Reason
        Active School   ALCOTT ES                            2625 N Orchard STREET Chicago IL 60614           -38,652          Alcott HS standalone, add PreK
        Vacant Land     Attucks                              3813 S Dearborn ave, Chicago IL 60609            -78,700          Demolished and now vacant land
        Active School   Beard                                6445 W Strong STREET Chicago IL 60656             17,656          Annex added
        Active School   Bogan                                3939 W 79th STREET Chicago IL 60652                800            Drivers Ed Modular
        Active School   CARDENAS                             2345 S Millard AVENUE Chicago IL 60623            20,400          Central Building Added
        Active School   CARROLL                              2929 W 83rd STREET Chicago IL 60652               11,838          Branch Annex
        Active School   CARVER G                             901 E 133rd PLACE Chicago IL 60827                19,750          Building D added
        Active School   CHAVEZ                               4747 S Marshfield AVENUE Chicago IL 60609         5,700           PreK Branch 4749 S Damen Ave added
        Active School   COLUMBIA EXPLORERS                   4520 S Kedzie AVENUE Chicago IL 60632             18,700          4600 Kedzie Branch & Modular added
        Active School   COONLEY                              4046 N Leavitt STREET Chicago IL 60618            35,331          Annex was added
        Active School   CPS Warehouse                        4720 S St. Louis AVENUE, Chicago IL 60632         84,000          Annex is not standalone line item on campus
        Active School   DECATUR                              7030 N Sacramento AVENUE Chicago IL 60645         18,600          Annex was added
        Active School   DEVER                                3436 N Osceola AVENUE Chicago IL 60634            17,340          Annex was added
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        Active School   DIRKSEN                              8601 W Foster AVENUE Chicago IL 60656        65,300    Annex was added
        Active School   DURKIN PARK                          8445 S Kolin AVENUE Chicago IL 60652          6,798    Annex was added
        Active School   DYETT ARTS HS                        555 E 51st STREET Chicago IL 60615           42,134    Athletic building was added
        Active School   FORT DEARBORN                        9025 S Throop STREET Chicago IL 60620        23,200    2nd Addition was added
        Active School   HANCOCK HS                           5423 W 64th PLACE Chicago IL 60638           179,600   New Building coming online
        Active School   LOCKE J                              2845 N Newcastle AVENUE Chicago IL 60634      5,116
        Active School   MCDADE                               8801 S Indiana AVENUE Chicago IL 60619       19,233    Addition & Annex added
        Active School   MCDOWELL                             1419 E 89th STREET Chicago IL 60619           2,186    Modular Added
        Active School   NASH                                 4837 W Erie STREET Chicago IL 60644          -2,760
        Active School   PALMER                               5051 N Kenneth AVENUE Chicago IL 60630       35,000    2nd Annex added
        Active          PEIRCE                               1423 W Bryn Mawr AVENUE Chicago IL 60660      8,350    ECE added
        Active School   PILSEN                               1420 W 17th STREET Chicago IL 60608          -20,482   Pilsen Annex Removed
        Active School   POE                                  10538 S Langley AVENUE Chicago IL 60628      19,100    Annex Added
        Active School   Princeton Eye Clinic                 5125 S Princeton AVENUE, Chicago IL 60609     -188
        Active School   REINBERG                             3425 N Major AVENUE Chicago IL 60634          8,700    Annex Added
        Active School   ROGERS                               7345 N Washtenaw AVENUE Chicago IL 60645     30,100    Annex Added
        Active School   SPRY ES                              2400 S Marshall BOULEVARD Chicago IL 60623   16,050
        Active School   STEVENSON                            8010 S Kostner AVENUE Chicago IL 60652       15,036    Annex Added
        Active School   TILDEN HS                            4747 S Union AVENUE Chicago IL 60609          4,000    Annex Added
        Active School   VICK                                 2554 W 113th STREET Chicago IL 60655          9,566    New Leased Branch Coming Online
        Active School   WATERS                               4540 N Campbell AVENUE Chicago IL 60625      31,100    Annex Added
        Active School   WESTINGHOUSE HS                      3223 W Franklin BOULEVARD Chicago IL 60624    -710
        Active School   WOODSON                              4414 S Evans AVENUE Chicago IL 60653         66,529    South Tower Added
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ne item on campus
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                                                SCHEDULE 5: COMMUNITY RELATIONS INITIATIVES




                         While serving the Board, Vendor will work to find key ways to support the Board’s broader
                         community, whether through employee volunteerism, strategic programs and relationships, and/or
                         philanthropy. Possibilities for Vendor support of the broader Chicago Public Schools community
                         include:

                         ●   Providing resources to support existing Board programs
                         ●   Creating opportunities for volunteers, mentorship, career development and internships
                         ●   Building relationships with community, civic and social service organizations to learn, share and
                             refine practices that address the need of the communities the Board serves
                         ●   Leveraging relationships as a platform to increase awareness of CPS Facilities initiatives and
                             broader Board priorities
                         ●   Cultivating relationships with internal Board departments to promote community within CPS,
                             share best practices, and maximize positive impact for CPS students, staff, and broader
                             community
